Case 2:02-cv-02527-BJR Document 36 _ Filed 01/10/03 Page 1 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
OFFICE OF THE CLERK ___

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LORETTA G WHYTE S00 Case St Roop C-151
CLLRA Niw Onrr ass | 4 70130
January 3, 2003 I eg e
4 West
JAN 1.0 2003
Mr Biuce Rifkin + stated
Clerk, United States District Court cus us OR Stor
Western District of Washington WESTERN as oEPUTY
215 United States Courthouse
1010 Fifth Avenue

Seattle, WA 98104-1130

Re —s- Multidistrict Litigatyon No. 07
Daphine B Donnelly, et al
vs
Bayer Corp , et al
Civil Action No 02-2436 N (1)
Your Case No C A 02-2527

Deal Mi Rifkin

Pursuant to an order of the Multidistrict Litigation Panel to transfer the abo. e-captioned case
under Title 28 US C 1407, to the Western District of Washington, J am forwarding heiewsth the entne
o1iginal 1ecoid together with a copy of the order of transfer and a certified copy of the docket sheet

Please acknowledge recerpt on the enclosed copy of this letter

Very truly yours,

LORETTA G WHYTE, CLERK

Daputy Clerk

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Enclosutes {AT YA TT PEA

CV 02-2527 §36

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Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 2 of 472

TERMED
U.S. District Court
U.S. District Court -- Western Washington (Seattle)

CIVIL DOCKET FOR CASE # 02-CV-2527

Donnelly, et al v Bayer Corporation, et al Filed 01/10/03
Assigned to: Judge Barbara J Rothstein Jury demand Plaintiff

Demand $0,000 Nature of Suit 365

Lead Docket 01-MD-1407 Jurisdiction Diversity

Dkt # 1n East Dist of LA . is 02-2436 N (1)

Cause: 28.1332 Diversity-Product Liability

DAPHINE B DONNELLY Dana Gareth Kirk
plaintiff [COR LD NTC]
4265 SAN FELIPE
STE 1400

HOUSTON, TX 77027
713-651-0050

Clayton Clark

[COR LD NTC]

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J Robert Davis
[COR LD NTC]

J ROBERT DAVIS LLP
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713-425-5255

John Chandler Loupe
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[COR LD NTC]

CLAITCR & LOUPE

2223 QUAIL RUN DRIVE
STE G

BATON ROUGE, LA 70808
225-767-2222

JEROME DONNELLY, husband Pana Gareth Kirk
plaantifft {See above}
[COR LD NTC]
Clayton Ciark

Docket as of March 21, 2003 11:42 am Page 1

Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 3 of 472

Proceedings include all events. TERMED
2:02cv2527 Donnelly, et al v. Bayer Corporation, et al

{See above)
[COR LD NTC]

J Robert Davis
(See above)
(COR LD NTC]

John Chandler Loupe
{See above)
[COR LD NTC]

BAYER CORPORATION John Francis Clinde
defendant 504-585-7000
[COR LD NTC]
Charles P Blanchard
PTS FAX
FAX 1-504-585-7075
[COR LD NTC]
Mary L Meyer
504-585-7000
[COR LD NTC]
CHAFFE MCCALL PHILLIPS TOLER &
SARPY
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NEW ORLEANS, LA 70163-2300
504-585-7216

NOVARTIS PHARMACEUTIS Eric R Nowak
CORPORATION FTS FAX
defendant FAX 1-504-582-1555

{COR LD NTC]
Joy G Braun
FTS FAX
FAX 1-504-582-1555
[COR LD NTc]
Shirin Elisa Harrell
{COR LD NTC]
SESSIONS PISHMAN & NATHAN
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STE 3500
NEW ORLEANS, LA 70170
504-582-1500

NOVARTIS CONSUMER HEALTH INC Eric R Nowak
defendant (See above)

FCOR LD NTC]

Joy G Braun

Docket as of March 21, 2003 11.42 am Page 2

Case 2:02-cv-02527-BJR Document36 ~ Filed 01/10/03

Proceedings iunciude all events
2:02cv2527 Donnelly, et al v Bayer Corporation, et al

4LIFE RESEARCH LC, Successor
by merger to Shaperite
defendant

| SMOOTHIE KING CoO INC
defendant

SMOOTHIE KING SYSTEMS INC
defendant

WALGREEN LOUISIANA CO INC
| dba
Walgreens
defendant

Docket as of March 21, 2003 11 42 am

(See above}

[COR LD NTC]

Shirin Elisa Harrell
(See above}

fCOR LD NTC]

C William Bradley, Jr
504-586-1244

[COR LD NTC]

J Don Kelly, Jr
504-586-1241

[COR LD NTC]

LEMLE & KELLEHER

601 POYDRAS ST

SUITE 21006

NEW ORLEANS, LA 70130
504-586-1241

Jack Etherton Truitt
[term 03/17/03]

[COR LD NTC]

THE TRUITT LAW FIRM

251 HIGHWAY 21

MADISONVILLE, LA 70447

985-792-1062

T Haller Jackson, III
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[COR LD NTC]

TUCKER JETER JACKSON & HICKMAN
401 EDWARDS STREET

STE $05 LOUISIANA TOWER
SHREVEPORT, LA 71101-3146
318-425-7764

Page 3

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TERMED

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Proceedings include all events. TERMED
2:02cv2527 Donnelly, et al v Bayer Corporation, et al

1/10/03 36
1/10/03 --
1/13/03 37
1/13/03 --
1/13/03 --
2/25/03 38
2/25/03 --
3/10/03 393
3/10/03 40
3/17/03 41

TRANSMITTAL OF DOCUMENTS from the Eastern District of
Lou1lsgiana per MDL Order CTO (tagalong) effective 12/12/02
re MDL 1407 (PPA) Dist of LA civil case no 02-2436 N (1)
(pm) [Entry date 02/20/03] [2 02cv2527]

ENT- The Clerk will maintain a master docket and case file

under the style PPA cases: orders, pleadings, motions, and

other decuments will, when filed and docketed in the Master
Case File, be deemed filed and docketed in each individual

case to the extent possible. (vb) [Entry date 03/21/03]

[2 .02cv2527]

MOTION and MEMORANDUM IN SUPPORT by plaintiff for leave to
fale amended petition (vb) [Entry date 02/26/03)
[2:02cv2527]

LODGED ORDER: re motion for leave to £ile® amended
petition [37-1] (vb) [Entry date 02/26/03] [2 O2cev2527]

PROPOSED Amended Petition re: motion for leave to file
amended petition [37-1] (vb) [Entry date 02/26/03]
[2:02cev2527}

MOTION by defendant Walgreen Louisiana to substitute
attorney T Haller Jackson, III in place of Jack Etherton
Truitt (vb) [Entry date 03/04/03] [2 02cv2527]

LODGED ORDER- re Motion to substitute attorney T Haller
Jackson, III in place of Jack Etherton Truitt [38-1] {vb}
[Entry date 03/04/03] [2 02cv2527]

ORDER by Judge Barbara J. Rothstein GRANTING motion for
leave to file amended petition [37-1], [0-0] (cc: counsel,
Judge) (vb) [2 02cv2527]

AMENDED COMPLAINT by plaintiff in 2:02-cv-02527 (vb)
[2 02cv2527]

ORDER by Judge Barbara J. Rothstein GRANTING motion to
substitute attorney T. Haller Jackson, ITI in place of Jack
Etherton Truitt for Walgreen Louisiana in 2 02-cv-02527
[38-1] (ce counsel, Judge) (vb) [Entry date 03/18/03]

[2 Q2cv2527]

Docket as of March 21, 2003 11:42 am Page 4

Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 6 of 472

TERMED MAG-1

TRANSP
U.S. District Court
USDC for the Eastern District of Louisiana (New Orleans)

CIVIL DOCKET FOR CASE # 02-CV-2436

Donnelly, et al v Bayer Corporation, et al Filed 08/07/02

Assigned to Judge Kurt D Engelhardt Jury demand Both
Demand $0,000 Nature of Suit 365
Lead Docket: None Jurisdiction: Diversity
Dkt # 1n 34th JDC, St Bernard : 1s 96-487 "C"

Cause: 28 1332 Diversity-Product Liability

DAPHINE B DONNELLY Dana G. Kirk
plaintiff [COR NTC]
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Clayton Clark

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JEROME DONNELLY, Husband Dana G Kirk
plaintiff (See above)
{COR NTC]

Docket as of January 3, 2003 9 12 am Page 1
Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 7 of 472

| Proceedings include all events.

2 02cv2436 Donnelly, et al v. Bayer Corporation, et al TERMED MAG-1

Vv

BAYER CORPORATION, husband
aefendant

NOVARTIS PHARMACEUTICALS
CORPORATION
defendant

NOVARTIS CONSUMER HEALTH, INC.

defendant

Docket as of January 3, 2003 9:12 am

TRANSF

Clayton Clark
(See above)
[COR NTC]

J. Chandler Loupe
(See above)
[COR LD NTC}

J. Robert Davis
{See above)
[COR NTC}

John Francis Olinde
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{COR]

Charles P. Blanchard

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Mary Laura Meyer
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Joy Goldberg Braun
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Eric R. Nowak

Page 2

Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 8 of 472

Proceedings include all events

2 02cv2436 Donnelly, et al v Bayer Corporation, et al

4LIFE RESEARCH LC, Successor
by merger to Shaperite
defendant

SMOOTHIE KING CO INC
defendant

SMOOTHIE KING SYSTEMS, INC.
defendant

WALGREEN LOUISTANA COMPANY,
INC
dba
Walgreens
defendant

{See above)

[COR]

Shirin E. Harrell
(See above}

[COR]

Cc. William Bradley, Jr
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Docket as of January 3, 2003 9 12 am Page 3

TERMED MAG-1
TRANSF

Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 9 of 472

Proceedings include all events.

2 O2cv2436 Donneily, et al v Bayer Corporation, et al TERMED MAG-1
TRANS?
8/7/02 1 Notice of removal by defendant Bayer Corporation, defendant

Novartis Phar Corp, defendant Novartis Consumer from 34th
Judicial District Court for the Parish of St. Bernard, Case
Number, 96-487 "C" . (tbl) [Entry date 08/08/02]

|
l

8/7/02 Payment of filing fee by defendant Bayer Corporation,
defendant Novartis Phar Corp, defendant Novartis Consumer

in amount of $ 150.00 (tbl) [Entry date 08/08/02]

8/8/02 2 CERTIFICATE by defendant Bayer Corporation, defendant
Novartis Phar Corp, defendant Novartis Consumer of filing
of notice of removal (tbl) [Entry date 08/09/02]

8/14/02 3 ANSWER by defendant Novartis Consumer to complaint by
piaintiff Daphine B Donnelly, plaintiff Jerome Donnelly
[1-1], Jury demand (tbl) [Entry date 08/15/02]

8/14/02 4 ANSWER by defendant Novartis Phar Corp to complaint by
plaintiff Daphine B Donnelly, plaintiff Jerome Donnelly
[1-1], jury demand (tbl) [Entry date 08/15/02]

8/21/02 5 MOTION by defendant Bayer Corporation for dismissal
pursuant to FRCP 12(b) (6) to be heard before Judce
Engelhardt at 9:30 9/18/02 {tbl) [Entry date 08/22/02]

8/22/02 6 ANSWER by defendant 4Life Research LC to complaint by
plaintiff Daphine B Donnelly, plaintiff Jerome Donnelly
[1-1] (tbl) [Entry date 08/23/02]

8/30/02 7 MOTION by defendant Walgreen LA Co Inc to dismiss plas'
cmp to be heard before Judge Engelhardt at 9-30 9/18/03 (tbl)
{Entry date 09/03/02]

9/5/02 8 Cross-Notice of Videctaped Deposition by plaintiff Daphine
B Donnelly, plaintiff Jerome Donnelly of Bill Carson on
9/26/02 (thi) [Bntry date 09/05/02]

9/5/02 9 Cross-Notice of Videotaped Deposition by plaintiff Daphine
B Donnelly, plaintiff Jerome Donnelly of Terry Glass on
9/23/02 (tbl) [Entry date 09/05/02]

9/5/02 10 Cross~Notice of Videotaped Deposition by plaintiff Daphine
B Dennelly, plaintiff Jerome Denneily of Craig Hammes on
10/7/02 (tbl) [Entry date 09/05/02]

9/5/02 11 Cross~Notice of Videotaped Deposition by plaintiff Daohine
B Donnelly, plaintiff Jerome Donnelly of Bill VanderHaar
on 10/14/02 (tbl) [Entry date 09/05/02]

9/9/02 12 MOTION by plaintiff Daphine B Donnelly, plaintiff Jerome
Donnelly to remand this matter to the 34th JDC, Parish of
St. Bernard to be heard before Judge Engelhardt at 9-30
10/2/02 (tbl) [Entry date 09/09/02]

Docket as of January 3, 2003 9:12 am Page 4

Case 2:02-cv-02527-BJR Document 36 _ Filed 01/10/03 Page 10 of 472

Proceedings include all events

2 G2cv2436 Donnelly, et ai v. Bayer Corporation, et al TERMED MAG-1
TRANSF
9/9/02 13 MOTION by defendant Novartis Phar Corp to dismiss for

failure to state a claim upon which relief can be granted
to be heard before Judge Engelhardt at 9 30 10/2/02 (tbl)
{Entry date 09/09/02]

9/9/02 14 MOTION by defendant Novartis Consumer to dismiss for
failure to state a claim upon which relief can be granted
to be heard before Judge Engelhardt at 9 30 10/2/02 (tbl)
{Entry date 03/09/02]

9/10/02 15 MINUTE ENTRY ( 9/3/02 ) It 1s ordered that the motions to
dismiss filed on behalf of dfts Walgreen LA Co & Bayer Corp
presently noticed for hrg on 9/18/02 are cont & renoticed
for 9:30 10/2/02. by Judge Kurt D. Engelhardt (tbl)

[Entry date 09/10/02]

9/10/02 16 Memo in opposition by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly to motion for digmissal pursuant
to FRCP 12(b){6) [5-1] filed by defendant Bayer Corporation
(tbl) [Entry date 09/10/02]

9/10/02 17 Memo in opposition by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly to motion to dismiss plas' cmp
[7~1] failed by defendant Walgreen LA Co Inc (tbl)
[Entry date 09/10/02]

9/11/02 18 Cross-Notice of Deposition by defendant Bayer Corporation
of Walter Kernan on 9/18/02 (tbl) [Entry date 09/12/02]

9/13/02 19 MOTION by defendant Novartis Consumer for temporary stay
to be heard before Judge Engelhardt at $ 30 10/2/02 (tbl)
[Entry date 09/13/02]

9/23/02 25 Motion by defendant Bayer Corporation for exp hrg on its
mtn for temporary stay of proceedings pending a final
ruling of the Judicial Panel on Multidistrict Litigation on
transfer of this case to MDL-1407 and UNSIGNED ORDER (tol)
[Entry date 09/27/02]

9/23/02 26 MOTION by defendant Bayer Corporation for temporary stay
of proceedings pending a final ruling of the Judicial Panel
on Multidistrict Litigation on transfer of this case to
MDL-1407 to be heard before Judge Engelhardt at 9 30
10/16/02 (tbl) [Entry date 09/27/02)

9/24/02 20 Memo in opposition by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly to motion for temporary stay
[19-1] filed by defendant Novartis Phar Corp (tbl)
[Entry date 09/24/02]

9/24/02 21 Memo in cpposition by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly to motion to dismiss for failure
to state a claim upon which relief can be granted ({14-1]
filed by defendant Novartis Consumer (tbl)

Docket as of January 3, 2003 9:12 am Page 5
Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 11 of 472

Proceedings include all events.
2 02cv2436 Donnelly, et al v Bayer Corporation, et al TERMED MAG-1
TRANSF

[Entry date 09/24/02]

9/24/02 22 Memo in opposition by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly to motion to dismiss for failure
to state a claim upon which relief can be granted [13-1]
filed by defendant Novartis Phar Corp (tbl)
[Entry date 09/24/02]

9/24/02 23 Memo in opposition by defendant Bayer Corporation,
defendant Novartis Phar Corp, defendant Novartis Consumer
to motion to remand this matter to the 34th JDC, Parish of
St Bernard [12-1] filed by plaintiff Daphine B Donnelly,
plaintiff Jerome Donnelly (tbl) [Entry date 09/24/02]

9/24/02 24 Memorandum by plaintiff Daphine B Donnelly, plaintiff
Jerome Donnelly in opposition to motion for temporary stay
filed by defendant Bayer Corporation (tbl)

[Entry date 09/24/02]

9/24/02 27 Cross-Notice of Videotaped Deposition by defendant Bayer
Corporation of Lawrence M Brass on 10/1/02 (tbl1}
[Entry date 09/27/02]

9/27/02 28 MINUTE ENTRY ( 9/27/02 ) Bfr the Court are pla's mtn to
remand [12], dfts' mtns to dismiss [5, 7, 13, 14], & dft
Novartis Consumer's mtn for temporary stay [19], presently

noticed for hrg at 9.30 10/2/02, this matter 1s temporarily
stayed pending a final ruling of the Judicial Panel on
Multidistrict Litigation on transfer of this case to
Multidustruct Litigation MDL 1407, the Court grants the mtn
for temporary stay filed on behalf of dft Novartis Consumer
Health [19]. by Judge Kurt DBD Engelhardt (tbl)

[Entry date 09/30/02]

10/4/02 29 Cross-Notice of Videotaped Deposition by defendant Bayer
Corporation of Catherine Viscoli on 10/21/02 (tbl)
[Entry date 10/07/02]

10/4/02 30 Cross-Notice of Videotaped Deposition by defendant Bayer
Corporation of Ralph Horwitz on 10/9/02 (tbl)
(Entry date 10/07/02]

10/8/02 31 Cross-Notice of Videotaped Deposition by defendant Bayer
Corporation of Kerrie Krompf on 10/29/02 (tbl}
[Entry date 10/09/02]

10/15/02 32 Amended Cross-Notice of Deposition by defendant Bayer
Corporation of Connie Kent on 11/12/02 (tbl)
[Entry date 10/15/02}

10/21/02 33 ORDER from the MDL Panel that the oppositions of plas toa
transfer this action to the USDC for the Western District
of Washington 1s set for hrg on 11/21/02 w/o oral argument
by Clerk, MDL Panel (tbl) [Entry date 10/22/02]

Docket as of January 3, 2003 9,12 am Page 6
Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 12 of 472

Proceedings include all events.

Z.02cv2436 Donnelly, et al v. Bayer Corporation, et al TERMED MAG-1i
TRANSF
12/17/02 34 CONDITIONAL ORDER of transfer to the Western District of

Washington, MDL 1407 by Clerk MDL Panel (tbl)

[Entry date 12/18/02]

1/2/03 35 ORDER pursuant to the MDL panel and request to transfer
case to the Western Dist of Washington regarding MDL No
1407 case transferred (CASE CLOSED) (nn}

[Entry date 01/03/03]

Docket as of January 3, 2003 9:12 am

CLERK’S OFFICE

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Page 7

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CLERK
AL P. TIGATION

IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY
LITIGATION

Billy Ray Crumpton, et al, vy, Bayer Corp., et aL, N.D. Alabama, C.A. No. 2:02-1469

Karen Lundgren v, Chattem, Inc., et al., N.D. California, C.A. No. 3:02-3715

Daphine B. Donaelly, et al. vy. Bayer Corp., et al., ED. LouisianaCC.A, No, 2:022436 A/)

Giorta Celestine v. Wyeth Co., et al., E.D. Louisiana, C.A. No. 2:02-2468

Patricia Harris, ete. v. Bayer Corp, et al., N.D. Mississippi, C.A. No. 2:02-127 |

Robert Towner v, American Home Products Corp., et al., N.D. Mississippi, C.A. No. 2:02-132

Eugene Wilson, et al. v. American Home Products Corp., et al., N.D. Mississippi, C.A. No.
2:02-133

Florence Ingram, et al. v. Bayer Corp., et al., N.D. Mississippi, C.A. No. 4:02.39

Dorothy Ann Clay, et al. vy. American Home Products Corp., et ai., N.D. Mississippi, C.A. No.
4:02-149

Kathleen Burchfield v. American Home Products Corp., et al., N.D. Mississippi, C.A. No.
4:02-151 _—

Dina Smuth, etc. vy. American Home Products Corp., et al., 5.D. Mississippi, C.A. No. 2:02-562

Heien Pipes, etc. v. American Home Products Corp., et al., 8.D. Mississippi, C_.A. No. 3:02-498

Theresa Brooks, et al. v. American Home Products Corp., et al., S.D. Mississippi, C.A. No.
4:02-273 -

Ruben Valdez, Jr., et al. v. Wyeth, et al., W.D. Texas, C.A, No. 3:02-310

Antonia Olivas, et al. v. American Home Products Corp., et al., W.D. Texas, C.A. No. 3:02-311

BEFORE WM. TERRELL HODGES, CHAIRMAN, JOHN F,. KEENAN,
MOREY L, SEAR,” BRUCE M. SELYA, JULIA SMITH GIBBONS, D.

LOWELL JENSEN AND J. FREDERICK MOTZ,” JUDGES OF THE
PANE.

TRANSFER ORDER

Before the Panel are motions brought, pursuant to Rule 74, RPJPML,199F RD 425,
435-36 (2001), by plaintiffs in fifteen actions seeking to vacate Panel orders conditionally
transferring their respective actions pending in the Northern District of Alabama, the Northem
District of Califorma, the Eastern Distnct of Louisiana, the Northern District of Mississippi, the
Southern District of Mississippi, and the Western District of Texas. Plaintiffs object to transfer of
their actions to the Western District of Washington for inclusion in the centralized pretrial

“Judges Sear and Selya took no part in the decision of this matter Additionally, Judge Motz took no part
in the disposition of this matter with respect to one of the Western District of Texa eee
uae tr “hae lame

kia

CtRimDen
Doe.No.

By

." . ,Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 14 of 472

2.

proceedings occurrmg there in this docket before Judge Barbara Jacobs Rothstein Various
defendants in the actions have responded in support of transfer

On the basis of the papers filed and hearing session held, the Panel finds that these actions
involve common questions of fact with actions 1n this litigation previously transferred to the Western
District of Washington, and that transfer of the actions to that district for inclusion in the coordinated
or consolidated pretrial proceedings occurring there will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of the litigation The Panel 1s persuaded that
transfer of the actions 1s appropriate for reasons expressed by the Panel in 1ts orginal order directing
centralization 1n this docket The Panel held that the Western District of Washington was a proper
Section 1407 forum for actions brought by persons allegedly injured by products contaimng
Phenylpropanolamine (PPA) — a substance which, until 1t recently became the subject of a public
health advisory issued by the Food and Drug Admumustration, was used as an ingredient m many
nasal decongestants and weight control products See In re Phenylpropanolamine (PPA) Products
Liability Litigation, 173 F Supp 2d 1377 (J PML 2001)

The plaintiffs opposing transfer of their actions premise much of their opposition to transfer
on their argument that federal jurisdiction 1s lacking in their actions These parties urge the Panel
not to order transfer before remand motions are resolved by the appropnate transferor court We
note that remand and other motions, 1f not resolved in transferor courts by the time of Section 1407
transfer, can be presented to and decided by the transferee judge See,eg ,Inre Ivy, 901 F 2d7 (2nd
Cir 1990), In re Prudential Insurance Company of America Sales Practices Litigation, 170
F Supp 2d 1346, 1347-48 PML 2001)

IT 1S THEREFORE ORDERED that, pursuant to28 US C § 1407, these fifteen actions are
transferred to the Western District of Washington and, with the consent of that court, assigned to the
Honorable Barbara Jacobs Rothstein for clusion in the coordinated or consolidated pretnal
proceedings occurring there in this docket

[ hereby cerufy that the

annexed wetrument is @ true FOR THE PANEL.
and correct copy of the crigmai
on file in my office

ATTRST. BRUCE RIFKIN 6S Dama rho

Clerk, U S$. District Court
Western District of Washington Wm Terrell Hodges

Chairman

Deputy Clerk

Case 2:02-cv-02527-BJR Document 36

DOCKET NO. 1407

Filed 01/10/03
INVOLVED COUNSEL LIST

Page 15°6GE7bOF 3

IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY LITIGATION

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. Case 2:02-cv-02527-BJR Document36 _ Filed 01/10/03 Page 18 of 472

INVOLVED JUDGES LIST
DOCKET NO. 1407
IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY LITIGATION

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Case 2:02-cv-02527-BJR Document 36 ~ Filed 01/10/03

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IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY LITIGATION

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DOCKET NO. 1407

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at Case 2:02-cv-025U WIFEDSTATES OleAMERIC Apage 20 of 472
JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CHAIRMAN MEMBERS DIRECT REPLY TO
Judge Wm Terrell Hodges Judge John F Keenan Judge Julia Smith Gibbons
United States District Court United States District Court United States Court of Appeals Michael 3 Beck
Middle District of Florida Southern District of New York Sixth Circuit Clerk of the Panel
Judge Morey L Sear Judge D. Lowell Jensen Thurgood Marshall Federal
United States District Court United States District Court J udiela Building
Eastern District of Louisiana Northern District of Califorma Room G-255, North Lobby
Judge Bruce M Selya Judge J Fredenck Motz Washington, DC. 2002
United States Court of Appeals tuted States District Court 2
First Circuit District of Maryland Zelephone pa a 38
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December 12, 2002 Leen NED
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Bruce Rifkin, Clerk nnne
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Re. MDL-1407 -- In re Phenylpropanolamine (PPA) Products Liability Litigation

Billy Ray Crumpton, et al. v Bayer Corp , etal, ND Alabama, C A. No 2:02-1469

Karen Lundgren v Chattem, Inc , etal, N D Califorma, C.A No 3-02-3715

Daphine B Donnelly, et al v Bayer Corp , etal ,ED Louisiana, C.A No 2 02-2436 i’
Gloria Celestine v. Wyeth Co , etal,ED Louisiana, C A No. 2-02-2468

Patricia Harris, etc v Bayer Corp., et al, N.D. Mississippi, C A No. 2 02-127

Robert Towner v American Home Products Corp , et al., ND Mississippi, C A. No. 2.02-132

Eugene Wilson, et al v American Home Products Corp , etal, ND Maussissippi, C.A No 2 02-133

Florence Ingram, et al. v. Bayer Corp , etal, ND Mississippi, C A No 4 02-39

Dorothy Ann Clay, et al v American Home Products Corp , etal ,N D Mississippi, C.A No 4 02-14

Kathleen Burchfield y American Home Products Corp , et al, N D Mississippi, C A. No. 4 02-151
Dina Smith, etc v. American Home Products Corp , et al , S.D. Mississippi, C A. No. 2 02-562
Helen Pipes, etc v American Home Products Corp , et al, S D. Mississippi, C A No 3 02-498

Theresa Brooks, et al v American Home Products Corp , ef al, 5D Mississipp1, C A. No 4 02-273

Ruben Valdez, Jr, et al v Wyeth, etal, W.D Texas, C A No 3 02-310
Antonia Olivas, et al v. American Home Products Corp , et al , W D. Texas, C.A No. 3 02-311

Dear Mr Rifkin

I am enclosing a certified copy and additional copies of an order filed by the Judiciai Panel on Muitidistr1

Litigation in the above-captioned matter. The act creating the Panel provides that:

Orders of transfer shall be filed in the office of the clerk of the district court of the transferee
district and shall be effective when thus filed The clerk of the transferee district court shall

forthwith transmit a certified copy of the panel's order to transfer to the clerk of the district court
from which the action 1s bemg transferred 28USC § 1407(c)

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PY Of the order js being sent to the clerk for the Southern District.
Dearing on this Matter was held on November 21, 2002.

A list of involved counse} Is attached.

Very truly,

Michael J. Bec
Clerk of the Pane}

©

By
Deputy Clerk

Enclosures/Attachment

Cc’ Transferee Jug

see Attached L;

Hearing District Clerk Scott Poff

|
st of Clerks)

i hereby certify that the wean ve
annexed weirument is a true
and correct copy of the omginal

on file in my office.

ATTEST BRUCE RIFKIN
Clerk, U.S. District Gourt

od District of Washington

Deputy Clerk
Case 2:02-cv-02527-BJR Document 36 Filed 01/10/03 Page 22 of 472

geceiyep UNITED States DistRICT Court
US. BIS TRICT COURESTERN DISTRICT OF WASHINGTON
EAST BISTRICT OF LA OFFICE OF THE CLERK

BRUCE RIFKIN 900] JAN-2 PM 3:07 WLAN KENZO NAKAMURA
LORETTA G. WHYTE SEATTLE, WASHINGTON 98104
CLERK

December 18, 2002

Mr Warren A Cuntz, Jr

United States District Court
C-367 United States Courthouse
500 Camp Street

New Orleans, LA 70130

IN RE MDL 1407 (PPA) PHENYLPROPANOLAMINE PRODUCTS LIABILITY LITIGATION

Dear Clerk

Enclosed 1s certified copy of the Transfer Order entered by the Judicial Panel on Multidistrict Litigation.
The Order became effective December 12, 2002 We have assigned an individual Western District of
Washington (WAW) case number to your case to be transferred to us as hsted below

Please send us your file along with a certified copy of your docket entries When you send your file,
please refer to our civil action number

Title of Case Your Number WAW Number
Donnelly v Bayer Corp 2.02-2436 a/ (‘ Q
Celestine v Wyeth Co 2 02-2468 C Y 2 —_ 2 5 2 i
Sincerely, VO tn 2
BRUCE RIFKIN, CLERK g

oy Dhue Boiler:

Valerie Barber, Deputy Clerk
206-553-4170 ext 4
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EASTERN ether oF DUA JUDICIAL PANEL ON
wees # MULTIDISTRICT LITIGATION
FILED | ogee 1 7 2002 pe DEC 12 2002
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DOCKET NO. 1407 CLERK'S OFFICE
LORETTA G. WHYTE
BEFORE THE SODICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY
LITIGATION

Billy Ray Crumpton, et al. v. Bayer Corp., et al., N.D. Alabama, C.A, No, 2:02-1469

Karen Lundgren y. Chattem, Inc., et al., N.D. California, C.A, No. 3:02-3715

Daphine B, Donnelly, et al. v. Bayer Cerp., et a ED. Louisiane C.A. No, 2:02-2436 | >

Gloria Celestine y. Wyeth Co., et al. E.D. Louisiana, C.A, No. 2:02-2408 F

Patricia Harris, etc. vy. Bayer Corp., et al., ND. Mississippi, C.A, No, 2:02-127

Robert Towner v. American Home Products Corp., et al., N.D. Mississippi, C.A. No. 2:02-132

Eugene Wilson, et al. v. American Home Products Corp., et al., N.D. Mississippi, C.A. No.
2:02-133

Florence Ingram, et al. v. Bayer Corp., et af,, N.D. Mississippi, C.A. No. 4:02-39

Dorothy Ann Clay, et at. v. American Home Products Corp., et al., N.D. Mississippi, C.A. No.
4:02-149

Kathleen Burchfield vy. American Home Products Corp., et al., N.D. Mississippi, C.A. No.
4:02-15]

Dina Smith, etc. y. American Home Products Corp., et al., 8.D. Mississippi, C.A. No. 2:02-562

Heien Pipes, etc. v. American Home Products Corp., et al., 8D. Mississippi, C.A. No. 3:02-498

Theresa Brooks, et al. vy. American Home Products Corp., et al., 8.D. Mississippi, C.A. No.
4:02-273

Ruben Valdez, Jr., et al. vy. Wyeth, et al., W.D. Texas, C.A. No. 3:02-310

Antonia Olivas, et al, vy. American Home Products Corp., et al., W.D, Texas, C.A. No. 3:02-311

BEFORE WM. TERRELE HODGES, CHAIRMAN, JOHN F. KEENAN,
MOREY L. SEAR,: BRUCE M. SELYA," JULIA SMITH GIBBONS, D.
LOWELL JENSEN AND J. FREDERICK MOTZ,” JUDGES OF THE
PANEL

TRANSFER ORDER

Before the Panel are motions brought, pursuant to Rule 74, R PJP.ML,199F RD 425,
435-36 (2001), by plaintiffs in fifteen actions seeking to vacate Panel orders conditionally
transferrmg their respective actions pending im the Northern District of Alabama, the Northern
District of California, the Eastern District of Louisiana, the Northern District of Mississippt, the
Southern District of Mississippi, and the Western District of Texas Plaintiffs object to transfer of
their actions to the Western District of Washington for inclusion in the centralized pretnal

"Judges Sear and Selya took no part m the decision of this matter Addttionally, Judge Motz took ne part
im the disposition of this matter with respect to one of the Western District of Texas actions (Valde#ee _
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Case a02 cv-0es7@ Document 36 Filed oe Page 24 of 472

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proceedings occurring there in this docket before Judge Barbara Jacobs Rothstem. Various
defendants in the actions have responded in support of transfer.

On the basis of the papers filed and hearing session held, the Panel finds that these actions
involve common questions of fact with actions in this litigation previously transferred to the Western
District of Washington, and that transfer of the actions to that district for mclusion in the coordinated
or consolidated pretrial proceedings occurring there will serve the converuence of the parties and
witnesses and promote the just and efficient conduct of the litigation The Panel is persuaded that
transfer of the actions 1s appropnate for reasons expressed by the Panel in its original order directing
centralization in this docket The Panel held that the Western District of Washington was a proper
Section 1407 forum for actions brought by persons allegedly injured by products contaming
Phenylpropanolamine (PPA) — a substance which, untul 1t recently became the subject of a public
health advisory issued by the Food and Drug Administration, was used as an ingredient in many
nasal decongestants and weight control products See In re Phenylpropanolamine (PPA) Products
Liability Litigation, 173 F Supp 2d 1377 (J PML 2001)

The plaintiffs opposing transfer of their actions premise much of their opposition to transfer
on their argument that federal jurisdiction is lacking in their actions These parties urge the Panel
not to order transfer before remand motions are resolved by the appropriate transferor court We
note that remand and other motions, 1f not resolved in transferor courts by the tme of Section 1407
transfer, can be presented to and decided by the transferee judge See,e g ,Inrelvy, 901 F 2d7 2nd
Ci 1990), In re Prudential Insurance Company of America Sales Practices Litigation, 170
F Supp 2d 1346, 1347-48 (J PML 2001)

IT IS THEREFORE ORDERED that, pursuant to 28 U.S C. § 1407, these fifteen actions are
transferred to the Western Distnct of Washington and, with the consent of that court, assigned to the
Honorable Barbara Jacobs Rothstein for inclusion in the coordinated or consolidated pretrial
proceedings occurring there in this docket

FOR THE PANEL:

6S 2 Dm rho

Wim Terrell Hodges
Chairman

Case 2:02 ev 0252@gpR Document 36 Filed “%@ Page 25 RAG ? OF 3

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Dallas, TX 75201

Randolph § Sherman
Kaye Scholer, LLP
425 Park Avenue

12th Floor

New York, NY 10022

Peter Simshauser

Skadden, Arps, Slate, Meagher &
Flom

300 South Grand Avenue

Suite 3400

Los Angeles, CA 90071-3144

Smoothie King Co

c/o Stephen Kubnau, Sr
2406 Veterans Bivd
Suite 110

Kenner, LA 70062

Smoothie King Systems
c/o Stephen Kuhnau, Sr
2400 Veterans Blvd
Suite 110

Kenner, LA 70062

Joseph J Stroble
Watkins & Eager

The Emporium Building
Suite 300, PO Box 650
400 East Capitol Street
Jackson, MS 39205-0650

Terry O Tottenham
Fulbright & Jaworski, LLP
600 Congress Avenue
Suite 2400

Ausnn, TX 78701

C Crews Townsend

Miller & Martin

Volunteer Building, Suite 1000
832 Georgia Avenue
Chattanooga, TN 37402

Jack Etherton Truitt
Truitt Law Firm

251 Highway 21
Madisonville, LA 70447

David Van Every

Law Office of Van Every
PO Box 761

Columbus, MS 39703-0761

Alan R Vickery

Sedgwick, Detert, Moran & Arnold
1717 Main Street

Suite 5400

Dallas, TX 75201

eee Sant 36 Filed oo Page 27 GAGES OF 3

Jimmy Brian Wilkins
Watkins & Eager

P O Box 650

Jackson, MS 39205-0650

James Williams

Miller & Martin

Volunteer Buildimg, Suite 1000
832 Georgia Avenue
Chattanooga, TN 37402

Frank A Wood, Ir
Watkins & Eager

The Emporium Building
Suite 300, P O. Box 650
400 East Capitol Street
Jackson, MS 39205

Rebert B Worley, Jr

Jones, Walker, Waechter, et al
201 St Charles Avenue

49th Floor

New Orleans, LA 70170
Case 2:02-cv-0252 @aIR Document 36 Filed 00 Page 28 of 472

INVOLVED JUDGES LIST
DOCKET NO. 1407
IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY LITIGATION

Hon David Briones

U S. District Judge

US Courthouse

511 E San Antomo Street
E! Paso, TX 79901-2401

Hon Glen H Davidson

Chief Judge, U $ District Court
PO Box 767

Aberdeen, MS 39730-0767

Hon Kurt D Engelhardt
US District Judge
C-317 U § Courthouse

* 300 Camp Street

New Orleans, LA 70130

Hon Martm LC Feldman
US District Judge

C-555 U § Courthouse

500 Camp Street

New Orleans, LA 70130-3318

Hon Elizabeth D Laporte

US Magistrate Judge

Phillip Burton U § Courthouse
Box 36060

450 Golden Gate Avenue

San Francisco, CA 94102

Hon TomS Lee

Chief Judge, US District Court

110 James O Eastiand US Courthouse
245 East Capital Street

Jackson, MS 39201

Hon Philip R Martinez

US District Judge

U8 Courthouse

511 East San Antonio Avenue
El Paso, TX 79901

Hon Michael P Mills

US District Judge

355 Federal Bldg & US Courthouse
911 Jackson Avenue, West

Oxford, MS 38653

Hon Edwin L Nelson

US District Judge

786 Hugo L Black U S Courthouse
1729 5th Avenue North
Birmingham, AL 35203

Hon W Alien Pepper, Jr
US District Judge

United States District Court
Post Office Box 370
Greenville, MS 38702-0370

Hon Charles W Pickering, Sr

US District Judge

228 US Courthouse & Federal Bldg
701 North Main Street

Hatnesburg, MS 39401

Hon Henry T Wingate

US District Judge

109 James O Eastland U S Courthouse
245 East Capitol Street

Jackson, MS 39201

Case e02-cv-0es7 @r Document 36 Filed “v@® Page 29 of 472

INVOLVED CLERKS LIST
DOCKET NO. 1407
IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY LITIGATION

Arlen B Coyle, Clerk

US Dustrict Court

PO Box 190

Greenville, MS 38702-0190

Arlen B Coyle, Clerk

369 Federal Buildmg & U 5 Courthouse
911 Jackson Avenue East

Oxford, MS 38655-3622

JT Nobho, Clerk

200 U § Courthouse & Federal Building
701 North Main Sireet

Hattiesburg, MS 39401

JT Noblin, Clerk

316 James O Eastland US Courthouse
245 East Capitol Street

Jackson, MS 39201

Loretta G Whyte, Clerk
C-151 US Courthouse

500 Camp Street

New Orleans, LA 70130-3367

Perry D Mathis, Clerk
140 Hugo L Black US Courthouse
1729 5th Avenue North
Birmingham, AL 35203

Richard W Wieking, Clerk
Phillip Burton U S$ Courthouse
Box 36060

450 Golden Gate Avenue

San Francisco, CA 94102-3489

Wilham G Putnmicki, Clerk
350 U S Courthouse

Sit East San Antonio Street
El Paso, TX 79901-2401
Case 2:02-cv-025

TEDSTATES OF AME

JUDICIAL PANEL ON MULTIDISTRIC

CHAIRMAN

Judge Wm Terrell Hodges
United States Dastrict Court
Middle District of Florida

MEMBERS

Judge John F Keenan

United States Disioct Court
Southern District of New York

Judge Morey L Sear
Umted States District Court
Eastern Distnet of Louisiana

Judge Bruce M Selya

Judge Juha Smith Gibbons
United States Court of Appeals
Sixth Circut

Judge D Lowell Jensen
United States District Court
Northem District of California

Judge J Frederick Motz.

Page 30 of 472
ITIGATION

DIRECT REPLY TO

Michae) } Beck

Clerk of the Panel

One Columbus Circle, NE
Thurgood Marshall Federal
Judiciary Building

Room G-255, North Lobby
Washington, DC 20002

United States District Court

United States Court of Appeals District of Maryland

First Circuit Telephone Bet 502-2800

Fax 202] 502-2888

http ‘Awww jpml uscourts gov

December 12, 2002

Bruce Rifkin, Clerk

215 William Kenzo Nakamura
U S. Courthouse

1010 Fifth Avenue

Seattle, WA 98104-1130

Re

MDL-1407 -- In re Phenylpropanolamine (PPA) Products Liability Litigation

Billy Ray Crumpton, et al v Bayer Corp, etal, ND Alabama, C A No 2 02-1469

Karen Lundgren v Chattem, Inc , etal, ND Califorma, C A No 3 02-3715

Daphine B Donnelly, etal v Bayer Corp, etal ,ED Louisiana, C A No 2 02-2436

Gloria Celestine v Wyeth Co , etal, ED Lousiana, C A No 2 02-2468

Patricia Harris, etc v Bayer Corp , etal, ND Mississippi, C A No 2 02-127

Robert Towner v_ American Home Products Corp , etal, N D Maississipp1, C A No 2 02-132
Eugene Wilson, et al vy American Home Products Corp , et al, N D Mississippi, C A No 2 02-133
Florence Ingram, et al. v Bayer Corp , etal, ND Mississippi, C A No 4 02-39

Dorothy Ann Clay, et al v American Home Products Corp , etal ,N D Mississippi, C A No 4:02-149
Kathleen Burchfield vy American Home Products Corp , etal, ND Mississippi, C A No 4 02-151
Dina Smith, etc vy American Home Products Corp , etal,S D Mississippi, C A No 2 02-562
Helen Pipes, etc vy American Home Products Corp , et al ,S D Massissippi, C.A No 3 02-498
Theresa Brooks, et al v Amertcan Home Products Corp , etal,5 D Maississipp1, C A No 4 02-273
Ruben Valdez, Jr , et al v Wyeth, et al, W D. Texas, C A No 3 02-310

Antonia Olivas, et al v Amertcan Home Products Corp , et al, WD Texas, C A No 3 02-311

Dear Mr Rifkin

Iam enclosing a certified copy and additional copies of an order filed by the Judicial Panel on Multidistrict

Litigation in the above-captioned matter The act creating the Pane! provides that

Orders of transfer shall be filed im the office of the clerk of the district court of the transferee
district and shall be effective when thus filed The clerk of the transferee district court shall
forthwith transmit a certified copy of the panel's order to transfer to the clerk of the district court
from which the action 1s being transferred 28 USC § 1407(c)

Case e02-cv Osc Document 362 - Filed “v@ Page 31 of 472

As 1s also required by the statute, a copy of the order is being sent to the clerk for the Southern District of
Georgia, the district in which the hearing on this matter was held on November 21, 2002

A list of involved counsel 1s attached
Very truly,

Michael J Beck
Clerk of the Panel

By
Deputy Clerk

Enclosures/Attachment

cc ‘Transferee Judge Judge Barbara Jacobs Rothstein
Transferor Judges (See Attached List of Judges)
Transferor Clerks (See Attached List of Clerks)
Hearimg District Clerk Scott Poff

JPML Form 29
Case eee” Document 36 Filed ue? Page 32 of 472

ONDE NN ATA
LUNA

CASE: 2:02~-cv-02436
DOCUMENT: 34

DATE 12/18/02
CLERK. tbl

Notices sent to:

J. Loupe by fax to 225-767-9003
Dana Kirk by mail.

Clayton Clark by mail.

J. Davis by mail.

Mary Meyer by fax to 504-544-6077
Joy Braun by fax to 504-582-1555

C Bradley Jr. by fax to 504-584-9142
Jack Truitt by fax to 985-792-1065

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Case A028 VER ED ste ES OF AMERIC® Page 33 of 472

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

CHAIRMAN MEMBERS DIRECT REPLY TO
Judge Wm Terrell Hodges Judge John F Keenan Judge Juha Smith Gibbons
United States District Court United States District Court Luuted States Court of Appeals Michael J Beck
Middle District of Florida Southem District of New York Sixth Circurt Clerk of the Panel
Judge M LS Judge D Lowell Jensen One Colvenbus c uncle, NE
udge Morey L Sear Thurgood Marshall Federal
United States District Court United States District Court Judie: Building
Eastern District of Louisrana Northern Distnct of Califorma Room G-255, North Lobby
Judge Bruce M Selya idee? shtedenck Mote Washington, DC 20002
United States Court of Appeals muted States District Court
First Circutt District of Maryland Fe ‘fon Se: 303 2Be8

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U US DIS PAC PROT &

EASTERN OISTPICT DF LOVISIA\ *

October 16, 2002
FILED OCT 2, 2002

NOTICE OF HEARING SESSION

LORETTA G. WHYT
CLERK

Dear Counsel

Pursuant to the order of the Judicial Panel on Multidistnict Litigation fi
hearing session has been scheduled to consider various matters pursuant to 28 U s. C. § 1407

DATE OF HEARING SESSION November 21, 2002

LOCATION OF HEARING SESSION’ Old Federal Buiding V
Third Floor Courtroom fr 0 ot —ol y 3 6

i125 Bull Street
Savannah, GA 31401

TIME OF HEARING SESSION: In those matters designated for oral argument, counsel presenting oral
argument must be present at 8:30 a.m. in order for the Panel to allocate the amount of time for oral argument.
Orai argument will commence at 9:30 a.m.

Please direct your attention to the enclosed Hearing Session Order and Schedule of Matters for Hearing Session
for a hsting of the matters scheduled for consideration at this hearing session

. Section A of this Schedule lists the matters designated for oral argument.
. Section B of this Schedule lists the matters that the Panel has determined to consider without oral
argument, pursuant to Rule 16 1(c), RP.J P M.L, 199 F.R D. 425, 439 (2001)

For those matters listed on Section A of the Schedule, the enclosed blue "Notice of Presentation or Waiver of
Ora] Argument" must be returr.ed to this office no later than November 4, 2002. Note the procedures governing
Panel oral argument which are outlined on the enclosed "Procedures for Oral Argument before the Judicial Panel
on Multidistrict Litigation " These procedures are strictly adhered to and your cooperation 1s appreciated

Very truly,

. ——F
Micheal \. Beek. —Phocsos
Michael J. Beck ont A

Clerk of the Panel Dot.No. Kas

c: Clerk, U.S. District Court for the Southern District of Georgia
Case 2:02-cv-02527@aR Document 36 Filed ou"@ Page 34 of 472

JUDICIAL PANEL ON
MULTICISTRICT LITIGATION
FILED

OCT 16, 2002

MICHAEL J BECK
CLERK OF THE PANEL

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

! WM. TERRELL HODGES, CHAIRMAN, JOHN F. KEENAN, MOREY L. SEAR,
BRUCE M. SELYA, JULIA SMITH GIBBONS, D. LOWELL JENSEN AND J.
FREDERICK MOTZ, JUDGES OF THE PANEL

HEARING SESSION ORDER

IT IS ORDERED that on November 21, 2002, a hearing session will be held in Savannah, Georgia,
to consider the matters on the attached Schedule under 28 USC § 1407

IT IS FURTHER ORDERED that at said hearing session the Panel may, on its own initiative,
consider transfer of any or all of the actions in those matters to any district or districts.

IT IS FURTHER ORDERED that at said heanng session the matters hsted on Section A of the
attached Schedule shall be designated for oral argument.

IT IS FURTHER ORDERED that at said hearing session the matters hsted on Section B of the
attached Schedule shall be considered without oral argument, pursuant to Rule 16 1(c), RP J PML, 199
FRD 425, 439(2001) The Panel reserves the prerogative, on any basis including submissions of parties
pursuant to Panel Rule 16 1(b), to issue a subsequent notice designating any of those matters for oral

argument.

IT IS FURTHER ORDERED that the Clerk of the Judicial Panel on Multidistrict Litigation shall
direct notice of this hearmng session to counsel for all parties involved in the matters on the attached

Schedule

FOR THE PANEL.

Cf 2 Dmrmith orhya

Wim. Terrell Hodges
Chairman

Case 202 ~v 00 ar Document 36 Filed oS Page 35 of 472

Schedule of Matters for Hearing Session, Section B p 15
Savannah, Georgia

MDL-1373 (Continued)

Opposition of defendant Bridgestone/Firestone North American Tire, LLC, to remand
of the followmg action to the United States District Court for the Central District of California

Southern District of Indiana

Jerry Boone, et al vy Ford Motor Co, etal,C A No 1.00-5069 (C D Califorma,
CA. No 2 00-10818)

MDL-1401 -- In re Sulzer Orthopedics Inc Hip Prosthesis and Knee Prosthesis Products
Liability Litigation

Opposition of plaintiff Hill Physicians Medical Group, Inc , to transfer of the followmg
action to the United States District Court for the Northern District of Ohio.

Northern District of California

Aull Physicians Medical Group, Inc v Sulzer Orthopedics, Inc., et al ,
C A. No, 3 02-3257

MDL-1407 -- In re Phenylpropanolamine (PPA) Products Liability Litigation

Oppositions of plaintiffs to transfer of their respective followmg actions to the United
States District Court for the Western District of Washington

Norther District of Alabama

Bully Ray Crumpton, et al v Bayer Corp, etal, C A No 2:02-1469
Northern District of Califorma

Karen Lundgren v Chattem, Inc, et al,C A No 3 02-3715

Case 2:02-cv 0292 7IR Document 36 Filed O1/LO/O¥ Page 36 of 472

Schedule of Matters for Hearing Session, Section B p 16
Savannah, Georgia

MDL-1407 (Continued)

Eastern District of Louisiana

John C Delahoussye v Bayer Corp, et al.,C A No. 2,.02-1742 A
Mike Byrd, etal v Bayer Corp, etal, C A No. 2:02-17
Daphine B Donnelly, et al v Bayer Corp A. No. 2.02-2436
Gloria Celestine v Wyeth Co, etal, C AXNo 2 02-2468 Ee

Ann Knapper vy Wyeth Co, etal, C A. No. 2:02-2485 &

Middle District of Louisiana
Rayfield Malveaux, Jr, et al. v Bayer Corp, et al.,C.A No 3,.02-555
Western District of Louisiana

Margie A Pier, etal v Bayer Corp, etal,C A No. 1 02-1196
Gracie Patterson, etal v Bayer Corp, et al, C.A No 3 02-1194
Barbara Adams, et al. v Bayer Corp, et al, C A. No, 5.02-1195
Peggy Stroud, etal v Bayer Corp, et al, C.A. No. 6.02-1190

Northern District of Mississippi

Patricia Harris, etc v Bayer Corp, et al, C A. No. 2:02-127

Robert Towner v American Home Products Corp, et al, C.A. No 2 02-132

Eugene Wilson, et al. v American Home Products Corp, et al, C A. No. 2:02-133
Florence Ingram, et al v Bayer Corp., et al, C.A. No. 4 02-39

Dorothy Ann Clay, et al. v American Home Products Corp, etal, C.A. No 4 02-149
Kathleen Burchfield v American Home Products Corp, et al.,C.A No 4 02-151

Southern District of Mississippi

Dina Smith, etc. vy American Home Products Corp , et al, C A. No 2.02-562
Helen Pipes, etc v American Home Products Corp, et al, C.A. No. 3°02-498
Theresa Brooks, et al v American Home Products Corp, et al, C.A. No 4 02-273

Western District of Texas

Ruben Valdez, Jr, et al v Wyeth, et al., C A. No 3 02-310
Antonia Olvas, et al v American Home Products Corp, et al., C.A. No 3 02-311

Case me Og Document 36 Filed "~~ Page 37 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION; MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE; SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS’”)

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* FF SH FH he He HE HF HF HK

AMENDED CROSS-NOTICE OF
VIDEOTAPED DEPOSITION OF CONNIE KENT

PLEASE TAKE NOTICE that in connection with In re Phenylpropanolamine (PPA)
Products Liability Litigation, Uruted States District Court, Western District of Washington,
MDL Docket No 1407, plaintiffs will take the deposition upon oral examination of
CONNIE KENT, now or formerly an employee of Bayer Corporation, on November 12,

2002 at the Holiday Inn Harbor Side Hotel Meeting Room, 33 Tamiami Trail, Punta Gorda,

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mera FTO RS ste
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FL 33950 (1-877-639-9339, http // www holidayinnharborside com), beginning at 9.00 A M.

and continuing until completed.

The deposition will be conducted pursuant to the provisions of Case Management
Order No. 1,! will be stenographically recorded by the court reporting firm of Tate & Tate,
180 Tuckerton Road, Suite 5, Medford, NJ 08055 and will be videotaped by Inwood Mult-
Media Products, Ltd, 327 West Fayette Street, Suite 222, Syracuse, NY 13202 The
examination will also be videotaped by Veritext, 25B Vreeland Road, Florham Park, NJ
07932, which will have a video camera trained on the questioner during the examination
Tim O’Brien and David Jim Green will represent plaintiffs

You are at liberty to appear and examine the witness

DATED thus We day of October, 2002

ae

Mary L Meyer, Esq. (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

1 A copy of the Case Management Order No 1 was attached to other Cross-Notices of Depositions filed in
this case.

581952_1 DOC 2
Case 2:02 ev 0259 R Document 36 Filed “~@ Page 39 of 472

CERTIFICATE OF SERVICE

Y@
I hereby certify that I have on this_/ ¢_ day of October, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery,

facsumile, or by depositing the same in the United States mail, properly addressed, and

first-class postage prepaid. C4 4p
v q 4 (

581952_1 DOC 3

Case 202 cv 025 ggr Document 36 Filed “eg Page 40 of 472

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eRSRLAN DISTRICT OF LA
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Tia G. WHY
LORE ERK
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-2436
VERSUS
SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

eee eee Ke HEE EK K Ee KEK KE EK Ke KK KF KE

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CROSS-NOTICE OF VIDEOTAPED
DEPOSITION OF KERRIE KROMPF

PLEASE TAKE NOTICE that pursuant to Federal Rules of Civil Procedure, Rule 26,
et seg , and in connection with In Re Phenylpropanolamine (PPA) Products Liability Litigation,
United States District Court, Western District of Washington, MDL Docket No 1407,
defendant SmithKline Beecham Corporation, d/b/a GlaxoSmithKline (“GSK”) and other
manufacturer defendants will take the deposition of Kerrie Krompf at the Wyndham Hotel,

125 10 Street, Atlanta, Georgia (Telephone No 404/873-4800), commencing at 9 00 am

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Case ee 0g Document 36 Filed “eo Page 41 of 472

am on October 29, 2002 and continuing on October 30, 2002 (at 9 00 a m ), or such other
places, times and dates to which the parties and the witnesses may agree A copy of the
Notice of Deposition of Kerrie Krompf 1s attached hereto as Exhibit A

PLEASE TAKE FURTHER NOTICE that the witness has been directed to produce
for inspection, copying and use at the deposition the documents and things described in
the attachment to Exhibit A

Thuis deposition will be recorded by videotape as well as by stenographic means by
the court reporting firm of Tate & Tate, Inc , 180 Tuckerton Road, Suite 5, The Lexington
Building, Medford, NJ 08055

You are invited to attend and cross-examine the witness

me BY

Mary L Meyer, Esq (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

DATED this 3 day of October, 2002

530911_1 DOC 2

Case 202 cv-025 gr Document 36 Filed “ie Page 42 of 472

CERTIFICATE OF SERVICE

I hereby certify that I have on this j day of October, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery,

facsimule, or by depositing the same in the United States mail, properly addressed, and

first-class postage prepaid C4 bp
/

580911_1 DOC 3

Case 2:02-cv-025@MBIR Document 36 Filed 1g Page 43 of 472

HON BARBARA JACOBS ROTHSTEIN, USD)

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
INRE PHENYLPROPANOLAMINE (PPA) )
PRODUCT LIABILITY LITIGATION
} SUPPLEMENTAL NOTICE OF
wnnn arenes j DEPOSITION OF

) KERRIE KROMPF
This document relates to all actions )
}
)
}

and to the State Court actions to which this ) Case No MDL-1407
notice apples )
_— }

Pursuant to Federal Rules of Civil Procedure, Rules 26 et seq, and this Court's Order
filed August 19, 2002, and in supplementation of their notice of deposition of June 10, 2002,
defendant SmithKline Beecham Corporation, d/b/a GlaxoSmithKline (“GSK”) and other manufacturer
defendants wil} take the deposition of Kerrie Krompf at The Wyndam Hotel, 125 10th Street, Atlanta,
Georgia 30309 (Tel No 404 873-4800) commencing at 900 am on October 29, 2002, and
continuing on October 30, 2002 (at 9 00 a m ), or such other places, times and dates to which the
parties and the witness may agree

Picase take further notice that the witness has been directed to produce for inspection,

copying, and use at the deposition the documents and things descnbed in the attached Exhibit A

EXHIBIT

Case 2:02-cv-O25@@MBIR Document 36 Filed ule Page 44 of 472

Plcase take further notice that the above deposition will be recorded by videotape as

well as by stenagraphic means, by the firm Tate & Tate, Inc , 180 Tuckerton Road, Surtte 5, The

Lexington Building Medtord, New Jersey 08055

Dated October 2, 2002
Buttata, New York

ro Plainttts Lead Counsel
Planuft, Liason Counsel
Defendants’ Liaison Counsel
Detendants’ Lead Counsel
Sarah K Biran, Esq
Counsel in State court actions

BETO Da DFT T

PHILLIPS, LYTLE, HITCHCOCK, BLAINE & HUBER LLP

&

By

Tamar P Halpern, Esq
Thomas S Wiswall, Esq
3400 HSBC Center

Buffalo, New York 14263-2887
Telephone No (716) 847-8400

DRINKER BIDDLE & REATH LLP
Michael J Stortz, Esq

Charles F Preuss, Esq

225 Bush Street

15th Floor

San Francisco, Califorma 94104
Telephone No (415) 397-1730

Attorneys for Defendant
SmithKhne Beecham Corporation d/b/a GlaxoSmithKline

Case 2:02-cv-025 @BpIR Document 36 Filed 01/1. Page 45 of 472

EXHIBIT "A"

As used herein, the term “document” or “documents” shall mean and include any written, printed,
drawn, recorded, transcribed, filed or graphic matter, however produced, reproduced, or stored on
computer or otherwise electronically stored, and any originals, copies, drafts, revisions, or
amendments thereof "Document" or “Documents” shall mclude, by way of example and without
imitation, letters, memoranda, notes, e-mails, test data, charts, x-rays, reports, medical records,
records of payment, diagrams, manuals, test procedures, sketches, graphs, prints, secretarial notes,
work pads, diaries, films, tapes, videotapes, photographs, computer disks, computer printouts,
computer memory banks, books, publications, literature, announcements, or other writings or
tangible objects Further, "document" or “documents” requested herein extend to and include any
and all such materials within the possession, custody, or control of you and your agents, attomeys,
or representatives, regardless of where located. For any document withheld from production, and
any document redacted in any manner, please identify the document withheld or redacted by date,
author, type of document, subject matter, recipient, and any grounds for withholding or redaction of
the document You are to produce the materials in your possession, custody, or control listed
below

I. All documents related to the initiation of the Yale Hemorrhagic Stroke Project
(hereinafter “HSP”).

2. All documents related to the organizational structure of persons involved in the
HSP

3 All documents relating to the study personnel’s experience and credentials

(including but not limited to the curriculum vitae of each professional who
participated in the study).

4 All medical literature and case reports that were considered, reviewed, relied
upon, and/or utilized in any manner by you or by any investigator or other
personnel involved in the HSP from the inception of the HSP until its publication
in the New d Journal of Medicine.

5 All documents related to the Protocol for the HSP including, but not itmited to:

2) all documents related to the creation or development of the Protocol,

b) all documents related to the estimation of the sample size, including
MRI market research data,

c) all documents related to or containing communications with anyone
regarding the Protocol,

d) all documents related to comments, revisions, or modifications to the
Protocol, and

Case 2:02-cv-02 9G BIR Document 36 Filed ne Page 46 of 472

e) all drafts of the protocol

6 All documents related to obtaining Institutional Review Board Approval of the
HSP
7 All documents related to the conduct of the HSP including, but not limited to

a) all documents regarding or concerning the network of participating
hospitals;

b} all documents regarding the recruitment of investigators, hospitals, and
all persons involved in any way in the HSP,

c) all procedure manuals and all investigator's brochures, and

d) all documents regarding the training of any and all persons invoived in
the HSP, including but not limited to training manuals, training
videotapes, training attendance, identity of trainers, and confirmation
of training

8 All documents related to the ascertainment of cases in the HSP including, but not
hmited to, all documents regarding

a) the active surveillance program,

b) the surveillance team;

¢) the case definition;

d) methods of case ascertainment; and

e) exclusion criteria

9. All documents related to the selection of controls in the HSP including, but not

limited to, all documents regarding the use of random digit dialing and all
documents concerning telephone numbers that did not result in an eligible person

or control.

10 — AJ documents related to data collection and processing in the HSP including, but
not limsted to

a) all data collection forms,

b) all interview data forms,
Case 2:02-cv-025 BBR Document 36 Filed oS Page 47 of 472

c) training manuals for interviewers,

d) data logs regarding cases and controls,

e) ali case identification forms,

f) all potential control forms,

g) all log-in records;

h) all] data editing, coding and validation manuals,
1) all screening questionnaires;

j) all documents and records reviewed by a panel of stroke neurologists
involved in the determination of whether eligibility criteria were met;

k) all documents and records reviewed or generated by study physicians,

1) all documents and records, including logs, regarding stroke patients
rejected as not meeting eligibility criteria;

m) all medical records and scans (e.g , CT, MRI, MRA, angiogram, etc ),

n) all documents regarding scheduling of interviews and collection of
information from all study participants,

6) all product identification books, photographs, and charts,

p) all drug containers and drug labels furnished by study participants;
q) all documents related to observations of interviews,

r) all documents related to the assignment of mterviewers,

s) all documents related to surrogate/proxy interviews,

t) all documents related to the use or handling of data or information
obtained from surrogate/proxy interviews,

u) all data abstraction forms,
v) all coding forms,

w) ali documents related to codes, including their definition,

Case 2:02-cv-025@BBIR Document 36 Filed "ese Page 48 of 472

x) all documents relating to the monitoring of sample size,
y) all documents related to modification of any aspect of the HSP;
z) every participating subject’s folder and all contents of the folder;
aa) all audio tapes of interviews of study subjects,
bb) all financial reports, and
cc) all documents regarding the disbursement of funds

1 All documents regarding the proxy respondent sub-study

12. —_— All documents regarding communications concerning the HSP including, but not
limited to, all documents regarding communications"

a) between persons participating in the conduct of the HSP (For
purposes of this Item 12, “conduct” is defined to including without
hmitaton the design of the HSP, analysis of data, variations of or
amendments to the HSP protocol variations, and the drafting or
revision of abstracts, summaries, manuscripts and/or submissions
relating to the HSP),;

b) between anyone involved in the conduct of the HSP and any other
person or organization including, but not limited to, yourself, the Food
and Drug Administration, the Nonprescription Drug Manufacturers
Association, the Consumer Healthcare Products Association, any
member of the Scientific Advisory Group, pharmaceutical companies,
and/or any of their current or former employees, members or
representatives,

c) between anyone involved in the conduct of the HSP and any person
claiming injury from use of PPA-containing medication;

d) with physician investigators,

e) with participating hospitals including, but not iumited to,
communications with the surveillance officers and the admissions
offices at the participating hospitals,

f) with the Principal Investigator at each participating study site,

g) with each case’s physician,
Case 2:02-cv-O25@MBIR Document 36 Filed ul® Page 49 of 472

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with any medical or scientific journals including, without limitation,

the New England Journal of Medicine;

with amy physicians, epidemiologists, statisticians, or other
professionals asked by any person or entity (including, but not limited
to, the New England Journal of Medicine) to conduct a peer review of
the study and its results,

between HSP investigators and any member of the Scientific Advisory
Group,

between HSP investigators and the New England Journal_of Medicine,

and

with any other person at any of the participating institutions

Ali documents related to the Scientific Advisory Group including, but not limited
to, communications, reports, site visits, and travel expenses.

All documents regarding the handling, calculations, or use of any and all data
obtained regarding the HSP including, but not limited to-

a)
b)
c)
d)
e)
f}

g)
h)

i)

all electronic analysis files,

all documents related to interim data analysis;

all final analysis files, and

all data access logs;

all database dictionary files,

all data collection instruments;

all databases constructed from the questionnaires;

all databases for each intermediate and final analysis that relates to the
Fina! Report and the New England Journal of Medicine article;

all analyses not included in the Final Report or the New England
Journal of Medicine Article,

all analyses done after receipt of comments from or on behalf of
CHPA or any predecessor organization of CHPA,
Case 2:02-cv-029@BJR Document 36 Filed ue Page 50 of 472

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21.

k) all documents concerning the use of and/or difference between data
analysis via a one-tailed or two-tailed statistical test;

1) all documents concerning the adjustment of variables and analyses
used for the adjustment of variables.

All documents regarding the Final Report of the HSP and its preparation
including, but not limited 1o, all! communications, comments and drafts

All documents regarding the publication of the HSP in the New Engiand Journal
of Medicine, including but not limited to correspondence dated after publication

of the HSP in the New Eneland Jourmal of Medicine

All documents evidencing revisions, changes, additions, or deletions made to
the Final Report of the HSP (and/or the data contained in that report) prior to the
publication of the study’s results in the New England Journal of Medicine

All documents regarding conferences, discussions, or meetings with FDA
regarding the HSP, including, without limitation, documents concerning
preparations for October 19, 2000 hearing.

All documents relating to any comments about, or criticisms of, The HSP from
any source including, without limitations, letters to the editor concerning the HSP

AJjl documents regarding the Authors’ Reply published in the April 5, 2001 New
England Journal of Medicine including, but not lunited to, all data analyses and
communications with anyone after publication.

Al documents relating to the removal or refiling of any document responsive to
any of the above categories

Case 202 Og Document 36 Filed os Page 51 of 472

*

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
ALIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS” )

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CROSS-NOTICE OF VIDEOTAPED
DEPOSITION OF RALPH HORWITZ

PLEASE TAKE NOTICE that pursuant to Lousiana Code of Crvil Procedure Article 1429,
et seq , and in connection with Ix Re Phenylpropanolamine (PPA) Products Liability Litigation,
United States District Court, Western District of Washington, MDL Docket Ne 1407, defendant
SmithKline Beecham Corporation, d/b/a GlaxoSmithKhne (“GSK”) and other manufacturer
defendants will take the deposition of Ralph Horwitz at the Omm Hotel - New Haven, 135 Temple

Street, New Haven, CT 06510, commencing at 1 00 pm on October 9, 2002, and continuing on

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Case 2:02-cv 020 gr Document 36 Filed un~ Page 52 of 472

October 11, 2002 (at 8 30 am ) and October 14, 2002 (at 8 30 am ), or such other places, times and
dates to which the parties and the witnesses may agree A copy of the Notice of Deposition of Ralph
Horwitz 1s attached hereto as Exhibit A

PLEASE TAKE FURTHER NOTICE that the witness has been directed to produce for
inspection, copying and use at the deposition the documents and things described 1n the attachment
to Exhibit A

This deposition will be recorded by videotape as well as by stenographic means by the court
reporting firm of Tate & Tate, Inc , 180 Tuckerton Road, Suite 5, The Lexington Building, Medford,
NJ 08055

You are invited to attend and cross-examine the witness

A A

Mary L Meyer, Esq (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

Dated this_ 2° “tay of October, 2002

CERTIFICATE OF SERVICE

Thereby certify that I have on this od day of October, 2002, served a copy of the foregoing

pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or by depositing

the same in the United States mail, properly vi and first-clasé Postage prepaid
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Case 2:02-cv 025 gr Document 36 __ Filed 1g Page 53 of 472

HON BARBARA JACOBS ROTHSTEIN, USD J

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
INRE PHENYLPROPANOLAMINE (PPA) )
PRODUCT LIABILITY LITIGATION — )

) SUPPLEMENTAL NOTICE OF
)} DEPOSITION OF RALPH HORWITZ
)

This document relates to all actions )} Case No MDL-1407
)
)
)

and to the State Court actions to which this )

notice applies )
)

Pursuant to Federal Rules of Civil Procedure, Rules 26 et seq, and this Court’s Order
filed August (9, 2002, and in supplementation of their notice of deposition of June 10, 2002,
defendant SmithKline Beecham Corporation, d/b/a GlaxoSmithKline ("GSK") and other manufacturer
defendants will take the deposition of Ralph Horwitz at the Omni Hotel - New Haven, 155 Temple
Street, New Haven, CT 06510, commencing at | 00 pm on October 9, 2002, and continuing on
October 11, 2002 (at 8 30a m ) and October 14, 2002 (at 8 30a m ), or such other places, times and

dates to which the parties and the witness may agree

Piease take turther notice that the witness has been directed to produce for inspection,

copying, and use at the deposition the documents and things described in the attached Exhibit A

EXHIBIT

i A

Case 2:02-cv-025@@BIR Document 36 Filed 11g Page 54 of 472

Please take further notice that the above deposition will be recorded by videotape as

well as by stenographic means, by the firm Tate & Tate, inc , 180 Tuckerton Road, Suite 5, The

Lexington Building, Medtord, New Jersey 08055

Dated September 23, 2002
Butlalo, New York

TO Plaintitfs’ Lead Counsel
Plamntitts’ Liaison Counsel
Defendants” Liaison Counsel
Defendants’ Lead Counsel
Sarah K Biran, Esy
Counsel in State court actions

BUGGD Ta STMT

PHILLIPS, LYTLE, HITCHCOCK, BLAINE & HUBERLLP

By a F Phape

Tamar P. Halpern, Esq
3400 HSBC Center
Buffalo, New York 14203-2887
Telephone No: (716) 847-8400

DRINKER BIDDLE & REATH LLP
Michael J Stortz, Esq

Charles F Preuss, Esq

225 Bush Street

Sth Floor

San Francisco, California 94104
Telephone No (415) 397-1730

Attomeys for Defendant
SmithKline Beecham Corporation d/b/a GlaxoSmithKline
Case 2:02-cv-025@BIR Document 36 Filed 11g Page 55 of 472

EXOIBIT "A"

As used herein, the term “document” or “documents” shall mean and include any written, printed,
drawn, recorded, transcribed, filed or graphic matter, however produced, reproduced, or stored on
computer or otherwise electronically stored, and any originals, copies, drafts, revisions, or
amendments thereof. "Document" or “Documents” shall include, by way of example and without
limitation, letters, memoranda, notes, e-mails, test data, charts, x-rays, reports, medical records,
records of payment, diagrams, manuals, test procedures, sketches, graphs, prints, secretarial notes,
work pads, diaries, films, tapes, videotapes, photographs, computer disks, computer pmintouts,
computer memory banks, books, publications, literature, announcements, or other writings or
tangible objects Further, “document” or “documents” requested herein extend to and include any
and all such materials within the possession, custody, or control of you and your agents, attomeys,
Of representatives, regardless of where located. For any document withheld from production, and
any document redacted i any manner, please identify the document withheld or redacted by date,
author, type of document, subject matter, recipient, and any grounds for withholding or redaction of
the document. You are to produce the materials in your possession, custody, or control sted
below:

1, All documents related to the initiation of the Yale Hemorthagic Stroke Project
(hereafter “HSP”).

2. All documents related to the organizational structure of persons involved in the
HSP

3. All documents relating to the study personnel’s experience and credentials
(including but not limited to the curriculum vitae of each professional who

participated in the study).

4. All medica! literature and case reports that were considered, reviewed, relied
upon, and/or utilized in any manner by you or by any investigator or other
personne] involved in the HSP from the inception of the HSP until its publication

in the New Enpland Journal of Medicine.

5. All documeats related to the Protocol for the HSP including, but aot limited to:
a) all documents related to the creation or development of the Protocol,

b) all documents related to the estimation of the sample size, including
MRI market research data,

c) all documents related to or containmg communications with anyone
regarding the Protocol;

d) all documents related to comments, revisions, of modifications to the
Protecol, and
Case 2:02-cv-025 @@RIR Document 36 Filed 11g Page 56 of 472

e} ail drafts of the protocol.

6 All documents related to obtamning Institutional Review Board Approval of the
HSP

7 All documents related to the conduct of the HSP including, but not limited to:

a) all documents regarding or concerning the network of participating
hospitals; .

b) all documents regarding the recruitment of investigators, hospitals, and
all persons involved in any way in the HSP;

c) all procedure manuals and ail investigator's brochures; and

d) all documents regarding the traming of any and all persons involved in
the HSP, including but not limited to training manuals, training
videotapes, training attendance, identity of trainers, and confirmation
of training.

8 All documents related to the ascertainment of cases in the HSP including, but not
limited to, all documents regarding:

a) the active surveillance program; -
b) the surveillance team;
c) the case definition;
d) methods of case ascertainment; and
e) exclusion criteria.
9. All documents related to the selection of controis in the HSP including, but not
limited 1o, all documents regarding the use of random digit dialing and all
documents concerning telephone numbers that did not result in an eligible person

or control.

10 —Ajl documents related to data collection and processing in the HSP including, but
not limited to’

2) all data collection forms,

b) all interview data forms,

Case 2:02-cv-025 GPR Document 36 Filed 01g Page 57 of 472

c) training manuals for interviewers;
d) data logs regarding cases and controls;

e) all case identification forms;

f) all potential control forms; !
g) all log-in records;

h) all data editing, coding and validation manuals,

i) ail screening questionnaires;

j) all documents and records reviewed by a panel of stroke neurologists
involved in the determination of whether eligibility cntena were met;

k) all documents and records reviewed or generated by study physicians;

1) ali documents and records, including logs, regarding stroke patients
rejected as not meeting eligibility criteria:

m) all medical records and scans (e.g., CT, MRI, MRA, angiogram, etc.);

n) all documents regarding scheduling of interviews and collection of
information from all study participants;

©) all product identification books, photographs, and charts;

p) ali drug containers and drug labels furnished by study participants;
q) all documents related to observations of interviews;

r) all documents related to the assignment of interviewers;

s} all documents related to surrogate/proxy interviews,

t) all documents related to the use or handling of data or information
obtained from surrogate/proxy interviews;

u) all data abstraction forms;
¥) all coding forms,

w) all documents related to codes, including their definition;
Case 2:02-cv-025 @MpIR Document 36 __ Filed 11g Page 58 of 472

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all documents relating to the monitoring of sample size;
all documents related to modification of any aspect of the HSP;

every participating subject’s folder and all contents of the folder,

aa) all audio tapes of interviews of study subjects;

bb) all financial reports; and

cc) all documents regarding the disbursement of funds.

11 All documents regarding the proxy respondent sub-study.

12. All documents regarding communications concerning the HSP including, but not
limited to, al! documents regarding communications:

a)

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between persons participating in the conduct of the HSP. (For
purposes of this Item 12, “conduct” is defined to including without
limitation the design of the HSP, analysis of data, variations of or
amendments to the HSP protocol variations, and the drafting or
revision of abstracts, summaries, manuscripts and/or submissions

relating to the HSP);

between anyone involved in the conduct of the HSP and any other
person or organization including, but not limited to, yourself, the Food
and Drug Administration, the Nonprescription Drug Manufacturers
Association, the Consumer Healthcare Products Association, any
member of the Scientific Advisory Group, pharmaceutical companies,
and/or any of their current or former employees, members or
representatives,

between anyone involved in the conduct of the HSP and any person
claiming injury from use of PPA-containing medication;

with physician investigators;
with participating hospitals including, but not limited to,
communications with the surveillance officers and the admissions

offices at the participating hospitals,

with the Principat Investigator at each participating study site;

g) with each case’s physician;
Case 2:02-cv-025 @BPIR Document 36 __ Filed 11g Page 59 of 472

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with any medical or scientific journals including, without limitation,
the New England Journal of Medicine;
with any physicians, epidemiologists, statisticians, or other

professionals asked by any person or entity (including, but not limited
to, the New England Journal of Medicine) to conduct a peer review of

the study and its results;

between HSP investigators and any member of the Scientific Advisory
Group;

between HSP investigators and the New England Journal of Medicine;

and

with any other person at any of the participating institutions

All documents related to the Scientific Advisory Group including, but not limited
to, communications, reports, site visits, and travel expenses.

All documents regarding the handling, calculations, or use of any and all data
obtained regarding the HSP including, but not limited to:

a)
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all electronic analysis files;

all documents related to interim data analysis; -.

all final analysis files; and

all data access logs;

all database dictionary files;

ail data collection instruments;

all databases constructed from the questionnaires;

ali databases for each intermediate and final analysis that relates to the
Fina] Report and the New Eneland Journal of Medicine article;

all analyses not included in the Final Report or the New Enoland
Journal of Medicine Article;

all analyses done after receipt of comments from er on behalf of
CHPA or any predecessor organization of CHPA:

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Case 2:02-cv-025 GIR Document 36 Filed 01/1 Page 60 of 472

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2).

k) all documents concerning the use of and/or difference between data
analysis via a one-tailed or two-tailed statistical test,

1) all documents concerning the adjustment of variables and analyses
used for the adjustment of variables.

All documents regarding the Final Report of the HSP and its preparation
including, but not limited to, all communications, comments and drafts.

All documents regarding the publication of the HSP in the New England Journal
of Medicine, including but not limited to correspondence dated after publication

of the HSP in the New Encland Jourmal of Medicine

All documents evidencing revisions, changes, additions, or deletions made to
the Final Report of the HSP (and/or the data contained in that report) prior to the

publication of the study’s results in the New England Joumal of Medicine.

All documents regarding conferences, discussions, or meetings with FDA
regarding the HSP, including, without limitation, documents conceming
preparations for October 19, 2000 hearing.

All documents relating to any comments about, or criticisms of, The HSP from
any source including, without limitations, letters to the editor concerning the HSP.

All documents regarding the Authors’ Reply published in the April 5, 200! New.
England Journal of Medicine including, but not limited to, all data analyses and

communications with anyone after publication.

All documents relating to the removal or refiling of any document responsive to
any of the above categories.

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Case 202 vO Document 36

Filed Os Page 61 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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CIVIL ACTION

NO 02-2436

SECTION N

MAGISTRATE 5

CROSS-NOTICE OF VIDEOTAPED
DEPOSITION OF CATHERINE VISCOLI

PLEASE TAKE NOTICE that pursuant to Louisiana Code of Civil Procedure Article 1429,

et seg , and im connection with /n Re Phenylpropanolamine (PPA) Products Liability Litigation,

United States District Court, Western Distnct of Washington, MDL Docket No 1407, defendant

SmithKline Beecham Corporation, d/b/a GlaxoSmithKline (“GSK”) and other manufacturer

defendants will take the deposition of Catherine Viscoli at the Omm Hotel - New Haven, 155

Temple Street, New Haven, CT 06510, commencing at 900 am on October 21, 2002, and

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Case a0 2-v-Oeo gm Document 36 Filed oN Page 62 of 472

continuing on October 22, 2002 (at 9 00 a m } and October 23, 2002 (at 9 00 am ), or such other
places, times and dates to which the parties and the witnesses may agree A copy of the Notice of
Deposition of Catherine Viscoli 1s attached hereto as Exhibit A

PLEASE TAKE FURTHER NOTICE that the witness has been directed to produce for
inspection, copying and use at the deposition the documents and things described in the attachment
to Exhibit A

This deposition will be recorded by videotape as well as by stenographic means by the court
reporting firm of Tate & Tate, Inc , 180 Tuckerton Road, Suite 5, The Lexington Building, Medford,
NJ 08055

You are invited to attend and cross-examine the witness

Oe VAP
fo

Mary L Meyer, Esq (19966)

John F Olinde (1515}

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2360

Telephone (504) 585-7000

Attorneys for Bayer Corporation

DATED this_@ day of October, 2002

CERTIFICATE OF SERVICE

£
Thereby certify that J] have on this ? . / day of October, 2002, served a copy of the foregoing
pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or by depositing

the same in the United States maul, properly addressed, and first-cla tage prepaid

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Case ee Oe age Document 36 Filed gs Page 63 of 472

HON BARBARA JACOBS ROTHSTEIN, USD]

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE
INRE PHENYLPROPANOLAMINE (PPA)
PRODUCT LIABILITY LITIGATION
SUPPLEMENTAL NOTICE OF
DEPOSITION OF
CATHERINE VISCOLI

This document relates to all actions

and to the State Court actions to which this Case No MDL-1407

notice applies

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Pursuant to Federal Rules of Civil Procedure, Rules 26 et seq, and this Court's Order
filed August 19, 2002, and in supplementation of their notice of deposition of June 10, 2002,
defendant SmithKline Beecham Corporation, d/b/a GlaxoSmithKline (“GSK”) and other manufacturer
defendants will take the deposition of Catherine Viscoli at the Omni Hotel - New Haven, 155 Temple
Street, New Haven, CT 06510, commencing at 9 00am on October 21, 2002, and continuing on
October 22, 2002 (at 9 00 a m ) and October 23, 2002 (at 9 00 a m ), or such other places, times and
dates to which the parties and the witness may agree

Please take further notice that the witness has been directed to produce for inspection,
copying, and use at the deposition the documents and things described in the attached Exhibit A

EXHIBIT

iA

Case 2:02-cv-O25@MBIR Document 36 Filed 01/1 Page 64 of 472

Please take further notice that the above deposition will be recorded by videotape as
well as by stenographic means, by the firm Tate & Tate, Inc, 180 Tuckerton Road, Suite 5, The

Lexinuton Buildin, Medford, New Jersey 08055

Dated September 23, 2002
Buftalo, New York

PHILLIPS, LYTLE, HITCHCOCK, BLAINE & HUBER LLP

Tamar P haf Esq

3400 HSBC Center
Buffalo, New York 14203-2887
Telephone No : (716) 847-8400

DRINKER BIDDLE & REATH LLP
Michael J. Stortz, Esq

Charles F. Preuss, Esq

225 Bush Street

[5th Floor

San Francisco, California 94104
Telephone No (415) 397-1730

Attorneys for Defendant
SmithKline Beecham Corporation d/b/a GlaxoSmithKline

TO Plaintiffs” Lead Counsel
Plaintiffs” Liatson Counsel
Defendants’ Liaison Counsel
Defendants’ Lead Counsel
Sarah K Buran, Esq
Counsel in State court actions

REPO Pan - 128th E
Case 2:02-cv-025 (BIR Document 36 Filed 11g Page 65 of 472

EXHIBIT "A"

As used here, the term “document” or "documents" shall mean and include any written, printed,
drawn, recorded, transcribed, filed or graphic matter, however produced, reproduced, or stored on
computer or otherwise electronically stored, and any originals, copies, drafts, revisions, or
amendments thereof “Document" or "Documents" shall include, by way of example and without
limitation, letters, memoranda, notes, e-mails, test data, charts, x-rays, reports, medica] records,
tecords of payment, diagrams, manuals, test procedures, sketches, graphs, prints, secretarial notes,
work pads, diaries, films, tapes, videotapes, photographs, computer disks, computer printouts,
computer memory banks, books, publications, Bterature, announcements, or other writings or
tangible objects. Further, “document® or “documents” requested herein extend to and include any
and all such materials within the possession, custody, or control of you and your agents, attorneys,
or representatives, regardless of where located. For any document withheld from production, and
any document redacted in any manner, please identify the document withheld or redacted by date,
author, type of document, subject matter, recipient, and any grounds for withholding or redaction of
the document. You are to produce the materials m your possession, custody, or control fisted
below

1. All documents related to the initiation of the Yale Hemorrhagic Stroke Project
(hereinafter “HSP”).

2. All documents related to the organizational structure of persons involved in the
HSP.

3 All documents relating to the study personnel’s experience and credentials.
(including but not limited to the curriculum vitae of each professional who

participated in the study).

4. All medical literature and case reports that were considered, reviewed, relied
upon, and/or utilized in any manner by you or by any investigator or other
personnel involved in the HSP from the inception of the HSP until its publication
in the New England Journal of. icine.

5. AJl documents related to the Protocol for the HSP including, but not limited to:
a} alf documents related to the creation or development of the Protocol;

b) all documents related to the estimation of the sample size, including
MRI market research data:

¢) all documents related to or containing communications with anyone
regarding the Protocol;

d) ali documents related to comments, revisions, or modifications to the
Protocol; and
Case 2:02-cv-025 44M IR Document 36 Filed 01/10 Page 66 of 472

e) all drafts of the protocol.

6 All documents related to obtaining Institutional Review Board Approval of the
HSP.

7. All documents related to the conduct of the HSP including, but not limited to:

a) al] documents regarding or concerning the network of participating
hospitals; .

b) all documents regarding the recruitment of investigators, hospitals, and
all persons involved in any way in the HSP,

c) all procedure manuals and all investigator's brochures; and

d) all documents regarding the training of any and all persons involved in
the HSP, including but not limited to training manuals, training
videotapes, training attendance, identity of trainers, and confinnation
of training.

8 All documents related to the ascertainment of cases in the HSP including, but not
limited to, all documents regarding:

a) the active surveillance program;

b) the surveillance team;

¢) the case definition;

d) methods of case ascertainment; and

e) exclusion criteria,

9. All documents related to the selection of controls in the HSP including, but not

limited to, all documents regarding the use of random digit dialing and all
documents conceming telephone numbers that did not result in an eligible person

or control.

10. All documents related to data collection and processing in the HSP including, but
not imited to:

a) all data collection forms;

b) all interview data forms;
Case 2:02-cv-025 2g BIR Document 36 Filed 01/10 Page 67 of 472

c) training manuals for interviewers;

d) data logs regarding cases and controls,

e) all case identification forms,

f) all potential control forms,

g) all log-in records;

h) all data editing, coding and validation manuals;
i) all screening questionnaires;

j) all documents and records reviewed by a panel of stroke neurologists
involved in the determination of whether eligibility cnteria were met;

k) all documents and records reviewed or generated by study physicians;

1) all documents and records, including logs, regarding stroke patients
rejected as not meeting eligibility criteria;

m) all medical records and scans (e g , CT, MRI, MRA, angiogram, etc.);

n) all documents regarding scheduling of intermews and collection of .
information from all study participants;

0) all product identification books, photographs, and charts,

p) all drug containers and drug labels furnished by study participants;
q) all documents related to observations of interviews,

1) all documents related to the assignment of interviewers;

s} alf documents related to surrogate/proxy interviews;

t) all documents related to the use or handling of data or information
obtained from surrogate/proxy interviews;

u) all data abstraction forms,
v) all coding forms;

w) all documents related to codes, including their definition,

Case 2:02-cv-025 2 IR Document 36 Filed 010g Page 68 of 472

x) all documents relating to the monitoring of sample size,

y) all documents related to modification of any aspect of the HSP;

z) every participating subject's folder and all contents of the folder,

aa) all audio tapes of interviews of study subjects,

bb) all financial reports; and

cc) al! documents regarding the disbursement of funds.

13. All documents regarding the proxy respondent sub-study.

12. All documents regarding communications concerning the HSP including, but not

limited to,

all documents regarding communications

a) between persons participating in the conduct of the HSP. (For

b)

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g)

purposes of this Item 12, “conduct is defined to including without
limitation the design of the HSP, analysis of data, variations of or
amendments to the HSP protocol variations, and the drafting or
revision of abstracts, summaries, maouscnpts and/or submissions
relating to the HSP);

between anyone involved in the conduct of the HSP and any other
person or organization including, but not limited to, yourself, the Food”
and Drug Administration, the Nonprescription Drug Manufacturers
Association, the Consumer Healthcare Products Association, any
member of the Scteatific Advisory Group, pharmaceutical companies,
and/or any of their current or former employees, members or
represenitatives;

between anyone involved in the conduct of the HSP and any person
clatming injury from use of PPA-containing medication:

with physician investigators;

with participating hospitals including, but not limited to,
communications with the surveillance officers and the admissions
offices at the participating hospitals,

with the Principal Investigator at each participating study site;

with each case’s physician;

Case 2:02 cv-025 gmp Document 36 Filed ule Page 69 of 472

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with any medical or scientific journals including, without limitation,

the New England Journal of Medicine:

with any physicians, epidemiologists, statisucians, or other
professionals asked by any person or entity (including, but not limited
to, the New England Journal of Medicine) to conduct a peer review of

the study and its results,

between HSP investigators and any member of the Scientific Advisory
Group,

between HSP investigators and the New England Journal of Medicine,

and

with any other person at any of the participating institutions

All documents related to the Scientific Advisory Group including, but not limited
to, communications, reports, site visits, and travel expenses.

All documents regarding the handling, calculations, or use of any and al] data
obtained regarding the HSP including, but not limited 10°

a)
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all electronic analysis files;

all documents related to interim data analysis,
all fina! analysis files; and

all data access logs;

all database dictionary files,

all data collection instruments;

g) all databases constructed from the questioanaires, .

h}

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al] databases for each intermediate and final analysis that relates to the
Final Report and the New Eneland Journal of Medicine article;

all analyses not included in the Final Report or the New Encland
Journal of Medicine Article;

all analyses done after receipt of comments from or on behalf of
CHPA or any predecessor organization of CHPA;
Case 2:02-cv- 0254 JR Document 36 Filed oe Page 70 of 472

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k) all documents concerning the use of and/or difference between data
analysis via a one-tailed or two-tailed statistical test,

1) all documents concerning the adjustment of variables and analyses
used for the adjustment of variables.

All documents regarding the Final Report of the HSP and its preparation
including, but not limited to, all communications, comments and drafts.

All documents regarding the publication of the HSP in the New England Joumal
of Medicine, including but not limited to correspondence dated after publication

of the HSP in the New England Journal of Medicine.

All documents evidencing revisions, changes, additions, or defetions made to
the Final Report of the HSP (and/or the data contained in that report) prior to the

publication of the study’s results in the New England Journal of Medicine.

All documents regarding conferences, discussions, or meetings with FDA
regarding the HSP, including, without limitation, documents concerning
preparations for October 19, 2000 hearing.

All documents relating to any comments about, or criticisms of, The HSP from
any source including, without limitations, letters to the editor concerning the HSP.

All documents regarding the Authors’ Reply published in the April 5, 2001 New .

England Journal of Medicine including, but not limited to, all data analyses and
communications with anyone after publication.

All documents relating to the removal or refiling of any document responsive to
any of the above categories.

Case 2:02-cv-025 ge IR Document 36 Filed ue Page 71 of 472

OF LA

MINUTE ENTRY 22 SEP 27) PR &: 28

ENGELHARDT, J

SEPTEMBER 27, 2002 LORETTA G. WA¥TE
UNITED STATES DISTRICT COURT CLERK
EASTERN DISTRICT OF LOUISIANA

DAPHINE DONNELLY CIVIL ACTION

VERSUS NO 02-2436

BAYER CORPORATION, ET AL SECTION "N"

Before the Court are plaintiffs Motion to Remand [Rec Doc No 12], defendants' Motions
to Dismiss [Rec Doc Nos 5.7, 13, 14], and defendant Novartis Consumer Health, Inc 's Motion
for Temporary Stay [Rec Doc No 19], presently noticed for hearing on Wednesday, October 2,
2002 at930am_ Based upon the reasoning set out in Benjamin v Bayer Corp., No 02-886 (E

D La May 16, 2002) (Vance, J ), a copy of which 1s attached hereto, it 1s the opinion of this Court

that this matter should be TEMPORARILY STAYED pending a final ruling of the Judicial Panel
on Multidistrict Litigation on transfer of this case to Multidistrict Litigation, In re
Phenylpropanolamime (PPA) Litigation, 173 F Supp 2d 1377 (J PML 2001) Because the issues
involved in the plaintiffs Motion to Remand and the defendants’ Motions to Dismiss are likely to
common to other cases transferred to MDL No 1407, and the policies of efficiency and consistency
of pre-trial rulings are furthered by a temporary stay, the Court GRANTS the Motion for
Temporary Stay filed on behalf of Novartis Consumer Health, Pfc [Rec Doc No 19]

IT IS SO ORDERED.

DATE OF ENTRY ___ Pee

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
KATHERINE BENJAMIN CIVIL ACTION
VERSUS _ NO: 02-0886
BAYER CORPORATION, ET AL. - SECTION: "R*

ORDER AND REASONS

Before the Court is defendants‘ motion for a stay. For the

following reasons, the Court grants the motion.
I. BACKGROUND

On November 7, 2001, Katherine Benjamin filed a petition for

damages in state court against the Bayer Corporation, Glaxo

Smithkline PLC, Bristol-Meyers Production Division, Chattem,

Inc., Walgreen Louisiana Company, Inc. {d/b/a Walgreens), and K&B
of Louisiana Corporation (d/b/a "Rite Aid"). Plaintiff seeks
damages for injuries she allegedly sustained as a result of

ingesting Alka-Seltzer Plus Cold Medicine, Comtrex, Contac 12-

Hour, and Dexatrim, four over-the-counter medications that

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contain Phenylpropanolamine (PPA). Defendants removed the case
to this Court on March 25, 2002, invoking the Court's diversity
jurisdiction. Defendants move to stay all proceedings pending
transfer by the Judicial Panel on Multidistrict Litigation.
Defendants maintain that a stay is appropriate pending a
determination by the MDL on whether to transfer the case to the
Western District of Washington because it will conserve judicial
resources, and it will avoid the risk of inconsistent pre-trial
rulings. In opposition to defendants' motion, plaintiff contends
that this Court is better suited to rule on the issues of
Louisiana law implicated in plaintiff's complaint and in
plaintiff's pending motion to remand. Plaintiff also contends
that a stay will delay the matter and cause her unnecessary
expense.
II. DISCUSSION

"The pendency of the transfer _order does not in any way
defeat or limit the authority of this Court-to rule upon matters
properly presented to it for decision."- Calvin Boudreaux v. --_
Metropolitan Life Ins. Co., 1995 WL 83788, *1 (E.D. La.
1995) (citing In re Air Crash at Paris, France, 376 F.Supp. 887
(JPME i1974}}) The decision whether to stay proceedings is - -
discretionary, and the exercise of discretion is guided by the

policies of justice and efficiency. Id.

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Judicial economy would be served by a stay pending the
transfer if the issues involved in the remand motion are likely
to arise in the cases that have been or will be transferred to
the Western District of Washington. In re Ivy, 901 F.2d 7, 9 (2d
Cir 1990). The transferee judge “certainly has the power to
determine the question of remand," and if the remand issues are
common to many of the PPA cases, decisions by the transferee
judge would avoid "duplicative discovery and conflicting pretrial
rulings." Calvin Boudreaux, 1995 WL 83788 at *2 (quoting In re
Air Crash Disaster at Florida, 368 F.Supp. 812, 813 {JPML 1973)).

Here, defendants challenge the joinder of the nondiverse
defendants, Walgreens and K&B, on a number of grounds. For
example, defendants claim that some of plaintiff's Louisiana
redhibition claims are time-barred and that even viewing the
undisputed facts in the light most favorable to plaintiff, no
reasonable basis exists under which plaintiff could prevail
against the nondiverse defendants. As Magistrate Judge Kirk
noted in a ruling on a motion to stay in a PPA case in the
Western District of Louisiana, there are numerous cases in
districts throughout Louisiana alleging damages as a result of
the ingestion of PPA in which the plaintiffs assert Louisiana
redhibition claims against nondiverse retail sellers. See

Bayer's EX. N, James Bowman v. Bayer Corporation, et al., No. 01-

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1802-A, at 2 Additionally, a number of cases involving PPA have
been consolidated and transferred to the Western District of
Washington, including a case out of the Western District of
Louisiana, and many other Louisiana cases have been conditionally
transferred and await a final ruling. See Bayer's Ex B, In re
Phenylpropanolamine (PPA) Products Liability Litigation, Transfer
Order, MDL No. 1407, August 28, 2001. The Court finds that |
because the issues involved in this remand are likely to be
common to other transferred cases, the policies of efficiency and
consistency of pre-trial rulings are furthered by a stay of the
proceedings in this Court pending a decision on the transfer of
this case to the MDL
IIIT. Conclusion

For the foregoing reasons, the Court GRANTS defendants'

motion for a stay of the proceedings

New Orleans, Louisiana, this [bday of May, 2002.

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SARAH S. VANCE
onerEp STATES DISTRICT JUDGE

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CASE 2:02-cv-02436
DOCUMENT 28

DATE : 09/30/02
CLERK: tbl

Notices sent to:

J. Loupe by fax to 225-767-9003

Dana Kirk by mail.

Clayton Clark by mail.

J Davis by mail.

Mary Meyer by fax to 504-544-6077
Joy Braun by fax to 504-582-1555

C Bradley Jr. by fax to 504-584-9142
Jack Truitt by fax to 985-792-1065

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Case 20 NO Document 36 Filed ~@ Page 77 of 472

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LORE
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-2436
VERSUS
SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION; MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO.,
INC (D/B/A “WALGREENS”)

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CROSS-NOTICE OF VIDEOTAPED
DEPOSITION OF LAWRENCE M. BRASS

PLEASE TAKE NOTICE that pursuant Federal Rules of Civil Procedure, Rules
27, et seg, and in connection with In Re Phenylpropanolamine (PPA) Products Liability
Litigation, United States District Court, Western District of Washington, MDL Docket
No. 1407, defendant SmuthKline Beecham Corporation d/b/a GlaxoSmithKline (GSK)

and other manufacturer defendants will take the deposition of Lawrence M Brass at the

ProGess

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» Don, Noten

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Case 2:02-cv 02g Document 36 Filed oN" Page 78 of 472

Omni Hotel - New Haven, 155 Temple Street, New Haven, CT 06510, commencing at
900 am on October 1, 2002, and continuing on October 4, 2002 (at 900 am) and
October 10, 2002 (at 9 00 am), or such other places, times and dates to which the parties
and the witnesses may agree A copy of the Notice of Deposition of Lawrence M Brass
1s attached hereto as Exhibit A

PLEASE TAKE FURTHER NOTICE that the witness has been directed to
produce for inspection, copying and use at the deposition the documents and thmgs
described in the attachment to Exhibit A

This deposition will be recorded by videotape as well as by stenographic means
by the court reporting firm of Tate & Tate, Inc, 180 Tuckerton Road, Suite 5, The
Lexington Building, Medford, NJ 08055

You are invited to attend and cross-examine the witness

af
DATED this day of September, 2002

LL

Mary L. Meyey, Esq (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

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Case e028 Oa Document 36 Filed o""@ Page 79 of 472

CERTIFICATE OF SERVICE

&
I hereby certify that I have on this 2 ¢ day of September, 2002, served a copy of
the foregoing pleading on counsel for all parties to this proceeding, by hand delivery,

facsimile, or by depositing the same in the United States mail, properly addressed, and

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first-class postage prepaid

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Case e02-cv-0257 @® Document 36 Filed ou" Page 80 of 472

HON BARBARA JACOBS ROTHSTEIN USD}

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

INRE PHENYT PROPANOLAMINE (PPA) )
PRODUCT LIABILITY LITIGATION _ )

) SUPPLEMENTAL NOTICE OF

wana ence ne nent renner nner renter ) DEPOSITION OF LAWRENCE M. BRASS

This document relates tu all actions ) Case No MDL-1407
)

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and to the State Cowl actions to which this )

notice applies )
)

Pursuant to Federal Rules of Civil Procedure, Rules 26 et seq, and this Court’s Order
filed August 19, 2002, and m supplementation of their notice of deposition of June 10, 2002,
defendant SmithKline Beecham Corporation, d/b/a GlaxoSmithKline (“GSK”) and other manufacturer
defendants will take the deposition of Lawrence M_ Brass at the Omni Hotel - New Haven, [55
Temple Street, New Haven, CT 06510, commencing at 900 am on October 1, 2002, and
continuing on October 4, 2002 (at 9 00 am ) and October 10, 2002 (at 9 00 am), or such other
places, times and dates to which the parties and the witness may agree

Please take further notice that the witness has been directed to produce for inspection,

copying, and use at the deposition the documents and things described in the attached Exhibit A

EXHIBIT

tabbies"

Case 2:02 cv 0254 Document 36 Filed oe Page 81 of 472

Please take further notice that the above deposition will be recorded by videotape as

well as by stenographic means, by the firm Tate & Tate, Inc , 180 Tuckerton Road, Suite 5, The

Leaington Buniding Medford, New Jersey 08055

Dated September 10, 2002
Buffalo New York

TO Plaintiffs’ Lead Counsel
Plaintiffs Liaison Counsel
Defendants’ Lead Counsel
Defendants Liaison Counsel
Counsel in State court actions

HIT O Dow 227894 |

PHILLIPS, LYTLE, HITCHCOCK, BLAINE & HUBER LLP

By opr Bory

Tamar P Halpern, Esq/
3400 HSBC Center
Buffalo, New York 14203-2887
Telephone No (716) 847-8400

DRINKER BIDDLE & REATH LLP
Michael! J Stortz, Esq

Charles F Preuss, Esq

225 Bush Street

15th Floor

San Francisco, Califorma 94104
Telephone No (415) 397-1730

Attorneys for Defendant
SmithKline Beecham Corporation d/b/a GlaxoSmithKiine
Case e022 eR Document 36 Filed “eo Page 82 of 472

EXHIBIT "A"

As used herein, the term "document" or "documents" shall mean and mclude any wnitten, pnnted,
drawn, recorded, transcnbed, filed or graphic matter, however produced, reproduced, or stored on
computer or otherwise electromcally stored, and any originals, copies, drafts, revisions, or
amendments thereof "Document" or "Documents" shall include, by way of example and without
hmutaton, letters, memoranda, notes, e-mails, test data, charts, x-rays, reports, medical records,
records of payment, diagrams, manuals, test procedures, sketches, graphs, pnnts, secretanal notes,
work pads, dianes, films, tapes, videotapes, photographs, computer disks, computer pnntouts,
computer memory banks, books, publications, literature, announcements, or other writings or
tangible objects Further, “document” or "documents" requested herein extend to and include any
and all such matenals withm the possession, custody, or control of you and your agents, attorneys,
or Tepresentatives, regardless of where located For any document withheld from producton, and
any document redacted m any manner, please identify the document withheld or redacted by date,
author, type of document, subject matter, reciprent, and any grounds for withholding or redaction of
the document ‘You are to produce the matenals in your possession, custody, or control listed
below

] All documents related to the mitiation of the Yale Hemorrhagic Stroke Project
(hereinafter “HSP”)

2 All documents related to the orgamzational structure of persons involved 1n the
HSP
3 All documents relating to the study personnel’s expenence and credentals

(including but not Inmted to the curnculum vitae of each professional who
participated in the study)

4 AJl medical literature and case reports that were considered, reviewed, relied
upon, and/or utilized in any manner by you or by any investigator or other
personnel involved m the HSP from the inception of the HSP until its publication

m the New England Journal of Medicine

5 All documents related to the Protocol for the HSP including, but not limited to
a) ail documents related to the creation or development of the Protocol,

b) all documents related to the estimation of the sample size, including
MRI market research data,

c) all documents related to or contaimmg communications with anyone
regarding the Protocol,

d) all documents related to comments, revisions, or modifications to the
Protocol, and

Case eevee” Document 36 Filed “ee Page 83 of 472

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all drafts of the protocol

All documents related to obtaining Institutional Review Board Approval of the

HSP

Adl documents related to the conduct of the HSP including, but not Imuted to

a)

all documents regarding or concerning the network of participating
hospitals,

all documents regarding the recruitment of investigators, hosprtals, and
all persons involved in any way in the HSP,

all procedure manuals and all mvestigator's brochures, and

ali documents regarding the traimng of any and all persons involved in
the HSP, including but not limited to trammg manuals, tramng
videotapes, traimng attendance, identity of tramers, and confirmation
of training

All documents related to the ascertainment of cases in the HSP imcluding, but not
lumuted to, all documents regarding

a)
b)
c)
d)

e)

the active surveillance program,
the surveillance team,

the case definition,

methods of case ascertainment, and

exclusion criteria

All documents related to the selection of controls in the HSP including, but not
limited to, all documents regarding the use of random digit dialing and all
documents concernmg telephone numbers that did not result mm an eligible person

or control

All documents related to data collection and processing in the HSP including, but
not lmuited to

a)
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all data collection forms,

all interview data forms,
Case 202 cv-025 gr Document 36 Filed eS Page 84 of 472

w)

traimng manuals for mterviewers,

data logs regarding cases and controls,

all case identification forms,

all potential control forms,

all log-in records,

all data editing, coding and validation manuals,
all screening questionnaires,

all documents and records reviewed by a panel of stroke neurologists
involved in the determination of whether eligibility criteria were met,

all documents and records renewed or generated by study physicians,

all documents and records, includmg logs, regarding stroke patients
rejected as not meeting ehigibilrty critena,

all medical records and scans (e g , CT, MRI, MRA, angiogram, etc ),

all documents regarding scheduling of mtermews and collection of
information from ail study participants,

all product identification books, photographs, and charts,

all drug containers and drug labels furmshed by study participants,
all documents related to observations of mterviews,

all documents related to the assignment of interviewers,

all documents related to surrogate/proxy interviews,

all documents related to the use or handlmg of data or information
obtained from surrogate/proxy interviews,

all data abstraction forms,
all coding forms,

all documents related to codes, including their defintion,

Case 202 cv-025 rR Document 36 Filed "6 Page 85 of 472

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all documents relating to the momtoring of sample size,
all documents related to mod:fication of any aspect of the HSP,

every participating subyect’s folder and all contents of the folder,

aa) all audio tapes of intermews of study subjects,

bb) all financial reports, and

cc) all documents regarding the disbursement of funds

1] Ali documents regarding the proxy respondent sub-study

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c)

d)

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2 All documents regarding communications concernmg the HSP including, but not
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between persons participating in the conduct of the HSP (For
purposes of this Item 12, “conduct" 1s defined to mcluding without
limitation the design of the HSP, analysis of data, vanations of or
amendments to the HSP protocol variations, and the drafting or
revision of abstracts, summanes, manuscripts and/or submissions
relating to the HSP},

between anyone involved m the conduct of the HSP and any other
person or orgamuzation mcluding, but not iumted to, yourself, the Food
and Drug Admunistration, tbe Nonprescnption Drug Manufacturers
Association, the Consumer Healthcare Products Association, any
member of the Scientific Advisory Group, pharmaceutical companies,
and/or any of their current or former employees, members or
representatives,

between anyone mvolved in the conduct of the HSP and any person
claiming injury from use of PPA-containing medication,

with physician investigators,

with participahng hospitals inclidmg, but not limited to,
communications with the surveillance officers and the admussions
offices at the participating hospitals,

with the Pnncipal Investrgator at each participating study site,

with each case’s physician,

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Case 202 cv-0254R Document 36 Filed "~~ Page 86 of 472

with any medical or scientific journals including, without limitation.
the New England Journal of Medicine,

with any physicians, epidemiologists, statisticians, or other
professionals asked by any person or entity (including, but not hmuted
to, the New England Journal of Medicme) to conduct a peer renew of
the study and its results,

between HSP investigators and any member of the Scientific Advisory
Group,

between HSP investigators and the New England Journal] of Medicine,
and

with any other person at any of the partictpatmg institutions

All documents related to the Scientific Advisory Group including, but not lumted
to, communications, reports, site visits, and travel expenses

Ail documents regarding the handling, calculations, or use of any and all data
obtained regarding the HSP including, but not limited to

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all electrome analysis files,

all documents related to interim data analysis,

all final analysis files, and

all data access lags,

all database dictionary files,

all data collection mstruments,

all databases constructed from the questionnaires,

all databases for each intermediate and final analysis that relates to the
Final Report and the New England Journal of Medicine article,

all analyses not mcluded in the Final Report or the New England
Journal of Medicine Article,

all analyses done after receipt of comments from or on behalf of
CHPA or any predecessor organization of CHPA,
Case 2:02 cv 020 gmIR Document 36 __ Filed "“~ Page 87 of 472

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k) all documents concerning the use of and/or difference between data
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Al} documents regarding the publication of the HSP in the New England Journal
of Medicine, including but not hmuted to correspondence dated after publication
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All documents evidencing revisions, changes, additions, or deletions made to
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publication of the study’s results m the New England Journal of Medicine

All documents regarding conferences, discussions, or meetings wih FDA
regarding the HSP, including, without limitation, documents concermng
preparations for October 19, 2000 heanng

All documents relating to any comments about, or cnticisms of The HSP from
any source including, without limitations, letters to the editor concerning the HSP

All documents regarding the Authors' Reply published in the Apr] 5, 2001 New
England Journal of Medicine mcluding, but not lumted to, all data analyses and
communications with anyone after publication

All documents relating to the removal or refing of any document responsive to
any of the above categories
_ Case 2:02-cv-0252 @@gR Document 36 Filed 01/10 Page 88 of 472

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ein
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-2436
VERSUS
SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC, and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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BAYER CORPORATION’S MOTION FOR TEMPORARY STAY OF
PROCEEDINGS PENDING A FINAL RULING OF THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION ON TRANSFER OF THIS CASE TO MDL-1407

For the reasons detailed 1n the attached memorandum in support and those cited
by this Curt in other cases involving Phenylpropanolamine (PPA), Bayer Corporation
moves this Court to temporarily stay all proceedings in this matter pending a final ruling
of the Judicial Panel on Multidistrict Ligation on transfer of this case to MDL-1407 A stay

will further the goals of judicial efficiency and consistency by avoiding duplicative

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proceedings and conflicting pretrial rulings Further, 1t will not preyudice the parties, but

rather will benefit both them and the Court

Respectfully submitt

"7

Mary If Meyer (19966) \

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

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Telephone: (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon all

counsel of record by hand or by depositing same in the United States Mail, postage

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prepaid, this °3““day of 37“ _ 9002 4b,
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE; SMOOTHIE KING
CO,INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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BAYER CORPORATION’S MEMORANDUM IN
SUPPORT OF MOTION FOR TEMPORARY STAY OF
PROCEEDINGS PENDING A FINAL RULING OF THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION ON TRANSFER OF THIS CASE TO MDL-1407

Background

This is a product hability action involving Phenylpropanolamine (PPA), a substance
formerly found m various nasal decongestant products The Defendants removed this

action from a Louisiana state court.

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On August 28, 2001, the Judicial Panel on Multidistrict Litigation (the “Panel”)
issued an order consolidating 14 simular actions involving PPA 1n the Western District of
Washington pursuant to 28 USC § 1407 See In re Phenylpropanolamime (PPA) Prods Liab
Littg, Transfer Order, MDL No 1407, August 28, 2001 The Panel has since issued
numerous Transfer Orders conditionally transferring hundreds of other cases involving
PPA to the Western District of Washington Many of those conditional transfers have
become final

This Court and most other divisions in federal courts throughout Louisiana have
stayed other similarly situated PPA cases, including cases where plaintiffs have moved to
remand to state court. See, eg, Gasper v Bayer Corp, et al, No 02-808 (ED La Apr 10,
2002) (Engelhardt, J ) (copy attached as Exhibit A), Christy v Bayer Corp, et al, No 02-577
(ED La March 27, 2002) (Engelhardt, J ) (attached as Exhibit B), and Benjamin v Bayer
Corp., et al, No 02-886 (ED La May 16, 2002} (Vance, J ) (attached as Part of Exhibit C)
Because a stay will promote judicial efficiency, consistency im pre-trial rulings, and
convenience to the parties and witnesses, this Court should temporarily stay proceedings
in this case until the Panel decides by final order whether this case will be transferred to
the MDL proceeding

Argument

1. A Stay Furthers The Goals Of Judicial Efficiency and Consistency

This Court's authority to stay proceedings is “incidental to the power inherent in

every court to contro] the disposition of the causes on its docket with economy of time and

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effort for itself, for counsel and for hiigants” Landis v North Amencan Co.,299US 248,
254, 57S, Ct 163, 166,81 L. Ed 153 (1936) When a case may be transferred to an existing
MDL proceeding, judicial efficiency dictates that the court exercise its authority and stay
the action pending the Panel’s decision on transfer. See, eg, Rivers v Walt Disney, 980
F Supp 1358 (C D Cal 1997) Judicial efficiency results from a stay because if a case 1s later
transferred to an MDL proceeding, the transferor court will have “needlessly expended tts
energies familiarizing itself with the intricacies of a case that would be heard by another
judge [and] any efforts on behalf of [the transferor] court concerning case management
will most Itkely have to be replicated by the judge that is assigned to handle the
consolidated litigation ” Rivers, 980 FSupp. at 1360 - 1361 For these reasons, “a
majority of courts have concluded that it is often appropriate to stay preluminary pretrial
proceedings while a motion to transfer and consolidate 1s pending with the Panel because
of the judicial resources that are conserved.” Rivers at 1362

In Gasper v Bayer Corporation, et al, No 02-0808 (ED La Apr 10, 2002), a similarly
situated PPA case, this Court likewise concluded that “it is in the best interest of the parties
and the judicial system to temporarily stay all proceedings in this action” pending the
Panel’s final ruling on the transfer of the case to MDL 1407 This Court also held that a
temporary stay order will not preyudice the parties, because they “will eventually have
their respective motions to remand and to dismiss resolved either before the MDL Panel

if the transfer 1s ordered, or before this Court 1f transfer 1s denied ” See Exhibit A, attached

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In Christy v Bayer Corp, et al, No 02-577 (E D La), this Court granted a sumular stay
pending the Panel’s final ruling on transfer See Exhibit B. The Court later denied
plaintiffs’ motion to lift the stay im that case based on plaintiffs’ challenges to the Court’s
jurisdicion This Court held that “It remains the opinion of this Court that the issues
raised in plaintiff's Motion to Remand — should be determined by the transferee court in
the event the matter 1s transferred to MDL No 1407” See Exhibit C. Consistent with this
Court's prior opimons and the goals of judicial economy and efficiency, an overwhelming
majority of other Louisiana federal judges have also issued stay orders in PPA cases,
despite pending motions to remand 1

In fact, plaintiffs’ counsel in this case has moved for a stay pending transfer in other
PPA cases For example, in Barrilleaux v Amertcan Home Products Corp, et a, No 02-170
(ED La), plaintiffs’ counsel agreed that a stay would “serve both parties and [the]
Court” and “would save judicial resources ” See Motion attached as Exhibit D While the
plamnff in Barrilleaux did not fraudulently jon non-diverse parties or seek remand to state
court, the goals of efficiency and consistency are best served by a stay even where

jurisdictional issues exist On April 15, 2002, the Judicial Panel on Multidistrict Litigation

1 Seee g, Mercier v Crolimo Pharmacy, et al, No 02-413, (E D La ) (McNamara, J ), Craftv Whitehall-Robins Health
Care, et al, No 01-3490, (E D La) (Feldman, J), Doreen Martin v Bayer Corporation, et al, No 01-3477, (E D La}
(Duval, J ), Garcia v SumthKime Beecham Corp, et al, No 01-3424, (E D La } (Beer, J ), Peterson v Bayer Corp, et
al, No 01-3467 (ED La (Fallon,]), Victor v Bayer Corp, et al, No 02-809 (ED La (Berrigan,]}) Grayv Bayer
Corporation, et al, No 01-1761, (W D La ) (Doherty, J), Ashley v Amertcan Home Products Corporation, et al, No
02-CV-239, (W D La) (Payne MJ), Ford v Wintehall-Robins, No 02-235, (M D La) (Tyson, J ), Leatherman v
Bayer Corporation, et al, No 02-218 (Brady, J) However, Judge Lemmon, Judge Lemelle and Judge Barbier

have demed simular motions to stay
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rejected a plaintiff's challenge to federal jurisdiction as grounds for denying transfer to
MDL-1407

Plaintiffs premise much of their opposition to transfer on their argument that

federal jurisdiction 1s lacking in their actions These parties urge the Panel not

to order transfer before their motions are resolved by the transferor court We

note, however, that remand and other motions, 1f not resolved in the

transferor court by the time of Section 1407 transfer, can be presented to and

decided by the transferee judge See, ¢.9., In re Ivy, 901 F 2d 7 (2"4 Cir 1990),

In re Prudential Insurance Company of America Sales Practices Litigation, 170

F Supp 2d 1346, 1347-48 J PML 2001)

See Order attached as Exhibit E

Furthermore, because the jurisdictional objections at issue in this case are common
to numerous other PPA cases Thus, the risk of mconsistent pre-trial rulings exists, likewise
supporting a stay See Ivy v. Diamond Shamrock Chem, Co, 901 F 2d 7, 9 (2d Cir 1990)
(affirming Panel’s rejection of plaintiffs’ request that remand motion be decided by
transferor court, holding that “[t]he jurisdictional issue mn question 1s easily capable of
arising in hundreds or even thousands of cases in district courts throughout the nation,”
and that “[cJonsistency as well as economy 1s thus served” if “the yurisdictional objections

[are] heard and resolved by a single court”)

A stay 1s also appropriate because it 1s very likely that this case will be finally
transferred to MDL-1407 A tag-along action 1s transferred to an existing MDL if 1t shares
common issues of fact with the MDL cases, promotes the convenience of parties and
witnesses, and advances the just and efficient conduct of the actions See In re Stirling
Homex Corp. Sec Litig , 442 F Supp 547, 549 (J.P ML 1977), In re Equity Funding Corp of Am
Sec Litig., 397 FSupp 884, 884-85 J PML 1975) Plaintiffs’ claims and allegations

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concerning PPA involve numerous common issues of fact with the cases already part of the
MDL

2. A Stay Does Not Unduly Prejudice The Plaintiffs

Plaintiffs will not be unduly preyudiced by a temporary stay. If plamtiffs timely
oppose transfer, the Panel will address plamtiffs’ objections at 1ts next appropriate session
SeeRPJPML 74(d) The delay will likely be bref and does not warrant denying Bayer’s
requested stay

Moreover, any potential prejudice from a short delay 1s far outweighed by the
benefits of issuing a stay that promotes judicial efficiency and avoids inconsistent results

A stay would be limited to the brief period until the Panel decides whether to transfer and
consolidate the instant action in MDL-1407 At that pomt, the plaintiffs may proceed in the
Western District of Washington if the transfer 1s ordered, or in this Court if the transfer 1s
dened Under these circumstances, the benefits of a temporary stay mumimize and
outweigh any potential prejudice to the plaintiffs See, e.g., Weinke vu Microsoft Corp., 84
F Supp 2d 989, 990 (WD Wis 2000) (rejecting plaintiff’s assertions that a stay pending
resolution of transfer issues would result in a “prolonged delay” and holding that
plaintiff's “cursory assertions of prejudice do not outweigh the disadvantages of lihgating
identical claims in a multitude of venues. [and] in light of the pending MDL ruling on
transfer this action should be stayed in the interest of judicial economy and to avoid

inconsistent results ”)

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In contrast, Bayer will be substantially prejudiced if the Court denies the stay A
temporary stay will prevent the Bayer from incurring the unnecessary expense of engaging
in duplicative pretrial proceedings. The potential for duplicative pretrial motions and
jurisdictional objections represents the sort of “hardship and inequity” that courts consider
when deciding a motion to stay. See Arkins v. Microsoft Corp., 2000 WL 310391 at *2 (ED
La March 24, 2000) (finding a stay was appropriate to avoid “considerable hardship and
inequity” to a defendant faced with multiple suits, many with similar junsdictional
objections, in multiple courts) This sort of duplicative pretrial activity 1s exactly what the
MDL proceeding in this case 1s designed to prevent See MDL Transfer Order at p 2

Conclusion

For the foregoing reasons, this Court should grant Bayer’s Motion for Temporary
Stay of Proceedings Pending a Final Ruling of the Panel on Transfer of this Case to
MDL-1407 and stay all pretrial proceedings, including, but not limited to, a stay of all

hearings, disclosures, and deadlines established by the Federal Rules of Civil Procedure

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Attorneys for Bayer Corporation

and Local Rules of this Court

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregomg pleading has been served upon all

counsel of record hand or by depositing same in the United States Mail, postage

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ENGELHARDT, J.
REGIA G. WHYTE
APRIL 9, 2002 Lo i

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA y

CAROL GASPAR CIVIL ACTION
VERSUS NO 02-0808
BAYER CORPORATION, ET AL SECTION "N"

Given the nature of the issues raised in the pending motions set for hearing 1n this case, the
Court 1s of the opimion that it 1s in the best interest of the parties and the judicial system to
temporarily stay all proceedings in this action pending a final ruling of the Judicial Panel on
Multidistrict Litigation on Transfer to MDL-i407 -- In re Phenylpropanolamine (PPA) Products
Liability Litigation. Neither the plaintiff nor the defendants are not preyudiced by this stay because
the compamies can bring their objections to transfer before the MDL Panel, and because the stay will
only remain in effect until the MDL panel rules on the transfer Plaintiff and the defendants, Bayer
Corporation and Chattem, Inc., will eventually have their respective motions to remand and to
dismiss resolved either before the MDL Panel if the transfer 1s ordered, or before this Court if
transfer 1s denied This order shall not prejudice the rights of the parties to this litigation.
Accordingly,

ITIS ORDERED that the captioned matter is TEMPORARILY STAYED pending the final

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MINUTE ENTRY
ENGELHARDT, J
MARCH 27, 2002

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
RONALD CHRISTY CIVIL ACTION
VERSUS NO 02-0577
BAYER CORPORATION, ET AL SECTION “N”

Given the nature of the issues raised in the pending motion to dismiss and motion to
remand presently set for hearing in this case, the Court 1s of the opimon that it is in the best
interest of the parties and the judicial system to temporarily stay all proceedings in this action
pending a final ruling of the Judicial Panel on Multidistrict Litigation on Transfer to MDL-1407
— In re Phenylpropanolamine (PPA) Products Liability Litigation The defendant Bayer
Corporation is not preyudiced by this stay because the company can bring its objections to
transfer before the MDL Panel, and because the stay will remain in effect only until the MDL
panel rules on the transfer Defendant Bayer Corporation eventually will have its Motion to
Dismiss resolved and plaintiff will have his Motion to Remand resolved either before the MDL
Panel, if the transfer is ordered, or before this Court 1f the transfer is dented This order shall not

prejudice the nights of the parties to this litigation Accordingly,

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IT IS ORDERED that the captioned matter is TEMPORARILY STAYED pending the

final ruling of the Judicial Pane! on Multidistrict Litigation on Transfer }6 MDL-1407

UNITED STATES RICT JUDGE
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ENGELHARDT, J
MAY 20, 2002

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
RONALD CHRISTY CIVIL ACTION
VERSUS NO 02-0577
BAYER CORPORATION, ET AL SECTION “N”

Considering Plainuff’s Motion to Lift Stay, Re-Open Case, for Costs, Attorney
Fees, and for Issuance of Rule 11 Sanctions, presently set for hearing at 9 30 am on May 29,
2002, IT IS ORDERED that the motion 1s DENIED, based on the reasoning set out in Benjamin
v Bayer Corp ,No 02-0886 (E D. La May 16, 2002) (Vance, J), a copy of which 1s attached
hereto It remains the opinion of this Court that the issues raised in plaintiff?s Motion to
Remand, including plaintiff's request for costs and Rule 11 sanctions, should be determined by

the transferee court tn the event this matter 1s transferred to MDL No. 1407

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

KATHERINE BENJAMIN CIVIL ACTION
VERSUS NO: 02-0886
BAYER CORPORATION, ET AL. SECTION: *R"

ORPER AND REASONS

Before the Court is defendants' motion for a stay. For the

following reasons, the Court grants the motion.
I. BACKGROUND

On November 7, 2001, Katherine Benjamin filed a petition for

damages in state court against the Bayer Corporation, Glaxo.

Smithkline PLC, Bristol-Meyers Production Division, Chattem,

Inc., Walgreen Louisiana Company, Inc. (d/b/a Walgreens), and K&B

of Louisiana Corporation (d/b/a "Rite Aid"). Plaintiff seeks

damages for injuries she allegedly sustained as a result of

ingesting Alka-Seltzer Plus Cold Medicine, Comtrex, Contac 12-

Hour, and Dexatrim, four over-the-counter medications that

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contain Phenylpropanolamine (PPA). Defendants removed the case
to this Court on March 25, 2002, invoking the Court's diversity
jurisdiction. Defendants move to stay all proceedings pending
transfer by the Judicial Panel on Multidistrict Litigation.
Defendants maintain that a stay is appropriate pending a
determination by the MDL on whether to transfer the case to the
Western District of Washington because it will conserve judicial
resources, and it will avoid the risk of inconsistent pre-trial
rulings. In opposition to defendants’ motion, plaintiff contends
that this Court is better suited to rule on the issues of
Louisiana law implicated in plaintiff's complaint and in
plaintiff's pending motion to remand. Plaintiff also contends
that a stay will delay the matter and cause her unnecessary
expense
It. DISCUSSION

"The pendency of the transfer order does not in any way -
defeat or limit the authority of this Court-to rule upon matters
properly presented to it for decision:"-- Calvin Boudreaux v. _._
Metropolitan Life Ins. Co., 1995 WL 43788, *1 (E.D. La.
1995) (citing In re Air Crash at Paris, France, 376 F.Supp. 887
(OPML 1974)). .The decision whether to stay proceedings is -
discretionary, and the exercise of discretion is guided by the

policies of justice and efficiency. Id.

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Judicial economy would be served by a stay pending the
transfer if the issues invcived in the remand motion are likely
to arise in the cases that have been or will be transferred to
the Western District of Washington. In re Ivy, 901 F.2d 7, 9 (2d
Cir 1990}. The transferee judge ‘certainly has the power to
determine the question of remand," and if the remand issues are
common to many of the PPA cases, decisions by the transferee
judge would avoid "duplicative discovery and conflicting pretrial
rulings." Calvin Boudreaux, 1995 WL 83788 at *2 (quoting In re
Air Crash Disaster at Plorida, 368 F.Supp. 812, 813 (JPML 1973)).

Here, defendants challenge the joinder of the nondiverse
defendants, Walgreens and K&B, on a number of grounds. For
example, defendants claim that some of plaintiff's Louisiana
redhibition claims are time-barred and that even viewing the
undisputed facts in the light most favorable to plaintiff, no
reasonable basis exists under which plaintiff could prevail
against the nondiverse defendants. As Magistrate Judge Kirk
noted in a ruling on a motion to stay in a PPA case in the
Western District of Louisiana, there are numerous cases in
districts throughout Louisiana alleging damages as a result of
the ingestion of PPA in which the plaintiffs assert Louisiana
redhibition claims against nondiverse retail sellers. See

Bayer's Ex. N, James Bowman v. Bayer Corporation, et al., Ne. O1-

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1802-A, at 2 Additionally, a number of cases involving PPA have
been consolidated and transferred to the Western District of
Washington, including a case out of the Western District of
Louisiana, and many other Louisiana cases have been conditionally
transferred and await a final ruling. See Bayer's Ex 8B, In re
Phenylpropanolamine (PPA) Products Liability Litigation, Transfer
Order, MDL No. 1407, August 28, 2001. The Court finds that
because the issues involved in this remand are likely to be
common to other transferred cases, the policies of efficiency and
consistency of pre-trial rulings are furthered by a stay of the
proceedings in this Court pending a decision on the transfer of
this case to the MDL
III. Conclusion

For the foregoing reasons, the Court GRANTS defendants’

motion for a stay of the proceedings.

New Orleans, Louisiana, this [bay of May, 2002.

Borgata Yuccee

SARAH S. VANCE
oniargp STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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COLIN BARRILLEAUKX, ET AL * CIVIL ACTION

* NO, 02-CV-0170
v. *
* SECTION “J”
AMERICAN HOME PRODUCTS *
CORPORATION, ET AL * MAGISTRATE: 2
*
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JOINT MOTION TO STAY PROCEEDINGS

MAY IT PLEASE THE COURT

The above matter 1s one of several hundred actions, which has been requested to be a
“tag-along” action pursuant to MDL-1407 - in re Phenylpropanolamine (PPA) Products Liability
Lihgation,

As plaintiffs’ counsel will not file any objections and/or oppose the tag-along procedures,
the MDL Panel will designate the above matter as a tag-along action, and stay the above
proceedings.

Plaintiffs’ and defense counsel seek to stay the above proceedings, pending this decision

from the MDL Panel, as it would serve both parties and this Honorable Court to delay any action

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on the above matter, which will be transferred to another junsdiction in a matter of days, based

upon other actions already transferred. As such, the stay will save Judicial Resources, and the

parties’ time artd expenses in responding to said motions

Respectfully submitted,

CLAITOR’ &/L E,

By

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St ar No. 19955

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ATTORNEYS FOR PLAINTIFFS
Case 2:02-cv-0252 @aR Document 36 Filed 01/10; Page 108 of 472

CERTIFICATE OF SERVICE
[ hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properly addressed and postage prepaid

DATED, this 6" day of February, “a f_

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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COLIN BARRILLEAUKX, ET AL * CIVIL ACTION
. NO. 02-CV-0170
v. *
* SECTION “J”
AMERICAN HOME PRODUCTS *
CORPORATION, ET AL * MAGISTRATE: 2
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ORD
Considering the above and foregoing Joint Motion to Stay Proceedings,
IT IS ORDERED that the above proceeding be Stayed pending a decision of the Judicial

Panel on Multidistnict Litigation on whether to Stay and Transfer satd action.

New Orleans, Louisiana this f day of us , 2002.

Case 2:02-cv- Cg” Document 36 Filed 01/10 Page 110 of 472

- JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

TRMAN: BERS: DIRE
CEA Terrell Hodges EM OER acnan Judge Julsa Smith Gibbons CT REPLY TO
United States Derret Court United Scates Disenct Court Unued States Distrct Court . Michael J Beck
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April 15, 2002 Roe.
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TO INVOLVED COUNSEL ee

Re: MDL-1407 — In re Phenyipropanolamine (PPA) Products Liability Litigation

Stephanie L. Horne v. American Home Products, et al., W.D. Kentucky, C.A. No. 3:01-631
Alejandro Garcia, er al. v, SmithKline Beecham Corp., et al., E.D. Louisiana, C.A. No, 2.01-3424
Wendell Phillips v. SmithKline Beecham Corp., et al., E.D. Louisiana, C.A. No. 2:01-3448
Kenneth Peterson, et al. v. Bayer Corp., et al., E.D. Louisiana, C.A. No. 2:01-3467

Doreen Martin v. Bayer Corp., et al., £.D. Louisiana, C.A. No. 2:01-3477

Jeanene P. Favorite, et al. v. Bayer Corp., et al,, £.D. Louisiana, C.A. No. 2:01-3478

Paula J. Swrling, et al. v. Bayer Corp., et al., E.D, Louisiana, C.A. No. 2:01-3480

Quincy Garrison, et al. v. Whitehall-Robins Healthcare, et al., E.D. Louisiana, C.A. No. 2:01-3484
Wallace Craft, Sr., et al, v. Whitehali-Robins Healthcare, et al., E.D. Louisiana, C.A. No. 2:01-3490
Mary Lee, et al. v. Whitehali-Robins Healthcare, et al., E.D. Louisiana, C.A. No. 2:01-3522

Lydia Dyson v. American Home Products Corp., et al., E.D. Louisiana, C.A. No. 2:01-3548

Denny Vick, ere. v. Novartis Corp., et al., S.D. Mississippi, C.A. No. 4:01-329

Catherine Uwaghboe v. Whitehall-Robins, et al., S.D. Mississippi, C.A. No. 5:01-339

Freddie L. Alexander v. Bayer Consumer Care, et al.,S.D. Mississippi, C.A. No. 5:01-340

Deas Counsel:

For your information, f am enclosing a copy of an order filed today by the Judicial Panel on Multidistrict Litigation
involving this matter.

Very truly,

Michael J, Beck
Clerk of the Panel

ByZ oak 2 Lo 4
Deputy Clerk /

EXHIBIT
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Enclosure

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JUDICIAL PANEL
MULTIDISTRICT NTIoation

APR 15 2002
DOCKET NO. 1407 CLERK'S Orricg

BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

IN RE PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY
LITIGATION

Stephanie L. Horne v. American Home Products, et al, WD. Kentucky, C.A. No. 3:01-631
Alejandro Garcia, et al v. SmithKline Beecham Corp., et al, ED. Louisiana, C.A. No. 2:01-3424
Wendell Phillips v. SmithKline Beecham Corp., ef al., ED. Louisiana, C.A. No. 2:01-3448
Kenneth Peterson, et al. v, Bayer Corp., et al, ED. Louisiana, C.A. No. 2:01-3467

Doreen Martin v, Bayer Corp., et al, ED. Louisiana, C_A. No. 2:01-3477

Jeanette P. Favorite, et al. v. Bayer Corp., et al., ED. Louisiana, C.A. No. 2:01-3478°

Paula J. Sumling, et al. v. Bayer Corp., ef al ;E.D. Louisiana, CA. No. 2:01-3480

Quincy Garrison, et al. v. Whitehkall-Robins Healthcare, ef al, E.D. Louisiana, C.A. No. 2:01-3484
Wallace Craft, Sr., etal v. Whitehall-Robins Healthcare, et al, E.D. Louisiana, C.A. No. 2:01-3490
Mary Lee, et al. v, Whitehall-Robins Healthcare, et al., E.D. Louisiana, C.A. No. 2:01-3522
Lydia Dyson v. American Home Products Corp., et al, E.D. Louisiana, C.A. No. 2:01-3548
Denny Vick, ete. v. Novartis Corp., et al, $.D. Mississippi, C.A. No. 4:01-329

Catherine Uwagioe v. Whitehall-Robins, et al, S.D. Mississippt, C.A. No. 5:01-339

Freddie L. Alexander v. Bayer Consumer Care, et aL, SD. Mississippi, C.A. No. 5:01-340

BEFORE WM. TERRELL HODGES, CHAIRMAN, JOHN F. KEENAN,
MOREY L. SEAR, BRUCE M. SELYA,” JULIA SMITH GIBBONS, D.
LOWELL JENSEN AND J. FREDERICK MOTZ, JUDGES OF THE PANEL

TRANSFER ORDER

Before the Panel are motions brought, pursuant to Rule 7.4, R_PJ.P.M.L., 199 F-R.D. 425, 435-
36 (2001), by plaintiffs in fourteen Western District of Kentucky, Eastern District of Louisiana or
Southern District of Mississippi actions. These parties move the Panel to vacate its orders conditionally
transferring their actions to the Western District of Washington for inclusion in the centralized pretrial
proceedings occurring there in this docket before Judge Barbara Jacobs Rothstein. Various defendants
in the actions support transfer.

On the basis of the papers filed and hearing session held, the Panel finds that these actions
involve common questions of fact with actions in this litigation previously transferred to the Westen
District of Washington, and that transfer of the actions to that district for inclusion in the coordinated
or consolidated pretrial proceedings occurring there will serve the convenience of the parties and
witnesses and promote the just and efficient conduct of the litigation. The Panel is persuaded that
transfer of the actions is appropriate for reasons expressed by the Panel in its original order directing

“Judge Selya took no part in the decision of this matter,
Case eee Document 36 Filed OL Page 112 of 472

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centralization in this docket. The Panel held that the Westem District of Washington was the proper -

Section 1407 forum for actions brought by persons allegedly injured by products containing
Phenylpcopanolamine — a substance which, until it recently became the subject of a public health
advisory issued by the Food and Drug Administration, was used as an ingredient in many nasal
decongestants and weight control products. See Inre Phenylpropanolamine (PPA) Products Liability
Litigation, 173 F.Supp.2d 1377 (J.P_M.L. 2001).

Plaintiffs premise much of their opposition to transfer on their argument that federal jurisdiction
is lacking in their actions. These parties urge the Panel not to order transfer before their motions are
resolved by the transferor court. We note, however, that remand and other motions, if not resolved in
the transferor court by the time of Section 1407 transfer, can be presented to and decided by the
transferee judge. See, e.g., In re ivy, 901 F.2d 7 (2nd Cir. 1990); In re Prudential Insurance Company
of America Sales Practices Litigation, 170 F.Supp.2d 1346, 1347-48 (J.P.M.L. 2001).

ITIS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, these fourteen actions are
transferred to the Western District of Washington and, with the consent of that court, assigned to the
Honorable Barbara Jacobs Rothstein for inclusion in the coordinated or consolidated pretrial
proceedings occurring there in this docket.

FOR THE PANEL:

Wm. Terrell Hodges
Chairman

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-2436
VERSUS
SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO, INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS’)

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MAGISTRATE 5

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NOTICE OF HEARING

PLEASE TAKE NOTICE that Bayer Corporation, will bring on for hearing on October
16, 2002, at 930 am before Judge Kurt D Engelhardt at the United States District
Courthouse for the Eastern District of Louisiana, 500 Camp Street, New Orleans, Louisiana
70130, the accompanying Motion for Temporary Stay of Proceedings Pending a Final
Ruling of the Judicial Panel on Multidistrict Litigation on Transfer of This Case to MDL-

1407

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Case ee esc @® Document 36 Filed wo? Page 114 of 472

Respectfully submitted,

py Aa

Mary Lf Meyer ( (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

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New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon all

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counsel of record by depositing same in the United States Mail, postage prepaid, this ? g

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UNITED STATES DISTRICT COURT ye

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO, INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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BAYER CORPORATION’S MOTION FOR EXPEDITED HEARING
ON MOTION FOR TEMPORARY STAY OF PROCEEDINGS
PENDING A FINAL RULING OF THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION ON TRANSFER OF THIS CASE TO MDL-1407

Bayer Corporation hereby moves for an expedited hearing on its Motion for
Temporary Stay of Proceedings Pending Final Ruling of the Judicial Panel on Multidistrict
Litigation on Transfer of this Case to MDL-1407 Bayer Corporation’s reasons supporting

this request are contained in the attached memorandum 1n support

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Respectfully Ld

Mary C Meyer (199664

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Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

| hereby certify that a copy of the foregomg pleading has been served upon all

counsel of record by hand or by depositing same m the United States Maul, postage
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
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merger to SHAPERITE, SMOOTHIE KING
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INC (D/B/A “WALGREENS”

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BAYER CORPORATION’S MEMORANDUM IN SUPPORT OF MOTION
FOR EXPEDITED HEARING ON MOTION FOR TEMPORARY STAY OF
PROCEEDINGS PENDING A FINAL RULING OF THE JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION ON TRANSFER OF THIS CASE TO MDL-1407

On September 9, 2002, plaintiffs filed therr Motion to Remand in this case Plaintiffs’
motion to remand 1s set for hearing on October 2, 2002 This Court should not decide
plaintiff’s motion until after the Judicial Panel on Multidistrict Litigation determines
whether this case will be transferred to the Western District of Washington as part of

MDL-1407

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As explained in Bayer Corporation’s (“Bayer”) Memorandum tn Support of Motion
for Temporary Stay, this Court and courts encompassing several divisions of the Eastern
District of Louisiana have issued stay orders in PPA cases pending a decision on transfer
to the MDL proceeding See Bayer’s Memorandum in Support of Motion for Temporary
Stay

A stay of plaintiff’s remand motion and all other proceedings in this case pending
the Panel’s decision on transfer would further the goals of judicial efficiency and
consistency by avoiding duplicative proceedings and conflicting pre-trial rulings If the
Panel orders transfer, the MDL Court may decide the remand motion in this case and
numerous other sumular cases in a consistent manner If the Panel demes transfer, this
Court can then decide the motion to remand Accordingly, the Court should stay this case,
including plaintiff's motion to remand, pending a final order from the Panel on transfer

For the foregoing reasons, as well as those contained in Bayer’s Memorandum in
Support of its Motion for Temporary Stay filed this date, Bayer requests that this Court set
Bayer’s Motion for Temporary Stay of Proceedings Pending Final Ruling of the Judicial
Panel on Multidistrict Litigation on Transfer of this Case to MDL-1407 for hearing on or

before October 2, 2002 so that 1t may be considered before plamtiff’s Motion to Remand

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Case mmenes7 Document 36 Filed “""@ Page 120 of 472

Respectfully 2

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Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon all

counsel of record by hand or by depositing same in the United States Maul, postage

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *

* NO 02-2436
VERSUS *

* SECTION N
BAYER CORPORATION, NOVARTIS *
PHARMACEUTICALS CORPORATION, * MAGISTRATE 5
NOVARTIS CONSUMER HEALTH, INC, *
4LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *
CO ,INC , SMOOTHIE KING SYSTEMS, *
INC, and WALGREEN LOUISIANA CO, *
INC (D/B/A “WALGREENS”)
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ORDER

Considering Bayer Corporation’s Motion for Expedited Hearing on Motion for
Temporary Stay of Proceedings Pending Final Ruling of the Judicial Panel on Multidistrict
Litigation on Transfer of this Case to MDL-1407

IT IS ORDERED that Bayer Corporation’s Motion for Temporary Stay of

Proceedings Pending Final Ruling of the Judicial Panel on Multidistrict Litigation on

Transfer of this Case to MDL-1407 1s set for hearing on the day of ,

2002 at

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New Orleans, Louisiana this day of , 2002

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE DONNELLY, ET AL : CIVIL ACTION
VERSUS * NO 02-CV-02436
*
BAYER CORPORATION, ET AL * JUDGE ENGELHARDT
*
x eR RR RF MAGISTRATE JUDGE SHUSHAN

RESPONSE IN OPPOSITION TO BAYER CORPORATION’S
MOTION FOR TEMPORARY STAY

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Daphine Donnelly and
Jerome Donnelly (hereinafter referred to as “Plaintiffs”), who respectfully submut this Response in
Opposition to Bayer Corporation’s Motion For Temporary Stay of Proceedings
1 Background

Plaintiffs filed this suit in the 34" Judicial District Court against Bayer Corporation, Novartis
Pharmaceuticals Corporation, Novartis Consumer Health, Inc , 4Life Research, Successor by merger
to Shapente, Smoothie King Co , Inc , Smoothie King Systems, Inc , and Walgreen Louisiana Co ,
Inc , d/b/a “Walgreens” for marketing, selling, distributing, and/or manufacturing Shaperte, Alka
Seltzer Plus and Tavist-D, all PPA-contaiming products

Defendants, Novartis Pharmaceuticals Corporation and Novartis Consumer Health, Inc filed a
Notice of Removal on August 7", 2002, and subsequently a Motion to Dismiss for Failure to State a

Claim Upon which Relief Can Be Granted on September 6, 2002 Thereafter, Plaintiffs filed a Motion

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to Remand, Response in Opposition to Defendants’ Mottons to Dismiss for Failure to State a Claim
Upon which Relief Can Be Granted and now file this Response in Opposition to Defendant’s Motion
to Temporary Stay Plamtiffs respectfully request that this Court rule on Plaintiff's Motion to
Remand and Response to Defendant Novartis Pharmaceuticals Corporation’s and Novartis Consumer
Health, Inc *s Motions for Dismissal, thus, denying Defendant Bayer Corporation’s Motion to
Temporary Stay
2 Argument

The case subject to this Response in Opposition to Defendant’s Motion was improvidently
removed to Federal Court by the manufacturer defendants of products which contained
Phenylpropanolamine (hereinafter “PPA”) Plamtiffs responded by filing a Motion to Remand and
seek to have the Court rule on this Motion before the case 1s transferred to the Judicial Panel on
Multidistrict Litigation (heremafter “MDL Panel”) Because the Louisiana Federal Courts lack
jurisdiction over the matter, 1t would be a waste of judicial resources and economy for the MDL Panel
to allow the Western District of Washington to preside over the case that belongs in state court
Moreover, Louisiana Federal Courts are well-versed in matters pertaining to Louisiana law and
therefore 1s the forum of choice to decide the issue of remand As such, Defendant’s Motion to
Temporary Stay should be denied and this court should rule on Plaintiff's Motion to Remand

This issue 1s not a novel theory, although not binding to this Court, Judge Lemelle, sitting in
the Eastern District of Loutsiana, has previously demed such a Motion In that case, even when a
Conditional Transfer Order to the MDL Panel had been filed, Judge Lemelle denied the Motion to
Stay, citing Rule 1 5 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
finding that the District Court of Loutsiana retained jurisdiction to hear all such matters before the

case 1s officially transferred to the MDL Panel pursuant to the rule (See Andry, et al v_Amencan

Case eNO” Document 36 Filed “""@ Page 126 of 472

Home Products Corporation, etal, No 02-0173 (Lemelle, J, ED La February 8, 2002) (Exhibit A

hereto) Although a Conditional Transfer Order has been filed in this matter, Plaintiffs have opposed
such transfer This Court however retaims the authority and yurnsdiction to deny the Motion to Stay
and rule on other maters currently pending before the Court
3 Conclusion

For the foregoing reasons, Plaintiffs pray that Bayer Corporation’s Motton to Temporary

Stay be denied

Respectfully submutted,

By Cnaurdiler Lope

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ATTORNEYS FOR PLAINTIFFS
Case eee Document 36 Filed oN@ Page 128 of 472

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properly addressed and postage prepaid

DATED, this 24Qay of yt 2002

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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KATHLEEN ANDRY, ET AL * CIYIL ACTION
\ " NO. 02-CV-0173
+ wa a
.. ~ SECTION “B”
AMERICAN HOME PRODUCTS *
CORPORATION, ET AL * MAGISTRATE’

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JOINT MOTION TO STAY PROCEEDINGS

MAY IT PLEASE THE COURT

The above matter is one of several hundred actions, which has been requested to he a
“tag-along” action pursudnt to MDL-1407 - in re Phenylpropanotamine (PPA) rroducts Liability
Litigation

As plainpffs’ counsel wil] not file any objections and/or oppose the tag-along procedures,
the MDL Panel will designate the above matter as a tag-along achon, and stay the above
proceedings.

“Plaintifis’ and defense counsel seek to stay the above proceedings, pending this decision

from the MDL Panel, as it would serve doth parties and this Honorable Court to delay any action

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on the above matter, which will be transferred to another jurisdiction in a matter of days, based
upon other actrons already transferred As such, the stay will save Judicial Resources, and the

parties’ time and expenses in responding to said motions

Respecitully submitted,
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ATTORNEYS FOR PLAINTIFFS

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DATED, this 6" day of February, 2002. ‘i LE

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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KATHLEEN ANDRY, ET AL * CIVIL ACTION
* NO. 02-CV-0173
¥ ' r
SECTION “B”
AMERICAN HOME PRODUCTS -
CORPORATION, ET AL ™ MAGISTRATE

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO 02-2436
VERSUS

SECTION N
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION, MAGISTRATE 5

NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO, INC , SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO.,
INC (D/B/A “WALGREENS’)

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PLAINTIFFS’ MOTION TO REMAND
As Bayer Corporation (“Bayer”), Novartis Pharmaceuticals Corporation, and
Novartis Consumer Health, Inc explain in their motion to temporarily stay these
proceedings pending transfer of this suit to the MDL-1407 proceeding in the Western

District of Washington consolidating numerous cases concerning Phenylpropanolamine

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28 USC § 1332 The sole question here 1s whether Walgreen Louisiana Co, Inc
(“Walgreen”), Smoothie King Co., Inc, and Smoothie King Systems, Inc. (collectively
“Smoothie King”), the only non-diverse defendants, were fraudulently jomned. The record
and the law establish fraudulent joinder in this case
BACKGROUND

Plaintiffs, Daphine and Jerome Donnelly, filed this suit m Louisiana state court to
recover personal-injury and loss-of-consortium damages allegedly resulting from Mrs.
Donnelly’s use of cold and appetite-suppressant medications allegedly containing PPA
Bayer, Novartis Pharmaceuticals Corporation, Novartis Consumer Health, Inc , and 4Life
Research, LC (“4Life”) are alleged to be the manufacturers of the medications See
Petition, { 2 Additional defendants are Walgreen and Smoothve King, the “retailer/ seller
defendants,” who allegedly advertised and sold the medications See Petition, {3 and 9
Bayer and removed the action to federal court based on diversity yunsdiction Plaintiff is
a Louisiana citizen Bayer, Novartis Pharmaceuticals Corporation, Novartis Consumer
Health, Inc , and 4Life are companies that are incorporated and have therr principal places
of business in states other than Louisiana Walgreen and Smoothie King, though citizens
of Louisiana, are fraudulently jommed And the matter in controversy exceeds $75,000 See
Notice of Removal

Mrs Donnelly allegedly purchased medications containing PPA at Walgreen’s
“pharmaceutical/retail store” and Smoothie King’s “nutrtional/retail store’ im
Chalmette, Louisiana before ingesting them and suffering a stroke on January 12, 1991

See Petition, 9. Plamtiffs purport to assert claims against Walgreen and Smoothie King

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under La Civ. Code arts 2520, et seg. for breach of the warranty against redhibitory
defects by allegedly failing to notify plamtifts of the side-effects of the medications despite
actual knowledge, under La Civ Code art 2524 for alleged failure to sell a product fit for
its ordinary usage, under la Civ Code art 2529 for allegedly delivering products not of
the kind or quality specified by the seller, and claims in negligence, “want of care,” gross
negligence, strict liability, and mtentional and willful “conspiracy” with the
manufacturers in allegedly concealing the hazardous nature of the over-the-counter
medications sold See Petition, {| 17, et seq.; Memorandum in Support of Motion to
Remand, pp 2-3 But plaintiffs cannot prevail on these claims agamst Walgreen and
Smoothie King under Louisiana law.

Significantly, plaintiffs allege that “Pharmaceutical manufacturer defendants failed
to alert users, potential users, and retail dealers who would be expected to sell and/or
recommend its products, of the hazards associated with said products’ usage, and further
actively promoted and advertised their products m a manner that suggested the design of
their products was safe” (Petition, { 15) (emphasis added) In light of that allegation,
plaintiffs refute their own allegations that the retailer/seller defendants had “actual
knowledge” of redhibitory defects, “knew or should have known” of the alleged risk of
harm, and intentionally and willfully conspired with the manufacturers to conceal
material facts concerning the alleged hazards in the medications

The affidavit of Steve Kuhnau, Chairman of the Board of Directors of Smoothie
King, further establishes that Smoothie King first operated a store in Chalmette, Louisiana

on February 17, 1992 and operated no other store in that location in the history of its

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franchising business See Exhibit A attached, { 2-4 Plaintiffs allege that Daphine
Donnelly suffered a stroke over a month earlier, on January 12, 1991 See Petition, § 10
Under these circumstances, 1t was impossible that she purchased PPA medication at a
Smoothie King “nutritional/retail store located in the City of Chalmette, State of
Louisiana” as alleged in the petition

Walgreen’s responses to Novartis Consumer Health, Inc’s and Bayer’s Requests
for Admission (Exhibits B and C attached) establish that Walgreen did not design,
manufacture, test, process, label, package, distribute, sell, market, warrant, promote,
represent, or advertise the medications as its own products, did not hold itself out as
manufacturer of the medication, and did not exercise or attempt to exercise any control or
influence over any characteristic of the design, composition, warnings, warranties, or
quality of the medications, whuch it purchased and sold in unaltered, sealed packages that
the manufacturers had labeled and packaged (Response Nos 2-6) At the time of the
alleged sale, Walgreen did not know of or omit to declare any alleged defect in the
medications that it sold (Response No 7) Walgreen neither made nor implied any
warranties concerning the testing, safety, effectiveness, or ingredients of the medicines
(Response No 8) At no time before filing surt did plaintiffs give Walgreen notice of any
alleged redhibitory defect in the medications allegedly purchased or tendered them to
Walgreen for a rescission of the sale and return of the purchase price and expenses of sale

(Response No 10).

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This Court determines removal jurisdiction on the basis of the claims stated in the
state-court petition at the time of removal Cavallini v. State Farm Mut. Auto. Ins Co, 44
F 3d 256, 264 (5th Cir 1995) Conclusory allegations or legal conclusions put forward as
factual findings do not establish a cause of action against a non-diverse defendant
Sinckland v. Brown Morris Pharmacy, Inc , 1996 WL 537736, *2 (E.D.La Sept 20,1996) “[A]
removing party’s claim of fraudulent joinder to destroy diversity is viewed simular to a
motion for summary judgment” LeJeune v Shell Oil Co., 950 F 2d 267, 271 (5th Cir 1992)
The court can determine “[b]y summary judgment or otherwise” whether joinder 1s
fraudulent Keating v. Sheil Chemical Co , 610 F 2d 328, 333 (Sth Cir 1980) “[Fjraudulent
jounder claims can be resolved by ‘piercing the pleadings’ and considering summary
judgment-type evidence ..” Cavallim v. State Farm Mut Auto Ins Co, 44 F3d at 263 A
plaintiff cannot simply rely on conclusory allegations of the petition in the face of the
removing defendant's summary-judgment type evidence showing no reasonable
possibility of recovery against the named non-diverse defendant under state law See
Carnere v. Sears, Roebuck and Co., 893 F 2d at 100-102 (even though the petition alleged that
the resident co-employee defendants were “substantially certam” that harmful
consequences would result from their conduct, the non-diverse defendants’ affidavits and
depositions demonstrated no possibility of recovery against them on an intentional tort
theory under Louisiana law).

1. Plaintiffs Have Fraudulently Joined Smoothie King
As explained above, the unrefuted afhdavit of Smoothie King’s chairman

establishes that it did not operate any “nutritional/retail store” m Chalmette, Louisiana

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when Mrs. Donnelly allegedly purchased “Shapefast® and suffered a stroke.” Thus,
plamtiffs have no possibility of recovery against Smoothie King, and it is fraudulently
joined

In support of their motion to remand, plaintiffs have no countervailing evidence to
dispute Smoothie King’s affidavit. Instead, they assert at page 10 of their memorandum
“that further discovery 1s necessary regarding this issue” But a plaintiff cannot support
remand by arguing that future discovery may reveal the culpability of the non-diverse
defendant, instead, the court looks to the allegations contained 1n the petition. Stnckland
v Brown Morris Pharmacy Inc, cited above. A transparent attempt to manufacture a
factual dispute, or to raise the specter of potential lability arising out of facts that nught
come forth m discovery, does not deprive the court of 1ts jurisdiction. See Poulos v. Naas
Foods, Inc, 959 F 2d 69, 74 (7th Cur 1992) ("Although [the removing defendant] bears a
heavy burden to establish fraudulent jomder, it need not negate any possible theory that
[the plaintiff] mught allege m the future; only [the] present allegations count If [the
plaintiff's] theory were night, he could defeat diversity jurisdiction by joining his
grandmother as a defendant--surely some set of facts might make her Lable") (Emphasis
in original)
Il. Plaintiffs Have Fraudulently Joined Walgreen

A. Plaintiffs have no viable cause of action under Louisiana law against a
retail pharmacy

Because Louisiana law limits a pharmacist’s lability to filling prescriptions and

warming of overdoses, the pharmacy had no duty to warn the plamtiff about possible side

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effects [associated with a drug], and there can be no claim against it im either tort or
redhibition” See Wilhams v Warner-Lambert Co, No 01-0690 (W.D La. July 27, 2001)
(Exhibit D attached) Louisiana law 1s consistent with the uniform national rule that a
pharmacist has no duty to warn its customers about potential hazards or side-effects of
prescription drugs. See Jones v Irvin, 602 F Supp 399, 400-01 (S D II 1985) (“A pharmacist
has no duty to warn” about alleged side-effects associated with a prescription drug, and
“Tt]here 1s no conflict of authority as to the duty required of a druggist in his dealing with
hus customers ”). See also In re Rezulin Products Liability Litigation, 133 F Supp 2d 272, 289
and n. 55 (S.DNY 2001) (exhaustively surveying the jurisprudence, citing cases from
several states, and concluding that plaintiffs had no reasonable possibility of recovery
against the pharmacist under Louisiana law).

To date, in 26 PPA cases removed from Louisiana state courts, including Perksin v
Bayer Corporation, No. C01-2023R (WDWash Feb. 26, 2002), Judge Rothstein, the
presiding judge in MDL-1407, has derued motions to remand, upon finding fraudulent
joinder of the non-diverse drug stores who had allegedly sold the over-the-counter
medications See Exhibit E See also list of cases in Bayer’s Memorandum in Support of
Motion for Temporary Stay Rejecting the plaintiff's arguments that he had viable causes
of action in redhibition and negligence, the Perksin court correctly recognized that he had
provided no factual support for his conclusory allegations that the defendant retail
pharmacy, K&B/Rite Aid, had known of potential dangers in the medication Id at 5-6
K&B/Rite Aid’s responses to requests for adimussions had pierced the pleadings with

evidence that it had no control over the pre-packaged, sealed medications and had no

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knowledge of any potential dangers Id at6and10 The Perksin court further observed
that remand of the case would prove “inequitable” because “[s]uch a tenuous cause of
action based on de minimis recovery should not defeat federal jurisdiction ” Id at 6-7
Importantly, citing Louisiana decisions, supra, the Perksin court recognized that
pharmacists have no duties to warn of potential side-effects from prescription drugs or to
inspect the medication under Louisiana law Id at 7-8 Whether sounding im tort or
contract, plaintiffs alleged causes of action against the retail pharmacy had no reasonable
probability of success in a PPA case, even though it mvolved an over-the-counter

medication:

The limitation on hability for pharmacies logically extends to
over-the-counter medications, for which pharmacies have
even less direct responsibility. For example, the court in
Strickland v Brown Morris Pharmacy, Ine, 1996 WL 537736
(ED La 1996), denied remand ima suit against a pharmacy for
the sale of Primatine Mist, a non-prescription medication The
court cited La Civ Code art 2545, the redhibition statute
regarding bad faith sellers, and held that the plaintiff had no
cause of action agaist a pharmacy that sold the product in
good faith. See also Sharkey v Sterling Drug, Inc., 600 So 2d 701,
715 (La Ct App 1992) (upholding dismissal of redhibition
clam against good faith pharmacists who © sold
nonprescription aspirin), see also In Re Diet Drugs, 1998 WL
254976 (ED Pa 1998) (denying remand motion and finding
fraudulent joinder of Louisiana pharmacies accused of breach
of warranty for good faith sales of nonprescription diet
drugs) Just as in these cases, Walgreen and K&B had no
knowledge of potential dangers in the nonprescription
medications it sold, and plaintiff cannot pursue a cause of
action against the pharmacy

Plaintiff argues that the over-the-counter cases sounded in
tort or alleged knowledge by the pharmacist However, as
explamed above, Louisiana courts have applied the limitation
of lability to contract claims in the prescription drug context
The reasoning applies with even greater force for

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nonprescription medications sold by innocent pharmacists,

because the pharmacist does not even have a duty to measure

a nonprescription drug or warn of possible overdose As a

result, plaintiff's cause of action against K&B has no

reasonable probability of success whether couched as tort or

redhibition
Id at 89 Even if K&B/Rite Aid were not a pharmacist, the Perksin court further
concluded that the plaintiff's complaint still would fail because any non-manufacturer or
seller of a product 1s lable mm tort only if he knew or should have known that the product
sold was defective and fatled to declare it [d at 9-10 The Perksin court recognized that
K&B/Rite Aid’s responses to requests for admission “refute the plaintiff's broad,
unsupported assertions that K&B knew of dangers” and that “plaintiff has not alleged
facts supporting its allegation that K&B knew or should have known of the dangers . ”
Id. at 10. “[A] plaintiff cannot defeat federal jurisdiction by relying solely on conclusory
allegations.” Id. at 5-6

Furthermore, plaintiffs have no viable claim against Walgreen for allegedly failing

to alert Mrs Donnelly of the alleged hazard in the prepackaged and FDA-approved
medications it allegedly sold Federal law and FDA regulations specify the required
labeling and preempt a failure-to-warn claim under state law against the manufacturer of
an FDA-approved over-the-counter cold medication See Green v BDI Pharmaceuticals, 803
So 2d 68, 74-75 (La App 2d Cir. 2001) A responsible retailer sellmg an FDA-regulated
medication in a sealed package with an approved label 1s certamly not required to

second-guess the federal agency that regulates the product. Plaintiffs have not alleged

and cannot allege that Walgreen sold anything other than medications that the FDA had

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approved at the tme Thus, no legal or factual basis exists for their conclusory allegations
that Walgreen knew or should have known of the alleged hazard and 1s lable under
Louisiana law for allegedly failing to warn of it

Plamtiff cites Mosley v. Bayer Corporation, et al, No 01-3479 (ED La Jan 29, 2002), a
PPA case where the court granted a motion to remand But, the Mosley court concluded
that plaintiff's cause of action in redhibition had not necessarily prescribed if the claim
were against a bad-faith seller The court further noted that plaintiff's clams would have
prescribed 1f the defendant were a good-faith seller The Mosley decision, however, did
not address the insufficiency of the plaintiff's conclusory allegations that the named retail
pharmacy knew or should have known of the alleged defects when the medication was
sold It likewise did not discuss the prerequisites for a “good-faith” redhibition clann or
the effect of summary-judgment evidence that pierces the conclusory allegations of the
petition

Judge Lemmon’s decision granting remand in St. Amant v Bayer Corporation, No
01-3421 (ED La. Mar 5, 2002), likewise does not compel a remand in this case Citing
Strickland, Jadge Lemmon recogmzed that the conclusory statement m the petition that
the retail pharmacy “knew or should have known” of the alleged defect was insufficient
to support a “bad-fatth” redhubition claim against the retail pharmacy, because the
plaintiff had not alleged any facts demonstrating that the defendant seller actually knew
of the defect Here, plaintiff has alleged no claim against Walgreen as a “good-faith”
seller, but rather makes simular conclusory allegations in an attempt to assert causes of

action in tort and redhibition that require plamtiff to prove that the retail/seller knew or

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should have known of the alleged defect Moreover, like Mosley, the St Amant decision
does not address the requirements for a “good-faith” redhibition claim or the effect of
summary-judgment evidence that pierces the conclusory allegations of the petition
Plamtiff has no possibility of recovery against Walgreen in this case because plaintiff
herself alleges that the manufacturing defendants failed to alert the retail dealers about
the alleged hazards and because Walgreen has pierced the pleadings with admissions that
it had no knowledge of the alleged defect in the prepackaged medications.

In Coleman v. Bayer Corporation, et al, No. 02-333 (E.DLa Apr 2, 2002), cited by
plaintfis, Judge Barbier remanded a PPA case upon concluding that the petition stated a
claim against Walgreen as a “bad faith” seller The Coleman court noted the plaintiff's
allegations and arguments that all of the defendants, zncluding Walgreen, knew or should
have known of the allegedly dangerous side-effects of consuming products with PPA But
the Coleman court erroneously relied on conclusory allegations that plamtff’s own
petition had refuted by alleging that the manufacturer defendants failed to alert the retail
dealers about the alleged hazards. The Coleman court likewise did not address
Walgreen’s responses to requests for admission that pierced plaintiffs’ conclusory
allegations of its knowledge The Coleman decision thereby reaches a result contrary to
Strickland, cited above, as well as Perksin, Exhibit E attached

Equally misplaced is plaintiffs’ reliance on Garner v. Louisiana Housing, 798 So 2d
295 (La. App. 4 Cir 2001), Hopper v Crown, 560 So 2d 890 (La App 1 Cir. 1990); and Ross
v. John’s Bargam Stores Corp., 464 F 2d 111 (6th Cir 1972), cited at pages 8-11 of their

memorandum in support of the motion to remand. Garner affirmed rescission of a sale of

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a defective motor home where the seller offered no competent evidence to rebut a
presumption that he had knowledge of the defects. Hopper reversed a summary
judgment in favor of a seller of a steel roll-up door, where the seller had failed to properly
submit an affidavit to carry his burden of proving that there was no issue of fact as to
whether he actually knew that the door would creep down or that the defect was non-
apparent In Ross, the Fifth Circuit likewise reversed a summary judgment in favor of a
retailer of a flammable nghtgown where widespread publicity had been given to the
serious problem of flammable nightwear Unlike the instant case, none of the cited
decisions involved the fraudulent joinder of a retail pharmacy selling FDA-regulated
medications in sealed packages or the conclusory allegations of a petition pierced by
summary-judgment evidence

Plaintiff argues that “the burden of proving fraudulent joinder is a heavy one,”
citing Crowe v Coleman, 113 F 3d 1536, 1538 (lith Car 1997) and B., Inc v Miller Brewing
Co., 663 F 2d 545, 550 (oth Cir 1981) Importantly, the B., Inc. case focuses “on the facts
alleged by the plamtiff” Moreover, the removing defendant can pierce conclusory
allegations in the petition through summary-judgment type evidence. Cavallin v State
Farm Mut Auto Ins Co., 44 F3d at 264 Furthermore, the Fifth Circuit has expressly
reyected the contention “that any mere theoretical possibility of recovery under local law
no matter how remote or fanciful--suffices to preclude removal” Badon v RJR Nabisco,
Inc , 236 F 3d 282, 286, n 4 (5th Cir 2000) The Fifth Circuit requires “a reasonable basis
for predicting that state law would allow recovery in order to preclude a finding of

fraudulent jomder” Id. (emphasis in original) No reasonable basis exists for recovery

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against Walgreen in this case based on the conclusory allegations of the petition that

Walgreen's responses pierce and refute.

B. Plaintiff has no viable redhibition and breach-of-implied-warranty claims
against Walgreen under Louisiana law

Plaintiffs argue that the retailer/seller defendants “knew or had reason to know”
of the alleged “adverse effects of the PPA contarming products” they sold and that they
are liable for alleged breach of the warranty against redhibitory defects, failure to deliver
a product of the kind specified by the seller, and failure to sell a product fit for its
ordinary usage But plaintiffs have neither alleged the necessary elements of such claims
nor sought the type of damages recoverable agamst them Furthermore, Walgreen’s
responses to Bayer’s requests for admission pierce the conclusory allegations of the
petition

1. Plaintiffs’ redhibition/breach-of-implied warranty claims against
Walgreen are time-barred

Plaintiff, Daphine Donnelly, allegedly suffered a stroke “[o]n January 12, 1991,”
after allegedly ingesting PPA-containing medications purchased from Walgreen (Petition,
4,10) Although plaintiffs do not specify the dates of purchase before then, they did not
file this suit until July 2, 2002--more than four years after Mrs. Donnelly allegedly ingested
and sustaining her wyuries Her alleged clarms 1n redhibition/ breach of warranty against
Walgreen are time-barred

Under former La Civ Code art 2534, an action in redhibition agamst a seller
without knowledge of a defect “must be instituted within a year, at the farthest,

commencing from the date of the sale” Under former La Civ Code art. 2546, an action

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against a seller who knew of the vice and neglected to declare 1t to the purchaser had to
be filed within a year of the discovery of the vice Effective January 1, 1995, Article 2534
was amended to provide for a four-year prescriptive period for a claim against a good-
faith seller

A, (1) The action for redhibition against a seller who did not

know of the existence of a defect in the thing sold prescribes

in four years from the day delivery of such thing was made to

the buyer or one year from the date the defect was discovered

by the buyer, whichever occurs first [Emphasis added].
DM&M v. Modern Auto Wreckers, Inc., 731 So 2d 1007, 1009 (La App 4th Cir 1999) Under
present La. Civ. Code art 2534(B), an action against a seller who knew of the defect in the
thing sold prescribes in one year from the date the buyer discovers the defect Thus, the
discovery rule of contra non valentem suspends the running of the one-year prescriptive
period against a good-faith seller for up to four years from the date the product was sold
But if four years should pass before the buyer discovers the defect, the plamtiffs’ claim
against the good faith seller 1s tme-barred, regardless of the plaintiffs’ knowledge or lack
thereof Under either former or amended Article 2534, plamtiffs’ claims against Walgreen
are untimely

Plaintiffs have no basis for recovery against Walgreen on grounds that it 1s a bad-

faith seller who knew of the alleged defect in the thing sold Plaintiffs negate their own
conclusory allegations, and Walgreen pierces the pleadings by admutting that 1t did not
manufacture the medications, that 1t exercised no control over their design, composition,

warnings, warranties, or quality, that 1t did not know of or omit to declare any alleged

characteristics in the prepackaged and sealed medications that it sold, and that 1t made no

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warranties concerning the testing, safety, effectiveness, or ingredients of the medications
(Response Nos 2-9) No presumption exists that this non-manufacturer had such
knowledge See McGough v Oakwood Mobile Homes, Inc., 779 So.2d 793, 802 (La App 2d
Cir 2000) Because Walgreen 1s a good-faith seller, all alleged redhibition/ breach of
warranty claims against it are trme-barred under La. Civ. Code art 2534, as plaintiffs filed
them more than four years after the alleged sales

2. Plaintiffs cannot claim personal-injury and compensatory damages
against Walgreen in redhibition/breach of warranty

Redhibition 1s unavailable mn Louisiana as a theory of recovery for personal-irjury
damages, redhibition is limited to recovery of pecurmary or “economic” loss Gremer v
Medical Engineermg Corp., 243 F 3d 200, 206, n 5 (5th Cu 2001), Jefferson v Lead Industries
Ass’n, Inc, 106 F 3d 1245, 1251 (5th Cur 1997); Pyntone v Biomatrix, Inc , 2001 WL 568611,
**7-8 (ED La May 22, 2001) La Civ Code arts 2524 (fitness for ordinary use) and 2529
(thing not of a kind specified) contemplate that the buyer’s nghts and remedies are
governed by the rules of sale and conventional obligations. Under La Civ Code arts
1995 and 1998, the damages for alleged breach of a conventional obligation are economic,
not non-pecumary damages. Plaintiffs therefore have no viable claim in redhibition or
breach of implied warranty as a theory of recovery agaist Walgreen for compensatory
personal-injury damages

Plaintiffs alleges that she “has suffered and stll suffers serious and grievous
injuries as a result of ingesting PPA/ephedrine contaimng products” (Petition, J 10)

Her alleged myurtes include “paralysis to the right side of her body” Id Plaintiffs assert

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that Mrs Donnelly has “sustained physical and mental pain and suffermg, loss of income,
loss of consortium, loss of enjoyment of life, and other damages to be shown at tnal”
(Petition, { 12) Mr Donnelly alleges loss of consortium “as a result of his spouse’s
debilitating and impaired condition” (Petition, { 13). Although plaintiffs allege a clam
for breach of warranty against redhibitory defects, even there, the allegations are that the
retailer/seller defendants “failed to give Petitioner notice of the dangerous side-effects” of
the medications they sold and “failed to adequately inform the Petitioner of the dangers
inherent” in them (Petition, { 16) When read in the context of the entire petition,
plaintiff's purported redhibition and breach-of-warranty claums are nothing more than a
restatement of the personal-injury claims, which are not recoverable m an action for
redhibition/ breach of warranty.

Furthermore, under La Civ Code art. 2520, “The seller warrants the buyer against
redhibitory defects, or vices, in the thing sold” The terms “defects” or “vices” within the
meaning of this article contemplate “physical umperfection or deformity, a lacking of a
necessary competent or level of quality.” Scogin v Smith, 612 So 2d 739, 741 (La. App. 1
Cir 1992), Perksin v Bayer (Exhibit E attached, at 3). Examples of redhibitory vices
include a cracked engine block, termite damage, an inadequate building foundation, and
a contaminated Popsicle PPG Industnes, Inc. v. Industrial Lamimates Corp , 664 F.2d 1332,
1336 (6th Cir 1982). See also Lonkowskt v. RJ Reynolds Tobacco Co, 1996 WL 888182
(W DLa. Dec 10,1996) “The existence of such a defect gives a buyer the mght to obtain
rescission of the sale.” La C1v. Code art 2520 Here, plaintiffs do not plead a redhibitory

defect or seek rescission within the meaning of Article 2520 Instead, they seek personal-

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injury damages because the retailer/seller defendants failed to notify and warn them of
side-effects of the medications. Those allegations are essentially that the product was
“unreasonably dangerous” under the LPLA, La RS. 9280051, et seq. But plaintiffs have
not alleged that Walgreen 1s a “manufacturer ”

3. Plaintiffs have no viable claim against Walgreen as a seller who
knew of the alleged defect

La Civ Code art 2545 provides that “[a] seller who knows that the thing he sells
has a defect but omits to declare it, or a seller who declares that the thing has a quality
that he knows it does not have, ts lable to the buyer for the return of the purchase price
with mterest from the time it was paid, for the rermbursement of reasonable expenses
occasioned by the sale and those incurred for the preservation of the thing, and also for

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damages and reasonable attorney’s fees” The article further provides that “[a] seller 1s
deemed to know that the thing he sells has a redhibitory defect when he 1s a manufacturer
of that thing ”

In contrast to a manufacturer’s presumed knowledge of the alleged defect and its
possible resultant liability as a “bad-fatth seller” under Article 2545, a plaintiff must prove
that a non-manufacturing seller had knowledge of the alleged defect in order to recover
against it under this codal article See McGough v. Oakwood Mobile Homes, Inc., 779 So 2d
793, 802 (La. App. 2d Cir 2000) (“A seller who 1s not the manufacturer of the thing 1s not
presumed to have knowledge of the defect, :t must be proven that the seller knew of the

defect”), Strickland v Brown Morns Pharmacy, Inc , 1996 WL 537736, *2 (ED La Sept 20,

1996) (“[I]n Louisiana, a non-manufacturer seller of a defective product may be liable for

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damages only if he knew or should have known of the dangerous characteristic of the
product” (citing Winchell v. Johnson Properties, Inc., 640 So 2d 399, 401 (La App 3rd Cir
1994) and La Civ Code art 2545.)), In Re Diet Drugs, 1998 WL 254976, *4,n 6 (ED Pa
Apr 16, 1998) (“[U]nder Louisiana law, a retailer can be lable to a consumer for breach of
an unplied warranty only upon showing that the retailer knew or should have known
that the product is unwholesome ”)

Plamtiffs seek damages and attorney’s fees from Walgreen by invoking La Civ
Code art 2520, et seq (warranty against redhibitory defects), art. 2524 (failure to sell a
product fit for ordinary usage where the buyer relies on the retailer’s skill or judgment in
selecting the thing), and art 2529 (thing delivered is different from the kind that the
contract or the seller represents) (Petition, ] 17) Plamtiffs allege in a conclusory fashion
that the retailer/seller defendants “had actual knowledge of the existence of said
redhibitory defects at the time of the sale,” that they “knew Petitioner’s mtended usage of
the subject over-the-counter medications and knew of Petitioner's reliance on the skill and
judgment of retailer/seller defendants in the sale of ther over-the-counter medications,”
and that they “misrepresented” the medications “as being safe for human consumption”
and “failed to adequately inform” plamtff of their alleged inherent dangers Id But
plaintiffs do not allege that they spoke to a Walgreen employee or recerved anything
other than the prepackaged and sealed medication that Mrs Donnelly herself selected
and chose to buy Moreover, plaintiffs completely negate their own allegations by
asserting that the “[p]harmaceutical manufacturer defendants failed to alert. . retail

dealers who would be expected to sell and/or recommend its products, of the hazards

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associated with said products’ usage, and further actively promoted and advertised their
products in a manner that suggested the design of their products was safe” (Petition,
415) Thus, the complaint precludes recovery under Articles 2520, 2524, 2529, and 2545
Conclusory allegations contradicted by other portions of the complaint cannot defeat
federal jurisdiction, and they fail to warrant remand See Perksin v. Bayer (Exhibit E
attached, at 5-6)

Again, Walgreen’s responses to requests for admission pierce the conclusory
allegations of plamtiffs’ petition See Exhibits A and B attached Walgreen admuts that it
did not manufacture the medications or hold itself out as a manufacturer, that 1t had no
control or influence over any characteristic of the unaltered, prepackaged, and sealed
medications that it sold, that it did not know of or omut to declare any alleged defect in the
medications, and that 1t made no warranties concerning the testing, safety, effectiveness,
or ingredients of the medicines (Response Nos 2-9) Thus, plaintiffs have not alleged and
cannot establish the necessary elements of a claim agamst Walgreen under Article 2545
See Perksin v Bayer (Exhibit E attached, at 5-6)

At page 4 of therr memorandum, plaintiffs assert that “evidence will be exchanged
during discovery and likewise be presented during tral which proves that defendants
knowingly concealed that its PPA containing products were potentially unsafe for human
consumption” But this Court must look to the petition at the time of removal Plaintiffs
cannot make conclusory allegations and assert that future discovery may show that a

fraudulently jomed defendant is culpable Strickland, cited above

Bayer'sOppRemand doc 19

Case e02-ev Oo @r Document 36 Filed 11 Page 153 of 472

4. Plaintiffs have not alleged a claim against Walgreen under La. Civ.
Code art. 2531

La Civ Code art. 2531 provides that a seller who did not know that the thing he
sold had a defect 1s bound to repair, remedy, or correct it. If a good-faith seller cannot or
fails to do so, he may be bound to return the price to the buyer with interest from the trme
that 1t was paid and to rermburse the buyer for the reasonable expenses occasioned by the
sale, as well as those curred to preserve the thing less a credit to which the seller 1s
entitled if the buyer made use of the thing or obtained some value from it Article 2531 1s
irrelevant to plaintiffs’ clams and serves as no reasonable basis for stating a claim against
Walgreen

Plamtiffs do not mention La. Civ. Code art 2531 in the complaint or seek relief
under 1t against Walgreen as a good-faith seller The motion to remand and the petition
seek damages and attorney’s fees against it only as a “bad-fatth” seller who allegedly
knew of the alleged defect at the time of sale. Moreover, under La Civ Code art 2520,
“[t]he seller warrants the buyer against redhibitory defects, or vices, in the thing sold”
and that “[t]he existence of such a defect gives a buyer the night to obtain rescission of the
sale” Plaintiffs have not pleaded that Walgreen rescind the sale, return the purchase
price, and pay for the sale expenses The prayer contains no paragraph referencing La
Civ Code art. 2531 or seeking such recovery of such special damages, which must be
specifically alleged “Without such basic details, plaintiff 1s making only conclusory

allegations that cannot support remand” See Perksin v Bayer (Exhibit E attached, at 4)

Bayer'sOppRemand doc 20

Case me Oe” Document 36 Filed oN Page 154 of 472

Moreover, even if alleged, such a de munimus claim cannot defeat removal jurisdiction
See Perksin v Bayer (Exhibit E attached, at 6-7)

Furthermore, under La Civ Code art 2522, “[t]he buyer must give the seller notice
of the existence of a redhibitory defect in the thing sold” The buyer must “tender” the
allegedly defective product by offering to return it to the seller before filing any action m
redhubition See Lindy Investments v Shakertown Corp , 209 F 3d 802, 805-06 (5th Cir 2000)
Under La Civ. Code art 2522, a buyer is not required to give notice when “the seller has
actual knowledge of the existence of the redhubitory defect in the thing sold.” But
Walgreen’s responses pierce any conclusory allegations that it had knowledge of any
alleged hazard concerning the medications in this case Indeed, as noted above, plaintiffs
allege that the manufacturers “failed to alert _. retail dealers who would be expected to
sell and/or recommend 1ts products, of the hazards associated with said products’ usage.

” (Petition, | 15)

Plaintiffs do not allege that they gave any notice to Walgreen of any alleged
redhibitory defect in the medications, that they requested that it return the purchase price,
or that they tendered the unused products to 1t. They have failed to plead and meet the
basic prerequisites for a valid cause of action in redhubition or breach of warranty against
them under Article 2531 See Perksin (Exhibit E attached, at 4-5)

C. Plaintiffs have no viable tort claim against Walgreen under Louisiana law

Plamtffs’ tort-based claims against Walgreen are not viable under Louisiana law
and serve as no grounds for contesting defendants’ well-founded removal based on

fraudulent joinder Plaintiffs allege that Walgreen is a non-manufacturing retailer

Bayer'sOppRemand doc a1
Case 202 cv-025c gir Document 36 Filed v@® Page 155 of 472

(Petition, 9] 3and17) “A non-manufacturer seller of a defective product 1s responsible
for damages 1n tort, only if he knew or should have known that the product sold was
defective and failed to declare it” LeBleu vo Homelite Div. of Textron, Inc , 509 So.2d 563,
565 (La App 3d Cir 1987), Perkstn v. Bayer (Exhibit E attached, at 9-10). “When a product
is in a sealed container or package, a vendor is entitled to reasonably rely on the
assumption that the product is not defective” Barrettv RJ] Reynolds Co., 1999 WL 460778,
*2 (ED La. June 29, 1999) “The non-manufacturer vendor 1s not required to inspect the
product prior to sale to determine the possibility that non-apparent inherent defects
mught exist.” Picola v. Flex-A-Bed, Inc , 466 So 2d 652, 654 (La App 5th Cir }, wret demed,
467 So 2d 1134 (La. 1985) A seller additionally “has no duty to warn or instruct the
buyers on proper use” Strickland v Brown Morris Pharmacy Inc , 1996 WL 537736, *2
Although a manufacturer of an allegedly defective product is presumed to know
of the defect, the manufacturer’s knowledge 1s not umputed to a mere seller under
Louisiana law Holloway v Gulf Motors, Inc., 588 So 2d 1322, 1327 (La. App 2d Cir 1991)
(record was devoid of facts to support a conclusion that Gulf was a bad-farth seller, it was
merely a retailer, and no evidence existed that Gulf had held out the product as its own),
Barrett v. R.J. Reynolds Co, 1999 WL 460778, *2 (“A distributor or retailer who did not
manufacture, design or alter prior to sale a defective product 1s not responsible for mjury
or damages resulting from such product in the absence of a showing that he knew or
should have known the product was defective ”), Strickland v Brown Morris Pharmacy, Inc.,

1996 WL 537736, *3 (“[I]n Louisiana a non-manufacturer seller of a defective product may

Bayer'sOppRemand doc 9?
Case a0 2-252 ge Document 36 Filed v@® Page 156 of 472

be hable for damages only if he knew or should have known of the dangerous
characteristic of the product “).

Plaintiffs assert at pages 4-5 of therr memorandum that fraud may result from
maction or silence But both federal and Louisiana procedure require a plaintiff to plead
allegations of fraud with particularity Fed.R Civ P 9(b), La Code Civ. P. art 856 The
plaintiff must state the “who, what, when, and where” of the fraud Willams 0 WMX
Technology, 112 F 3d 175, 177-78 (Sth Cur. 1995), cert dented, 522 US 966 (1997), General
conclusions of fraud without particular allegations must be disregarded. Hardy v. Easy
T V and Appliances of Loutstana, 804 So 2d 777,781 (La App 4 Cir. 2001). Furthermore, a
claim of fraud or intentional misrepresentation cannot be based on mere negligence or a
mustake, a knowing and purposeful intent to deceive in order to obtaim an unjust
advantage is an essential element of the tort Bass v. Coupel, 671 So.2d 344, 347 (La App 1
Cir. 1995), writ demed, 669 So 2d 426 (La 1996). Even negligent misrepresentation requires
that the defendant must owe a duty to supply correct information and breach tt. Barrie v
V P, Exterminators, Inc , 625 So 2d 1007, 1015 (La. 1993) Likewise, a civil “conspiracy” 1s
not actionable without an underlying tort that the parties agree to perpetrate and actually
commut to bring about an intended outcome or result La Civ. Code art 2324, johnson v
CHL Enterprises, 115 F.Supp 723, 731 (WD.La 2000), Butz v Lynch, 710 So 2d 1171, 1174
(La. App 1 Cir ), writ dened, 721 So 2d 473 (La 1998)

In denying a motion to remand in Strickland v Brown Morns Pharmacy, Inc , cited
above, Judge Fallon recognized that a seller has no duty to inspect a product or warn a

buyer on its use, that conclusory allegations against the non-manufacturing retailer did

Bayer'sOppRemand doc 93

Case eee” Document 36 Filed oun Page 157 of 472

not establish a cause of action, and that the plaintiff did not even allege that the consumer
had consulted with or talked to any employee or owner of the pharmacy before
purchasing the medication 1996 WL 537736, *2,n3 Here, as m Sinckland, plaintiffs have
alleged no facts to support the contention that Walgreen, a non-manufacturing seller of
FDA-regulated medications in sealed packages, knew or should have known of the
alleged hazards and warn about them at the time of the alleged sales Indeed, plamtiffs’
own petition refutes any claim of Walgreen’s actual or constructive knowledge by
alleging that the “[p]harmaceutical manufacturer defendants failed to alert . retail
dealers who would be expected to sell and/or recommend its products, of the hazards
associated with said products’ usage .. ” (Petition, { 14) In response to the requests for
admussion, Walgreen establishes that 1t did not know of or omit to declare any alleged
defect in the medications that it sold, and that 1t netther made nor implied any warranties
concerning the testing, safety, effectiveness, or ingredients of the medicines See Exhibits
B and C (Response Nos 2-9) Thus, plaintiffs have no viable claim mm negligence, want of
care, gross negligence, strict lability, fraud, musrepresentation, or conspiracy against
Walgreen as a non-manufacturing seller without knowledge of any alleged hazards or
side-effects concerning the prepackaged medications
CONCLUSION

This Court need not address plaintiffs’ motion to remand pending a final ruling of
the Panel on transfer of the case to MDL-1407. Alternatively, the remand motion 1s
meritless Plaintiffs have fraudulently jormed Smoothie King and Walgreen Their

crtizenships should be disregarded because the petttion and the undisputed facts show

Bayer'sOppRemand doc 24

Case 2:02-cv- 0252 JR Document 36 Filed 01/10 Page 158 of 472

that plaintiffs have pleaded no viable cause of action under Louisiana law against those
defendants Thus Court has proper diversity jurisdiction over this action, and plamtiffs’
motion to remand should be dened

Respectfully submitted,

CW

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Attorneys for Novartis Pharmaceuticals
Corporation and Novartis Consumer Health,
Ine.

I do hereby certify that I have on this day of Se 073 74002, served a
copy of the foregoing pleading on counsel for all parties to this proceeding, by facsimile
transrrussion or by mailing the same by United States mail, properlyfaddressed, and first

class postage prepaid JL
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AFFIDAVIT OF STEVE KUHNAU
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned Notary Public, duly commissioned and qualified in and for
the parish and state set forth above, personally came and appeared.
STEVE KUHNAU

who, after being duly swom, deposed and stated the followmg
L.
I have personal knowledge of the facts set forth in this Affidavit and, if called as a witness,
could and would competently testify to the following
2
The Smoothie King store located at 3366 Paris Road, Chalmette, Louisiana is the only store
operated in Chalmette, Louisiana and there has been no other store operating in that geographic
location m the history of the Smoothie King franchising business.
3
The Franchise Agreement #20 which authorizes this Chalmette, Louisiana location was
executed by franchisees on October 9, 1991

4
This Smoothie King store opened on February 17, 1992 at the location of 3366 Paris Road,

Chalmette, Louisiana

EXHIBIT

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Chairman, Board of Directors

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YORN TO AND SUBSCRIBED before me, this Z G day of July, 2002, in New Orleans,

Louisiana

Notary Public /

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UNITED STATES DISTRICT COURT —___ _ one

EASTERN DISTRICT OF LOUISIANA

| DAPHINE B. DONNELLY CIVIL ACTION NO,
AND JEROME DONNELLY, HUSBAND 02-2436

|

| VERSUS SECTION "N"

BAYER CORPORATION, NOVARTIS MAGISTRATE "1"

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*
PHARMACEUTICALS CORP , NOVARTIS "
CONSUMER HEALTH, INC., 4LIFE RESEARCH, *
L.C. SUCCESSOR BY MERGER TO SHAPERITE
SMOOTHIE KING CO., SMOOTHIE KING +
SYSTEMS, INC., WALGREEN LOUISIANA
COMPANY, INC. (D/B/A “WALGREENS") *

*

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RESPONSES TO REQUESTS FOR ADMISSION
NOW INTO COURT, through undersigned counsel, comes defendant, Walgreen Louisiana

Company, Inc., who responds to the Request for Admissions of defendant, Novartis Consumer

| Health, Inc,, as follows:
Request for Admission No. 1:

Walgreen opeiated and operates drug stores mn Louisiana under the name “Walgreens.”
RESPONSE TO REQUEST NO. 1:

Admitted.
Request for Admission No. 2:

In the State of Louisiana, Walgreens sold Tavist-Do products, manufactured by Novartis
Consumer Health, Inc.

RESPONSE TO REQUEST NO. 2:

Admitted,

EXHIBIT

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Request for Admission No. 3: oe -

At no time did Walgreen design, manufuciure, test, process, label, package, distribute, scll,
market, warrant, promote, represent, or advertise Tavist-D® products as its awn products or hold
itself out to the public as the manufacturer of Tavist-Da products

RESPONSE TO REQUEST NO. 3:

Admitted
Request for Admission No. 4:

At no trme did Walgreen exercise or atternpt to exercise any control or influence over any
characteristic of the design, composition, warnings, warrantics, or quality of Tavist-De products.

RESPONSE TO REQUEST NO. 4:

Admitted,

Request for Admission No. 5:

Walgreen purchased for resale all Tavist-De products in sealed packayes that had been
labeled and packaged by the respective manufacturer.
RESPONSE TO REQUEST NQ. 5:

Admitted
Request for Admission No. 6:

Walegrcen sold Tavist-D ® products in the same scaled packages without altering or

repackaguig in any manner the contents of the packages.

RESPONSE TO REQUEST NO. 6:

Admitted
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Request for Admission No. 7:

Walgreen displayed for sale in ils drug slores the Tavist-D@ products with other medicines
and cold remedies manufactured by companies other than Novartis Consumer Health, Inc

RESPONSE TO REQUEST NO. 7:

Adnutted.,

Request for Admission No, 8:

Walgreen did not know of, or omit to declare, any problems, dangerous risks, hazards, or
facts indicating that the Tavist-De products that it sold had a defect or were unsafe, hazardous, or
harmful in their normal and intended uscs
RESPONSE TO REQUEST NO. 8:

Admitted,
Request for Admission No. 9:

Walgreen did not know of, or onut to declare, any charactenstic m the Tavist-D® products
that it sold that rendered these products unreasonably dangerous for normal use or that rendered these
products useless or so inconvenient that 1t must be presumed that buyers would not have bought
these products if they had known of the defect.

RESPONSE TO REQUEST NO. 9:

Admitted.

Request for Admission Ne. 10:
Walgreen did not know of, nor did it omit to declare, any defect in the Tavist-D® products that it
sold

RESPONSE TO REQUEST NO. 10:

Admitted,
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Request for Admission No. 11: - _-
Walgrccn neither made nor implied any warranties whatsoever concerning the testing, safety,

effectiveness, or ingredients of the Tavist-D@® products that it sold.—_

RESPONSE TO REQUEST NO. 11:

Admitted,
Request for Admission No. 12:

At no time pnor to filimg of suit did the plaintiff(s) m this case give notice to Walgreen of
any alleged redhibtlory defect in the Tavist-De products that plaintiff had allegedly purchased from,

Walgreen.

RESPONSE TO REQUEST NO. 12:

Admitted
Request for Admission No. 13:
At no time prior to filing of suit did plainti{f1n this casc tendcr Tavist-D ® products to

Walgreen for a rescission of the salc and return of the purchase price and expenses of sale.

RESPONSE TO REQUEST NO. 13:
Admitted.

Respectfully submited,

ACK E. TT, BAR NO. 18476, T.A.
ighway 2]

Madisonville, Louisiana 70447

Telephone; (985) 792-1062

Facsimile: (985) 792-1065

Email: mail@truittlaw com

Counscl for Walgrecn Louisiana Company, Inc.
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CERTIFICATE OF SERVICE

I hereby certify that a copy of the abeve

d foregoing has been duly served on all counsel]

of record by depositing same into the U

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is September 23, 2002, or by

any othcr means authorized by law

Case 2:02-cv-02524R IR Document 36 Filed 01/10 Page 166 of 472

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY CIVIL ACTION NO.
AND JEROME DONNELLY, HUSBAND 02-2436
VERSUS SECTION " N “

BAYER CORPORATION, NOVARTIS MAGISTRATE "1"

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PHARMACEUTICALS CORP , NOVARTIS *
CONSUMER HEALTH, INC., 4LIFE RESEARCH, *
L.C SUCCESSOR BY MERGER TO SHAPERITE *
SMOOTHIE KING CO , SMOOTHIE KING *
SYSTEMS, INC., WALGREEN LOUISIANA *
COMPANY, INC (D/B/A “WALGREENS”) *

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RESPONSES TO REQUESTS FOR ADMISSION

NOW INTO COURT, through undersigned counsel, comes defendant, Walgreen Louisiana
Company, Inc , who responds to the Request for Admissions of defendant, Bayer Corporation, as
follows:

Request for Admission No. 1:

Walgreen sold in the State of Louisiana various Alka Seltzer Plus effervescent medicines
manufactured by Bayer that contained Phenylpropanolamine (“PPA”), including Alka Seltzer Phus
Cold effervescent medicine, Alka Seltzer Plus Cold & Sinus effervescent medicine, Alka Seltzer
Plus Night Tume effervescent medicine, Alka Seltzer Plus Cold and Cough effervescent medicine
and Alka Seltzer Plus Cold & Flu effervescent medicine (collectively the “Alka Seltzer Plus
Effervescent Medicines”)

RESPONSE TO REQUEST NO. 1:

Admitted EXHIBIT

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Request for Admission No. 2:

At no time did Walgreen design, manufacture, test, process, label, package, distribute, sell,
market, warrant, promote, represent, or advertise Alka Seltzer Plus Effervescent Medicines as its
own products, or otherwise hold itself out to the public as a manufacturer of Alka Seltzer Plus
Effervescent Medicines

RESPONSE TO REQUEST NO. 2:

Admitted
Request for Admission No. 3:

At no time did Walgreen exercise or attempt to exercise any control or influence over any
characteristic of the design, composition, warnings, warranties, or quality of Alka Seltzer Plus
Effervescent Medicines

RESPONSE TO REQUEST NO. 3:

Admitted
Request for Admission No. 4:

Walgreen purchased for resale all Alka Seltzer Plus Effervescent Medicines in sealed
packages, which had been labeled and packaged by the manufacturer.

RESPONSE TO REQUEST NO. 4:

Admitted
Request for Admission No. 5:

Walgreen sold Alka Seltzer Plus Effervescent Medicines in the same sealed packages without
altering or repackaging in any manner the contents of the packages.

RESPONSE TO REQUEST NO. 5:

Admitted
Case 202-cv-O2ocgmr Document 36 Filed o® Page 168 of 472

Request for Admission No. 6:
Walgreen displayed for sale in its drug stores the Alka Seltzer Plus Effervescent Medicines
with other manufacturers’ over-the-counter drugs and cold remedies

RESPONSE TO REQUEST NO. 6:

Admitted.
Request for Admission No. 7:

Walgreen did not know of or omit to declare any alleged defect in the Alka Seltzer Plus
Effervescent Medicines that it sold

RESPONSE TO REQUEST NO. 7:

Admitted.
Request for Admission No. 8:

Walgreen neither made nor implied any warranties whatsoever concerning the testing, safety,
effectiveness, or ingredients of the Alka Seltzer Plus Effervescent Medicines.

RESPONSE TO REQUEST NO. 8:

Admitted
Request for Admission No. 9:

At no time prior to filing of suit did the plaintiffs) in this case give notice to Walgreen of
any alleged redhibitory defect in the Alka Seltzer Plus Effervescent Medicines that plamtiff(s) had
allegedly purchased from Walgreen

RESPONSE TO REQUEST NO. 9:

Admitted.
Case 202 cv-025c qr Document 36 Filed ono Page 169 of 472

Request for Admission No. 10:

At no time prior to filing of suit did plaintiff(s) in this case tender Alka Seltzer Plus
Effervescent Medicines to Walgreen for a rescission of the sale and return of the purchase price and

expenses of sale

RESPONSE TO REQUEST NO. 10:

Admitted.

Respectfully submitted,

JACK E TRUATT, BAK NO 18476, T.A.
241 Highway 21
Ma ville, Louisiana 70447

Telephone: (985) 792-1062

Facsimile (985) 792-1065

Email: mail@truittlaw.com

Counsel for Walgreen Louisiana Company, Inc

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing has been duly served on all counsel

of record by depositing same into the -paid, this September 17, 2002, or by

any other means authonzed by law.

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IN THE UNITED STATES DISTRICT COURT; n wy
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FOR THE WESTERN DISTRICT OF LOUISIANA acesrtu su :
MONROE DIVISION "By c
DepuTy oS
ROBERT WILLIAMS * CIVIL ACTION NO. 01-0690
VERSUS * JUDGE WALTER
WARNER-LAMBERT CO., ET AL * MAGISTRATE JUDGE HAYES
RULING

Before the court is a motion to remand filed by plaintiffs Document #8).! Forreasnas stated
below, the motion to remand is DENIED.

This matter was filed in the Fifth Judicial Court for the Parish of Richland on March 19,
2001, secking damages arising as areswt of taking Rezulin, a prescription drug used in the treatment
of dizbetes. Defendants timely removed this matter on the basis of diversity jurisdiction,
maintaining that the plaintiff fraudulently joined Tom's Drug, Carol C. Eley and David M. Clary.
The plaintiff moved to remand the case to State court, based on a lack of complete diversity of
citizenship. In response, defendants assert that the plaintiff has no claim for failure to warm about
adverse side effects against the pharmacy that dispensed the drug or against the pharmaceutical
representatives who provided the drug to the pharmacies, because under Louisiana law neither the
pharmacy nor the pharmaceutical representatives have such a duty.

A party claiming fraudulent joinder carries a heavy burden of persuasion and must show

cither that there is no possibility that the plaintiff would be able to establish a cause of action against

1As this is not one of the motions excepted in 28 U.S.C, §636(b}(1)(A), nor dispositive of
ny claim on the merits within the meaning of Rule 72 of the Federal Rules of Civil Procedure,
this ruling is issued under the authority thereof, and in accordance with the standing order of this
court. Any appeal must be made to the district judge in accordance with Rule 72(a) and LR.

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the non-diverse defendants or that there has been outright fraud in the plaintiff's pleadings of the
jurisdictional facts. B., Inc., v. Miller Brewing Co., 663 F.2d 545 (S* Cir. 1981). This Court does
not decide whether the plaintiff will actually or even probably prevail on the merits, but looks only
for a possibility that he may do so. Dodson y, Spiliada Maritime Corp., 951 F.2d 40 (5* Cir. 1992).

The court finds that the defendants have satisfied their burden. Under Louisiana law, a
pharmacist has a limited duty with regard to filling prescriptions for medications,

A pharmacist has a duty to file a prescription correctly and to warn the patient or to
notify the prescribing physician of an excessive dosage or of obvious inadequacies
on the face of the prescription which create a substantial risk of harm to the patient.
Guillory v. Dr. X, 679 So.2d 1004, 1010 (La.App. 3 Cir. 1996)(citing Hayes v.
Travelers Insurance Company, 609 So.2d 1084 (La_App. 2 Cir. 1992) writ denied,
613 So.2d 975 (La. 1993).

However, a pharmacist does not have a duty to warn customers of the hazardous side effects
associated with a drug. Gassen v. East Jefferson General Hospital, 628 So.2d 256, 259 (La-App.
5 Cir. 1993). Because Louisiana law limits a pharmacist’s liability to properly “"" += |
and warning of overdoses, the pharmacy had no duty to warn the plaintiff about possible side effects,
and there can be no claim against it in either tort or redhibition.

Plaintiff cannot establish lability against defendant Carol Eley for two reasons. First, Eley's
unrefuted affidavit establishes that he never called on any physician in Richfand Parish, and thus
could not have called on the plaintiff's physician. Therefore, pretermitting an argument regarding
any duties he might have had, there is no basis on which plaintiff could possibly establish a cause
of action against Eley.

Finally, under Louisiana law, the only personal duty a detail man or pharmaceutical
representative has toward a plaintiff is to deliver and explain the new package inserts to the

physicians within the detail man's territory. Wallace v. Upjohn Company, 535 So.2d 1110, 1117

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(La.App. 1 Cir. 1988). Eley and Clary, have both submitted unrefuted affidavits stating that they
supplied physicians with copies of the FDA approved package insert regarding Rezulin each time
they supplied information regarding Rezulin, and that, if questions were raised by physicians not
addressed by the package insert, then Eley and Clary both put the doctor in contact with the 1-800
number for Warner-Lambert medical affairs, Under Louisiana Jaw, they had no other duty.

Plaintiff makes conclusory allegations of fraud against Eley and Clary, but his pleadings fail
to meet the particularity standard for pleading fraud under FRCP Rule 9(b), and in any case are
insufficient to overcome the unrefited affidavits. Thus, there is no basis for personal liability against
cither Eley or Clary.

Given the unrefuted affidavits of the defendants, the lack ofany factual allegations or support
forthe conclusory allegations contained within the plaintiff's original petition, and the limited duties
imposed on territory managers under Louisiana law, it is the finding of this court that the plaintiff
has no legitimate claim against the territory managers and that they were improperly joined in these
proceedings. Therefore, plaintiff's motion to remand is DENIED.

27a
THUS DONE AND SIGNED at Monroe, Louisiana, this 2 2?) aay of] uly, 2001.

a KAREN TS HAYES
UNITED STATES NG HAYES Juoce

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MOTION FOR REMAND

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3 CV Ol ¢2023 4700000037 BY WESTERN DISTRICT OF WASHeNETON
4 UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF WASHINGTON

5 AT SEATTLE
6| JAMES PERKSIN,
7§ Plaintiff, NO. C01-2023R
8 | v. ORDER DENYING PLAINTIFE’S
9]

BAYER CORPORATION, et al.,

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Defendants.

THIS MATTER comes before the court on the motion of plain-
P tiff James Perksin to remand the case to state court in Louisi-
| ana. Having reviewed the papers filed in support of and in

opposition to this motion, the court rules as follows:

I. BACKGROUND
Plaintiff purchased the over-the-counter drugs Alka-Seltzer
Plus Cold Medicine, Robitussin CF, and Contac 12 Hour Cold
Capsules from an unidentified Rite Aid drugstore in Caddo Parish,
pLouisiana. Plaintiff later consumed:the medication. Sometime
during 1998, plaintiff suffered a stroke. The medicines con-
i tained the ingredient Phenylpropanolamine (“PPA”). On August 24,
| 2001, plaintiff filed a complaint in Louisiana state court that
j links the PPA in the cold medicine with plaintiff’s stroke.

The complaint alleges several causes of action against

EXHIBIT
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manufacturers and distributors of products that contain PPA.

The complaint also names K & B Louisiana Corporation (“K&B”) as
a defendant in two of the causes of action, breach of warranty
in redhibition and negligence. K&B operates Rite Aid drugstores
throughout Louisiana that sell over-the-counter medications
containing PPA.

Defendants removed the complaint to federal court on the
basis that plaintiff fraudulently joined K&B as a defendant.
Plaintiff then moved to remand to state court. After the parties
briefed the motion, the case was transferred to this court as

part of a multi-district litigation.

II. ANALYSIS
A plaintiff cannot defeat federal jurisdiction by fraudu-
lently joining a non-diverse party against whom “there is no
reasonable basis for predicting that plaintiffs might establish
liability ... .” Badon v. RJR Nabisco, Ine., 224 F.3d 382, 292
(Sth Cir. 2000). The court determines jurisdiction based on the
claims as stated at the time of removal; arguments about what

future discovery may reveal cannot justify remand. See Cavallini
v, State Farm Mut. Auto. Ins. Co., 44 F.3d 256, 264 {Sth Cir.

1995). The court must view the facts in the light most favorable
to the plaintiff: however, the court may pierce the pleadings and

consider “summary judgment-type evidence.” Id. at 263. A

25 | plaintise also cannot defeat removal by relying on conclusory

allegations that fail to state a cavse of action. See Jernigan

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Allstate Ins. Co., S8 F. Supp.2d 729, 733-34 (E£.D. La. 15996).

Defendants allege that plaintiff fraudulently joined defen-
dant KéB, while plaintiff claims that he has a legitimate con-
tract cause of action against K&B for breach of warranty in
redhibition, under La. Civ. Code art. 2520 et seq., and a cause
of action against K&B in negligence. Plaintiff does not argue

= 989 F.2d 612 (Sth Cir. 1993); Addition v.

that any other causes of action in the complaint apply to K&B.
A. Breach of Warranty in Redhibition

Under Louisiana law, a seller “warrants the buyer against
redhibitory defects, or vices, in the thing sold.” la. civ. Code
J ert. 2520. 2A redhibitory defect or vice involves a “physical
imperfection or deformity, a lacking of a necessary competent or
level of quality.” Scogin v. Smith,612 So.2d 739, 741 (La. Ct.
App. 1992). The buyer of a product with a redhibitory defect
must tender the product to the seller and seek rescission of the
sale. La. Civ. Code art. 2520, 2530. A good faith seller is
liable only for the cost of the product if it cannot repair the
item. La. Civ. Code art. 2531. The buyer can hold a bad faith
seller liable for consequential damages and attorney's fees as

| wet. La. Civ. Code art. 2545.

a. Failure to Plead Elements of Redhibition

Tt is unclear from the motion to remand whether plaintiff

1s alleging a cause of action against KéB as a good faith seller

under La. Civ. Code art. 2531 or as a bad faith seller under
[scsi 2545. While a portion of the memorandum argues that K&B

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knew of the medications’ alleged redhibitory effects, the same
brief distinguishes bad faith cases and focuses on K&B‘s poten-
tial status as a good faith seller. Regardless, the complaint
does not include sufficient facts to support a claim against K&B
under either theory.

a. reticle 2531

First, the complaint never alleges liability under article
2531. The only redhibition liability provision cited is article
2545, which applies to bad faith sellers who knew of the defect.
In the damages portion of the complaint, plaintiff again cites
article 2545 and fails to cite article 2531. By its own terms,
the complaint does not allege a cause of action against KéB under
article 2531.

Second, the allegations of the complaint fail to provide
specific facts that would support a cause of action against K&B
under article 2531 even if plaintiff had invoked that provision.
As explained above, the court must assess the remand motion based
on the facts as stated in the complaint, and the court may pierce
the pleadings to assess conclusory allegations. The complaint
does not allege that plaintiff sought rescission of the sale, nor
dees it allege that plaintiff provided K&B with notice of the
alleged defect, nor does it provide details regarding where and
when plaintiff purchased the products. Without such basic
details, plaintiff is making only conclusory allegations that
cannot support remand. See Jernigan, 989 F.2d 812; Addition, 58
F. Supp.2d at 733-34,

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| have know of the defect. La. Civ. Code art. 2545. Plaintiff

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The complaint fails to allege that plaintiff sought rescis-~
sion of the sale and return of the purchase price - a key element
of redhibition. Cf. Mitchell v. Popiwchak, 677 So.2d 1050, 1054
{La. Ct. App. 1996) (request for purchase price satisfies tender

requirement). Plaintiff argues that the complaint alleges

i rescission as a remedy, but there is no allegation that plaintiff

sought rescission prior to filing the lawsuit as required.

In addition, notice and tender are prerequisites to bringing

a redhibition claim. See Lindy Inv., LP yv. Shakertown Corp., 209

F.3d 802, 805-06 (Sth Cir. 2000). Plaintiff does not aliece that

KEB received notice of the defect, much less allege that plain-

Stiff tendered the product to K&B. Finally, plaintiff fails to

| allege any details regarding the store that sold the medication.
lor. Long v. Bruns, 727 So.2d 664 (La. Ct. App. 1999) (complaint
| dismissed for failure to plead proper seller). By failing to

| allege many of the basic elements of a cause of ackion uncer

i section 2531, plaintiff has no reasonable possibility of holding

i K&B Liable.

b. Article 2545
Article 2545 applies to bad faith sellers who knew or should

alleges in the complaint that “all Defendants have actual knowl-

edge” of the alleged defects. This statement lacks factual

] support, contradicts other portions of the complaint, and fails

to warrant remand.

As explained above, a plaintiff cannot defeat federal

ORDER

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jurisdiction by relying solely on conclusory allegations.
Plaintiff provides no factual support for the broad allegation
that the drugstore knew of potential dangers in the medications.
On remand, the parties may pierce the pleadings with additional
evidence to clarify such allegations. Defendants have supplied
the court with requests for admission from K&B that refute
plaintiff's assertion. KéB had no control over the pre-packaged,
sealed medications and had no knowledge of any potential dangers.
Def. Mem., Exhibit A. Plaintiff has not countered with any
specific facts to support its broad allegation.

Moreover, plaintiff's own complaint acknowledges that K&B
had no knowledge of alleged defects. For example, the complaint
alleges that the medication did not change from the time it left
the manufacturers to the time it reached the customer. It also
alleges that the manufacturers had exclusive possession of
information about potential hazards. In the negligence allega~-
tions, the complaint accuses the manufacturers of knowing about
dangers but does not include K&éB in those allegations. These
statements contradict plaintiff's conclusory allegation that K&B
knew or should have known about a potentially redhibitory effect.
Plaintiff has failed to plead facts to state a cause of action

under article 2545 and has no reasonable probability of success

against KéB.

ea Plaintiff's Claims are De Minimis

Remanding this case also would prove inequitable. The only

relief from K&B to which plaintiff would be entitled, if the

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complaint properly pleaded the elements of a cause of action

under article 2531, would be the purchase price of the medica-
ition. Such a tenuous cause of action based on de minimis recov-
;exry should not defeat federal jurisdiction. As the court ina
class action involving other over-the-counter drugs sold by goad
’ faith Louisiana pharmacies stated, such claims are “improper at

fbhest and fraudulent at worst.” In re Diet Druas, 1998 WL 254976,

at 4 {E.D. Pa. 1998). The court denied a motion to remand

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because the plaintiff had fraudulently joined the pharmacies.

So

yid, Similarly, the alleged cause of action against K&B would
It | accomplish minimal recovery, if any.
12} oe Caus ion i hibition Exists Against
Pharmacies for Saje of Medication

Louisiana law prohibits liability against a pharmacy or

drugstore that sells allegedly defective or dangerous medication.

yin re Rezgulin Prod. Liab, Litigq., 133 F. Supp.2d 272, 289

| (S.D.N.¥. 2001) (describing law of Louisiana and similar rule in

I filling a prescription and warning of overdoses. See Guillory v.

22 a

3 Dector X, 679 So.2d 1004, 1010 (La. Ct. App. 1996).

24 Louisiana courts recently have confirmed that this limit on

25 jiability for prescriptions applies te contract theories as well

36 as tort causes of action. They have held that plaintiffs cannot
ORDER

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t sue pharmacists for redhibition or breach of warranty. See

j McKinney v. Warner Lambert, No. 01-1103 (E.D. La. May 15, 2001);
| williams v, Warner-Lambert Co., No. 01-0690 (W.D. La. July 27,

} 2001). For example, the Williams court denied remand and stated
I that plaintiff had no possibility of recovery, because the

| pharmacy submitted an affidavit confirming that the pharmacy had

Willi « No. 01-0690 (W.D. La. July 27, 2001). These decisions

foharmacy has no duty to warn.

The limitation on liability for pharmacies logically extends

|less direct responsibility. For example, the court in Strickland
v. Brown Morris Pharmacy, 1996 WL 537736 (£.D. La. 1996), denied

sellers, and held that the plaintiff had no cause of action

J against a pharmacy that sold the product in good faith. See also
Sharkey v. Sterling Drug, In¢e., 600 So.2d 701, 715 (La. Ct. App.
1992} {upholding dismissal of redhibition claim against good
faith pharmacist who sold nonprescription aspirin); see also In

: Diet Drvuqs, 1998 WL 254976 (E.D. Pa. 1998} (denying remand

motion and finding fraudulent joinder of Louisiana pharmacies
accused of breach of warranty for good faith sales of nonpre-

scription diet drugs). Just as in these cases, KéB had no

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i knowledge of potential dangers in the nenprescription medications

it sold, and plaintiff cannot pursue a cause ef action against

ithe pharmacy.

Plaintiff argues that the over-the-counter cases sounded in

tort or alleged knowledge by the pharmacists. However, as
i explained above, Louisiana courts have applied the limitation on

j liability to contract claims in the prescription drug context.

The reasoning applies with even greater force for nonprescription

f medication sold by innocent pharmacists, because the pharmacist

does not even have a duty to measure a nonprescription drug or

y Warn of possible overdose. As a result, plaintiff's cause of
j action against K&B has no reasonable probability of success

| whether couched as tort or recdhibition.:

lB. Negligence

Plaintiff argues remand is necessary because the complaint

| states a claim for negligence against K&B. To the contrary, as

explained above, K&B’s status as 4 pharmacy prevents plaintiff

from alleging a tort cause of action based on defective medica-

tion. Even if K&B were not a pharmacist, plaintiff's complaint

still would fail. Any non-manufacturer seller of a product is

iplaintiff also relies on Badon v. RJR Nabisco, Ine., 236
F.3d 282 (5th Cir. 2000), in which the court granted remand in a
redhibition lawsuit that joined Louisiana pharmacies. Badon
provides little guidance, however, because it involved the
distribution of cigarettes rather than medication - prescripti
sr otherwise. The liability limitations for pharmacies selli
medications never became an issue. As described above, cour
since Badon have continued to limit the liability of pharm:

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UNITED STATES DISTRICT COURT y
EASTERN DISTRICT OF LOUISIANA
DAPHINE DONNELLY, ET AL * CIVIL ACTION
*
VERSUS * NO 02-CV-02436
*
BAYER CORPORATION, ET AL * JUDGE ENGELHARDT
*
x FR KR KR RRR KR MAGISTRATE JUDGE SHUSHAN

MEMORANDUM IN OPPOSITION TO NOVARTIS PHARMACEUTICALS
CORPORATION’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
UPON WHICH RELIEF CAN BE GRANTED

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Daphine Donnelly and
Jerome Donnelly (hereinafter referred to as “Plaintiffs”), who respectfully submit this Memorandum in
Opposition to Novartis Pharmaceuticals Corporation’s Motion to Dismiss for Failure to State a
Claim Upon Which Relief Can be Granted

Defendant has filed a Motion to Dismiss asserting that Plaintiffs’ claims for fault, want of care,
negligence, gross negligence, strict lability, intentional and wilful conspiracy, and breach of warranty
against redhibitory defects or vices should be dismissed Defendant asserts that the Louisiana
Products Liability Act (Louisiana Revised Statute 9 2800 54 et seq, hereinafter referred to as
“LPLA”) establishes the exclusive theones of recovery against a manufacturer in a personal myury

action and does not provide for recovery based on the aforementioned claims For the following

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reasons, Novartis Pharmaceuticals Corporation’s Motion to Dismiss should be dented
1 Background

Plaintiffs filed this surt in the 34° Judicial District Court against Bayer Corporation, Novartis
Pharmaceuticals Corporation, Novartis Consumer Health, Inc , 4Life Research, Successor by merger
to Shaperite, Smoothie King Co , Inc , Smoothie King Systems, Inc , and Walgreen Louisiana Co ,
Inc , d/b/a “Walgreens” for marketing, selling, distributing, and/or manufacturing Shaperite, Alka
Seltzer Plus and Tavist-D, all PPA-containing products

Plaintiffs clam in the Petition for Damages that the Defendant, directly or indirectly,
manufactured and sold medications that contained Phenylpropanolamine (“PPA”) to Plaintiff,
Daphine Donnelly (Petition J 8-12) Plaintiffs allege that Defendant knew or should have known
about medical research and publications associating PPA with serious health risks (Petition { 6-7)
Detendant (Bayer) failed to provide warnings of these side-effects and nsks associated with the use of
PPA-containing medications (Petition { 15) Plaintiffs have averred that defendant was aware of
these risks assoctated with PPA and concealed its knowledge of the nsks from Plaintiff and
consumers (Petition § 16} As a result of mgesting the PPA-contammng medication, Plaintiff,
Daphine Donnelly, suffered a stroke on or about January 1991 which resulted in, but not limited to,
paralysis of the right side of the body (Petition J 10)
2 Argument

1 Applicable Standard

In evaluating a Motion to Dismiss filed under F R C P , 12(b)(6), the moving party bears the
burden of showing that the plaintiff can prove no set of facts consistent with the allegations in the

Petition for Damages which would entitle tt to relief Baton Rouge Buildmg and Construction

Case e02-ev-025c ger Document 36 Filed “@ Page 185 of 472

Trades Council, AFL-CIO v Jacobs Constructors, Inc , 804 F 2d 879 (s™ Cir , 1986) In addition,
the reviewing Court “must accept as true well-plead averments and view then in light most favorable
to the plaintiff” American Waste and Pollution Control Co v Brownmg-Ferris, Inc , 949 F 2d 1384,
1386 (5" Cir 1991)

2 Plaintiff Has Asserted Viable Claims for Compensatory Damages Under Louisiana

Law

Plaintiffs have asserted allegations under the LPLA, which admittedly controls the claims set
forth by the Plaintiffs Under the LPLA, Plaintiffs can prove a product 1s “unreasonably dangerous or
defective (1) 1m construction or composition, (2) in design, (3) because of inadequate warning, or (4)
because of nonconformity to an express warranty ” LaR S 9 2800 54 et seg

Nonetheless, plaintiffs’ allegations regarding fault, want of care, negligence, gross negligence,
strict lability, intentional and willfui conspiracy, and breach of warranty against redhibitory defects or
vices relating to non-economic damages can still support Plaintiffs LPLA claims and breach of
warranty against redhibitory defects relating to economic damages In Busse, ef al v Bayerische
Motoren Werke, AG, et al, 1996 WL 732837 (ED La 1996), the plaintiff alleged claims for
negligence, redhibition and products lability clams against a product manufacturer Simular to the
instant matter, the defendant in Busse moved for summary judgment as to claims by the plaintiff not
cogmzable under the LPLA The Court denied the motion stating that the allegations of negligence
supported plaintiff's claim for relief under the LPLA [d

This 1s consistent as the theories articulated under the LPLA “are predicated on principles of
strict lability, negligence, or warranty, respectively ” Jefferson v Lead Industries Assoc , Inc etal,

106 F 3d 1245, 1251 (5" Cir 1997) Therefore, the allegations set forth mn plamtiff’s Petition for
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Damages relating to fault, want of care, negligence, gross negligence, strict habilty, intentional and
willful conspiracy, and breach of warranty against redhibitory defects or vices should not be dismissed
as they further strengthen Plaintiff's other claims

Nor should Platntiffs’ redhibition claims be dismissed Redhibition 1s a viable means to
recover pecumary losses from the manufacturer In fact, the court in Masculin, et al v Grinnell
Corp, et al , 2001 WL 8584 (E D La 2001) ruled that the LPLA does not preclude recovery under
redhibition for losses ansing from breach of warranty Therefore, the allegations and causes of
actions set forth in the Petition for Damages relating to breach of warranty should not be dismissed
(Petition § {13-16}
3 Conclusion

For the foregoing reasons, Plaintiffs pray that Novartis Pharmaceuticals Corporation’s Motion
to Dismiss be demed

Respectfully submitted,

By Chand der
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ATTORNEYS FOR PLAINTIFFS

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States marl, properly addressed and postage prepaid

DATED, this 24, day of pt , 2002

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE DONNELLY, ET AL * CIVIL ACTION
#
VERSUS * NO 02-CV-02436
*
BAYER CORPORATION, ET AL * JUDGE ENGELHARDT
*
+ eR MAGISTRATE JUDGE SHUSHAN

MEMORANDUM _IN OPPOSITION TO NOVARTIS CONSUMER HEALTH, INC.’S
MOTION TO DISMISS FOR FATLURE TO STATE A CLAIM UPON WHICH RELIEF
CAN BE GRANTED

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Daphine Donnelly and
Jerome Donnelly (hereinafter referred to as “Plaintiffs”), who respectfully submit this Memorandum in
Opposition to Novartis Consumer Health, Inc ’s Motion to Dismiss for Failure to State a Claim
Upon Which Relief Can be Granted

Defendant has filed a Motion to Dismiss asserting that Plaintiffs’ claims for fault, want of care,
negligence, gross negligence, strict hability, intentional and willful conspiracy, and breach of warranty
against redmbitory defects or vices should be dismissed Defendant asserts that the Louisiana
Products Liability Act (Loutsiana Revised Statute 9 2800 54 et seq, heremnafter referred to as
“LPLA”) establishes the exclustve theories of recovery agamst a manufacturer in a personal injury

action and does not provide for recovery based on the aforementioned claims For the following

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reasons, Novartis Pharmaceuticals Corporation’s Motion to Dismiss should be dented
1 Background

Plaintiffs filed this suit in the 34” Judicial District Court against Bayer Corporation, Novartis
Pharmaceuticals Corporation, Novartis Consumer Health, Inc , 4Life Research, Successor by merger
to Shaperite, Smoothie King Co , Inc , Smoothie King Systems, Inc , and Walgreen Louisiana Co ,
Inc , d/b/a “Walgreens” for marketing, selling, distnbuting, and/or manufacturing Shaperite, Alka
Seltzer Plus and Tavist-D, ali PPA-containing products

Plaintiffs claim in the Petition for Damages that the Defendant, directly or indirectly,
manufactured and sold medications that contained Phenylpropanolamine (“PPA”) to Plaintiff,
Daphine Donnelly (Petition § 8-12} Plaintiffs allege that Defendant knew or should have known
about medical research and publications associating PPA with serious health risks (Petition { 6-7)
Defendant (Bayei) failed to provide wainings of these side-effects and risks associated with the use of
PPA-containing medications (Petition ] 15) Plaintiffs have averred that defendant was aware of
these risks associated with PPA and concealed its knowledge of the msks from Plaintiff and
consumers (Petition § 16) As a result of ingesting the PPA-containmg medication, Plaintiff,
Daphine Donnelly, suffered a stroke on or about January 1991 which resulted in, but not limited to,
paralysis of the right side of the body (Petition { 10)
2 Argument

Applicable Standard

In evaluating a Motion to Dismiss filed under F R C P , 12(b)(6), the moving party bears the
burden of showing that the plaintiff can prove no set of facts consistent with the allegations in the

Petition for Damages which would entitle it to rehef Baton Rouge Building and Construction
Case e02 cv 025 @ger Document 36 Filed 0 Page 191 of 472

Trades Council, AFL-CIO v Jacobs Constructors, inc , 804 F 2d 879 (5" Cir , 1986) In addition,
the reviewing Court “must accept as true well-plead averments and view then in light most favorable
to the plaintiff” American Waste and Pollution Control Co vo Brownng-Ferris, Inc 949 F 2d 1384,
1386 (5" Cir 1991)

2 Plaintiff Has Asserted Viable Claims for Compensatory Damages Under Louistana

Law

Plaintiffs have asserted allegations under the LPLA, which admittedly controls the claims set
forth by the plaintiff Under the LPLA, Plaintiffs can prove a product is “unreasonably dangerous or
defective (1) in construction or composition, (2) in design, (3) because of inadequate warning, or (4)
because of nonconformity to an express warranty ” La R S 9 2800 54 ef seq

Nonetheless, Plaintiffs’ allegations regarding fault, want of care, negligence, gross negligence,
strict hability, intentional and willful conspiracy, and breach of warranty against rediubitory defects or
vices relating to non-economic damages can still support Plaintiff's LPLA claims and breach of
warranty against redhibitory defects relating to economic damages In Busse, etal v Bayertsche
Motoren Werke, AG, et al, 1996 WL 732837 (ED La 1996), the plaintiff alleged claims for
negligence, redhibition and products liability claims against a product manufacturer Similar to the
instant matter, the defendant in Bisse moved for summary judgment as to claims by the plaintiff not
cognizable under the LPLA The Court dented the motion stating that the allegations of negligence
supported plaintiff's claim for relief under the LPLA /d

This 1s consistent as the theories articulated under the LPLA “are predicated on principles of
strict liability, negligence, or warranty, respectively ” Jefferson v Lead Industries Assoc , Inc etal,

106 F 3d 1245, 1251 (S" Cw 1997) Therefore, the allegations set forth in plaintiffs Petition for

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Damages relating to fault, want of care, negligence, gross negligence, strict liability, intentional and
willful conspiracy, and breach of warranty against redhibitory defects or vices should not be dismussed
as they further strengthen Plaintiff's other claims

Nor should Plaintiffs’ redhibition claims be dismissed Redhibition 1s a viable means to
recover pecuniary losses from the manufacturer In fact, the court in Masculim, et al v Grinnell
Corp , efai , 2001 WL 8584 (E D La 2001) ruled that the LPLA does not preclude recovery under
redhibition for losses arising from breach of warranty Therefore, the allegations and causes of
actions set forth in the Petition for Damages relating to breach of warranty should not be dismissed
(Petition { § 13-16)
3 Conclusion

For the foregoing reasons, Plaintiffs pray that Novartis Pharmaceuticals Corporation’s Motion
to Dismuss be denied

Respectfully submitted,

py Chandler Loepee fm

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properly addressed and postage prepaid

DATED, this24Hrday of Sp gt , 2002

J. Chandler Loupe ,
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE DONNELLY, ET AL * CIVIL ACTION
VERSUS * NO 02-CV-02436

*

BAYER CORPORATION, ET AL : JUDGE ENGELHARDT
ee ROR RRR MAGISTRATE JUDGE SHUSHAN

RESPONSE EN OPPOSITION TO NOVARTIS PHARMACEUTICALS
CORPORATION’S MOTION FOR TEMPORARY STAY

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Daphine Donnelly and
Jerome Donnelly (hereinafter referred to as “Plaintiffs”), who respectfully submit this Response in
Opposition to Novartis Pharmaceuticals Corporation’s Motion For Temporary Stay of Proceedings
1 Background

Plaintiffs filed this suit i the 34" Judicial District Court against Bayer Corporation, Novartis
Pharmaceuticals Corporation, Novartis Consumer Health, Inc , 4Life Research, Successor by merger
to Shaperite, Smoothie King Co , Inc , Smoothie King Systems, Inc , and Walgreen Louisiana Co ,
Inc , d/b/a “Walgreens” for marketing, selling, distributing, and/or manufacturing Shaperite, Alka
Seltzer Plus and Tavist-D, all PPA-contaiming products

Defendants, Novartis Pharmaceuticals Corporation and Novartis Consumer Health, Inc filed a
Notice of Removal on August 7”, 2002, and subsequently a Motion to Dismiss for Failure to State a

Claim Upon which Rehef Can Be Granted on September 6, 2002 Thereafter, Plaintiffs have filed a

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Motion to Remand, Response in Opposition to Defendants’ Motions to Dismiss for Failure to State a
Claim Upon which Relief Can Be Granted and now file this Response nm Opposition to Defendant’s
Motion to Temporary Stay Plaintiffs respectfully request that this Court to rule on Plaintiff's Motion
to Remand and Response to Defendant’s Motion for Dismissal, thus, denying Defendant’s Motion to
Temporary Stay
2 Argument

The case subject to this Response in Oppasition to Defendant’s Motion was improvidently
removed to Federal Court by the manufacturer Defendants of products which contained
Phenylpropanolamine (hereinafter “PPA”) Plaintiffs have responded by filing a Motion to Remand
and seek to have the Court rule on this Motion before the case 1s transferred to the Judicial Panel on
Multidistrict Litigation (hereinafter “MDL Panel”) Because the Louisiana Federal Courts lack
jurisdiction over the matter, 1t would be a waste of judicial resources and economy for the MDL Panel
to allow the Western District of Washington to preside over the case that belongs in state court
Moreover, Louisiana Federal Courts are well-versed in matters pertaining to Louisiana law and
therefore is the forum of choice to decide the issue of remand As such, Defendant’s Motion to
Temporary Stay should be dened and this court should rule on Plaintiff s Motion to Remand

This issue 1s not a novel theory, although not binding to this Court, Judge Lemelie, sitting in
the Eastern Distnct of Louisiana, has previously dened such a motion In that case, even when a
Conditional Transfer Order to the MDL Panel had been filed, Judge Lemelle denied the Motion to
Stay, citing Rule 15 of the Rules of Procedure of the Judicial Panel on Multidistrict Litigation,
finding that the District Court of Loutstana retained jurisdiction to hear all such matters before the

case 1s Officially transferred to the MDL Panel pursuant to the rule (See Andry, et al v American

Home Products Corporation, et al, No 02-0173 (Lemelle, J ,E D La February 8, 2002) (Exhibit A

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hereto) Although a Conditional Transfer Order has been filed in this matter, Plaintiffs have opposed
such transfer This Court retains the authority and jurisdiction to deny the Motion to Stay and rule
on other matters currently pending before the Court
3 Concluston

For the foregoing reasons, Plaintiffs pray that Novartis Pharmaceuticals Corporation’s Motion

to Temporary Stay be demed

Respectfully submitted,

py Chandler Loupe fou

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ATTORNEYS FOR PLAINTIFFS
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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properly addressed and postage prepaid

DATED, thisZ4thday ofS pr , 2002
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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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*. KATHLEEN ANDRY, ETAL * CIVIL ACTION
SM ™ NO. 02-CV-0173
Vee «
* SECTION “B”
AMERICAN HOME PRODUCTS *
CORPORA FION, ET AL * MAGISTRATE?’

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MAY IT PLEASE THE COURT:

The above matter is one of several hundred actions, which has been requested to be a
“tag-alonie’’ action pursuant to MDL-1407 - in re Phenylpropanotamine PA) Products Liability
Litigation.

As plaintiffs’ counsel wil! not file any objections and/or oppose the tag-along procedures,
the MDL Panel will designate the above matter as a tag-along action, and stay the above
proceedings.

Plaintiffs’ and defense counsel seek to stay the above proceedings, pending this decision

from the MDL Panel, as it would serve both parties and this Honorable Court to delay any action

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on the above matter, which will be transferred to another surisdiction m a matter af days, based
upon other actions already transferred As such, the stay will save Judicial Resources, and ‘he

parties’ time and expenses in responding to said motions.

Respectfully submitted,
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CERTIFICATE SERVICE
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placing same in the Limited States mail, properly addressed and postage prepaid

DATED, this 6" day of February, 2002.

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

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KATHLEEN ANDRY, ET AL * CIVIL ACTION
* NO. 02-CV-173
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SECTION “B”

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AMERICAN HOME PRODUCTS
CORPORATION, ET AL MAGISTRATE

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, ET AL CIVIL ACTION
NO 02-cv-2436
Vv
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL
MAGISTRATE SHUSHAN

NOVARTIS CONSUMER HEALTH, INC.’S
MOTION FOR TEMPORARY STAY

NOW INTO COURT, through undersigned counsel, comes defendant, Novartis Consumer
Health, Inc , and for reasons detailed 1n the attached memorandum in support, moves this Court for
a temporary stay of all proceedings 1n this matter pending a final ruling of the Judicial Panel on
Multidistrict Litigation on transfer of this case to Multidistrct Litigation, mm re
Phenylpropanolamine (PPA) Products Liability Lingation, 173 F. Supp 2d 1377(J PML 2001)

Respectfully submitted,

BY: Tre (?. tO

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Attorneys for Defendant
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CERTIFICATE OF SERVICE
I hereby certify that I have on this 13" day of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding by _ hand delivery, Us

maztl or facsimile transmission

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO 02-cv-2436

Vv
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL
MAGISTRATE SHUSHAN

MEMORANDUM IN SUPPORT OF NOVARTIS CONSUMER HEALTH, INC.’S
MOTION FOR TEMPORARY STAY

Background

This 1s a product liability action alleging personal injury from the use of over-the-counter
medications containing phenylpropanolamine (PPA) The plaintiff filed the instant action in the
Thirty-Fourth Judicial District Court for the Parish of St Bernard in July 2002. The defendants
removed this action to the federal district court in Lousiana

On August 28, 2001, the Judicial Panel on Multidistrict Litigation (the “Panel”’) issued a
transfer order, pursuant to 28 USC § 1407, centralizing 14 similar PPA actions in the Western
District of Washington See In re Phenylpropanolamine (PPA) Products Liability Litigation, 173
F Supp. 2¢ 1377 J.P ML 2001) According to the Panel, centralization of the cases, which all
involved “complex core questions regarding the safety of PPA,” was necessary “in order to eliminate
duplicative discovery, prevent inconsistent pretnal rulings and conserve the resources of the parties,

their counsel and the judiciary ” Jd The Panel reached this conclusion despite “differences among

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the actions in terms of named defendants, specific products involved, legal theones of recovery,
status as class actions, and/or types of myury alleged” fd According to the Panel, consolidation
would best “promote the just and efficient conduct of the litigation” without causing inconvenience
to the parties Jd

Similar cases pending in Louisiana federal district courts were treated as potential tag-along
actions.’ To date, the Panel has issued twenty-one Transfer Orders conditionally transferring over
350 PPA cases to the Western District of Washington * Most of these conditional transfer orders
have become final

Many of the cases pending in this District have already been transferred, or are in the process
of being transferred, to the MDL court for further proceedings As discussed later in this
memorandum, most of the courts addressing the issues (including this Court)’ have stayed those
cases pending a final determination by the Panel on transfer Likewise, a temporary stay in the
proceedings 1n this case, pending a final ruling by the Panel regarding transfer of the case to the
MDL, will promote judicial efficiency, consistency 1n pre-tnal rulings and convenience to the parties

and witnesses

' A “tag-along action” means “a crvil action pending mm a district court and involymg common question of fact with
actions previously transferred under Section 1407” RPJPML11

“Upon learning of the pendency of a potential “tag-along action,” an order may be entered by the Clerk of the
Panel transferring that action to the previously designated transferee district court on the basts of the prior

hearmg and for the reasons expressed in previous opimions and orders of Panel in the lhigation” RP J PML

7 A(a)

> Ohullia v Novartis Pharmaceuticals Corp, No 02-724

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1. A Stay Furthers the Goals of Judicial Efficiency and Consistency

This Court’s authority to stay proceedings is “incidental to the power inherent in every court
to control the disposition of the causes on 1ts docket with economy of time and effort for itself, for
counsel and for htrgants ’* Thus, while the decision to grant a stay 1s discretionary, “1t1s appropriate
when it serves the interest of yudicial economy and efficiency.”> As explained by the Northern
District of Illinois, a stay, although not required, promotes efficiency and consistency even when the
jurisdiction 1s questioned

Sending these cases to the MDL 1s not mandatory. But the benefits of
transferring them to the MDL—the body established by Congress specifically
to ameliorate the duplicative litigation and the valuable waste of judicial
resources—are obvious Once transferred, the jurisdictional objections can be
heard and resolved by a single court . The rewards of this approach are
consistency and economy °
Even when jurisdictional issues have been ratsed, transfer to the MDL 1s appropnate’ A stay
promotes judicial efficiency because it prevents duplication of effort by the court 1f a case 1s later
transferred to an MDL. If no stay 1s granted, and the case 1s later transferred to an MDL, the
transferor court will have “needlessly expended its energies familiarizing 1tself with the intricacies
of a case that would be heard by another judge [and] any efforts on behalf of.. [the transferor] court

concerning case management will most likely have to be replicated by the yudge that 1s assigned to

handle the consolidated lingation.. ’* According to Rivers, “a majority of courts have concluded that

* Landis v North American Co , 299 U § 248, 254, 57S Ct 163, 166,81, LEd 153 (1936)
° Riwers vy Walt Disney Company, 980 F Supp 1358, 1360(C D Cal 1997)

°* Johnson v AMR Corp , 1996 WL 164415 (ND II, 1996) at *3

"Id

® Rivers, 980 at 1360-1361
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it is often appropriate to stay preliminary pretrtal proceedings while a motion to transfer and
consolidate 1s pending with the MDL Panel because of the judicial resources that are conserved

In the Eastern District of Lousiana, Judges Beer, Duval, Engelhardt, Fallon, Feldman,
McNamara, Porteous and Vance have issued stay orders citing judicial efficiency and consistency
in pre-trial rulings '° Judges in the Middle District of Louisiana have also stayed several PPA cases
pending the Panel’s final determination on transfer.'' Judge Polozola’s stay was in a PPA case
where a motion to remand was at issue pending a transfer decision by the MDL. Likewise, Judges
Doherty and James and Magistrate Judges Payne and Kirk of the Western District of Louisiana all
have recognized that judicial effictency 1s best served by a stay of similarly situated PPA cases
pending the Panel’s final order on transfer On or about November 14, 2001, Magistrate Judge Payne

entered a stay order 1n over forty PPA cases pending in the Western District

° Id at 1362

” Petersonv Bayer Corp, et al, No 01-3467, Dyson v American Home Products Corp, et al, No 01-3548, Craft
v Whitehali-Robms Health Care, et al) No 01-3490, Doreen Martinv Bayer Corp, et al, No 013477, Garrison v
American Home Products, ef al, No 01-3484, Garcia v SmithKline Beecham Corp, et al, No 01-3448, Favorite v
Bayer Corp, et al, No 01-3478, Mercier v Crolimo Pharmacy, et al, No 02-0413

NF ortenberry v American Home Products Corp, et al, No 02-145, Beals v American Home Products Corp, et al,
No 02-148-D; Wilhams v Bayer Corp, et al, No 02-214

"(1) Barbara Evans, vy Bayer Corp, No 01-CV1486, (2) Malvine Moore, v Bayer Corp, No 01-CV1487, (3)
Samuels, v Bayer Corp, No 01-CV1488, (4) Dianne Thomas, v Bayer Corp, No 01-CV1489, (5) Bobby Holmes,
v Bayer Corp, No 01-CV1490, (6) James L Hill, Jr, y Bayer Corp, No 0t-CV1499, (7) Lorenzo Marden, v
Bayer Corp, No 01-CV1500, (8) Rambo v Bayer Corp, No 01-CV1626; (9) Ivory O'Neal v Bayer Corp, No 01-
CV1627, (10) Silas D Whitaker v Bayer Corp, No 01-CV1628, (11) Jerry Bowman v Bayer Corp, No 01-
CV1629, (12) Sam Baker v Bayer Corp, No 01-CV1630, (13) Demetria Speedv Bayer Corp, No 01-CV1631,
(14) Demetris Calhoun y Bayer Corp, No 01-CV1632, (15) Alen Ray Bolden v Bayer Corp, No 01-CV1634,
(16) Flovd Waters, Jr v Bayer Corp, No 01-CV1819, (17) Joe Moore v Bayer Corp, No 01-CV1801, (18) Mary
Jean Walker v Bayer Corp, No 01-CV1818, (19) Pinkte Ruffen v Bayer Corp, No 01-CV-1744, (20) Horace
Douglas v Bayer Corp, No 01-CV1742, (25) Charlie Jackson v Bayer Corp , No 01-CV1697, (22) Bernard
James v Bayer Corp, No 01-CV1696, (23) WT King y Bayer Corp, No 01-CV1745, (24) Clyde Metcaifv
Bayer Corp, No 01-CV1694, (25) Gloria Thompson v Bayer Corp, No 01-CV1698, (26) Esste Mae Turner v
Bayer Corp, No 01-CV1739, (27) Dwight Wiley v Bayer Corp, No 01-CV1660, (28) Louis Wright v Bayer
Corp, No 01-CV1695, (29) Wile Lee Young v Bayer Corp, No 01-CV1743, (30) Perry Hillv Bayer Corp, No
01-CVi741, (31) Mozetta Johnson v Bayer Corp, No 01-CV1746, (32) Ardis McCall v Bayer Corp, No 01-

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In James Bowman v Bayer Corp, et al, No 01-1802-A, Magistrate Judge Kirk
recommended a stay pending the Panel’s final determination on transfer because:

. it makes no sense for this court to decide the remand issue in each of the
cases now pending before it and for mynad other federal courts across the
land to be required to study the record, research the law and write opinions
on the identical issue In other words, judicial economy 1s a strong factor
in this case in favor of a stay. (See Magistrate Judge Kirk’s Report at 5,
attached as Exhibit A)

Judge James adopted Magistrate Kirk’s recommendation in Tamika McKee v Bayer Corp,
et al, No 01-1820-M and entered judgment staying that case “pending final determination by the
Panel on Multidistrict Litigation as to whether a final order of transfer will be entered in this
case "(See Exhibit B).

In addition to judicial economy, Magistrate Judge Kirk’s report identifies the nsk of

inconsistent pretrial rulings as another factor in support of a stay (See Magistrate Kirk’s Report in

Bowman at 4, attached as Exhibit A) The jurisdictional objections at issue in this case are common

CV1740, (33) RL George v Bayer Corp, No 01-CV1922, (34) Betty Chnton vy Bayer Corp, No 01-CV-1943,
(35) Jessie Foster v Bayer Corp, No 01-CV-1940, (36) James Jones v Bayer Corp, No 01-CV-1941, (37) Rufus
James Hampton v Bayer Corp, No 01-CV-1945, (38) Fred Ashley v Bayer Corp, No 01-CV-1942, (39) James
Perkins v Bayer Corp, No 01-CV-1946, (40) Joe Johnson, Jr v Bayer Corp, No 01-CV-1944, (41) Abon
Claville v Bayer Corp, No 01-CV-1896, (42) Michael Johnson v Bayer Corp, No 01-CV-1895, and (43) Mickey
Lathon vy Bayer Corp, No 01-CV-1984

Bayer Corporation, et al, No 01-CV-1984

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to numerous other PPA cases Thus, as Magistrate Kirk notes 1n his report,
[a]lthough plaintiff argues that a Louisiana court can best decide issues
of Louisiana law concerning the viability of the state law claims against
defendant K&B, the fact 1s that there is a significant msk of inconsistent
rulings in this and all other cases now pending mn which the fraudulent
yoinder issues exists...A untform decision with regard to those issues in
all such cases can best be made by the transferee court, not by this court
(See Magistrate Kirk’s report in Bowman at 4)
See also Ivy v Diamond Shamrock Chem Co, 901 F 2d 7, 9 (2d Cir. 1990) (affirming Panel’s
rejection of plaintiffs’ request that remand motion be decided by transferor court, holding that “[tThe
Jurisdictional issue in question 1s easily capable of arising in hundreds or even thousands of cases
in district courts throughout the nation.” and that “[c]onststency as well as economy 1s thus served”
if “the jurisdictional objections . [are] heard and resolved by a smgle court”)
Indeed, inconsistency already exists in Louisiana where remand has been adjudicated Judge
Rothstein has denied remand in several cases,'? while Judges Lemelle, Lemmon, and Barbier have

come to different legal conclusions in their orders to remand based on substantially sumilar PPA

cases 4

3 Judge Rothstein, in the ongoing MDL proceeding, has denied remand motions in numerous simular cases mvolving
Louisiana law See Perksin v Bayer Corp, et al, No CO1-2023R, Claville v Bayer Corp, et al, No CO1-2015R,
Lathon v Bayer Corp, et al, No CQ1-2013R, Ashley v Bayer Corp, et al, No CO1-2019R, Monk v Bayer Corp,
et al, No COl-1793R, Hampton v Baver Corp, et al, No CO1-2022R, Johnson vy Bayer Corp, et al, No CO1-
2021R, O'Neal vy Bayer Corp, et al, No CO1-2011R, Whitaker v Bayer Corp, et al No CO1l-2012R, Johnson v
Bayer Corp, et al, No CO1-2014R, Gray v Bayer Corp, et al, No COI-1796R, Moore v Bayer Corp, et al, No
01-2051R, Bowman v Bayer Corp, et alNo C01-1868R, Clinton v Bayer Corp , et al, No C01-2020R, Foster v
Bayer Corp, et al, No C01-2017R, George v Bayer Corp, et al, No CO1-2016R, Rambov Bayer Corp, et al, No
C01-2010R, MeFee v Bayer Corp, et al, No C01-1859R, Walker v Bayer Corp, et al, No C01-2053R, Delaney v
Bayer Corp, et al, No C01-2052R, Bolden v Bayer Corp, et al, No C01-2070R, Bowman y Bayer Corp, et al,
No CO1I-2064R, Waters v Bayer Corp, et al, No CO1-2054R, Speedv Bayer Corp, et al, No CO1-2067R,
Calhoun v Bayer Corp, et al, No CO1-2068R, and Baker v Bayer Corp, et al, No CO1-2065R

* Mosley v Bayer Corporation No 01-3479 ED La USDC, St Amand vy Bayer Corp, No 01-3421ED La
USDC, Sardales v Whitehail-Robins No 01-3487 ED La USDC, and Coleman y Bayer Corp, No 02-333
ED La USDC

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A stay 1s also appropriate because 1t 1s very likely that this case will ultimately be transferred
to MDL-1407. A tag-along action 1s transferred to an existing MDL if it shares common issues of
fact with the MDL cases, promotes the convenience of parties and witnesses, and advances the just
and efficient conduct of the actions °° Plaintiff's PPA claims and allegations involve numerous
common issues of fact with the cases already part of the MDL. As Magistrate Kirk recogmized in
Bowman and McFee transfer “appears likely.” (See Exhibit A at 6.)

2. A Stay Does Not Unduly Prejudice the Plaintiff

A temporary stay will not unduly prejudice the plaintiff *° If the plaintiff trmely opposes
transfer, the Panel will address plaintiff’ s objections at 1ts next appropriate session '’ The delay will
likely be brief and does not warrant denying defendants their requested stay See e g, American
Seafood, Inc v Magnolia Processing, 1992 WL 102762 (ED. Pa May 7, 1992) at *1 (granting
motion to stay pending ruling by Panel, and noting that “[the] plamtrffs will not be substantially
prejudiced by staying this action pending the decision of the JPML The stay which the court orders
will only be m effect until the JPML issues its decision.”)

Moreover, any potential prejudice from a short delay 1s far outweighed by the benefits of
a stay--preventing inconsistent results and promoting Judicial efficiency. A stay would be limited

to the brief period pending a transfer decision by the Panel If the Panel decides on consolidation

'S See In re Surling Homex Corp Sec Litig, 442F Supp 547,549 (J PML 1977), Inre Equity Funding Corp of
Am See Litig, 397 F Supp 884-85 O PML 1975)

© Im fact, in similar PPA cases, plaintiff's counsel has recognized the benefits of a temporary stay to both the court
and parties and has moved the court to stay the PPA action Ashley v American Home Products, USDC WD La
No 02-239

VRPIPML 74 (d)

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in MDL-1407, the plaintiff may then proceed in the Western Distnct of Washington; if transfer 1s
denied, plaintiff then proceeds in this Court

Under these circumstances, the benefits of a temporary stay are outweighed by any potential
prejudice to the plaintiff See Egon v Del-Val-Financial Corp., 1991 WL 13726 (DN J.) at *1
(“even if a temporary stay can be characterized as a delay preyud:cial to plaintiffs, there are
considerations of judicial economy and hardship to defendants that are compelling enough to warrant
such a delay ”) See also Wemke v Microsoft Corp, 84 F Supp 2d 989,990 (W.D. Wis 2000)
(rejecting plaintiff's assertions that a stay pending resolution of transfer issues would result in a
“prolonged delay” and holding that plaintiff's cursory assertions of prejudice do not outweigh the
disadvantages of litigating identical claims 1n a multitude of venues. .[and] 1n light of the pending
MDL ruling on transfer — this action should be stayed in the interest of yudicial economy and to avoid
Inconsistent results ”’)

In contrast, Novartis Consumer Health, Inc and the other defendants will be substantially
prejudiced if the Court denies the stay A temporary stay will prevent the defendants from
unnecessarily incurring expenses in duplicative pretrial proceedings. As Magistrate Judge Kirk
noted in Bowman “it would be manifestly unfair to require these defendants, which have been named
as defendants 1n dozens of other simular cases, to defend each of those cases independently ” (see
Exhibit A at 5) The potential for duplicative pretrial motions and jurisdictional objections
represents the sort of “hardship and inequity” that courts consider when deciding a motion to stay.
See Aikens v Microsoft Corp , 2000 WL 310391 at *2(E D La March 24, 2000) (finding a stay was

appropriate to avoid “considerable hardship and inequity” to a defendant faced with multiple surts,

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Case e02-cv esc Document 36 Filed “v-@ Page 215 of 472

many with similar jurisdictional objections, in multiple courts) It1s precisely this sort of duplicative
pretrial activity that the MDL proceeding 1s designed to prevent
Conclusion
For the foregomg reasons, this Court should grant Novartis Consumer Health, Inc.’s Motion
for Temporary Stay pending a final ruling of the Judicial Panel on Multidistrict Litigation on transfer
of the case to MDL Docket No 1407 and stay all pretrial proceedings, including, but not limited to,
a stay of all hearings, disclosure, and deadlines established by the Federal Rules of Civil Procedure

and Local Rules of this Court.

Respectfully submitted,

BY: Sie. (0 Per
Sessions Fishman & Nathan L.L.P.
Joy Goldberg Braun (#3416) T.A
Enc R Nowak (#27025)
Shirin E Harrell (#27495)
201 St. Charles Avenue, Suite 3500
New Orleans, LA 70170-3500
Telephone: (504) 582-1500

and
Randolph S Sherman
Lon B Leskin
Danielle E Finck
Kaye Scholer LLP
425 Park Avenue
New York, New York 10022
Attorneys for Defendant
NOVARTIS CONSUMER HEALTH, INC,

Case a02-cv Oeoc gr Document 36 Filed “-@ Page 216 of 472

CERTIFICATE OF SERVICE
I hereby certify that I have on this 13° day of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding by __ hand delivery, —“US

mail or facsimile transmission

Fon (Lae-

Eric R Nowak

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Case money ® Document 36 Filed om Page 217 of 472

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UNITED STATES DISTRICT court VI0C, we
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WESTERN OISTRICT OF LOUISIANA pate LS 1 2 op
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ALEXANDRIA DIVISION ee

JAMES BOWMAN CIVIL ACTION NO, O1-1L802-4
VERSUS U.S. DISTRICT JUDGE TOM STAGG
BAYER CORPORATION, et al U.S. MAGISTRATE JUDGE JAMES D. KIRK

FEPORT AND RECOMMENDATION OF MAGISTRATE JUDGE

Before the court is plaintiff£’s motion toe remand (Dec. #13]
and motions for stay of proceedings (Doc. £21, 227] filed on beaalf
of defendants Bayer Corporation (“Bayer”) ard American Fome
Products Corporation (“Averscan”). The motions have been referred
to the undersigned for decision and report and reconvendation,
respectively’.

Plaintiff sued defendants for damages claimed as the result of
the ingestion of phenylpropanolamine (“PPA"}. Defendants Bayer and
Amexican are diverse Gefendants. However, K&B Corporation (“K&3"}
is a Louisiana corporation, the addition of which, if not
fraudulently joined, destroys diversity. Defendants arcue that K&B
was fraudulently joined for the purpose of preventing jurisdiction

in this court.

' similar motions are pending before me in Henry Monk v
Bayer Corporation. et al, #01-1760-A and Tamika McFee v. Bayer

Corporation, et a1, #01-L820-M, Western District of Louisiana,
Report and Recommendations on which are issued contemporaneously
this date.

EXHIBIT

i Wt A ut

Case 2:02-0¥-025 gy BIR Document 36 Filed 01/1 ge Page 218 of 472

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Plaintiff argues that the allegations contained in the
complaint against KeB are based on Louisiana's law of redhibirion,
acknowledging that under Louisiana law a non-manufacturing selles
of an allesedly defective product is not liable in tort, absent a
showing that it knew or should have known that the product was
defective and failed to declare it. Wilson v. Stete Farm Fire ¢
Cas. Ins. Co., 94-1342 (La.App.3 Cir. 4/5/95), 654 So.2d 365, rehg.
den., writ. den., 95,1704 (La. 10/6/95}, 661 So.2d 476. Here,
plaintiff coe#s not allege that K&S knew cr sheuld have knows the
product was defective, but alleces enly that as a retail seller it
is laable in redhibition for a product proven ta be defective.
Defendants argue that plaintiff's allegations in the complaint are
inadequate to support a cause of action for redhibition.

In addition to opposing the motion to remand, defendants have
asked this court to stay the entire proceeding, including the
Pending ruling on the plaintiff's motion ta remand, until a
determination can be made as to whether this case will be
transferred pursuant te order of the Judicial Panel on Multi-
district Litigation. Defendants point out that there are numerous
eases in this district, as well as other district courts in
Louisiana and in many other states, alleging damages as a result cf
the ingestion of PPA.

On August 28, 2001, the Panel transferred eight civil actions

to the U.S. District Court for the Western District of Washingten,

Case 2-02 cv 02% gl BIR Document 36 Filed 01s Page.219 of 472

”

Pursuant to 28 U.S.C. §1407. See also Rules of Procedure of the
Judicial Panel on Multidistrict Litigation, 192 F.R.D. 453 (2000).
In addition, the Panel has issued a conditional transfer order
regarding this case. Defendants seek a stay until such time as the
Panel determines whether the final transfer order will be entered.

In support of the motions for stay, defendants point to the
possibility of inconsistent rulings among the courts concerning the
issue now pending on motion to remand in various cases of whether
or not K&S was fraudulently joined. Second, defendants arque that
judicial economy would best be served by one court deciding that
igsue rather than numerous judges each independently reviewing the
evidence and the law and independently deciding the issue.
Finally, defendants argue that it would be unfair ta require
defendants to respond in each court to the very same arcuments in
multiple suits. In opposing defendants’ motions to stay, plaintiff
argues that the decision to stay is, of course, discretionary, that
the motion to remand has been pending for over two weeks and that
it is time to decide the motion to remand whether this court
decides it or another court decides it. Plaintiff also argues that
he would be inconvenienced and incur unnecessary expenses in
litigating this matter ‘thousands of miles from home.*

Although the decision whether or not to grant stay is
discretionary with the court, my research reveals that where issues

are presented which are similar to those pending before the

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Case eee Document 36 Filed Ve Page 220 of 472

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transferee court, the court should defer to the transferee court
for decision. Indeed, the purpose of the transfer by the Panel on
Multidistrict Litigation is for all pretrial proceedings. See 28
U.S.C. §1407(a}. See, for example, In re Rezulin Products

Liability Litication, 133 F.Supp.2d 272 (2001).

The purpose of the conditional transfer order for “tag-a-leng

actions” is to allow the parties time to cppose the proposed order
of transfer. The delay occasioned by the conditional transfer
order is not to allow the transferee district court te quickly
decide issues pending in the litigation. See Rule 7.4. 192 F.R.D.
459, et seq. This court recognizes, however, that the pendency of
a transfer order does mot in any way defeat or limit the authority
ef this court to rule upon matters properly presented to it far
decision. See In re Air Crash at Paris, France, 376 F.Supp. &47

(Jud. Pan. Mult, Lit. 1974) cited in Boudreaux v Metropolitan Life

Ins. Co., 1995 WL 83788 (E£.D. La. 1935).

Although plainciff arques that a Louisiana court can best
decide issues of Louisiana law concerning the viability of the
state law claims against defendant KsB, the fact is that there is
a significant risk of inconeistent rulings in this and all other
cases now pending in which the fraudulent joinder issue exists. In
addition, there may be similar issues as to the addition of
diversity destroying defendants in cases pending before the Panel

from other states. A uniform decision with regard to those iesues
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in all such cases can best be made by the transferee court, nor by
this court. In addition, it makes no sense for this court to
decide the remand issue in each of the cases now pending before it
and for myriad other federal courts across the land to be required
to study the record, research the law and write opinions on the
identical issue. In other words, judicial economy is a strong
factor in this case in favor of a stay. In addition, it would he
manifestly unfair to require these defendants, which have heen
named as defendants in dozens of other similar cases, to defend
each of those cases independently, or to be required to respond to
motions to remand separately in each of those cases. As defendants
correctly point out in brief, other courts routinely stay cases in

such circumstances. See, for example, Boudreaux v Metropolitan

Life Ins Co., 1995 WL €3786 (E.D. La. 1995)7.

2 The Fifth Circuit has not been directly presented with
this issue. See Republic of Panama v. American Tobacco Co.,
Inc., 217 F.3d 343, 347 {5 Car. 2000). Compare, however,
Sliman v. Warner-Lambert Co., 2001 WL 515222 (E.0. La.), Vance J.
Judge Vance also decided Boudreaux, Luna v. Warner-Lambert Co.,
2001 WL 515223 (E.D. La.}); Dixon v. Warner-Lambert Co., 2001 WL
515226 (E.D. La.); Pearl v. Warner-Lambert €5., 2001 WL 515227
(E.D. La.); Macallanes v. Warner-Lambert Co., 2001 Wh 515232
(E.D. La.); DeBlanc v. Warner-Lambert Co., 2001 WL 515234 (£.D.
La.); Berry .v. Warner-Lambert Co., 2001 WL 515236 (E.D. La.);

Tinson v_ Warner-Lambert Co., 2001 WL 531097 (E.D. La.)}; Spatz v.
Harner-Lambert Co., 2001 WL 531100 (E.D. La.); Pellebon vy.

Warner-Lambert Co., 2001 WL 531104 (E.D. La.); Felker v. Warner-
Lambert Co., 2001 WL S31110 (E.D. La.); Miller v. Warner-Lambert
Cg., 2001 WL 531113 (E.D. La.}; Edwards v. Warner-Lambert Co.,

2001 WL S$31117 (B.D. La.); Carter v. Warner-Lamhert Co,, 2001 Wh

S215247 (E.0. La.).

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In this case, transfer appears likely and it is mast

appropriate that the transferee court decide the remand issue.
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For these reasons, IT IS RECOMMENDED that the district judge
stay further proceedings in this case pending final determination
by the Panel on Multidistrict Litigation as to whether a final
order of transfer will be entexed in the case and that decision on
plaintiff’s motion to remand be pretermitted pending lifting of the
Stay or transfer of the case.

CRIECTIONS

Under the provisions of 28 U.S.C. § 6&38(b){1)(C) and
Fed.R.Civ.P, 72(b), the parties have ten (10) business days from
service of this Report and Reccomrendation to file specific, written
objections with the clerk of court. A party may respond to another
party's objections within ten (10) days after being served with a
copy thereof. A courtesy copy of any objection or response or
request for extensicn of time shall be furnished ta the district
judce at the time of filing. Timely objections will be considered
by the district judge before he makes his final ruling.

FAILURE TO PILE WRITTEN CBJECTIONS TO THE PROPOSED FINDINGS,
CONCLUSIONS, AND RECOMMENDATIONS CONTAINED IN THIS REPORT WITHIN

TEN (10) BUSINESS DAYS FROH THE DATE OF ITS SZRVICE SHALL BAR AN

AGGRIEVED PARTY, EXCEPT UPON GROUNDS OF PLAIN ERROR, FROM ATTACKING
Case 2020-024 gy SIR Document 36 Filed 01g: Page 223 of 472

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ON APPEAL THE UNOSUECTED-TO PROPOSED FACTUAL FINDINGS AND LEGAL

CONCLUSIONS ACCEPTED BY THE DISTRICT OUDGE.

THUS DONE AND SIGNED in chambers, in Alexandria, Louisiana, on

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JAMES & KIRK |

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Case 2:02-cv-0252 gaR Document 36 Filed 01/10 (gy Page 224 of 472

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UNITED STATES DISTRICT Court NOV 7 6 2004
WESTERN DISTRICT OF LOUISTANA wESTERA DIST OSLER
PORT, LOUIS UA,
MONROE DIVISION ~:
?
TAMIKA McFEE CIVIL ACTION NO. 01-1820-M
VERSUS U.S. DISTRICT JUDGE ROBERT G. JAMES
BAYER CORPORATION, et al U.S. MAGISTRATE JUDGE JAMES D. KIRK

JUDGHENT

For the reasons contained in the Report and Recommendation of
the Magistrate Judge previously filed hereim, and after an
independent review of the entire record, and concurring with the
Magistrate Judge's findings under the applicable law;

IT IS ORDERED that Bayer Corporation's motion for stay [Doc.
#15] is GRANTED, STAYING this cause pending final determination by
the Panel on Multidistrict Litigation as o whether a final order
of transfer will be entered in the case,

IT IS FURTHER ORDERED that a decision on plaintiff's motion to
remand [Doec. #8] is’ pretermitted pending lifting of the stay or

transfer of the case.

\ 2001.

TC Mama

THUS ORDERED AND,SIGNED in Chambers at Monroe, Louisiana, on
this _tte- day of {

UNITED ROBERT G: tater JUDGE

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UNITED STATES DISTRICT COURT RORAT Hs DISTRICT oy
WESTERN DISTRICT OF LOUISIANA gy Thy Oo}
MONROE DIVISION oe
TAMIKA MCFEE CIVIL ACTION NO. 01-1820-M
VERSUS U.S. DISTRICT JUDGE ROBERT G. JAMES
| BAYER CORPORATION,
| GLAXOSMITHKLINE PLC AND
! K&B CORPORATION U.S. MAGISTRATE JUDGE JAMES D. KIRK

REPORT AND RECONNENDATION OF MAGISTRATE JUDGE

Before the court is plaintiff's motion to remand (Doc. #8] and
motion for stay of proceedings [Doc. #15] filed on behalf of
defendant Bayer Corporation (“Bayer”). The motions have been
referred to the undersigned for decision and report and
recommendation, respectively’.

Plaintiff sued defendants for damages claimed as the result of
the ingestion of phenylpropanolamine (“PPA”). Defendants Bayer and
GlaxoSmithKline PLC (“GSK”) are diverse defendants. However, K&B

- Corporation (*KsB") is a Louisiana corporation, the addition of
which, if not fraudulently joined, destroys diversity. Defendant
arques that KsB was fraudulently joined for the purpose of

preventing jurisdiction in this court.

‘ similar motions are pending before we in Henry Monk v.-

. r Corpor on, e . €01-1760-A and Tamika McFee v. Bayer
Corporation, et al, #01-1820-mM, Wester District of Louisiana,

zo, Report and Recommendations on which are issued contemporaneously
this date.

EXHIBIT

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Case 2:02-cv-025 IR Document 36 Filed wg Page 226 of 472

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Plaintiff argues that the allegations contained in the
complaint against KeB are based on Louisiana’s law of redhibition,
acknowledging that under Louisiana law a non-manufacturing seller
of an allegedly defective product is not liable in tort, absent a
showing that it knew or should have known that the product was

defective and failed to declare it. Wilson v. State Farm Fire «

Casualty Ins. Co., 94-1342 (La.App.3 Cir. 4/5/95), 654 So.2d 385,
rehg. den., writ. den., 95,1704 (ba. 10/6/95), 661 So.2d 476.
-Here, plaintiff does not allege that KsB mew or should have known
the product was defective, but alleges only that as a retail seller
it is liable in redhibition for a product proven to be defective.
Defendant argues that plaintiff’s allegations in the complaint,are
inadequate to support a cause of action for redhibition.

In addition to opposing the motion to remand, defendant has
asked this court to stay the entire proceeding, including the
pending ruling on the plaintiff’s motion to remand, until a
determination can be made as to whether this case will he
transferred pursuant. to-order of the dudicial panel on Multi-
district Litigation, Defendant pointe out that there are numerous
cases in this district, as well as other district courts in
Louisiana and in many other states, alleging damagés as a result of
the Ensestion of PPA. os 4

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on August 28, 2001, the Panel transferred 1 eight civil actions

to the U.S. District Court for the Wester District of Washington,’ -

Case 202 ev-025 gr Document 36 Filed 1g Page 227 of 472

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pursuant to 28 U.S.c. §1407. See also Rules of Procedure of the
Judicial Panel on Multidistrict Litigation, 192 F.R.D. 459 (2000).

In support of the motion for stay, defendant points to the
possibility of inconsistent rulings among the courts concerning the
issue now pending on motion to remand in various cases of whether
or not K&B was fraudulently joined. Second, defendant argues that
judicial economy would best be served by ome court deciding that
issue rather than numerous judges each independently reviewing the
evidence and the law and independently deciding the issue.
Finally, Gefendant argues that it would be unfair to require
defendant to respond in each court to the very same arguments in
multiple suits. In opposing Bayer’s motion to stay, plaintiff

argues that the decision to stay is, of course, discretionary, that
the motion to remand has been pending for over two weeks and that
it is time to decide the motion to remand whether this court
decides it or another court decides it. Plaintiff also arques that
she would be inconvenienced and incur wmnecessary expenses in
litigating this matter “thousands of miles from home.”
Although the decision whether or not to grant stay is
. discretionary with the court, my research reveals that where issues
‘are presented which are. similar to those pending before the

transferee court, _ the. court should defer to ‘the transferee, court 5372. we on

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€or decision. Indeed, the purpose of the transfer by the Panel’ ol “4

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Multidistrict tigation is for all pretrial roceedings. “Bee 28 -

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U.S.C. §1407{a). See, for example, In re Rezulin Products
Liability Litigation, 133 F.Supp.2d 272 (2061).

The purpose of the conditional transfer order for “tag-a-long
actions" is to allaw the parties time to oppose the pxyéposed order
of transfer. The delay occasioned by the conditional transfer
order is not to allow the transferee district court to quickly
decide issues pending in the litigation. See Rule 7.4. 152 F.R.p.
459, et seq. This court recognizes, however, that the pendency of
a transfer order does not in any way defeat or limit the authority

of this court to rule upon matters properly presented to it for

decision. See In re Air Crash at Paris, France, 376 F.Supp. 887
(Jud. Pan. Mult. Lit. 1974) cited in Boudreaux v. Metropolitan fife

ms..Co., 1995 WL 63788 (E.D. La. 1995).

Aithough plaintiff argues that a Louisiana court can hest
decide issues of Louisiana law concerming the viability of the
state law claims against defendant K&B, the fact is that there is
a significant risk of inconsistent rulings in this and all other
cases now.pending in which the fraudulent joinder iggue exists. In
addition, there may be similar issues as to the addition of
diversity destroying defendants in cases pending before thé Panel
from other states. A uniform decision with regaxd | to those issues

in all such cases can best be wade by, the transferee court, not by}

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this court. In addition, it makes no sense for this court to

decide the remand issue in each of the cases now pending péfore it
Case 2:02-cv-025 (ggg JR Document 36 Filed 01/1 Page 229 of 472

or

and for myriad other federal courts across the land to be required
to study the record, research the law and write opinions on the
identical issue. In other words, judicial economy is a strong
factor in this case in favor of a stay. In addition, -4t would be
manifestly unfair to require this defendant, which has heen named
as defendant in dozens of other similar cases, to defend each of
those cases independently, or to be required to respond to motions
to remand separately in each of those cases. As defendant
correctly points out in brief, other courts routinely stay cases in
such circumstances. See, for example, Boudreavx y. Metropolitan
Life Ins. Co., 1995 WL 83788 (E.D. La. 1995)?.

In this case, transfer appears likely and it is most

appropriate that the transferee court decide the remand issue.

? The Fifth Circuit bas not been directly presented with
this issue. See Republic of Panama v. American Tobacco Co...
Znc., 217 F.3d 343, 347 (5% Cir. 2000). Compare, however,
$liman v. Warner- -Lambert Co., 2001 WL 515222 (E.D. La.), Vance J-
dudge Vance also decided Boudreaux, Luna v. Warner-Lambert Co.,
2001 Wi 515223 (E.D. La.}; Dixon v. Warner-Lambert Oo., 2001 “Ls
15226 (B.D. La.}; Pearl vy. Warner-Lambert Co., 2001 WL 515227

(B.D. La.); Magalianes vy, Warner-Lambert Co., 2001 WL 515232
(E.D. La.); anc v. Warner-Lambe 2001 WL 515234 (E.D.

La.); Berry v. Warner-Lambert Co., 2001 WL S$1S236 (B.D. La.)?7
Tinson vy, Warmer-Lambert Co., 2001 WL 531097 (E.D. La.); xv
Yarner-Lambert Co., 2001 WL 531100 (E.D. La.}); Pellebon v.« -
Warmer-Lambert Co.; 2001 WL 531104 (E.D. La.); Felker vy. Warmer-
Lambert Co., 2001 WL 531110 (E.D. La.}); Miller v. Warmer-Lambert
Co., 2001 WL 531113 (E.D. La.); Edwards v. Warner-Lambert Co., °°
2001 WL 531117 (B.D. La.); er v. Warner- «, 2001 WL
515247 (E.D. La.j. -

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Case meng” Document 36 Filed 1g Page 230 of 472

Conclusion

For these reasons, IT IS RECOMMENDED that the district judge
stay further proceedings in this case pending final determination
by the Panel on Multidistrict Litigation as to whether a finaz
order of transfer will be entered in the case and that decision on
plaintiff‘s motion to remand be pretermitted pending lifting of the
Stay or transfer of the case.

OBJECTIONS -

Under the provisions of 28 U.&S.C. § _636(b){(1)(C) and
Fed.R.Civ.P. 72(b}, the parties have ten (10) business days from
service of this Report and Recoumendation to file specific, written
objections with the clerk of court. A party may respond to another
party's objections within ten (10) days after being served with a
copy thereof. A courtesy copy of any objection or response or
request for extension of time shall be furnished to the district
judge at the time of filing. Timely objections will be considered
‘by the district judge before he makes his final ruling.

FAILURE-TO FILE WRITTEN OBJECTIONS TO THE FROPOSED FINDINGS,

nT,

‘CONCLUSIONS, -AND RECOMMENDATIONS CONTAINED IN-TEIS REPORT WITHIN — >" 7.

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TEN (10) BUSIRESS DAYS FROM ‘THE DATE OF ITS. SERVICE.SHALL. “BAR -AN——- —*-
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AGGRIEVED PARTY, EXCEPT UPON GROUNDS OF PLAIN ERROR, FROH ATTACKING |

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Case 2:02-cv-025ggGJR Document 36 Filed 01 ay Page 231 of 472

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' .
ON APPEAL THE UNOBJECTED-TO PROPOSED FACTUAL FINDINGS AND LEGAL
CONCLUSIGCNS ACCEPTED BY THE DISTRICT JUDGE.
THUS DONE AND SIGNED in chambers, in Alexandria, Louisiana, on
this the Hes day of October 2001. “
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JAMES D.
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COPY SENT:
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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL CIVIL ACTION
NO. 02-cv-2436

V
JUDGE ENGELHARDT
BAYER CORPORATION, ET AL.
MAGISTRATE SHUSHAN
NOTICE OF HEARING

PLEASE TAKE NOTICE that defendant, Novartis Consumer Health, Inc. through
undersigned counsel, will bring 1ts’s Motion for Temporary Stay for hearing before the United States
District Court for the Eastern District of Louisiana, 500 Camp Street, New Orleans, Louisiana, on
the 2"! day of October, 2002, at 9 30 o’clock a.m.

Respectfully submitted,

BY: Spe R, Pay
Sessions Fishman & Nathan L.L.P.
Joy Goldberg Braun (#3416) TA
Eric R. Nowak (#27025)

Shirin E. Harrell (427495)

201 St Charles Avenue, Suite 3500
New Orleans, LA 70170-3500
Telephone: (504) 582-1500

and

, Case aoe ve ee Document 36 Filed Ne Page 233 of 472

Randolph S Sherman

Lori B Leskin

Danielle E Finck

Kaye Scholer LLP

425 Park Avenue

New York, New York 10022

Attorneys for Defendant
NOVARTIS CONSUMER HEALTH, INC.

CERTIFICATE OF SERVICE
I hereby certify that I have on this 13! day of September, 2002, served a copy of the

foregoing pleading on counsel for all partres to this proceeding by ___ hand delivery, —U S.

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ERIC R NOWAK

mail or facsumile transmission.

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CASE: 2 02-~cv-02436/P
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LORE TA G. WHYTE

CLERK
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *
* NO 02-CV-2436
VERSUS *
* JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS *
PHARMACEUTICALS CORPORATION, * MAGISTRATE JUDGE SHUSHAN
NOVARTIS CONSUMER HEALTH, INC, *
4LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *
CO,INC, SMOOTHIE KING SYSTEMS, *
*

INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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CROSS-NOTICE OF VIDEOTAPED
DEPOSITION OF WALTER KERNAN

PLEASE TAKE NOTICE that pursuant to Federal Rules of Crvil Procedure, Rules 26
et seg, and in accordance with the Order of the United States Distnct Court for the Western
District of Washington, filed August 19, 2002, in the matter of Jn Re Phenylpropanolamine
(PPA) Products Liability Litigation, MDL Docket No 1407, defendant Bayer Corporation and
other manufacturer defendants will take the deposition of Walter N Kernan at the Omni: Hotel -

New Haven, 155 Temple Street, New Haven, CT 06510, commencing at 8 30 am on September

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Case a02-cv 022 Br Document 36 Filed OM’ Page 236 of 472

18, 2002, and continuing on September 19, 2002 (at 8 30 am ) and September 20, 2002 (at 1 00
pm ), or such other places, times and dates to which the parties and the witness may agree
Please take further notice that the witness has been directed to produce for mspection,
copying, and use at the deposition the documents and things described in the attached Exhibit A
Please take further notice that the above deposition will be recorded by videotape as well
as by stenographic means. The name and address of the videographer(s) will be provided prior

to commencement of the deposition

Abe

Mary L Meyer, Esq (19966)

John F Ohnde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that I have on this /} El say of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or
by depositing the same in the United States mail, properly addressed, and first-class postage

(A:

prepaid

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Case 202 cv 020 4er Document 36 Filed 0 Page 237 of 472

EXHIBIT “A”

As used herein, the term “document” or “documents” shall mean and include any written,
printed, drawn, recorded, transcribed, filed or graphic matter, however produced, reproduced, or
stored on computer or otherwise electromcally stored, and any onginals, copies, drafts, revisions,
or amendments thereof “Document” or “Documents” shall include, by way of example and
without limitation, letters, memoranda, notes, e-mails, test data, charts, x-rays, reports, medical
records, records of payment, diagrams, manuals, test procedures, sketches, graphs, prints,
secretarial notes, work pads, dianes, films, tapes, videotapes, photographs, computer disks,
computer printouts, computer memory banks, books, publications, literature, announcements, or
other writings or tangible objects Further, “document” or “documents” requested herein extend
to and include any and all such materials within the possession, custody, or control of you and
your agents, attorneys, or representatives, regardless of where located For any document
withheld from production, and any document redacted in any manner, please identify the
document withheld or redacted by date, author, type of document, subject matter, recipient, and
any grounds for withholding or redaction of the document You are to produce the materials in
your possession, custody, or control listed below

1 All documents related to the imtiation of the Yale Hemorrhagic Stroke Project
(hereinafter “HSP”’)

2 All documents related to the orgamizational structure of persons involved in the
HSP
3 All documents relating to the study personnel’s experience and credentials

(including but not limited to the curriculum vitae of each professional who
participated in the study)

4 All medical literature and case reports that were considered, reviewed, relied
upon, and/or utilized in any manner by you or by any investigator or other
personnel involved in the HSP from the inception of the HSP until its publication
in the New England Journal of Medicine

5 All documents related to the Protocol for the HSP including, but not hmited to
a) all documents related to the creation or development of the Protocol,
b) all documents related to the estimation of the sample size, including MRI

market research data,

c) all documents related to or containmg communications with anyone
regarding the Protocol,
d) all documents related to comments, revisions, or modifications to the

Protocol, and

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Case 2:02-cv- 02524 JR Document 36 Filed 0g Page 238 of 472

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e)

all drafts of the protocol

All documents related to obtaining Institutional Review Board Approval of the

HSP

All documents related to the conduct of the HSP including, but not limited to

a)

all documents regarding or concernmg the network of participating
hospitals,

all documents regarding the recruitment of investigators, hospitals, and all
persons involved in any way in the HSP,

all procedure manuals and all mvestigator’s brochures, and
all documents regarding the training of any and all persons involved in the

HSP, including but not hmited to trarnimg manuals, tramimg videotapes,
training attendance, identity of trainers, and confirmation of training

All documents related to the ascertainment of cases in the HSP including, but not
limited to, all documents regarding

a)

the active surveillance program,
the surveillance team,

the case definition,

methods of case ascertamment, and

exclusion cntena

All documents related to the selection of controls in the HSP including, but not
limited to, all documents regarding the use of random digit dialing and all
documents concerning telephone numbers that did not result 1n an eligible person
or control

All documents related to data collection and processing 1n the HSP including, but
not limited to

all data collection forms,
all interview data forms,

training manuals for mnterviewers,

Case 2:02-cv-025 4S JR Document 36 Filed 01/10 Page 239 of 472

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d)

data logs regarding cases and controls,

all case identification forms,

all potential control forms;

all log-in records,

all data editing, coding and validation manuals,
all screening questionnaires,

all documents and records reviewed by a panel of stroke neurologists
involved in the determination of whether eligibility criteria were met,

all documents and records reviewed or generated by study physicians,

alk documents and records, mcluding logs, regarding stroke patrents
rejected as not meeting eligibility critena,

all medical records and scans (e.g , CT, MRI, MRA, angiogram, etc ),

all documents regarding scheduling of interviews and collection of
information from all study participants,

all product identification books, photographs, and charts,

all drug containers and drug labels furnished by study participants,

all documents related to observations of interviews,

all documents related to the assignment of interviewers,

all documents related to surrogate/proxy imterviews, |

all documents related to the use or handling of data or information
obtained from surregate/proxy interviews,

all data abstraction forms,
all coding forms,
all documents related to codes, including their defimtion,

all documents relating to the monitoring of sample size,
Case 2:02-cv-025 2g JR Document 36 Filed un® Page 240 of 472

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all documents related to modification of any aspect of the HSP,
every participating subyect’s folder and all contents of the folder,
all audio tapes of interviews of study subjects,

all financial reports, and

all documents regarding the disbursement of funds

All documents regarding the proxy respondent sub-study

All documents regarding communications concernmg the HSP including, but not
limited to, all documents regarding communications’

a)

b)

g)

h)

between persons participating in the conduct of the HSP (For purposes of
this Item 12, “conduct” 1s defined to including without limitation the
design of the HSP, analysis of data, variations of or amendments to the
HSP protocol variations, and the drafting or revision of abstracts,
summaries, manuscripts and/or submissions relating to the HSP),

between anyone involved in the conduct of the HSP and any other person
or organization including, but not limited to, yourself, the Food and Drug
Administration, the Nonprescription Drug Manufacturers Association, the
Consumer Healthcare Products Association, any member of the Scientific
Advisory Group, pharmaceutical companies, and/or any of their current or
former employees, members or representatives,

between anyone involved in the conduct of the HSP and any person
claiming injury from use of PPA-contaiming medication,

with physician investigators,

with participating hospitals including, but not limited to, communications
with the surveillance officers and the admissions offices at the
participating hospitals,

with the Principal Investigator at each participating study site,

with each case’s physician,

with any medical or scientific journals including, without limitation, the
New England Journal of Medicine,

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with any physicians, epidemiologists, statisticians, or other professionals
asked by any person or entity (including, but not limited to, the New
England Journal of Medicine) to conduct a peer review of the study and its
results,

between HSP investigators and any member of the Scientific Advisory
Group,

between HSP investigators and the New England Journal of Medicine,
and

with any other person at any of the participating institutions

All documents related to the Scientific Advisory Group including, but not limited
to, communications, reports, site visits, and travel expenses

All documents regarding the handling, calculations, or use of any and all data
obtained regarding the HSP including, but not limited to

a)

g)
h)

)

k)

all electronic analysis files,

all documents related to interim data analysis,

all final analysis files, and

all data access logs,

all database dictionary files,

all data collection instruments,

all databases constructed from the questionnaires,

all databases for each intermediate and final analysis that relates to the
Final Report and the New England Journal of Medicine article,

all analyses not included m the Final Report or the New England Journal

of Medicine Article,

all analyses done after receipt of comments from or on behalf of CHPA or
any predecessor organization of CHPA,

all documents concerning the use of and/or difference between data
analysis via a one-tailed or two-tailed statistical test,

Case 2:02-cv-025 74M IR Document 36 Filed 01/10 Page 242 of 472

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L all documents concerning the adjustment of variables and analyses used
for the adjustment of variables

All documents regarding the Final Report of the HSP and its preparation
including, but not limited to, all communications, comments and drafts

All documents regarding the publication of the HSP in the New England Journal
of Medicine, including but not lumited to correspondence dated after publication
of the HSP in the New England Journal of Medicine

All documents evidencing revisions, changes, additions, or deletions made to the
Final Report of the HSP (and/or the data contained 1n that report) prior to the
publication of the study’s results m the New England Journal of Medicine

All documents regarding conferences, discussions, or meetings with FDA
regarding the HSP, including, without hmitation, documents concerning
preparations for October 19, 2000 hearing

All documents relating to any comments about, or criticisms of, The HSP from
any source including, without limitations, letters to the editor concerning the HSP

All documents regardmg the Authors’ Reply published in the Apnl 5, 2001 New
England Journal of Medicine includimg, but not limited to, ali data analyses and
communications with anyone after publication

All documents relating to the removal or refilmg of any document responsive to
any of the above categories
Case e02-ev-05c@r Document 36 Filed ve Page 243 of 472

DAPHINE DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC ,
4 LIFE RESEARCH, LC, Successor by

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LORE ERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

CIVIL ACTION
NO 02-CV-2436

JUDGE ENGELHARDT

* 4» &§ &€ € KF € HH

merger to SHAPERITE, SMOOTHIE KING*
CO , INC , SMOOTHIE KING SYSTEMS, *
INC , and WALGREEN LOUISIANA *

CO , INC, (d/b/a “Walgreens”)

* * %*

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MEMORANDUM IN OPPOSITION TO WALGREEN’S MOTION TO DISMISS

MAGISTRATE JUDGE SHUSHAN

NOW INTO COURT, through undersigned counsel, come Plaintiffs, Daphine Donnelly and

her husband Jerome Donnelly, who respectfully subnmut this Memorandum in Opposition to

Walgreen’s Motion to Dismiss Pursuant to Federal Rule of Civil Procedure 12(b)(6) Defendant has

filed a Motion to Dismiss asserting that Plaintiffs’ claims are prescribed pursuant to Louisiana Civil

Code Art 3492 The Defendant has erroneously combined a Federal Rule of Civil Procedure

12(b)(6) Motion to Dismiss with a Lousiana Code of Civil Procedure Art 927 Peremptory Exception

of Prescription Plaintiff will treat this as a Motion to Dismiss and address the prescription issue For

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the following reasons, Walgreen’s Motion to Dismiss should be dented

BACKGROUND

Plaintiff Daphine Donnelly suffered a stroke on or about January 12, 1991 as a result of
ingesting PPA/ephedrine-containing products, including, but not limited to Alka-Selzer Plus and
Tavist-D Ms Donnelly purchased the Alka-Selzer Plus and the Tavist-D at Walgreens in
Chalmette, Louisiana As noted in Paragraph 8 of Plaintiff's petition, the causal relationship of
Ms Donnelly’s injury to the products containmg PPA/ephednne was mherently undiscoverable
until she was warned of the dangers of ingesting the product

On November 6, 2000, the FDA officially recommended that all makers of over-the-
counter pharmaceuticals that contain PPA voluntarily remove this chemical from the
pharmaceutical By correspondence of the same date, the FDA urged all manufacturers and sellers
of over-the-counter medications contarmng PPA to cease immediately the distribution and sale of
said products Also on November 6, 2000, the FDA’s Nonprescnption Drug Advisory
Committee issued an advisory warning consumers of the nsk of hemorrhagic stroke and warned
consumers not to use any medications that contain PPA

Prior to November 6, 2000, Plaintiff did not discover, nor through the exercise of
reasonable care and diligence could she have discovered, that her injury and illness in 1991 was in
any way related to the products containng PPA/ephedrine It was only after the publicity
associated with the FDA warning that Plaintiff became aware that PPA containing products were
withdrawn from the market, and further, that ephedrine contains many of the same mgredients and
has been linked to many injures and deaths relating to its gestion, just as with PPA-contaimmng

products

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As noted by the Defendant, Louisiana Civil Code Art 3492 sets forth a one-year
prescriptive period for delictual actions However, the doctrine of contra non valentum suspends
prescription during the period of time that the cause of action was unknown to the plaintiff
Several class action petitions’, one of which was a Louisiana state class action petition (see Fife in
Footnote No 1) were filed within one year of the November 6, 2000 FDA warning to the public
and the removal of the PPA-contatning products from the market These class action petitions
protected the nghts of the Plaintiffs herein and prescription was suspended pending judgment of
the class certification issue Judge Rothstein denied class certification in the MDL per order dated
June 5, 2002

According to Louisiana Code of Crvil Procedure Rule 596, prescription which has been
suspended begins to run 30 days after notice to the class that the court has denied a motion to
certify the class Plaintifs filed suit on July 2, 2002 — within 30 days of the denial of class
certification

ARGUMENT

In evaluating a Motion to Dismiss filed under F R C P , 12(b)(6), the moving party bears the

burden of showing that the plaintiff can prove no set of facts consistent with the allegations in the

Petition for Damages that would entitle her to relief Baton Rouge Building and Construction Trades

Council, AFL-CIO v_ Jacobs Constructors, Inc , 804 F 2d 879 (* Cir 1986) In addition, the

reviewing Court “must accept as true well-plead averments and view then in light most favorable to

| The following cases are m MDL 1407, In Re Phenylpropanolamme (PPA) Products Liability Litigation in the United
States Distnet Court for the Western District of Washington Ricks, et al v American Home Products Corp , et al , No
C01-2144R, Havard v SmithKline Beecham, Inc, et al, No CO1-[645R and Fife, et al v American Home Products
Corp, etal, No CO1-2144R
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the plaintiff” American Waste and Pollution Control Co v_ Browning-Fermis, Inc , 949 F 2d 1384,

1386 (5° Cir 1991)

Walgreen’s would have this Court believe that the suit brought by Plaintiffs Daphine and
Jerome Donnelly 1s prescribed since Ms Donnelly suffered from a stroke in January 1991 and did not
file suit until July 2, 2002 While Louisiana Civil Code Art 3492 states that delictual actions are
subject to a liberative prescription of one year commencing to run from the day the injury or damage
1s sustained, statutes governing prescription are strictly construed against prescription and in favor of

the Obligation sought to be extinguished Babkow v_Morris Bart, PLC, 98-0256 (La App 4 Cir

12/16/98), 726 So 2d 423 With two possible constructions, the one that favors maintaining, as
opposed to barring, an action should be adopted Id citing Bustamento v Tucker, 607 So 2d 532
(La 1992)

Under the doctrine of contra non valentum, prescription may be suspended during the period

in which the cause of action was not known by or reasonably knowable by the plaintiff Willams v

Lafayette Ins , 98-2855 (La App 4 Cir 5/19/99), 740 So 2d 183 citing La Plaque Corporation v

Chevron U § A, Inc , 93-1597 (La App 4 Cir 5/26/94), 638 So 2d 354, 356, writ demed, 94-1597

(La 11/11/94), 644 So 2d 395

In the Willams case, Flonanna Williams filed surt individually, and on behalf of her minor son
Carey Williams, who suffered from lead poisoning caused by eating lead-based peeling paint in their
apartment Although Carey Williams was first tested for lead poisoning in September 1993, Ms
Williams was never notified of the source of the lead contamination until December 1994 She filed
suit in March 1995 The trial court dismissed her suit based on prescription noting that she knew of

the lead poisoning 1n the fall of 1993. The Fourth Circurt Court of Appeals reversed noting that

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under the doctrine of contra non valentum, prescription was suspended until plaintiffs knew that the
peeling paint in the home was the source of the lead poisoning, and that date was December 1994
The Williams case 1s similar to the case at hand The Donnelly’s could not have reasonably
discovered that Ms Donnelly’s stroke was in any way related to the PPA products she ingested It
was not until the warnings were made public by the FDA that she was able to make the causal relation
between the two Prescription 1s usually suspended where the cause of action 1s not known or
reasonably knowable by the plaintiff even though his ignorance is not induced by the defendant

Wimberly v_ Gatch, 93-2361 (La 4/11/94), 635 So 2d 206, 211 rehearing demed, (5/12/94) Thisis

commonly known as the discovery rule

The discovery rule ts applicable to the present case The Donnelly’s could not have
reasonably made the connection between her use of the medication and her stroke in 1991 It was not
until November 2000 that the public was made aware of the dangers of ingesting PP A/ephedrine
containing products A class action petition was filed that protected the Donnelly’s night of action
and prescription was suspended pending determination of the class certification issue Prescnption
for the Donnelly’s cause of action began running 30 days after class certification was demed on June

5, 2002 The Donnelly’s filed suit before the 30 days had run — on July 2, 2002

CONCLUSION

For the reasons set forth above, Plaintiffs pray that Walgreen’s Motion to Dismiss be dened
Case eevee” Document 36 Filed wv ~e Page 248 of 472

Respectfully submitted,

py Chandler Lo ae
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Case sev oer™® Document 36 Filed ou Page 249 of 472

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properly addressed and postage prepaid

DATED, this OH>day of Qept. 2002 |
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LAYOUT A
INQUIRY

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *
* NO 02-CV-2436
VERSUS *
* JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS = *
PHARMACEUTICALS CORPORATION, * MAGISTRATE JUDGE SHUSHAN
NOVARTIS CONSUMER HEALTH, INC , *
4 LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *

CO , INC , SMOOTHIE KING SYSTEMS, *
INC , and WALGREEN LOUISIANA *
CO , INC, (d/b/a “Walgreens”) *

* * * * * * * * * * * *

MEMORANDUM IN OPPOSITION TO BAYER’S MOTION FOR DISMISSAL

NOW INTO COURT, through undersigned counsel, comes plaintiffs, Daphine Donnelly and
Jerome Donnelly, Husband (hereinafter referred to as “Plaintiffs”’), respectfully submit this
Memorandum in Opposition to Bayer’s Motion for Dismissal Pursuant to Federal Rule of Crvil
Procedure 12(b)(6) Defendant has filed a Motion to Dismiss asserting that plaintiffs’ claims in
negligence, gross negligence, and strict liability should be dismissed Furthermore, Defendant asserts
the Louisiana Products Liability Act (Louisiana Revised Statute 9 2800 54 et seq , hereinafter
referred to as “LPLA”) establishes the exclusive theones of recovery against a manufacturer in a

personal injury action and does not provide for recovery based on the aforementioned claims For the

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following reasons, Bayer’s Motion to should be dened
1 Background

Plaintiff filed this suit in the 34" Judicial District Court against Bayer Corporation, Novartis
Pharmaceuticals Corporation, Novartis Consumer Health, Inc , 4Life Research, Successor by merger
to Shaperite, Smoothte King Co , Inc , Smoothte King Systems, Inc , and Walgreen Lousiana Co ,
Inc , d/b/a “Walgreens” for marketing, selling, distributing, and/or manufacturing Shaperite, Alka
Seltzer Plus and Tavist-D, all PPA-containing products

Plaintiffs clam in the Petition for Damages that the defendant, directly or indirectly,
manufactured and sold medications that contained Phenylpropanolamine (“PPA”) to Plaintiff,
Daphine Donnelly (Petition # 8-12} Plaintiffs allege that defendant knew or should have known
about medical research and publications associating PPA with serious health risks (Petition { 6-7)
Defendant (Bayer) failed to provide warnings of these side-effects and risks associated with the use of
PPA-containing medications (Petition 715) Plamtiffs have averred that defendant was aware of
these risks associated with PPA and concealed its knowledge of the risks from Plaintiff and
consumers (Petition }] 16) As a result of mgesting the PPA-containing medication, Plaintiff,
Daphine Donnelly, suffered a stroke on or about January 1991 which resulted in, but not limited to,
paralysis of the nght side of the body (Petition { 10)
2 Argument

1 Applicable Standard

In evaluating a Motion to Dismiss filed under F R C P , 12(b)(6), the moving party bears the
burden of showing that the plaintiff can prove no set of facts consistent with the allegations in the

Petition for Damages which would entitle it to relief Baton Rouge Building and Construction
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Trades Council, AFL-CIO v Jacobs Constructors, Inc , 804 F 2d 879 (5" Cir , 1986) In addition,
the reviewing Court “must accept as true well-plead averments and view then in light most favorable
to the plaintiff” American Waste and Pollution Control Co v Brownmg-Ferrts, Inc 949 F 2d 1384,
1386 (5" Cir 1991)

2 Plaintiff Has Asserted Viable Claums for Compensatory Damages Under Louisiana

Law

Plaintiffs have asserted allegations under the LPLA, which admittedly control the claims set
forth by the plaimtiffs Under the LPLA, plaintiffs can prove a product 1s “unreasonably dangerous or
defective (1) in construction or composition, (2) m design, (3) because of inadequate warning, or (4)
because of nonconformity to an express warranty” LaR S 9 2800 54 et seq

Nonetheless, plaintiffs’ allegations regarding negligence, gross negligence, strict lability, and
breach of implied warranty against redhibitory defects relating to non-economic damages can still
support plaintiffs’ LPLA claims and breach of warranty against redhibitory defects relating to
economic damages In Busse, et al v Bayerische Motoren Werke, AG, et al , 1996 WL 732837
{(EDLa 1996), the plaintiff alleged claims for negligence, redhibition and products habulty claims
against a product manufacturer Similar to the instant matter, the defendant in Busse moved for
summary judgment as to claims by the plaintiff not cogmzabie under the LPLA The Court denied the
motion stating that the allegations of negligence supported plaintiffs claim for relief under the LPLA
ld

This 1s consistent as the theories articulated under the LPLA “are predicated on principles of
strict liability, negligence, or warranty, respectively ” Jefferson v Lead Industries Assoc , Inc etal,

106 F 3d 1245, 1251 (S" Cir 1997) Therefore, the allegations set forth in plaintiffs’ Petition for
Case eevoecg® Document 36 Filed oe Page 254 of 472

Damages relating to negligence, gross negligence, and strict liability should not be dismussed as they
further strengthen plaintiffs’ other claims
3 Conclusion

For the foregoing reasons, Plaintiff prays that Bayer’s Motion to Dismiss be denied

Respectfully submitted,

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Case e0ewoerg® Document 36 Filed uve Page 255 of 472

CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing has been served upon counsel of record by

placing same in the United States mail, properiy addressed and postage prepaid

DATED, this OHAday of Sept, , 2002

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CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, et al
VERSUS

BAYER CORPORATION, et al

CIVIL ACTION

NO 02-2436

SECTION "N"

Considering that the plaintiff's Motion to Remand and Novartis Pharmaceutical's

Corporations Motion to Dismiss 1s noticed for hearing on October 2, 2002,

IT IS ORDERED that the Motions to Dismiss filed on behalf of defendants, Walgreen

Louisiana Company, Inc and Bayer Corporation, presently noticed for hearing on September 18,

2002 are hereby CONTINUED and RENOTICED for Wednes

, October 2, 2002 at 9 30

UNITEBSTATES QJSTRICT JUDGE

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Jack Truitt by fax to 985-792-1065

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO.: 02-2436
VERSUS
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL,
MAGISTRATE JUDGE SHUSHAN

NOVARTIS CONSUMER HEALTH INC.’S MOTION TO DISMISS FOR
FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

Pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, defendant Novartis
Consumer Health, Inc (“NCH”) moves this Court to dismiss the plaintiffs’ claims that are not
permitted by Loutsianalaw Under the Louisiana Products Liability Act—La Rev. Stat. § 9 2800 52
~—a plaintiff injured by a product may only assert four theories of liability against the manufacturer
of the product Thus, as more fully explained in 1ts memorandum in support of this motion, the

plaintiffs’ non-LPLA claims fail to state a claim upon which relief can be granted, and should be

dismissed
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JOY GOLDBERG BRAUN, T.A. (43416)
ee Sey See at Te ERIC R. NOWAK (#27025)
copy of the foregoing pkading on counselfor all SHIRIN E. HARRELL (27495)
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Attorneys for Novartis Consumer Health,

Inc.

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO.: 02-2436
VERSUS
JUDGE ENGELHARDT
BAYER CORPORATION, ET AL.
MAGISTRATE JUDGE
SHUSHAN

MEMORANDUM IN SUPPORT OF NOVARTIS CONSUMER HEALTH, INC.’S
MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

To decide Novartis Consumer Health, Inc ’s (“NCH”) Motion to Dismiss Pursuant to Federal

Rule of Procedure 12(b)(6), the Court needs to address one issue

° Exclusive Remedies under the LPLA. Under the Louisiana
Products Liability Act, parties injured by a product can only sue the
manufacturer under four theories (1) manufacturing defects, (11) design
defects, (1) failure to warn, (1v) or warranty actions The plamtiff
sues NCH for myuries allegedly caused by tts product, Tavist-D®, an
over-the-counter cold medication In addition to LPLA claims, the
petition makes claims against NCH for fault, want of care, gross |
negligence, strict liability, negligence, breach of the warranty against
redhibitory defects or vices, and mtentional and willful conspiracy
These non-LPLA claims — the non-manufacturing, non-design, non-
warning, and non-warranty claims — should be dismissed. La Rev
Stat § 9.2800 52
Case e020 gr Document 36 Filed “oe Page 261 of 472

I
Procedural and Factual Background
The plaintiffs sued NCH in state court claiming that NCH manufactured, designed,
marketed, advertised, and sold Tavist-D® ' The plaintiffs allege that Daphine Donnelly ingested

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Tavist-D®, which at that tme contained phenylpropanolamine, also known as “PPA ”* According
to the plaintiffs, the PPA containing Tavist-D® allegedly caused the plaintiff to suffer a stroke on
or about January 12, 1991? The plaintiffs clam that NCH 1s liable under the Louisiana Products
Liability Act and for fault, negligence, want of care, gross neghgence, strict liability, negligence,
breach of the warranty against redhibitory defects or vices, and intentional and willful conspiracy *

NCH seeks summary dismussal of all plaintiffs’ claims disallowed by the exclusive remedies
provision of the LPLA The personal injury claims for fault, want of care, gross negligence, strict

liability, negligence, breach of the warranty against redhibitory defects or vices, and intentional and

willful conspiracy are not cognizable against NCH — the manufacturer of the product at issue

' See Petition for Damages {¥ 8, 11
; See Petition for Damages 4 11
3 See Petition for Damages 10, 11

4 See Petition for Damages Jj 16, 17, 18 (ancorrectly numbered as the second paragraph 15), and 19
(incorrectly numbered as the second paragraph 16)
Case ee ooog* Document 36 Filed “eS Page 262 of 472

II

Law and Argument

The Louisiana Products Liability Act Provides the Exclusive Theory of Recovery
Against a Manufacturer for Damage Caused by a Product

The law clearly states that the Lousiana Products Liability Act “establishes the exclusive

035

theories of liability for manufacturers for damages caused by their products.’” The only four

theories of recovery that plaintiffs may assert against manufacturers under the LPLA are
* manufacturing defects (faulty composition or constructron)
* design defects
* failure to warn
* warranty actions °
As John Kennedy, an original author of the LPLA, explained, this law defines and hmuits the
extent of a manufacturer’s liability for damages caused by 1ts product
The pomt now 1n terms of the act’s scope 1s that a products liability
plaintiff may no longer recover in Louisiana from a manufacturer
on the basis of any theory of tort ability that 1s not set forth m the
LPLA.’

This exclusivity principle has been systematically applied to suits against manufacturers by

Louisiana state courts, the US District Courts in Louisiana, and the U.S Court of Appeals for

> La Rev Stat § 9 2800 52
® La Rev Stat Ann §9 2800 54

7 John Kennedy, A Primer on the Louisiana Products Liability Act, 49 LA LAW REV 566, 571 (1989)

Case 02S” Document 36 Filed “eS Page 263 of 472

the 5" Circuit? And, the courts have not hesitated to treat cases against drug and medical device
manufacturers like those against any other manufacturer under the LPLA ”
The plaintiff's suit in this case 1s not unlike other suits pared down by Louisiana courts

applying the LPLA. In Arabie v RJ Reynolds Tobacco Co , the plaintiff alleged multiple

theories of liability against a cigarette manufacturer The trial court summarily dismissed all

1° Similarly, in Gremer

theories not enumerated in the LPLA The ruling was upheld on appea
v_Medical Eng’g Corp, the U S Fifth Circuit affirmed the summary dismissal of all causes of

action asserted against a breastmplant manufacturer that were not consistent with the LPLA "'

In Grenier, the plaintiff asserted over 10 different theones of ability, several of which are

8 Ashley v_General Motors Corp , 27,851 (La App 2 Cir 1/24/96) 666 So 2d 1320, see also Gremer v
Medical Eng’r Corp , 99 F Supp 2d 759, 763 (WD La 2000) aff'd by 243 F 3d 200, 203 (5" Car 2001), Brown v
RJ_ Reynolds Tobacco Co, 52 F 3d 524, 526 (Sth Cur 1995)

* Wheat v Pfizer, INCH , 31 F 3d 340, 342 (5" Cir 1994)(prescription drug case), Zachary v_ Dow
Coming Corp , 844 F Supp 1061, 1062-65 (MD La 1995)(medical device ~ wnst prosthesis}

'° 96-978 (La App 5 Cir 6/30/97) 698 So 2d 423, 425

'! Gremer v Medical Eng’r Corp , 99 F Supp 2d 759, 763 (WD La 2000) aff'd by 243 F 3d 200, 203 (5"

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Case eR age Document 36 Filed “oe Page 264 of 472

similar to the allegations being asserted by the plaintiff in the case before this Court

* negligence,

* fraud,

* misrepresentation,

* breach of warranty of fitness and for a particular purpose,
* fraud by concealment, and

* false advertising

The Grenier trial court held that these claams were “well outside the scope of the LPLA, and must

be dismissed ” The 5" Circunt affirmed stating that 1f the LPLA applied in time (a post 1988 iyury)
then “the LPLA establishes four exclusive theories of hability.”

Likewise, the plaintiff’s claims against NCH for personal injury damages caused by its
product, Tavist-D®, are limited to the four avenues recognized by the LPLA The plaintiffs
allege that NCH 1s liable for LPLA violations and for fault, want of care, gross negligence, strict
hability, negligence, breach of the warranty against redhibitory defects or vices, and intentional
and willful conspiracy But only the LPLA claims are permitted against NCH. Thus, as explained

by the Eastern District in Jefferson v_Lead Indus, the other non-LPLA, even if based upon

traditional principles of negligence, strict liability, or warranty, are not viable as independent
theones.”? Accordingly, all clams asserted against NCH, the manufacturer, save the specific

LPLA claims should be dismissed

'? Jefferson v Lead Indus Ass’n, INCH , 930 F Supp 241 (ED La 1996)

Case 202-cv 025 mR Document 36 Filed “eS Page 265 of 472

I
CONCLUSION

The plaintiffs sue NCH for personal injuries allegedly suffered from taking an over-the-
counter cold medication, Tavist-D®. Their suit— claims against a manufacturer for injuries from the
manufacturer’s product ~1s governed by the Louisiana Products Liability Act Under the LPLA, the

plaintiffs are lumited to four theories of recovery recognized by the act All other claims must be

dismissed
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CERTIFICATE OF SERVICE By q, *t-  * _

Sessions, Fishman & Nathan, L L.P

lS hor we cea Oe ot a JOY GOLDBERG BRAUN, T.A. (#3416)

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Attorneys for Novartis Consumer Health,
Inc.

Case A022 mR Document 36 Filed “se Page 266 of 472

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO.: 02-2436
VERSUS
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL.
MAGISTRATE JUDGE SHUSHAN

NOTICE OF HEARING
PLEASE TAKE NOTICE, that defendant, Novartis Consumer Health, Inc , through
undersigned counsel will bring the attached Motion to Dismiss for Failure to State a Clam Upon
Which Relief Can Be Granted for hearing before the Umted States Distnct Court for the Eastern

District of Louisiana, 500 Camp Street, New Orleans, Louisiana, on the A Mek day of Cetebher

2002, at 9'3o am

CERTIFICATE OF SERVICE Respectfully submitted,
Ur sug begngeromannaeen te py nce
copy of the foregomg pkading on counselor all JOY GOLDBERG BRAUN (#3416)
Malor hosmmletfanseaision ERIC R. NOWAK (#27025)
SHIRIN E. HARRELL (27495)
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Attorneys for Novartis Consumer Health,
Inc.

Case 2:02 cv 025 @mpIR Document 36 Filed 11g Page 267 of 472

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL.

VERSUS

BAYER CORPORATION, ET AL.

CIVIL ACTION
NO.: 02-2436

JUDGE ENGELHARDT

MAGISTRATE JUDGE SHUSHAN

NOVARTIS PHARMACEUTICALS CORPORATION’S MOTION TO DISMISS FOR
FAILURE TO STATE A CLAIM UPON WHICH RELIEF CAN BE GRANTED

Pursuant to Rule 12(b)(6) of the Federal Rules of Crvil Procedure, defendant Novartis

Pharmaceuticals Corporation (“NPC”) moves this Court to dismiss the plaintiffs’ claims that are not

permitted by Louisianalaw Under the Louisiana Products Liability Act—La Rev Stat. § 9 2800 52

—a plaintiff injured by a product may only assert four theories of lability against the manufacturer

of the product Thus, as more fully explained in its memorandum m support of this motion, the

plaintiffs’ non-LPLA claims fail to state a clam upon which relief can be granted, and should be

dismissed

CERTIFICATE OF SERVICE

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parties to this proceeding byhand dehvery, US
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SHIRIN E. HARRELL (#27495)

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Attorneys for Novartis Pharmaceuticals

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Case e02 cv-0e52 gr Document 36 Filed wv-@ Page 269 of 472

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO.: 02-2436
VERSUS
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL.
MAGISTRATE JUDGE SHUSHAN

MEMORANDUM IN SUPPORT OF NOVARTIS PHARMACEUTICALS
CORPORATION’S MOTION TO DISMISS PURSUANT TO RULE 12(b)(6)

To decide Novartis Pharmaceuticals Corporation’s (“NPC”) Motion to Dismiss Pursuant to
Federal Rule of Procedure 12(b)(6), the Court needs to address one issue

. Exclusive Remedies under the LPLA. Under the Louisiana
Products Liability Act, parties injured by a product can only sue the
manufacturer under four theortes (1) manufacturing defects, (11) design
defects, (111) failure to warn, (1v) or warranty actions The plaintiff
sues NPC for injuries allegedly caused by its product, Tavist-D®, an
over-the-counter cold medication In addition to LPLA claims, the
petition makes claims against NPC for fault, want of care, gross
negligence, strict liability, negligence, breach of the warranty against
redhibitory defects or vices, and mtentional and willful conspiracy.
These non-LPLA claims — the non-manufacturing, non-design, non-
warming, and non-warranty claims — should be disrmssed La Rev
Stat § 9 2800 52
Case e02-cv-025° @* Document 36 Filed %@ Page 270 of 472

I
Procedural and Factual Background

The plaintiffs sued NPC in state court claiming that NPC manufactured, designed,
marketed, advertised, and sold Tavist-D® ' The plaintiffs allege that Daphine Donnelly ingested
Tavist-D®, which at that time contained phenylpropanolamine, also known as “PPA.”
According to the plaintiffs, the PPA containing Tavist-D® allegedly caused the plaintiff to suffer
a stroke on or about January 12, 1991.3 The plaintiffs clam that NPC is liable under the
Louisiana Products Liability Act and for fault, want of care, gross negligence, strict liability,
negligence, breach of the warranty against redhibitory defects or vices, and intentional and
willful conspiracy ‘

NPC seeks summary dismissal of all plaintiffs’ claims disallowed by the exclusrve
remedies provision of the LPLA The personal injury claims for fault, want of care, gross
negligence, strict liability, negligence, breach of the warranty against redhibitory defects or vices,
and intentional and willful conspiracy are not cognizable against NPC — the manufacturer of the

product at issue

l See Petition for Damages Ff 8, 11
See Petition for Damages § 11
3 See Petition for Damages ¥f 10, 11

4 See Petition for Damages §J 16, 17, 18 (incorrectly mumbered as the second paragraph 15), and 19
(incorrectly numbered as the second paragraph 16)
Case 202 cv-0257 @r Document 36 Filed “v-@ Page 271 of 472

II
Law and Argument

The Louisiana Products Liability Act Provides the Exclusive Theory of Recovery
Against a Manufacturer for Damage Caused by a Product

The law clearly states that the Louisiana Products Liability Act “establishes the exclusive

theories of liability for manufacturers for damages caused by their products ”°

The only four
theones of recovery that plaintiffs may assert against manufacturers under the LPLA are
* manufacturing defects (faulty composition or construction)
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As John Kennedy, an original author of the LPLA, explained, this law defines and limrts the
extent of a manufacturer’s liability for damages caused by 1ts product
The point now in terms of the act’s scope 1s that a products lability
plaintiff may no longer recover in Louisiana from a manufacturer
on the basis of any theory of tort liability that 1s not set forth in the
LPLA?

This exclusivity principle has been systematically applied to suits against manufacturers by

Louisiana state courts, the US District Courts in Louisiana, and the U S. Court of Appeals for

> La Rev Stat § 9 280052
® La Rev Stat Ann §9 2800 54

? John Kennedy, A Primer on the Louisiana Products Liability Act, 49 LA LAW REV 566, 571 (1989)
Case e028 WONG” Document 36 Filed ~ Page 272 of 472

the 5" Circuit ® And, the courts have not hesitated to treat cases against drug and medical device
manufacturers like those against any other manufacturer under the LPLA.”
The plaintiff's suit in this case 1s not unlike other suits pared down by Louisiana courts

applying the LPLA In Arabie v R J Reynolds Tobacco Co., the plaintiff alleged multiple

theories of ability against a cigarette manufacturer The trial court summarily dismissed ali

1°

theories not enumerated in the LPLA The ruling was upheld on appeal.” Similarly, in Gremer

v_Medical Eng’g Corp , the U.S Fifth Circuit affirmed the summary dismissal of all causes of

action asserted against a breast—-implant manufacturer that were not consistent with the LPLA."

In Grenier, the plaintiff asserted over 10 different theories of liability, several of which are

Ashley v_General Motors Corp , 27,851 (La App 2 Cir 1/24/96) 666 So 2d 1320, see also Gremser v
Medical Eng’r Corp , 99 F Supp 2d 759, 763 (WD La 2000) aff'd by 243 F 3d 200, 203 (5° Cu 2001), Brown v
RJ Reynolds Tobacco Co , 52 F 3d 524, 526 (Sth Cur 1995)

* Wheat v Pfizer, INPC , 31 F 3d 340, 342 (5" Cir 1994)(prescription drug case), Zachary v Dow

Coming Corp, 844 F Supp 1061, 1062-65 (MD La 1995)(medical device — wrist prosthesis)

9 96-978 (La App 5 Cir 6/30/97) 698 So 2d 423, 425

1 Gremer vy Medical Eng’r Corp, 99 F Supp 2d 759, 763 (WD La 2000) aff'd by 243 F 3d 200, 203 (5"
Cir 2001)

Case ee” Document 36 Filed "~ Page 273 of 472

similar to the allegations being asserted by the plaintiff in the case before this Court

* negligence,

« fraud,

* misrepresentation,

* breach of warranty of fitness and for a particular purpose,
* fraud by concealment, and

* false advertising

The Grenier trial court held that these claims were “well outside the scope of the LPLA, and must

be dismissed ” The 5 “ Circuit affirmed stating that if the LPLA applied in time (a post 1988 myury)
then “the LPLA establishes four exclusive theories of lability ”

Likewise, the plaintiff's claims against NPC for personal injury damages caused by its
product, Tavist-D®, are limited to the four avenues recognized by the LPLA. The plaintiffs
allege that NPC 1s hable for LPLA violations and for fault, want of care, gross negligence, strict
liability, negligence, breach of the warranty against redhibitory defects or vices, and intentional
and willful conspiracy But only the LPLA claims are permitted against NPC Thus, as explained
by the Eastern District m Jefferson v_ Lead Indus , the other non-LPLA, even if based upon
traditional principles of negligence, stnet hability, or warranty, are not viable as independent
theones '? Accordingly, all claims asserted against NPC, the manufacturer, save the specific

LPLA claims should be dismissed

2 Jefferson v_Lead Indus Ass’n, INPC, 930 F Supp 241 (ED La 1996)

Case e02-cv 0257 Document 36 Filed oO Page 274 of 472

CONCLUSION

The plaintiffs sue NPC for personal injuries allegedly suffered from taking an over-the-

counter cold medication, Tavist-D®, Their suit — clams against a manufacturer for injuries from the

manufacturer’s product—1s governed by the Louisiana Products Liability Act. Under the LPLA, the

plaintiffs are limited to four theories of recovery recognized by the act All other claims must be

dismissed

CERTIFICATE OF SERVICE

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ERIC R NOWAK

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JOY GOLDBERG BRAUDN, T.A. (#3416)
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Attorneys for Novartis Pharmaceuticals
Corporation

Case e02-ev-0ec@® Document 36 Filed ONO Page 275 of 472

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. CIVIL ACTION
NO.: 02-2436

VERSUS
JUDGE ENGELHARDT

BAYER CORPORATION, ET AL.
MAGISTRATE JUDGE SHUSHAN

NOTICE OF HEARING
PLEASE TAKE NOTICE, that defendant, Novartis Pharmaceuticals Corporation, through
undersigned counsel will bring the attached Motion to Dismiss for Failure to State a Claim Upon
Which Relief Can Be Granted for hearing before the United States District Court for the Eastern

Distnct of Louisiana, 500 Camp Street, New Orleans, Louisiana, on the 4d day of Gelber,

2002, at q 130 am

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ERIC R NOWAK

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Sf day of. yey "2002 sered a BY San 2 ve
copy of the foregoing pkading on counsel for all JOY GOLDBERG BRAUN (#3416)
‘alefankiomso ERIC R. NOWAK (#27025)

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Attorneys for Novartis Pharmaceuticals
Corporation
Case e02-v-Oescgae Document 36 Filed oNv® Page 276 of 472

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JUDGE ENGELHARDT

DAPHINE B. DONNELLY, and
JEROM EDONNELLY, Husband

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VERSUS *

* MAGISTRATE JUDGE SHUSHAN
BAYER CORPORATION; NOVARTIS *
PHARMACEUTICALS *
CORPORATION; NOVARTIS *
CONSUMER HEALTH, INC. *
4 LIFE RESEARCH, LC, Successor by = *
merger to SHAPERITE; SMOOTHIE *
KING CO., INC.; SMOOTHIE KING *
SYSTEMS, INC.; and WALGREENS *
LOUISIANA CO., INC. *
(D/B/A “WALGREENS”) *

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MOTION TO REMAND

NOW INTO COURT, comes Daphine Donnelly and Jerome Donnelly, husband
(hereinafter “plaintiffs’), by and through their counsel of record, and moves this
Honorable Court to remand this action to the 34" Judicial District Court, Parish of St
Bernard, Louisiana, on the ground that this Court lacks jurisdiction over this action In
support thereof, plaintiffs state as follows

1
Plaintiffs initially filed suit in the 34th Judicial District Court, Parish of St

Bernard, Louisiana on July 2, 2002, Civil Actron Number 96,487 (See Petition, attached

Exhibit “A”) Service berg requested on all local defendants at the time of filing
Service being had on out-of-state defendants via long arm statute on or about July 24,

2002 It 1s undisputed that defendants Walgreen Lousiana Company, Inc , Smoothie

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Case ee oe Document 36 Filed oN Page 278 of 472

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King Co, Inc , and Smoothie King Systems, Inc , are residents of the State of Loursiana
Walgreens and both Smoothie King Co, Inc and Smoothie King Systems, Inc were
joined in the suit by the plaintiffs because they sold over-the-counter products that
contained Phenylpropanolamine (“PPA”) to plaintiff, Daphine Donnelly, which directly
resulted in or substantially contributed to her suffering a stroke(s)
2

Defendants Bayer Corporation, Novartis Pharmaceuticals Corporation and
Novartis Consumer Health, Inc removed this action to the United States District Court
for the Eastern District of Louisiana on or about August 7, 2002 (See Notice of
Removal, attached Exhibit “B”) Defendants herein assert fraudulent joinder, alleging
there 1s no possibility the plaintiff can recover against the retailer/seller defendants,
Walgreen Louisiana Co , Inc , Smoothie King Co, Inc , and Smoothie King Systems, Inc

3

Defendants’ Notice of Removal 1s completely void of legal analysis Defendants’
simply state that plamntffs “ cannot prevail on their claims against Walgreen Louisiana
Co, Inc under Lousiana law” citing one case from the Western District of Washington
Defendants’ then maimtain that Smoothie King did not operate a store where plaintiff,
Daphine Donnelly, purchased a PPA-containing product Defendants have failed in their
burden to clearly and convincingly prove that plaintiff, under Louisiana law, 1s unable to
prevail against the retailer/seller defendants Furthermore, Defendants completely ignore
several other causes of actions alleged against the retatler/seller defendants Additional
discovery 1s necessary to determime whether the Smoothie King defendants are proper

parties in this action
Case 202 cv-0252 yr Document 36 Filed owv@® Page 279 of 472

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The plaintiffs’ petition clearly states arguable claims against both Walgreens and
the Smoothie King defendants, which are Louisiana residents Therefore, fraudulent
joinder 15 not an issue For these reasons set forth herem which are more fully articulated
in the attached memorandum, diversity jurisdiction or any remaining grounds for federal
jurisdiction over this matter do not exist Accordingly, this case should be remanded to
the 34th Judicial District Court, Parish of St Bernard, Louisiana

WHEREFORE, plaintiffs respectfully request that this Honorable Court issue an
Order remanding this action to the34th Judicial District Court, Parish of St Bernard,

Louisiana

ect submitted,

p—

J Chandler Loupe :
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State Bar No 19955

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J Robert Davis

TX State Bar No 00788859

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Houston, TX 77002

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Case ee oa Document 36 Filed @ Page 281 of 472

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CERTIFICATE OF SERVICE

I do hereby certify that 1 have on this iy day of September, 2002, served a
copy of the foregoing by mailing same by United States mail, first class postage prepaid.
properly addresses to the following

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Corporation and Novartis Consumer Health, Inc

Lemle & Kelleher, LLP

Mr J Don Kelly, Jr

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The Truitt Law Firm

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Baldwin & Haspel

Ms Monica T Suprenant

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Attorneys for Smoothie King Co, Inc and
Smoothie King Systems, Inc

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B. DONNELLY, and * — CIVIL ACTION NO. 02-2436
JEROM EDONNELLY, Husband *
* JUDGE ENGELHARDT
VERSUS *
* MAGISTRATE JUDGE SHUSHAN
BAYER CORPORATION; NOVARTIS *
PHARMACEUTICALS *
CORPORATION; NOVARTIS *
CONSUMER HEALTH, INC. *
4 LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE; SMOOTHIE = *
KING CO., INC.; SMOOTHIE KING *
SYSTEMS, INC.; and WALGREENS *
LOUISIANA CO., INC. *
(D/B/A “WALGREENS”) *
*

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PLAINTIFE’S MEMORANDUM IN SUPPORT OF
MOTION TO REMAND

Loutsiana residents, Walgreen Louisiana Co , Inc , Smoothie King Co, Inc , and
Smoothie King Systems, Inc , were properly joined as a defendants in this matter, and
this case should be remanded to the 34" Judicial District Court, Parish of St. Bernard,
Louisiana

J. Facts and Procedural History

Daphine Donnelly and Jerome Donnelly (“plaintiffs”) initially filed suit in the 34"
Judicial District Court, Parish of St Bernard, Louisiana on July 2, 2002, Crvil Action
Number 96,487 (See Petition, attached hereto as Exhibit “A”) Plaintiffs subsequently

requested service on the named defendants therein The lawsuit 1s a personal injury case
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in which plaintiff, Daphine Donnelly, seeks compensatory damages for inyurtes sustained
as a direct result of consuming over-the-counter medications, including Shapefast®, Alka
Seltzer Plus®, and Tavist-D®, which contained Phenylpropanolamine (“PPA”), and
Jerome Donnely, husband seeks damages for loss of consortium The medication in
question was used by millions of individuais throughout the years, including plaintiff,
Daphine Donnelly, for treating cold and flu systems and sinus problems

Unbeknownst to plamtiffs, PPA consumption increases the risk of stroke(s) and
myocardial infarction(s) A recent study at Yale University brought this fact to light
However, the Yale study was preceded by various other research endeavors which
reached similar conclusions In the interest of public health, the Food and Drug
Adminstration (“FDA”) formally requested that manufacturers of PPA contaming
products discontinue their marketing efforts In particular, the FDA determined that any
benefits gained from PPA usage did not out weigh the msk of harm, and furthermore
concluded that PPA “cannot be considered to be safe for continued use” For years
preceding the Yale study and thereafter, though, the manufacturer and retailer defendants
knew of the causal relationship between PPA usage and the risk of severe injury and even
death Plaintiff's PPA consumption directly resulted in or substantially contributed to her
suffering a stroke

Retailer/seller defendants, Walgreen Louisiana Co , Inc , Smoothie King Co , Inc ,
and Smootmhe King Systems, Inc, are undisputedly residents of Lousiana The
retailer/seller defendants were jouned by the plaintiffs because they sold to plaintiff the
PPA containing product which caused the mjuries As such, plaintiffs brought claims

against the retailer/seller defendants based upon (1) breach of the warranty against
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redhibitory defects, (2) failure to sell a product fit for 1ts ordinary usage, (3) delivering a
product not of the kind or quality specified by the seller, negligence, (4) negligence, (5)
want of care, (6) gross negligence, (7) strict liability, and (8) intentional and willful
conspiracy In support of plaintiff's claims, it 1s further alleged that defendant knew or
should have known of the unreasonably dangerous side-effects from consuming
Shapefast®, Alka Seltzer Plus®, and Tavist-D® and was under a duty to disclose the
risks inherent in the consumption thereof

Defendants, Bayer Corporation, Novartis Pharmaceuticals Corporation, and
Novartis Consumer Health, Inc removed this action to the United States District Court
for the Eastern District of Louisiana on or about August 7, 2002 As grounds for
removal, Defendants claim that diversity jurisdiction exists over this matter because
plaintiff fraudulently joined Walgreens, and further that Smoothie King did not operate a
store where plaintiff purchased the PPA-containmg product. Defendants erroneously
allege that both Walgreens and Smoothie King should be disregarded creating diversity
of crtizenship in the remaining parties Defendants also erroneously allege that the non-
diverse defendant, Walgreens, was fraudulently jomed implying that plaintiffs have no
possibility of recovering against 1t for any of the claims made 1n the petitions

A. Plaintiff Has Alleged a Viable Cause of Action And Has Sought
Appropriate Relief Thereto

Defendants skeletal Notice of Removal simply states that Plaintiffs “ cannot prevail
on their claims against Walgreen Lousiana Co , Inc under Louisiana law” citing Perksin
v Bayer Corporation, et al A case which was originally filed in Caddo Pansh and
removed to the Western District of Loutsiana before being transferred to the MDL 1407,

In re Phenylpropanolamine In Perksm, Judge Rothestein, of the Western District of

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Washington, MDL 1407, In re Phenylpropanclamine, denied Plaintiffs Motion to
Remand Perksim vs Bayer Corporation, et al, No 01-2023R (WD Wash Feb 26,
2002) In Perksim, the plaintiffs alleged only two causes of action, breach of warranty of
redhibition and negligence, furthermore, the plaintiffs only cite article 2545 in the
petition In the Order, the court appears to place a vast amount of emphysis on this
issue, stating that the “plaintiffs have made only conclusory allegations that would not
support remand” /d Defendants, by citing this Order in Perksim, mislead the Court by
implying that plaintiffs have failed to state a cause of action in redhibition (See Notice
of Removal at 99, p 3, attached hereto as Exhibit “B”) “The action of redhibition is
based upon the breach of the seller’s obhgation of warranty agamst mdden defects in a
thing sold or its redhibitory vices” A Tillman v Davidson, 501 So 2d 1067 (La App 2
Cir 1987) (italics original) Plamtuff has clearly alleged that the retailer/seller defendants
sold the PPA products which caused her injury (See Petition 99, p 3, attached hereto as
Exhibit “A”) Moreover, “]A] seller who knows that the thing he sells has a defect but
omits to declare it 1s lable to the buyer for damages ” See La Civ Code art
2545 According to the plaintiffs’ petition, Defendants [including Walgreens] were
aware of the causal relationship between PPA use and the myuries complained
Therefore, according to plaintiffs, defendants are bad faith sellers
In the present case, evidence will be exchanged during discovery and
likewise be presented during trial which proves that defendants knowingly concealed
that its PPA contaimmg products which were potentially unsafe for human
consumption It 1s a well-settled principle that, “[F]raud may result from silence or

maction” Boos v Benson Jeep-Eagle Company, 98-1424 (La App 4 Cir 6/24/98),

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717 So 2d 661, 667, see also La Civ Code art 1953 In sum, the petition alleges that
the defendants knew about the hazardous adverse side effects of PPA (See Petition
"17C1), p 5, §15, p 6 (inadvertently repeated number on page 6) and, 916, p 6
(inadvertently repeated number on page 6), attached hereto as Exhibit “A”)

This matter has previously been addressed by this District Court In Mosely et al
v Bayer Corporation, et al, No 01-3479 (Lemelle, J, ED La January 18, 2000),
plaintiff alleged that he purchased, and suffered a stroke after consuming Alka Seltzer
Plus® and Dimetapp®, both PPA containing products Plaintiff filed suit against the
drug manufacturers, including Bayer Corporation, and the seller of the products,
K&B Louisiana Corporation (““K&B’) Defendants removed the action to federal
court alleging K&B was fraudulently joined Plaintiffs then moved for remand,
claiming 1t was possible to recover in a Louisiana state forum against local retailer,
K&B

This Court, on page 6 of the Mose/y opimon, ultimately ruled, “[T]hus, there is a
possibility that Plaintiffs could recover against Defendant K&B/Rite Aid and
removal was improper.” (emphasis added) (See Opinion, attached hereto as Exhibit
“C”) Accordingly, the Mosely case was remanded to its state court of origin, the
Civil District Court for the Parish of Orleans The Courts have granted remands in
other such cases on the same or similar basis See also, Afodesta St Amant, et al v
Bayer Corporation, et al, No 01-3421 (Lemmon, M, ED La March 4, 2002 ),
Jacqueline Coleman v Bayer Corporation, et al, No 02-333 (Barbier, C,ED La
April 3, 2002) See Opmuions, attached hereto as Exhibits “D” and “E”,

consecutively)

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In the case sub judice, plaintiffs allege that all defendants 1n this case knew or had
reason to know of the adverse effects of the PPA contaiing products they sold and/or
manufactured Despite this, defendants imply that the petition fails to adequately allege
Walgreen Louisiana Co, Inc had knowledge A review of the factual allegations in the
petition, though, indicate otherwise Plaintiff alleges that PPA causes life threatening
adverse side effects which has been well documented and known to defendants (See
Petition, 6, p 2, 77, p 3,917, p 5-6, 915, p 6 (inadvertently repeated number on page
6), (16, p 6 (inadvertently repeated number on page 6), attached hereto as Exhibit “A”)
Based on these factual allegations in plaintiff's petition, 1t 1s implausible that the retailer
had no knowledge of the hazardous nature of the PPA products they sold According to
the Fourth Circu:t Court of Appeal

[w]here documents or objective evidence so contradict the wrtness’s story, or
the story itself 1s so internally inconsistent or implausible on its face, that a
reasonable factfinder would not credit the witness’s story, the court of appeal may
manifest error or clear wrongness even in a findmg based on a credibility
determination
Garner v Loutstana Housing, 2000-2226 (La App 4 Cir 9/26/01), 798 So 2d 295, 299
Suffice it to say, the evidence at hand indicates that the retailer/seller defendants
possessed industry knowledge of, or at the very least had attained constructive knowledge
pertaining to, PPA’s adverse side-effects at the time plaintiff, Daphine Donnelly,
purchased the PPA containing product

Moreover, defendants fail to even tender a scintilla of evidence in support of 1ts

proposition that the retailer/seller defendants had no knowledge of the hidden defects in

their products, despite its affirmative duty to do so “...[a] seller ha[s] the burden of

proving that there was no issue of fact as to his actual knowledge of a defect or as to

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his constructive knowledge of a defect (that he should have known of the defect)
Hooper v Crown, et al, 560 So2d 890 (LaApp 1° Cir 1990) (citations omitted)
(emphasis added) There 1s no evidence presented to the Court to support that Walgreens
did not know of PPA’s adverse effects, in the alternative, however, the evidence on hand
indicates that they knew or should have known The defendants have not met their
burden

Louisiana law recognizes that a seller/retailer may be held lable under a
negligence theory In Ross v John’s Bargain Stores Corp , 464 F 2d 111 5" Cir 1972),
the Fifth Circuit Court of Appeal, citing authority from various jurisdictions, opined that
negligence may be imputed against a seller of a product which it knew or should have
known was dangerous The Court found that whether the defendants knew or should
have known of the dangerous nature of the product it sold to the plaint:ff 1s a question left
to the trier of fact Jd at 116 Therefore, plaintiff's negligence claims against the local
retailer/seller defendant are legally viable, and the case should be remanded to state court

B. Defendants Have Failed To Meet Their Burden of Proof

The burden of establishing federal yurisdiction 1s placed on the party seeking removal
The removal statute is strictly construed against removal jurisdiction Pacheo de Perez v
AT&T Co, 139 F 3d 1368, 1373 (11" Cir 1998) Where a defendant removes a case
alleging fraudulent joinder, “[t]he removing party has the burden of proving that erther
(1) there 1s no possibility the plamt:ff can establish a cause of action against the resident
defendant, or (2) there 1s an outright fraud in the Plaintiffs pleading of yurisdictional
facts” Crowe v Coleman, 113 F 3d 1536, 1538 qi" Cir 1997), Coker v Amoco Ou,

Co , 709 F 2d 1453, 1440 ai® Cir 1983), see also Badon v RJ Nabisco, 236 F 3d 282
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(5th Cir 2000) “The burden of the removing party 1s a ‘heavy one’ ” Crowe, 113 F 3d at
1538 (citing B, Inc v Miller Brewing Co , 663 F 2d 545, 549 5" Cir Unit A, 1981) A
clam by one of the Defendants that joinder 1s fraudulent must be asserted with
particularity and supported by clear and convincing evidence See Parks v New York
Times Co , 308 F 2d 474, 478 (5" Cir 1962)

In a case where the defendants contend fraudulent joinder, the court must consider
the state law upon which the claim rests and then determine only whether there 1s any
reasonable possibility that the relevant state’s highest court would rule in favor of the
plaintiff were the issue presented to 11 The court 1s not to weigh the ments of the
plaintiff's claims beyond determining whether they are arguable claims under state law
Crowe, 113 F 3d at 1538 (emphasis added) “To establish fraudulent jomder, the party
crying foul must show there 1s no reasonable probability of recovery against the joinded
party or that there has been outright fraud in the pleadings of jurisdictional facts ”
Deigado v Shell O1l Co , 663 F 2d 545, 549 (5" Cir 1981) The court shall evaluate the
factual allegations in the light most favorable to the plaintiff, and the court must resolve
any uncertainties about state substantrve law in favor of the plaintiff Crowe, 113 F 3d at
1538 The federal court 1s to make these determinations based on the plaintiff's
pleadings at the ttme of removal /d Joimder of a defendant is not fraudulent simply
because a motive 1s to defeat diversity fd Where the plaintiff's allegations set forth a
good faith claim under state law, no matter how doubtful, the presence of the non-diverse
defendant will prevent removal Jd See also Tedder v FMC Corp , 590 F 2d 115, 116-

117 (5 Cir 1979) Therefore, to prevail, defendants must clearly and convincingly show

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that there is no possibility that plaintiffs have stated arguable claims against the local
retailer defendant.

Plaintiff in the instant action has alleged that Walgreens and the Smoothie King
defendants had knowledge of the dangerous side effects of PPA and stated facts, which as
perceived in the light most favorable to plaintiff, give nse to a viable cause of action in
redhibition

C. Plamtiff has Further Stated Arguable Claims Against the Retailer/Seller

Defendant for Failing to Sell a Product Fit for its Ordinary Usage; Failing to

Deliver a Product of the Kind Specified by the Seller; and Negligence, Want
of Care, Gross Negligence, and/or Strict Liability

Furthermore, defendants, in their haste to remove this action, have completely
ignored several causes of action alleged against the retailer/seller defendant The plaintiff
allege that the retailer/seller defendants are lable for failing to deliver a product of the
kind specified by the seller, failing to sell a product fit for its ordmary usage, negligence,
want of care, gross negligence, and/or strict ability Defendants avoid mention of these
viable theones of recovery, omitting any argument why plaintiffs can not state or
establish any of these claims against the retailer/seller defendants under Louisiana law
Defendants ignore the presence of these causes of action in the petition at its own peril
As the law of fraudulent jomnder clearly provides, the defendant must show “clearly and
convincingly” that the plamtiff has ne possibility of establishing any cause of action
against the resident defendants Defendants have failed to meet its burden of establishing
fraudulent joinder

D. Further Discovery Is Necessary To Determine Whether Smoothie

King Co.,, Inc. and Smoothie King Systems, Inc. Are Appropriate
Defendants In Said Action

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Defendants have stated that all Smoothie King defendants are fraudulently jomed and
further, that Smoothie King did not operate any store where plamtiff purchased the PPA-
containing products Plaintiffs’ incorporate all the above and foregoing arguments as if
set out below Plaintiffs’ submit that further discovery 1s necessary regarding this issue
Even so, as Walgreen Louisiana Co, Inc was not fraudulently joined, this renders the

case non-diverse thus making state court the proper forum

Tl. Conclusion

It 1s clear that the defendants failed to carry its burden in demonstrating that there 1s
no possibility that a state court would find that plaintiff's petition fails to state any cause
action against the retailer/seller defendants Plamtiffs’ joinder of the defendants were
therefore proper Clearly, federal jurisdiction based on diversity 1s not present, therefore,
this action should be remanded to the 34" Judicial District Court, Parish of St Bernard,

Louisiana

Respectfully submitted,

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CERTIFICATE OF SERVICE

I do hereby certify that I have on this (0 day of September, 2002, served a
copy of the foregoing by mailing same by United States mail, first class postage prepaid,
properly addresses to the following

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, and
JEROM EDONNELLY, Husband

CIVIL ACTION NO. 02-2436

JUDGE ENGELHARDT
VERSUS
MAGISTRATE JUDGE SHUSHAN
BAYER CORPORATION; NOVARTIS
PHARMACEUTICALS
CORPORATION; NOVARTIS
CONSUMER HEALTH, INC.

4 LIFE RESEARCH, LC, Successor by
merger to SHAPERITE; SMOOTHIE
KING CO., INC.; SMOOTHIE KING
SYSTEMS, INC.; and WALGREENS
LOUISIANA CO., INC.

(D/B/A “WALGREENS”)

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NOTICE OF HEARING

PLEASE TAKE NOTICE that Plaintiffs’ Motion to Remand has been set for
hearing on the gnd day of October, 2002 at 930 o’clock am, before Judge Lurt D
Engelhardt at the United States District Courthouse for the Eastern District of Louisiana,

500 Camp Street, New Orleans, Louisiana

Respectfully submitted,

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34™ JUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD

STATE OF LOUISIANA
No. St 48’¢

DAPHINE E. DONNELLY, end
JEROME DONNELLY, Husband
Plaintiff

v5.

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS SECTION
CORPORATION; NOVARTIS CONSUMER HEALTH, INC;

4LIFE RESEARCH, LC, Successor by merger to SHAPERITE;

SMOOTHIE KING CO., INC.; FILED
SMOOTHIE KING SYSTEMS, INC,; and

WALGREEN LOUSIANA CO., INC. (D/B/A “WALGREENS”) Jt 0.2 200?

Defendants sO Are
Ae
PETITION FOR DAMAGES LERK

NOW INTO COURT comes Petrnoner, DAPHINE B. DONNELLY, a person of the full age of

majonty, and respectfully represents the following

1. Petitioner, Daphine B. Donnelly, is a person of full age and majority and 1s & resident and
domiciliary of St. Beard Pansh, State of Lousiana.

2. Made pharmaceutical manufacturer defendants herein are
A. Bayer Corporation is an Indiana Corporation with 2ts principal place of business in
Pennsylvania, regularly selling and advertising its product in the City of Chalmette, State of
Loutsiana.
B Novartts Pharmaceuticals Corporation is 2 Delaware corporation with its principal
place of business in New Jersey, regularly selling and advertising it product in the City of
Chalmette, State of Louisiana
Cc Novartis Consumer Health, Inc a Delaware corporation with its principal place of
business in New Jersey, regularly selling and advertising its product in the City of Chalmette,
State of Louisiana.
D 4Life Research, LC, successor in merger to Shaperite, a limited Hability company

establishedin Utah 4Life Research, on information and belef, manufactured and distributed

EXHIBIT

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@ Shapefast®, thus bringing this action Gee Research, LC as a manufactunng
defendant and as a sellerfretailer defendant, regularly selling and advertising in the City of
Chalmette, State of Lousiana

3 Made retaler/seller defendants herein are
A Smoothie King Co, Inc , a Loutsiana corporation with its pnneipal place of
business in Kenner, Louisiana, on information and belief, regularly selling and advertising
its product in the St. Bernard Parish, State of Louisiana, through a franchise operator.

B Smoothie King Systems, Inc , a Louisiana corporation with its principal place of
business in Kenner, Louisiana, on information and belief, cegularly selling and advertising
its product in the St. Bernard Pansh, State of Louisiana, thraugh a franchise operator

c. Walgreen Louisiana Co , Inc, (D/B/A “Walgreens”), a corporation organized in the
State of Louisiana and licensed to and doing business in this state, with its principal place of
business in Metairie, Louisiana, regularly selling and advertising its product in the City of
Chalmette, State of Lousiana.

4, Defendants are liable jointly and in solido unto Petitioner for an amount as is reasonable
under the circumsiances, for all costs and expert fees of these proceedings, for judicial
interest from the date of demand, and for all and equitable relief for the following

5. Phenylpropanolamine (hereinafter “PPA "Vephedrine was an ingredient used in many over-
the-counter and prescription cold medications, it was also used in many over-the-counter
weight loss product.

6 Life threatening adverse effects related to PPA/ephedmne leading to hospitalization and/or
death have been well documented and known to pharmaceutical companies for decades
These life threatening events have been documented through the Food and Dmg
Administration (hereinafter referred to as FDA) warrung/sentinel events systems, showing a
Jarge number of such events related to PPA/ephednne. Several life threatening
PPA/ephednne inyunes have been reported in Clin-Alert and other medical reports A recent
study published by Yale University which concluded that PPA causes hemorrhagic strokes
and also found an ingredient “Norephednine”, an active ingredient in PPA, is also found in
ephedrine dietary supplements In addition, PPA/ephednne is known to cause other serious
adverse effects including heart damage and myocardtal infarction

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Defendant manufacturers have seocete oa facts, including the senous risks
associated with ingesting PPA/ephedrine, from Petitioner in product packaging, labeling,
advertising, promotional campaigns and materials, among other ways, regarding the safety
and use of products containing PPA/ephedrine

The causal relationship of Petitioner's injury to the products containing PPA/ephedrine were
inherently undiscoverabie by the Petitioner unul she was warned of the dangers by the
defendants and/or others. Petitioner did nat discover, nor through the exercise of reasonable
care and diligence could she have discovered that her injury and illness was in anyway
related to products containing PPA/ephedrine until at the earliest when Petitioner was made
aware that many PPA containing drugs were withdrawn from the market, and further, that
ephedrine contains many of the same ingredients and has been linked to many injuries and
deaths relating to its ingestion, just as with PPA-containing products

Petitioner purchased and/or ingested PPA/ephedrine containing product within all times
relevant times, including, but not limited to, Shapefast®, Alka Seltzer Plus®, and Tavist-
D®, Petitioner purchased Shapefast® at Smoothie King a nutntional/retail store focated in
the City of Chalmette, State of Lowsiana. Petitioner purchased Alka Seltzer Plus® and
Tavist-D@® at Walgreens, a pharmaceutical/retaal store located in the City of Chalmette, State
of Louisiana.

Petitioner herein has suffered and still suffers serious and grievous injuries as a result of
ingesting PPA/ephedrine containing products. On or about January 12, 1991, suffered from a
stroke in Chalmette, Louisiana and was taken to Pendleton Methodist Memonal Hospital in
New Orleans, Louisiana Petitioner suffered from, including, but not limited to, paralysis to
the nght side of her body.

Petitioner avers that the sole and proximate cause of Petitioner's injury was her consumption
of the above-referenced PPA/ephednne-containing products, including, but not limited to,
Shapefast®, Alka Seltzer Plus®, and Tavist-Dq@, and that she did not become aware of the
causal link between the consumption of PP A/ephedrine-containing products and these health
risks and injuries unt recently,

Asa direct and consequential result of the foregoing, Petitioner has sustained physical and
mental pain and suffering, loss of income, loss of consortium, loss of enjoyment of Infe, and

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@ other damages to be shown attnal All of Done damages are past, present and future

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Petitioner, Jerome Donnelly, husband of Daphine Donnelly, has suffered, sustained, and

meurred injunes as a result of his spouse's debilitating and impaired condition. Petitioner

has suffered loss of consortium in the past and will sustam, in reasonable medical

probablty, a loss of consortium claim in the future

The incident and any resultant damages occurred through no fault or negligence on the part

of the Petitioner

The incident and any and all resultant injuries and damages to Petitioner occurred through the

fault of the pharmaceutical manufacturer defendants, as manufacturers of the product which

contained PPA/ephednne, in the following non-exclusive particulars

1 Pharmaceutical manufacturer defendants are liable under the Louisiana Products

Liatility Act, Lovisiana Revised Statutes Annotated 9-2800.51 ef seg

a)

b)

c.)

ad)

e)

Pharmaceutical manufacturer defendants manufactured products which were
unreasonably dangerous in design at the time the product left the
manufacturers’ control and such defects in design were the proximate cause
of damages suffered by Petitioner The products were ingested and taken as
intended.

Pharmaceutical manufacturer defendants failed to employ alternative designs
which would have reduced, if not prevented Petitioner's damages, and their
failure to employ alternative designs wes a proximate cause of the damages
suffered by Petitioner

Pharmaceutical manufacturer defendants failed to adopt altemative designs
for their products and they knew of the likelihood that its products’ design
would cause Petitioner's injuries; and defendants knew the gravity of the
potential injunes outweighed the utility of their products

Petitioner spectfically alleges that an alternative design of pharmaceutical
manufacturer defendants’ products would have nullified, or substantially
teduced the injuries Petitioner suffered

Pharmaceutical manufacturer defendants failed to post suitable and adequate
warning(s) or instruction(s) concerning the nsks of their products, including,

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The incident and any and ail resultant injuries and damages to Petitioner occurred through the
fault, negligence, want of care, gross negligence, and/or strict liability of pharmaceutrca!
manufacturer defendants by their failure to exercise reasonable care in the manufacture of its
products when they knew of should have known that Petitioner was a foresecable and

intended user of their products, and the nsk ofhann suffered by Petitioner was encompassed

Document 36 Filed ig Page 301 of 472

but not limited to, sdequate AMP potental users of the medication's

known adverse side-effects, including heart problems and strokes, and any

and all other side-effects suffered by Petitioner

f) Pharmaceutical manufacturer defendants failed to alert users, potential users,
and retail dealers who would be expected to sell and/or recommend its
products, of the hazards associated with said products’ usage, and further

actively promoted and advertised thew products in a mariner that suggested

the design of their products was safe

within the duty owed to protect intended users of their products.

The incident and any and all resultant mjunes and damages to Petitioner occurred through the
fault of defendants, as sellers and/or retailers of the product which contained PPA/ephednne,

rendering retatler/seller defendants hhable for any and all damages suffered by Petitioner,

including attomey fees, in the following non-exclusive particulars:

1)

2)

Retajler/seller defendants are liable for breach of the warranty against redhibitory

defects, or vices, in the subject over-the-counter medications, existing at the time of

the sale ta Petitioner, pursuant to La. Civ Code Article 2520 ef seq.

a) —Retailer/seller defendants faled to give Petitioner notice of the dangerous
side-effects of the subject over-the-counter medications they sold to
Petitioner which contained PPA/ephedrine; and retailer/seller defendants had

actual knowledge of the existence of said redhubitory defects at the time of

the sale

Retailer/seller defendants are able under La. Crv Coda Article 2524 for failure to

sell a product fit for its ordinary usage,

a.) — Retailer/seller defendants knew Petitioner's intended usage of the subject

over-the-counter medications and knew of Petitoner’s rehance on the skill and

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Case e028 WONG” Document 36 Filed oS Page 302 of 472

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17,

judgmeat of retailer/seller ion the sale of ther over-the-counter
medications Retailer/seller defendants failed to exercise the a propnate skill of
judgment in the sale of their products to Petitioner
3) —- Retailer/seller defendants are able under La Civ Code Artcle 252 for delivering
products not of the kind or quality spectfied by the seller.
2.) —_- Retatler/setler defendants sold over-the-counter medi ations to Petitioner
which were misrepresented by retatler/seller defendants as t eng safe for human
consumy ton. Retailer/seller defendant failed to adequately it form Petitioner of the
dangers :nherent in the over-the-counter medications they so d to Petitioner
The incident and any and all resultant injuries and damages to Petits er occurred through the
fault, negligence, want of care, gross negligence, and/or sist liability retailer/seller
defendants by their failure ta exercise reasonable care in the sale a Vor retail ofits products
when it knew, or should have known, that Pctitioner was s buyer aiid a foreseeable intended
user of their products, and the nsk of harm suffered by Petitioner was encompassed within
the duty owed by retuler/seller defendants te protect intended buy ers and users of the subject
products.
Pharmaceutical manufacturer defendants and reailet/seller defied dants are Hable in sodido for
intentional and willful conspiracy pursuant to La. Civ. Code’ Article 2324. Defendants,
among themselves, conspired with one another to conceal | naterial facts including the
hazardous nature of the subject product they manufactured any. sold to the public in general
and Petitioner. Defendants knew that the injuries suffered b: Petitioner were substantially

|

certain to occur through the consumption and ingestion of tk < over-the-counter medication

they manufactured and sold.

Venue for this action arises under Louisiana Code of Civ, Pro. Articles 42 ef seq., as the

wrongful conduct of defendants complained of herein oect ted in the Pansh of St. Berard,

Petitioner purchased and suffered her injuries in St Bena rd Parish, State of Lourssana
WHEREFORE, Petitioner prays that after a - proceedings be had there be a

judgment rendered herein in favor of Petitioner and ag-i_ st defendants jointly, severally, and

wi Sofido, for such damages as are reasonable in the pr muses, together with the maximum

!
legal interest from the date of judicial demand, until pi d, for all costs of these proceedings,

Case e0e-nneg” Document 36 Filed ig Page 303 of 472

®@ and for all other general and equitable rehef 2. Petitioner may be awarded Petitioner

respectfully requests a TRIAL BY JURY

Respectfully submitted,

J Chandler Loupe
‘OR & LOUPR, LLC
s BAR NO 19955
2223 Quai! Run Dave, Ste G
Baton Rouge, LA 70808
(225) 767-2222 (Telephone)
(225) 767-9003 Facsimile}

KIRK LAW FIRM

Dana Kirk

MS STATE BAR NO, 100183
TX STATE BAR NO 11057500
4265 San Felipe Street, Ste. 1400
Houston, TX 77027

(713) 651-0050

CLARK, DEPEW & TRACEY,LTD., L.L.P.
Clayton Clark

TX STATE BAR NO. 04275750

440 Louisiana Street, Ste, 1600

Houston, TX 77002

(713) 757-1400

J. ROBERT DAVIS LAW FIRM
J. Robert Davis

TX STATE BA NO. OO788859
440 Louisiana Street, Ste. 1600
Houston, TX 77002

(713) 425-5255

PLEASE SERVE:

BAYER CORPORATION

By and Through its Registered Agent for Service of Process:
CT Corporation Systern

8550 United Plaza Blvd.

Baton Rouge, LA 70809

NOVARTIS PHARMACEUTICAL CORPORATION

By end Through its Registered Agent for Service of Process:
320 Somerulos Street

Baton Rouge, LA 70802

NOVARTIS CONSUMER HEALTH, INC A TRUE COPY
By and Through tts Registered Agent for Service of Process. LonaR Tares
Corporation Service Company CLERK OF COURT
2711 Centerville Road, Ste. 400 PARISH OF ST BERNARD

Wilmington, DE 19808 STATE OF LOUISIANA

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DEPUTY

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Case, 2:02 0v-025 gr Document 36 Filed oes Page 304 of 472

@ 4LIFE RESEARCH, LC 8

By and Through its Registered Agent for Service of Process
David Lisondee

98505 300 W.

Sandy, UT 840703262

SMOOTHIE KING CO , INC

By and Through its Registered Agent for Service of Process
Stephen Kuhnau, Sr

2400 Veterans Blvd , Ste 110

Kenner, LA 70062

SMOOTHIE KING SYSTEMS, INC

By and Through its Registered Agent for Service of Process:
Stephen Kuhnau, Sr.

2400 Veterans Blvd , Ste. 110

Kenner, LA 70062

WALGREEN LOUISIANA CO., INC.

By and Through sts Registered Agent for Service of Process:
The Prentice-Hall Corporation System, Inc.

70) South Peters Street, Second Floor

New Orleans, LA 70130
Case a0 2-02 ge Document 36 Filed o"@ Page 305 of 472
Case-2-02-cv- 025g Document 36 Filed 04/1 —Page 306 of 472

FILED
US GISTRICT COURT
EASTESH DISTRICT OF LA

2802 AUG -7 AMIN: 52

LORETTA G, WHYTE
CLER

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband

NO U2 - 2 4 3 6
VERSUS

SECTION

BAYER CORPORATION; NOVARTIS
PHARMACELTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC, SMOCTHIE KING SYSTEMS,
INC, and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS")

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NOTICE OF REMOVAT,

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA:

NOW INTO COURT, through undersigned counsel, come Bayer Corporation,
Novartis Pharmaceuticals Corporaton and Novarhs Consumer Health, Inc, who
respectfully aver

1. Bayer Corporation, Novartis Pharmaceuticals Corporation and Novartis
Consumer Health, Inc are named defendants in a civil suit filed in the Thirty-Fourth

Judiaal District Court for the Pansh of St. Bernard, State of Louisiana, entitled “Daphine B.

Bayer_Donnelly Notice of Removal DOC EXHIBIT

Case ~~ Document 36 ~~Filed 01/4 Page 307 of 472 -

Donnelly, and Jerome Donnelly, Husband vs Bayer Corporation, Novartis Pharmaceuticals
Corporation; Novartis Consumer Health, Inc, 4Life Research, LC, Successor by merger to
Shaperite, Smoothe King Co., Inc, Smoothe King Systems, Inc; and Walgreen Loutsiana Co,
Inc (d/b/a “Walgreens”} and bearing No. 96-487-C on the docket of that court. Plaintiffs
filed their original Petition on July 2, 2002 Copies of the State Court proceedings are
attached to this Notice of Removal and constitute all process, pleadings and orders served
on the petitioners to date in this suit.

2 This suit 1s an action in which the Court has original jurisdiction under 28
USC. §1332, as there is complete diversity of citizenship between plaintffs and the
defendants and the matter in controversy exceeds $75,000 00, exclusive of interest and
costs Thus, this action may be removed to this Court pursuant to the provisions of 28
USC §1441.

3 The forum state 1s Louisiana The plaintiffs were, at the time they filed this
action, and stil are citizens of the State of Louisiana

4 Bayer Corporation was, at the time the action was filed, and still 1s a
corporation incorporated in the State of Indiana, with its principal place of business in the
State of Pennsylvania. Bayer Corporation was not, at the time this action was filed and
still 1s not a citizen of the State of Louisiana

5. Novartis Pharmaceuticals Corporation was, at the time the action was filed,
and stil 1s a corporation incorporated in the State of Delaware, with its principal place of
business in the State of New Jersey Novartis Pharmaceuticals Corporation was not, at the

time this action was filed and stil is not a citizen of the State of Louisiana.

Bayer_Donnelly Notice of Removal DOC 2
_*¢ Document 36 Filed “§ Page 308-of 472

6 Novartis Consumer Health, Inc was, at the time the action was filed, and

stil 1s a corporation incorporated in the State of Delaware, with its principal place of
business in the State of New Jersey Novartis Consumer Health, Inc was not, at the time
this action was filed and still is not a citizen of the State of Louisiana

7 Plaintiff has named 4Life Research, LC as a defendant On information
and belief, 4Life Research, LC 1s a lnmited hability company orgamzed in the State of
Utah, with its principal place of business in Utah. The members of 4Life Research, LC
are David Lisonbee and Bianca Lisonbee, both of whom are citizens of the state of Utah
David Lisonbee and Bianca Lisonbee were not at the time this action was filed and stiil
are not citizens of the state of Louisiana

8. Complete diversity of ciuzenship exists in this case because the non-diverse
defendants, 1e., Smoothe King Co, Inc, Smoothie King Systems, Inc and Walgreen
Louisiana Co, Inc have been fraudulently joined. See, eg, Borden v General Dynamics
Corp, 60 F3d 213, 217 (5 Cir 1995) When the citizenship of the fraudulently jomned
party is disregarded, there 1s complete diversity of citizenship between the plaintiff and
the remaining defendants.

9 Plaintiffs fraudulently joined Walgreen Louisiana Co, Inc. They assert
claims based on strict liability, negligence, redhubition, fraud, negligent and reckless
mmusrepresentation, and conspiracy to defraud against this defendant. (See Original
Petition, ¥{[ 17-18) However, they cannot prevail on thei claims against Walgreen
Louisiana Co, Inc. under Louisiana law. See, ¢.g.,, Perksin v Bayer Corp., et al, No.

C01-2033R (W.D. Wash Feb 26, 2002).

Bayer_Donnelly Notice of Removal DOC 3
Case ~ @ Document 36 Filed “§ Page 309 of 472

10 ~—- Plaintuffs fraudulently jorned Smoothie King Co, Inc. and Smoothie King
Systems, Inc Cf Perksin v Bayer Corp, et al, No C01-2033R (WD Wash Feb 26, 2002)
Additionally, plaintiff Daphine Donnelly alleges that she suffered a stroke on or about
January 12, 1991 allegedly as a result of imgestion of products containing
phenylpropanolamine (PPA) and/or ephedrine that she allegedly purchased at a
Smoothie King store 1n Chalmette, Louisiana Smoothie King did not operate any store
in Chalmette on or before January 12, 1991 (see Affidavit of Steve Kuhnau attached as
Exhibit A)

11s It is apparent from the face of plaintiff's Petition that the amount in
controversy between the plamhff and defendants exceeds $75,000 00, exclusive of interest
and costs See, eg, Gebbia v Wal-Mart Stores, Inc , 233 F3d 880 6" Cir 2000) Plaintiff
Daphne B Donnelly alleges that she suffered a stroke resulting in paralysis to the might
side of her body (See Petition at § 10) Cf Philippe v. Lloyd’s Aero Bolrvtane, 97-0258 (La
App 1 Cir 2/20/98), 710 So 2d 807 (trial court awarded total damages of $1,168,320 09
for stroke injuries to plamtiff and for loss of consortium to his wife, the Appeals Court
later reversed finding no liability), Suuth v. Cameron Crews, Inc ,348 So 2d 179 (La App 3d
Cr 1977) (affirming award of $150,060 00 to plaintiff who suffered stroke as a result of
defendant's negligence)

12. ~=This Court has supplemental junsdicton under 28 USC § 1367 over
Jerome Donnelly’s loss of consortium claim See Booty v Shoney’s, Inc, 872 FSupp 1524

(E.D La 1995)

570697_1 DOC 4
Case ~ + Document 36 Filed “€@ Page 310 of 472

13. 4Life Research consents to this Notice of Removal See letter attached as

Exhibit B

14 Petitioners file this Notice of Removal within 30 days of July 9, 2002, the

earliest date of service on any defendant Petitioners file this Notice of Removal without

| waiving any objections, exceptions or defenses to plaintiffs’ Pehtion

15 _—- Petitioners file and present herewith the sum of $150 00 as required by Title

28, United States Code, § 1446.

Bayer_Donnelly Notice of Removal DOC

Ue

Mary t Meyer (La. Bar No. 19966)
John F, Olinde (La. Bar No 1515)

Charles P Blanchard (La Bar No 18798)
CHAFFE, McCALL, PHILLIPS,

TOLER & SARPY, L.L.P.
2300 Energy Centre, 1100 Poydras Street
New Orleans, LA 70163-2300
Telephone No (504) 585-7000

Attorneys for Bayer Corporation

ve 2 Nowlh
Joy G. Braun (#3416)
Eric R. Nowak (#27025)
Shirin E. Harrell (#27495)
SESSIONS, FISHMAN & NATHAN, L.L.P.
201 St. Charles Avenue, Surte 3500
New Orleans, LA 70170
Telephone (504) 582-1500
Attorneys for Novartis Pharmaceuticals
Corporation and Novartis Consumer Health,
Inc.

Case  @ Document 36 Filed “ge” 311 of 472

—_—_—

I do hereby certify that I have on this / day of Gu Si 2002, served a

copy of the foregomg pleadmg on counsel for all parties to this proceeding, by mailing the

same by United States maul, properly addressed, and eee

Bayer_Donnelly Notice of Removal DOC 6
Case a0 2-cv-Oeocgmee Document 36 __ Filed oe Page 312 of 472

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@ THIRTY FOURTH JUDIC ¢ . DISTRICT COURT
PARISH OF ST. ‘ERNARD
STATE OF LC JISIANA
CITAT ON
NO 96-487

DAPHINE B, DONNELLY, AND . EROME DONNELLY, HUSBAND
V3.3SUS

BAYER CORPORATION; N.C:VARTIS PHARMACEUTICALS
CORPORATION, NOVARTIS CONSUMER HEALTH, INC.,;
4LIFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE;
SMOOTHIE KING CO.; S4O0OTHIE KING SYSTEMS, INC.;
WALGREEN LOUISIANA (0 , INC. (D/B/A 'WALGREENS*)
TO: BAYER CORPORATION

BY AND THRU ITS REGISTEPF D AGENT FOR SERVICE OF PROCESS

CT CORPORATION SYSTEM

8550 UNITED PLAZA BLVD.

BATON ROUGE, LOUISIANA |

YOU HAVE BEEN SUED. Attacved to this Citation is a certified copy of Petition for
Damages. The Petition tells you what you are being sued for.

You must either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15)
DAYS after you have received these doc.iments, you must file an answer or other iegal pleadings
an the office of the Clerk of Court at the $t. Bernard Parish Courthouse, 1100 W St Bemard
Hwy, Chalmette, LA 70043.

Tf you do not do what the Petition asks, or if you do not file an answer or legal pleading
within FIFTEEN (15) DAYS, a judgea-ot may be entered against you without firther notice.

This Citation was issued by tw Clerk of Court for St. Bernard Parish, Louisiana on the

and day of July, 2002.
sa 6 PY’
LENA R. TORRES
CLERK OF COURT
BY _flicathatl paid ap
Deputy fS SUSAN A. RANDAZZO
DOMICILIARY
Received Parish of St, Bernard on the day of _, 2002 and on the day of
» 2002, | served 2 copy of the withia by leaving
the same at domicile this Pansh in the hands of

a person apparently over the ege of 14 years living and residing m seid domicile,
whose name and other facts, connected with this service I learned by interrogating the same

the said being absent from domicile

at the time of saad service.

Returned Parish of St. Bernard , 2002

Shenf
PERSONAL
Received Pansh of St. Bernard on the day of , 2002 and on the dey of
, 2002, f served a copy of the within oa

oa a this
Parish his usual place of domicile, 19 the Parish of St. Bernard, by handimg and delivering the sate to in

Returned Parish of Si Bernard > 2002

Sheriff
Case 2:02-cv-825

JR Document36_ Filed “¢& Page 313 of 472

34™ JUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD

STATE OF LOUISIANA
No 96 487
DAPHINE B. DONNELLY, aad |
JEROME DONNELLY, Husband DIVISIO.

Plaintiff
¥5.

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS SECTION.
CORPORATION; NOVARTIS CONSUMER HEALTH, INC.;

4LIFE RESEARCH, LC, Successor by merger to SHAPERITE;

SMOOTHIE KING CO., INC; F | L E D
SMOOTHIE KING SYSTEMS, INC.; and

WALGREEN LOUSIANA CO., INC. (D/B/A “WALGREENS”) JUL 02 2002

Defendants (OORT
Ae
PETITION FOR DAMAGES LERK

NOW INTO COURT comes Petitioner, DAPHINE BE. DONNELLY, a person of the full age of

majority, and respectfully represents the following:

Petitioner, Daphine B. Donnetly, is a person of full age and majority and 1s « resident and
domiciliary of St. Bernard Pansh, State of Louisiana.

Made pharmaceutical manufacturer defendants Here: are:

A. _ Bayer Corporation is an Indiana Corporation with its principal place of business in
Pennsylvania, regularly selling and advertising its product in the City of Chalmette, State of
Louisiana,

B Novartis Pharmaceuticals Corporation is a Delaware corporation with its principal
place of business in New Jersey, regularly selling and advertising it product in the City of
Chalmette, State of Louisiana.

Cc Novartis Consumer Health, Inc. a Delaware corporation with its principaf place of
business in New Jersey, reguiarly selling and advertising its product in the City of Chalmette,
State of Louisiana.

D. 4Life Research, LC, successor in merger to Shaperite, a limited liability company

established in Utah, 4Life Research, on information and belief, manufactured and distributed

Case 2:02-cv-025

4.

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Shapefast®, thus bringing this action against 4Life Research, LC as a manufacturing
defendant and as a seller/retatler defendant, regularly selling and advertising in the City of
Chalmette, State of Louistana

Made retailer/seller defendants herem are

A Smoothie King Co , Inc , a Louistana corporation with its principal place of
business in Kenner, Louisiana, on information and belief, regularly selling and advertising
its product in the St. Bernard Parish, State of Louisiana, through a franchise operator.

B. Smoothie King Systems, Inc , s Louisiana corporation with its principal place of
business in Kenner, Louisiana, on information and belief, regularly selling and advertising
its product in the St. Bernard Parish, State of Lousiana, through 2 franchise operator.

Cc. Walgreen Louisiana Co , Inc. (D/B/A “Walgreens”), a corporation organized in the
State of Louisiana and lrcensed to and doing business in this state, with its principal place of
business in Metairie, Louisiena, regularly selling and advertising its product in the City of
Chalmette, State of Louisiana.

Defendants are liable jointly and in solido unto Petitoner for an amount as is reasonable
under the circumstances, for ell costs and expert fees of these proceedings, for judicial
interest from the date of demand, and for aif and equitable relief for the following:
Phenylpropanolamine (hereinafter “PPA” ephedrine was an ingredient used in many over-
the-counter and prescription cold medications, it was also used in many over-the-counter
weight loss product,

Life threatening adverse effects related to PPA/ephedrine leading to hospitalization and/or
death have been well documented and known to pharmaceutical companies for decades
These life threatening events have been documented through the Food and Drug
Administration (hereinafter referred to as FDA) waming/sentinel events systems, showing a
large number of such events related to PPA/ephedrne. Several life threatening
PPA/ephednine inyunes have been reported in Clin-Alert and other medical reports, A recent
study published by Yale University which concluded that PPA causes hemorhagic strokes
and also found an ingredient “Norephedrine”, an active ingredient in PPA, is also found in
ephedrine dietary supplements In addition, PPA/ephedrine is known to cause other serious
adverse effects including heart damage and myocardial infarction.

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Case 2:02-cv-0252@3R Document 36 Filed 01/10; Page 315 of 472

30,

12,

Defendant manufacturers have cocci Ma facts, including the senous risks
associated with ingesting PPA/ephedrine, from Petitioner in product packaging, labeling,
advertising, promotional campaigns and materials, among other ways, regarding the safety
and use of products containing PPA/ephedrine

The causal relationship of Petitioner's inyury to the products containng PFA/ephednine were
inherently undiscoverable by the Petitioner unui! she was warmed of the dangers by the
defendants and/or others, Petitioner did not discover, nor through the exercise of reasonable
care end diligence could she have discovered that her injury and illness was in anyway
related to products containing PPA/ephedrine until at the earliest when Petitioner was made
aware that many PPA containing drugs were withdrawn from the market, and further, that
ephedrine contains many of the same ingredients and has been linked to many injuries and
deaths relating to its ingestion, just as with PPA-containing products..

Petitioner purchased and/or ingested PPA/ephedrine containing product within all times
relevant times, including, but not limted to, Shapefast®, Alka Seltzer Plus®, and Tavist-
D®. Petitioner purchased Shapefast® at Smoothie King a nutntional/retail store located in
the City of Chalmette, State of Louisiana. Petitioner purchased Alka Seltzer Plus® and
Tavist-D@ at Walgreens, a pharmaceutical/retacl store located in the City of Chalmette, State
of Louisiana.

Petitioner herein has suffered and stil! suffers serious and grievous injuries as a result of
ingesting PPA/ephedrine containing products. On or about January 12, 1991, suffered from a
stroke in Chalmette, Louisiana and was taken to Pendleton Methodist Memorial Hospital in
New Orleans, Louisiana. Petitioner suffered from, including, but not limited to, paralysis to
the right side of her body.

Petitioner avers that the sole and proximate cause of Petitioner's injury was her consumption
of the above-referenced PPA/ephedrine-containing products, including, but not Jimited to,
Shapefast®, Alka Seltzer Plus®, and Tavist-D@, and that she did not become aware of the
causal link between the consumption of PP A/ephedrine-containing products and these health
risks and injuries until recently,

As a direct and consequential result of the foregomg, Petitioner has sustained physica! and
mental pain and suffering, loss of income, loss of consortium, loss of enjoyment of life, and

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Case 202-cv-0252

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other damages to be shown at trial Allof Boing damages are past, present and future

Petitioner, Jerome Donnelly, husband of Daphine Donnelly, has suffered, sustasned, and

incurred injuries as a result of hts spouse's debilitating and impaired condition Petitioner

has suffered loss of consortium in the past and will sustain, im reasonable medical

probabihty, a loss of consortium claim in the future

The incident and any resultant damages occurred through no fault or negligence on the part

of the Pehtioner

The incident and any and all resultant injuries and damages to Petitioner occurred through the

fauit of the pharmaceutical manufacturer defendants, as manufacturers of the product which

contained PPA/ephedrine, in the following non-exclusive particulars:

1) Pharmaceutical manufacturer defendants are liable under the Louisiana Products

Liability Act, Louisiana Revised Statutes Annotated 9:2800 $1 ef seq

#.)

b)

c.)

d)

e)

Pharmaceutical manufacturer defendants manufactured products which were
unreasonably dangerous in design at the time the product left the
manufacturers’ control and such defects in design were the proximate cause
of damages suffered by Petittoner The products were ingested and taken as
intended

Pharmaceutical manufacturer defendants failed to employ alternative designs
which would have reduced, if not prevented Petitioner's damages, and their
failure to employ altemative designs was a proximate cause of the damages
suffered by Petitioner

Pharmaceutical manufacturer defendants failed ta adopt alternative designs
for their products and they knew of the likelihood that its products’ design
would cause Petitioner's injures; and defendants knew the gravity of the
potential injuries outweighed the utility of their products.

Petitioner specifically alleges that an alternative design of pharmaceutical
manufacturer defendants’ products would have nullified, or substantially
teduced the injunes Petitioner suffered,

Pharmaceutical manufacturer defendants failed to post suitable and adequate
warning(s) or instruction(s) concerning the nsks of their products, including,

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Case 2:02-cv-025

17.

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f)

but not lumited to, adequate’ ng potential users of the medication's
known adverse side-effects, including heart problems and strokes, and any
and all other side-effects suffered by Petitioner

Pharmaceutical manufacturer defendants failed ta alert users, potential users,
and retail dealers who would be expected to sel! and/or recommend ts
products, of the hazards associated with said products’ usage, and further
actively promoted and advertised their products in a manner that suggested

the design of their products was safe

The ancident and any and all resultant injuries and damages to Petutioner occurred through the

fault, negligence, want of care, gross negligence, and/or strict lability of pharmaceutical

manufacturer defendants by their failure to exercise reasonable care in the manufacture of its

Products when they knew of should have known that Petitioner was a foreseeable and

intended user of their products, and the risk ofhann suffered by Petitioner was encompassed

within the duty owed to protect intended users of their products.

The incident and any and all resultant injuries and damages to Petitioner occurred through the

fault of defendants, as sellers and/or retailers of the product which contained PPA/ephedrine,

rendering retailec/seller defendants liable for any and all damages suffered by Petitioner,

including attorney fees, in the following non-exclusive particulars:

L)

2)

Retazler/selier defendants are liable for breach of the warranty against redhibitory

defects, or vices, in the subject over-the-counter medications, existing at the hme of

the sale to Petitioner, pursuant to La. Civ, Code Article 2520 ef seg.

a)

Retailer/seller defendants feiled to give Petitioner notice of the dangerous
side-effects of the subyect over-the-counter medications they sold to
Petitioner wtuch contained PPA/ephedrine; and retailer/selier defendants had
actual knowledge of the existence of sa:d redhubitory defects at the ume of

the sale

Retailer/sctler defendants are liable under La. Crv, Coda Article 2524 for failure to

sell a product fit for its ordinary usage

a.)

Retailer/seller defendants knew Petitioner's intended usage of the subject

over-the-counter medications and knew of Petttoner's reliance on the skill and

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Case 2:02-cv-025

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16.

17,

JR Document 36 Filed 01/10 Page 318 of 472

judgment of retaler/seller defend in the sale of their over-the-counter
medications Retaler/seller defendants farted to exercise the a propriate skill of
judgment in the sale of their products to Petitioner
3.) — Retaler/seller defendants are liable under La. Civ Code Article 2529 for delivering
products not of the kind or quality specified by the seller
a) —_ Retanler/seiler defendants sold over-the-counter medi ations to Petitioner
which were misrepresented by retailer/seller defendants as ¢aing safe for human
consumy ton. Retailer/seller defendant failed to adequately uw form Petitioner of the
dangers inherent in the over-the-counter medications they so d to Petitioner
The incident and any and all resultant injuries and damages to Petinot er occurred through the
fault, negligence, want of care, grost negligence, and/or sich hebility retailer/sciler
defendants by their failure to exercise reasonable care in the sale art Vor retail of its products
when it knew, or should have known, that Petiuoner was a buyer aiid a foreseeable intended
user of their products, and the nsk of harm suffered by Petitioner was encompassed within
the duty owed by retailer/seller defendants to protect intended buy crs and users of the subject
products
Pharmaceutica! manufacturer defendants and retale/seller defi ants ae iable in solide for
intentonal and willful conspiracy pursuant to La. Civ. Code Article 2324, Defendants,
among themselves, conspired with one another to conceal | naterial facts including the
hazardous nature of the sutyect product they manufactured an/ sold to the public in general
and Petitioner, Defendants knew that the injuries suffered b: Petitioner were substantially
certain to occur through the consumption and ingestion of uf + over-the-counter medication
they manufactured and soid.
Venue for this action arises under Louisiana Code of Civ, Pro, Articles 42 ef seq., as the
wrongful conduct of defendants complained of herein oct ted in the Parish of St. Bernard,
Pettioner purchased and suffered her injuries in St Ben ed Parish, State of Loursianz
WHEREFORE, Petitioner prays that after ee . proceedings be had there be a
Judgment rendered herein im favor of Petitioner and age, st defendants jountly, severally, and

in solido, for such damages as are reasonable in the or mises, together with the maximum

legal interest from the date of judicial demand, until pi .d, for all costs of these proceedings,
Case 2:02-cv-8

and for all other general and equitable relief

respectfully requests a TRIAL BY JURY,

Respectfully submitted,

J. CHlandler Loupe

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JR Document 36 Filed _?¢< Page 319 of 472
ich

Petitioner may be awarded Petitioner

OR & LOUPR, LLC
BAR NO 19955

2223 Quail Run Drive, Ste, G

Baton Rouge, LA 70808

(225} 767-2222 (Telephone}
(225) 767-9003 Facsimile}

KIRK LAW FIRM
Dana Kirk

MS STATE BAR NO, 100188
TX STATE BAR NO 11057500
4265 San Felipe Street, Ste. 1400

Houston, TX 77027
(713) 651-0050

CLARK, DEPEW & TRACEY,LTD., L.L.P,

Clayton Clark

TX STATE BAR NO. 04275750
440 Louisiana Steet, Ste. 1600

Houston, TX 77002
(713) 757-1400

J. ROBERT DAVIS LAW FIRM

J. Robert Davis

TX STATE BA NO 00788859
440 Lowsiana Steet, Ste 1600

Houston, TX 77002
(713) 425-5255

PLEASE SERVE:

BAYER CORPORATION

By and Through its Registered Agent for Service of Process:
CT Corporation System

8550 United Plaza Bivd.

Baton Rouge, LA 70809

NOVARTIS PHARMACEUTICAL CORPORATION

By and Through its Registered Agent for Service of Process:
320 Somenulos Street

Baton Rouge, LA 70802

NOVARTIS CONSUMER HEALTH, INC.

By and Through its Registered Agent for Service of Process
Corporation Service Company

2711 Centerville Road, Ste. 400

Wilmington, DE 19808

ATRUE COPY
Lena R. Torres
CLERK OF COURT

PARISH OF ST BERNARD
STATE OF LOUISIANA

Quand padligey)
DEPUTY

ISI SUSAN A, RANDAZZO

Case 2:02-cv-025

JR Document 36 Filed 01/10 Page 320 of 472

4LIFE RESEARCH, LC

By and Through tts Registered Agent for Service of Process
David Lisonbee

9850S 300 W.

Sandy, UT 840703262

SMOOTHIE KING CO, INC.

By and Through its Registered Agent for Service of Process
Stephen Kuhnau, Sr

2400 Veterans Blvd., Ste 110

Kenner, LA 70062

SMOOTHIE KING SYSTEMS, INC.

By end Through its Registered Agent for Service of Process.
Stephen Kuhnau, Sr,

2400 Veterans Bivd., Ste. 110

Kenner, LA 70062

WALGREEN LOUISIANA CO, INC

By and Through its Registered Agent for Service of Process:
The Prentice-Hal] Corporation System, Inc.

70) South Peters Street, Second Floor

New Orleans, LA 70130

Case soe re A Document 36 Filed oe Page 321 of 472

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CLAITOR & LOUPE, L.L.C.

83

ATTORNEYS AND COUNSELORS AT LAW
2223 Quail Run Drive, Sure G, Baron Rouge, Lousiana 70808

Tel: (225) 767-2222 # Fax: (225) 767-003

July 24, 2002

CERTIFIED MAIL
RETURN IPT U

NO.: 7002 0460 0001 9147 0243

Novartis Consumer Health, Inc.

By and Through its Registered Agent for Service of Process:
Corporation Service Company

2711 Centerville Road, Suite 400

Wilmington, DE 19808

RE: Daphine B. Donnelly, and Jerome Donnelly, Husband vs. Bayer Corporation, et al
34% JDC, St. Bernard Parish, Docket No.96,487, Division °C”

Su/Madam.

We represent Daphine B. Donnelly, and Jerome Donnelly, husband, m claims arising out of
incidents, wherein our clients ingested a product containing PPA.

We have filed the above numbered and captioned suit on behalfofDaphine B. Donnelly, and
Jerome Donnelly, husband, for damages resulting from this incident. Since you are a non-resident
of Louis:ana, we are obtaming service of process on you pursuant to LSA RS 13:3201 et seq. In
order to comply with the requirements of law, we give you herewith notice of such service, together
with a certified copy of the Petition and Citation which is being sent by the plaintiffs, via certified

mail
Please forward this matter to your attorney for immediate handling.
Sincerely,
CLAITOR, LOUPE & BATEMAN, L.L.C.
hoc
J ii Loupe
JCL.seb

Attachments

Case 2:02-cv-0252g@mJR Document 36 Filed 01/1 age 322 of 472
JUL 30 20862 !5 34 FR N 1S CONS HEALTH@S S22 1781 12128366554 P 4

THIRTY FOURTH JUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD
STATE OF LODISIANA

CITATION

NO 96-487

DAPHINE B DONNELLY, AND JEROME DONNELLY, HUSHAND
VERSUS

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC.,;
4LIFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE,
SMOOTHIE KING CO.; SMOOTHIE KING SYSTEMS, INC ;
WALGREEN LOUISIANA CO, INC. (D/B/A "WALGREENS")

TO NOVARTIS CONSUMER HEALTH, INC.
BY AND THRU ITS REGISTERED AGENT FOR SERVICE OF PROCESS
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD, SUITE 400
WILMINGTON, DE 19808

YOU HAVE BEEN SUED. Attached to this Citation 1 « certrfied copy of Petition for ,
Damages. The Petition tells you what you are being sued for. watt -

You must either DO WHAT THE PETITION ASKS, OR. WITHIN THIRTY (30) DAYS , we
after you have received these documents, you must file an answer or other legal pleadmgs in the
office of the Clerk of Court at the St, Berard Parish Courthouse, 1100 W. St. Bernard Hwy,

Chalmerte, LA 70043

Ifyou do not do what the Pettion asks, or you do not fle an answer or legal pleading
withn THIRTY (30) DAYS, a judgment may be entered against you without further notice.

This Citation was issued by the Clerk of Court for St. Berard Parish, Louisiana on the

2od day of Juty, 2002.
sar PL
LENA, R. TORRES
CLERK OF COURT
’
ox_ ua ea dgeep
Deputy ClerkiSt S RANDAZZO
DOMICILIARY
Reowrved Purish of St. Berpard on the day of , 2002 and on the day of
, 1D, Lscrved m copy of the withm by leaving
the sante ar domicile thus Parish in the hance of

& parton apparcatly ove the age of | 4 years living and resading in said dontucale,
whose name aad other Bscrs, connected with this service I dearnedt by interrogating the sane

the sala Delng absent fret domuaile

at the Gmc of saad service.

Returned Pansh of St. Benard , 2002

Sheriff
PERSONAL
Recewved Parish of St. Bernard on the day of 2002 and onthe day of
» 2002, 1 served u copy of the within an

on x this
Parish bis usual place of domicile, in the Pangh of St. Barnard, by handling and delivering the samo to cn

Resumned Parish of St. Benard » T0OZ

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Case 2:02-cv-025 JR  Document36 ~~ Filed 01/1

JUL-23-2p82 13:44 TIS LEGAL

THIRTY FOURIH JUDICIAL DISTRICT COURT

PARISH OF ST BERNARD
STATE OF LOUISIANA

GUATION
NO 96-417

DAPHINE B DONNELLY, AND JEROME DONNELLY, HUSBAND
VERSUS

DAYER CORPORATION, NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC...
S4LIFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE,
SMOOTHIE KING CO.; SMOOTHIE KING SYSTEMS, INC.;
WALGREBN LOUISIANA CO , INC, (DYEVA WALGREENS")

TO NOVARTIS PHARMACELUTICAI CORPORATION
BY AND THRU (FS REGISTERED AGENT FOR SERVICE OF PROCESS
320 SOMERULOS STREET
BATON ROUGE, LOUIS(ANA

YOU HAVE BEEN SUED. Attached to thu Citauon is a certulied copy of Petstana for
Damages. The Petition tells you what you are being sucd for

You must ether 50 WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (13}
DAYS afier you have reccived these documents, you nmust file an answer or other legal pleadings
mi tht office of the Clerk of Court at the St, Bernard Parish Courthouse, 1100 W, St. Berard
Hey, Chalmette, LA 70043,

Ifyou do not do what the Petuon asks, oc you clo not filo an answer or legal pieadlog
withn FLFTBEN (15} DAYS, a judgment may be entered against you without Gurther notice.

This Citabon was ised by the Clerk of Court fbr St. Bernard Paruh, Lousuana an the
ad day of Fuly, 2002,

sae OP
LENA Kk. TORRES
CLERK OF COURT
wal Hd
Deputy &. RANDAZZO
DOMICILLARY

Rooved Perth of St. Sorted on the day of
a ___- 2002, [ served a copy of ie witkia

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ee FR omer ler ape of 14- years Tiving and reading is cmd domicile,
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Page 323 of 472
P.@2/18
—— Case 2:02-cv-025: JR  Document36_ Filed “¢ Page 324 of 472

AFFIDAVIT OF STEVE KUHNAU
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned Notary Public, duly commissioned and qualified in and for
the parish and state set forth above, personally came and appeared
STEVE KUHNAU
who, after being duly sworn, deposed and stated the followmg:
l.

I have personal knowledge of the facts set forth in this Affidavit and, if called as a witness,

could and would competently testify to the following
2.

The Smoothie King store located at 3366 Pans Road, Chalmette, Louisiana is the only store
operated in Chalmette, Louisiana and there has been no other store operating in that geographic
location in the history of the Smoothie King franchising business.

3.

The Franchise Agreement #20 which authorizes this Chalmette, Louisiana location was

executed by franchisees on October 9, 1991
4
This Smoothie King store opened on February 17, 1992 at the location of 3366 Paris Road,

Chalmette, Louisiana

EXHIBIT

1 A

S os TO AND SUBSCRIBED before me, this Z G day of July, 2002, in New Orleans,

Louisiana

Notary Public #

HA\DOCS\SISMOOT O00 I\PPA case\Donovan Affidavit.wpd

Case ey Document 36 __ Filed “¢ Page 326 of 472

RESEARCH

9850 Sourh 300 West * Sandy, UT 84070 = (ROL) 562-3600 © (801) 562-3611 Fax

July 31, 2002

VIA FACSIMILE ONLY
(504) 585-7075

Charles Blanchard

CHAFFE, MCCALL, PHILLIPS, TOLER & SARPY
2300 Energy Centre, 1100 Poydras St

New Orleans, LA 70163

Re —_— Donnelly, et al v Bayer Corporation, et al
34th IDC, St Berard Pansh
Docket No 96,487, Division "C"
Consent to Notice of Removal

Dear Charles

I am corporate counsel for 4Life Research, LC, one of the named defendants in the above
action J am responsible for managing all Imigation for 4Life worldwide.

ALife is incorporated in Utah, and has 1ts principal place of business in Sandy, Utah.

You have indicated that Bayer and other defendants plan to file a Notice of Removal! in
the US District Court for the Eastern District of Lousiana, and that all defendants who have
been properly served in the action must agree to such removal 4hife was served with the
complaint in the above action on July 29, 2002, and hereby consents to the notice of removal,
but reserves all defenses objections and claims

Very truly yours,

on oe ; { ms
CO Pid ._- KS

- A
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f
Jack Brannelly .
Vice President of Legal A ffans
4Life Research, LC

JJB/

ce Steve Tew, CFO, COO
File

EXHIBIT

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4bife Research LC
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Fae
UNTTED STATES DISTRICT COURT
BASTERN DISTRICT OF LOUDISTANA
LBWRENCE MOSLEY ET AL CLyYin ACTION
VERSUS HO. O1-23478
BAYER CORPORATION, ET AL. SECTION "3" (4}
ORDER AND REASONS
Below is Plaintifis' Motion to Femand {Ree Doc No 28}, and
motions prought by various Defendants to dismiss, for wore
Gefinitive statement end for texporary stay (Rec Doc Nos 5, 11,

In Fepruary of 1335,

uawrence Mosley purcnased over Alka-

Seltzer Plus and Dimetapp, both the counter medications, at a Rute

Bide, then K&B, store in New Orleans, Lowisiana Mosley alleged
that after taxing the medication, he suffered a stroke, which
caused severe, permenent, and disapling injuries. Mosley and als
wife filed suit in Civil District Court for the Parisn of Orleans
in 2001 Named as Defendants were Bayer Corporation, the
1
___F
EXHIBIT

Case 2:02-cv-02527-BJR Document36 _ Filed ors Page 329 of 472

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manurtacturer, marketer and adistrapater of Alka-Seltzer Plus, Males
Inc., the distributer of Alka-Seltzer Plus, Americen Home Products

Corporation and Whitehall-Robbins Health Care, manufacturers end
- f

distributers of Dimetapp, and K&B Louisiana Corporation {"KeB/Rite-

Aid"), seller of both Alka-Seltzer Plus and Dimretapp Plaintifis

alleged Defendants knew or should have known tnat both Alka-Seltzer
Plus and Dimezapp contained Phenylpropanoclamine ["PPA"), which
substantially increases the risk of stroke in users Plaiantifis
alleged that Defendants failed to warn Mosley of the narmful

effects of PPA, which, according to Plaintiffs, caused

stroke

Defendants removed this matter to faderal court om November
13, 2091 arguing that Defendant KsR/Rite Aid was fraudulently
Joined Plaintilis timely filed a motion toa remand Defendants

then filed motions to Gismiss for failure

ro state a claim, for
more definite statement, and to stay the proceedings pending a

final ruling of the Judicial Panel on Multidistraict Litigation.

MOTION TO STAY

Defendants urged this Court to stay all proceedings, including

Plaintifis' Metion to Remand, in order to romote ‘Judicial
P

efficiency, consistency, and for the convenience of the parties and

oy

Witness Defendants maintained toat Plaintiffs' pending Motion to
Case 2:02-cv-02527-BJR Document 36 Filed Qos Page 330 of 472

ections common to numerous otaer

. Of inconsistent pretrial

Moreover, @ temporary stay will prevent Defendants from incurrin
the unnecessary expense of engaging in duplicative pretrial
proceedings Relying om Rivers v Walt Disney, 3980 F Supp 1358,
1360 (CD Cal. 1397), Defendants maintained that judicial

efficiency dictates that cnis Court exercises its autoority and stay

the action pending the Panel's decision on transfer,

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he Rules for Multidistrict

Pule 1 5 expressly provides that

the pendency of a conditional transfer order
does not in any way i) suspend orders and
pretrial proceedings in the district court in
which the action that is the subject of the
conditional transfer order is pending, or 13)
lamit the pretrial jurisdiction of that court,
and . those courts wishing to address such
motions have adequate time in whica to do se

in re Asbestos Products Liability Litigation v. International Paper

Co., 17G F Supp 24 1348, 1349 (7.P.M & 2001) Thus, this Court
retains jurisdiction to conduct all pretrial proceedings despite

Defendants's pending motion to transier. McGrew v., Schering-Plough
Case 2:02-cv-02527-BJR Document 36 Filed @: Page 331 of 472

+ @ 8

Corp., No @1-23112, 2001 US Dist. LEXIS 12205 at *7 (D. Kan aug

§, 2001) Moreover, for purposes of Judicial economy, the

jurisdictional issue should be resolved immediately for 22 federal

Jurisdiction does mot exist, tne case can se renanded before

federal resources are furtine> expended. Id Judicial economy, in

this case, dictates a present ruling on the remand issue and

mations to dismiss Id.

MOTION TO REMAND

The "party invoking the removal jurisdiction o

court bears a heavy burden " Sid Ricnardson Co. v. Interenergy

Resources, LTD., 99 F 3d 745, 752 (5™* Cir 1995) To prevail on

the argument that “non-diverse defendants were fraudulently joined

un order to defeat diversity, thea removing party must demonstrate

‘that there was apsolutely no possibility that tne plaintiff will

pa able to establish, a cause of action against the in-state

defendant in state court ‘'" Id.

When "reviewing a claim of fraudulent joindar,

the distract court must evaluate all factual
allegations and ambiguities in the controlling
state law in Eavor of the plaintiff Tf there
1S any possibility that the plaintiff hes

. stated a cause of action against any non-
diverse defendant, the federal court must
conclude ‘that joinder is proper, thereby
defeating complete diversity, and the case
must be remanded
Case 2:02-cv-02527-BJR Document36 Filed oe” Page 332 of 472

Id. (citing Burden v. General Dynamics Corp., $0 F 34d 213, 215 (5
Cir 1995) Moreover, in evaluating fraudulent joinder, the court

does not “determine whether the plaintiff will actually or

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probably prevail on th

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claim, pat look{s] only for

a possibility that tne plaintiff might do so." Id {citing Burden,

Defendants argued tnat there was no reasonable basis under

Louisiana law that Plaintiffs can recover against K&B/Rite Aid

because Plaintiffis' redhibitory defect claims have prescrinsed See

Sid Richardson Co., 99 F 3d at 753 {allowing the consideration of

affirmative defenses when daternining fraudulent joinder) TE
(Diefendants prevail on any
[affirmative] defenses, it necessarily iollows

that joinder was iraudulent, and the district

court properly exercised ts removal
Jurisdiction On the other hand, if thers is
any possibility that [Plaintiff) might

survive the, affirmative defenses, we must
vacate for remand to state court.

id.

Article 2534 of the Lovisiana Civil Code provides that

The action for redhibition against a seller
wno did not know of e existence of a defect
in the tning sold preseribes in four years
from the day delivery of such thing was made
to the buyer or one year from the day the
defect was discovered by the buyer, whichever

eccurs first. : Thea action for
Case eo TO Document 36‘ Filed 01@: Page 333 of 472

‘ @ @

adhibition against a seller who knew,

. tc or is
presumed to have Known, of the existence of a
defect in the taing sold prescribes in one

year from the cay the defect was discovered by
the buyer.

ta, Civ Cope ari 2534 (West 1995 & Supp 2001) According to

Plaintifis' petation for damages, the allegedly defective products

were sold in 1955 Moreover, Plaintiffs alleged tnat Defendants

knew or sghovuld have known of the harmful affects of PPA.

Therefore, according to Plaintiffs, Defendants are bad faitn

sellers. As a result, Plaintiffs rednibitory claims prescribed

discovered the alleged vedhi

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This eould have

oceurred within one year of the filang of this claam Thus, there

ig a possibility that Plaintiffs could recover against Defendant

Kea/Rite Ard and removal was lmaproper

in so ruling, this Court is
without jurisdiction to reach a determination on Defendants’ other

motions Aecordingly,

‘Ti Defendants were good faith sellers, then Plaintitis
claims have prescribed. The year 1999 marked four years since the
product was purchased by Mosley. If this event occurred pefore
Plaintiffs discovered the defect then 1999 would be the year
Plaintifis claims prescribed and thus the subsequent 2001 filing
was untamely Tf Plaintiffs discovered the defect bafore 1999,
then Plaintiffs 2001 filing was again untimely

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Case meg Document 36 Filed ~~ Page 334 of 472

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IT IS FURTHER ORDERED trae Plaintiffs: moti
ACLfeE ‘Ovlon to Remand [Ree

Doc. Neo j
18) is GRaNwTrED and this case is ra
remanded ta +

Dis t t
trict Court for e2@ Parisn of Orie

ans, Section "N", Number 2007-
L7315

u Defendants motior n Sa 1G
4 5S co Gisr &
—_ 4.

for more definite Sstatetent

ele DISMISSED due to lack of °
Jurisdiction to hear Said motions
Ne i i
w Orleans, HOULSlana, this (9 £
day OL 2002

Case 2:02-cv-02527-BJR Document36_ Filed 0/03 Page 335 of 472

UNITED STATES DISTRICT COURT
EASTSSN DISTRICT OF LOUISIANA
OFSICE OF THE CLARK

LORETTA G WHYTE 500 CAMP ST., ROOM C-151
CLERK NEW OPLEANS, LA 701395

January 23, 2902

Clerk

Civil District Court
Parish of Orleans

421 Loyola Avenue

New Orleans, LA 70112

wy
by

Mosley
v
Bayer Corporation
Cavil Action No. 2 Q1-cv-03473

Section B (4)
Your No. 2001-17315-N

this court on January 23, 2002 remandang tne above-entitied c
your COUTL
Very Exuly yours,
LORETTA G. WHYTE, CLERK

. By. “Year Kgl

Reputy Clerk

Enclosure

ay
Case 0g Document 36 Filed oe Page 336 of 472
Case “egy Document 36 Filed ome Page 337 of 472

Lae 16,8 SENT
. ray
UNITED STATES DISTRICT COURT -
EASTERN DISTRICT OF LOUISIANA
MODESTA ST AMANT, £7 4L CIVIL ACTION
VERSUS NO 01-3421
BAYER CORPORATION, ETAL SECTION "§" (5}

ORDER AND REASONS

Before the coun are plantits Moges‘a and Geraidme St Arrants' motion 'o remand
(Document 9}, defendant Bayer Corporation's motioa for temporary stay (Documeat 12), Bayer's
motion for reconsideration of tre order stayirg transfer of the case (Document 14), and Beyer's
mouon to dismiss Docoment 4) ITIS HEREBY ORDERED chat plaintiffs! motion to remand
is GRANTED.

A Factual background

The St Amants filed suit in the Crvil Distnot Court for the Pansh of Orleans or October
22,2001 They alleged that Modesta &t Amant had sustained personal injuries asa result of tus
se of the over-the-counter medication Alka Seltzer Plus, which contaned the meredient
Phenylpropaszolamune (PPA) The St Amants named as defendants Bayer and Miles, Inc , who

allegedly designed, manufactured, markeced, and chstributed Alka Seltzer Plus They also named

[ DATE OF ENTRY
MAR 05 2002

Case 02 cv 02 gl BIR Document 36 Filed 01g Page 338 of 472

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Walereen Louisiana Ca, Inc, alleging that it "is engaged im the busmess of distr butiag over-che-
counter medicat.ons known as Alka Seltzer Plus products used for cold symptoms" See
|
plamtifs’ Peution for Damages at | 8 |
The St Amants’ Petiton aleges that defendants are hable to them under the Lowsiana
Products Liab.lty Act (LPLA), in neghgence, and as a result of teu fraud and misrepresentation
They contend that defendants "xnew or should have known" that PPA "could can
hfe-threatening complications and side effects includimy but not l:muted to stroke, atral
arrhythima, vasospasms, and severe elevation of Slood pressure” Jd at$14 The St Amants
further contend that defendants “failed to warn" them of the hazards of PPA, or "concealed (their)
knowledge of these hazards” fromthem Jd at ]/15 The St Amants specifically alleged a cause
of action in rechibition against defendants under La Crv Code art 2529 ef seq , claiming that
defendants were lable for selling a product warranted as safs and effectrve when it was not
reasonably fit for its mtended 2se fd at 932 The St Amants prayed for oamtive damages,
compensatory damages, attorney's fees, and "such other relief as provided for in Lausstana evil

code Article 2545 " fd at prayer, TC

Defendants removed the suit, basing federal junsdiction on diveraty under 28 USC §

1332 Defendants averred that each of them with the exception of Walgreen 1s completely diverse

in citizensop from the plaintiis, and thet Walgreen was Sraudulently jomed Although a
conditional iransfer order has been issued by the Judicial Panel on Multudistnct Lingation (CTO -
6), plaintiffs have opposed the transfer On December 12, 2001, the court granted pla:nnfis'
motioy to stay transfer of this case pending a hearing on ‘heir motion to remand, which was held

S

on January 16,2002 Addmonailly, defendants have moved to stay any ruling on plaintiffs' remand

Ww
Case mone ogg eR Document 36 Filed ogy Page 339 of 472

motion pending the decision by the Panel on whether thus matter should De transferred

mm

B. Analysis,

1 Defendants’ mation (o stay

Defendants argue that the court should decline to mule on plamtrTs' remand motion until
the Judicial Panel on Mulndisir.ct Ligation renders a decision on whether this case should be

transterrad to the multid'strict ligation sending in the Unuted States District Court Zor tne

Western Distnot of Waslungten Tne court finds that judicial economy 1s best served in this case
by resolving the pansdictional issue mmediately If federal pursdicuan dogs not exist, this case

should de remanded without the need for further federal proceedings Consequently, the court
demes defendants’ motion to sizy
2. Plaintiffs’ motion to remand

The general removal sratute provides that “any crvd action brought in a Stet
which the district courts of the Umted States have orginal unsdiction" may be removed 28
USC § 1441(a) Defendants contend that this action falls within the scope of the diversity
statute, which requires complete diversity of ctizeaship between the parties and an amount in
controversy in excess oF 375,000, exclusive of imerest and costs 28 USC §1332{2) The
parties do not dispute that the amount in controversy exceeds the jurisdictional mummum '
Plaint &s' remand motion argues only that complete diversity does not exist because they named

Walgreen asadefendant Like plaids, Walgreen is a cruzen of Lomsiana Defendants argue

that Walgreen nas been fraudulently jomed, and that its presence as a normnal defendant should

oe.

t

and disabling inpunes to mund and body," including a hemorrhagic stroke and paralysis Se
Petinon at I] 5 and 36 Plasntufis have also requested punitive damages

Plaintiffs’ Petimon alleges that Modesta St Amant sustained "severs, permanent,
g »P

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Case 2:02-cv-02527-BJR Document36_ Filed 0/03 Page 340 of 472

not destroy diversity
The test for fraudulent yonder 1s well established The “burden of nersuasion placed upon

those who cry ‘raudulent joinder is indeed a heavy one" Harty Bayer Corp , 199 F 3d 239,

246 (Sth Cir 2050) (quoting 8, inc. v Miller Brewng Co , 663 F 2d $48, $49 (Sth Cur 19813)
“To estabush ftaudulent joinder, the party crying foul must show there is no reasoneble probability
af recovery against ‘he joimed party or that there has been outnght frend in the pleadings of
jurisdichonal facts" Delgadu v Shelf Ol Co, 231 F 3d 165, 179 (Sth Cir 2000), cert denied,
532 US 972, 12) 5 Ct 1603, 149 L Ed 2d 470 (20013

The St Amants argue that they nave a valid rechib:tion claim against Walgreen Chapter
Ii, Title $ of the Louisiana Cevil Code orovides the purchaser of a product with a cause of action

in redhibrion Article 2520 provides generally that "A detect is redhubitory when it renders the

Lhing useless, of 15 258 0 “ncorvement that st must be presumed that a buyer would not have
Dough the thing had he known ofthe defect The ewstence of such 2 defect gives a buyer the

night to obtan rescission of the sale" The Civil Code provides different remedies depending on

whether the seller knows of the defect Ifthe seller "knew not of the defect," he "is only bound to

repay, remedy, of correct the defect,” and whe cannot do so, he must "return the pnice to the
buyer with interest from the time it was paid,” and "re.mburse him for the rsasonable expenses

occasioned by the sale "La Civ Code art 2531 Tithe seller "knows that the thing he sells

has a defect but omits to declare it,” the seller "is Lable to the buyer for the return of the price
with interest fram the time it was paid, for the re;mbursement of che reasonable expenses
occasioned by the sae and thass incurred for the preservation of the thing, and also for damages

a

and reasonable attorney fees“ Jd at ari 2545
Case 2:02-cv-02527-BJR Document36_ Filed /03 Page 341 of 472

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In ths case, plants mvoked La Civ Code art 2545 on their Petition, and alleged that all
efendants “knew ot should nave known" of the hazards of PPA yet did not disclose them
Plaintiffs’ Petition does not prasent any spec.fic facts demonstrating that Walg-een knew of the
dangers of PPA In Siricklaend v Brown Morris Pho macy, No 36-835, 1996 WL 537736 (ED
La Sept 20, 1996), the court found that mmular conclusory allegations about a defendant
pharmacy's knowledge of the dangers of Prmatine Mist could not suppor a dad-farth redhudition
claim against the pharmacy underLa Civ Code art 2545
There are no facts asserted which would support a finding that Srown Morns [Pharmacy]
ether manufacrurced the product in question or knew er should have known that use of
Prmatine Mist by Mr Strickland would cause the hamn which occurred Moreover, no
facts have been avowed which would go to show that Brown Mors knew or shouid have
known thet Pumatins Must was an unsafe product in its normal and intended use All the
plaintiff has done in her petition is make conclusory allegations or iegal conclusions put

forward as factua} fincings which do not go toward establishing a cause of action

id at *2

Planuits have not ad ecuately pleaded facis giving nse to a bad farth cause of achon mn
redhibruon under La Cry Code art 2345 The tssue before the court, then, is whether plamntrts
state a claim in rediubition agains? Walgreen as a good-faith seller Under the clear terms of La
Crv Code art 2531, reef against a good-faith seller unchades recovery of the pnce plainniis pad
for Alka Selzer Plus with interest, phus any reasonable expenses occasioned by the sale Thus,
there ts a reasonable possioiliry that plaintiffs may successfully prosecute a cause of action against
Walgreen under state law, and Walgreen was not fraudulently joined See Krentz v Boan
Brothers Toyota, No 00-3101, 2000 WL 1808496, at *2 (ED La Dee 8, 2000) (derying

remand beceuse plaintfis asserted a viable claim under La Civ Code art 253) against nondiverse

automobile seller), Scoit vy American Tobacco Co, 959 F Supp 340, 343-44 (ED La 1996)
Case 2:02-cv-02527-BJR Document36 _ Filed Qs Page 342 of 472

{denying remand because plaints asserted a viable clamurderLa Cry Coge Art 293) agains:

nondiverse distriburors of cigarettes, who were not therefore fraudulent'y joined)
Cc Conclusions

Judaal economy is Dest served in this case by resolving the purisdicnonal issue
ummediately Walgreen was fraudulently jomed only if defendants demonstrate that plaintiffs have
no reasonable passibility of recavernng against 2 The court Snds that there is a reasonable
possibility that plaintiifs can recover under La Civ Code art 253] agaist Walgreen as a good
faith seller Because Walgreen was not iraudulently joined, diversity porsdiction is not present in

this case

New Orleans, Lousiana, this dey of March, 2502

ate LL EEL

Mary Ann Vial AL Tne
ited States District Judge

Case 202-cv 02s age Document 36 Filed ov Page 343 of 472
Case 2:02-cv-02527-BJR Document36-_ Filed @

YIRSUS
BATTER COUP | ET AL
Before tne Courk is a Motion

Coleman

sequest Co near ne motion o1 an expedited basis

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before Che Court on briefs without oval

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Bayar Corporation |‘ Bayer") and Bnerican

or 5

Healchcare, f/xfa  Wrrtehall-Rosins
sayeth’ j Faving considered the

sites and the applicable law, the Court

Follow,

BACKGROUND

On Noveroer 8, 2001, Jacoueline Col

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OF ENTRY
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Page 344 of 472

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HO 62-333

SECTION "2" (3)

and Paquest for Cests

Tne motion

argument and 1s opposed by

Progacts Corporation,

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concludes

that Plaintifi‘s motion snould be GRANTED

aman, a Loiisiana

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Cikmbe
Case 2:02-cv-02527-BJR Document36 _ Filed @: Page 345 of 472

phenylpropanolamine ("PPA") She prought salt agaanst seven drug

manufacturers and distriputors woose products contalired PPA and two

businesses from wnicn

Bhe purchased the medication, including

Walgreen Lovisians Co , Inc [d/b/a “Walgreen ns") Plaintiff saed

Walgree is, a Lousiana citizen, in 1ts capacity as a retailer

Defendants Bayer, Novartis Pharmaceuticals, and Wyeth removed

Coleman's action to this Court pursuant to 24 USC § 1441,

claiming that Plaintilzé

fraudulently joined fHalgreens as a

defendant an this action for the sole purnose of preventing removal

pased on diversity of citizenshin Defendants argue that Plaintifé

fails to state a cavse of action against Walgyeens secause no duty

axists under Louisiana law that requires a pharmacy to advise or

Warn consumers of the adverse effects of a particular drug

Defendants further assert taat Plaintiff does
basis ta state a claim against Walgreens for a breach of wazrarty

against redhinitory defects, becaus® she cannok establisn that

Walgreens had knowledge of the alleged dangers of FPA.

Plaintiff asserts that sne has stated several viaenle claims

under Lovisiena law against Walgreens, not as a pharmacy but as a
—€ase 2:02-cv-02527-BJR Document 36 _ Filed 0/03 Page 346 of 472

moves the Court to remand tre action ta the

arson, Louisiana
DISCUSSTON

Jo.nder, che removang party nas tne

proving "‘'that there ais ansoiutely no

possibility tnat the plaintifi will se able to sstanlisa a cause a

action against tne in-state defendant an state cort, ox that there
has been outright fraud ain the plaintizits

Jurisdictional facts '" Cavallini vo State Farm Mut Avio Ins

Ca,
44 F 3d 2546, 259 {5th Car

1335) {quoktang Green v amerada Jess

Corp, 3707 7 2d 202, 205 {5th Cir 1983)} tne Fiftn Circuit nas

rurther held that

1f tnere is even a possibility that a state court w
fiqd a causes of action stated againsk any one of the
named in-state defendants on the facts alleged by che
plaintiff, then tne

in-state cefendant (s)
there .s

federal court must Find thak tne
nave neen properly joined, [Cpat
ancomplete diversity, and tnat the case must be
remancsd to the state courts

B. int ov Miller Brewing Co

, 663 F 2d 545, 559 (5th Car 13483)

Accordingly,

tne Fifth Careurk requires that a district cour

t

confronted with a claim of fraudulent joander must “‘evaluate all

of the factual allegations in tne plaantiff’s stahe court pleading

im the Jight most favorable fo the

plaintiff, resolving all

contested issues of substantive fact in favor of the plaintifs' and
Case 2:02-cv-02527-BJR Document 36 Filed @ovos Page 347 of 472

f the warranty against reanibitory
, (2) Eallure to deliver a product of tne mind specified by

the seller, (3) fs2lure te sell a product fit for its ordinary

usage, (4) negligence, (5) intentipnal and willful consparacy, (6)

fraud and misrepresentation, and (7} negligent and vreckless
mMisrepresentation in support of ner claims, Plaiatill alleges

tat ail of the defendants, including Walgreens, knew or should

have known of the unreasonable dangerous side-sifects o

— corsuming
products witn PRA, pracr to the Yale study being released and tne

PPA  Blainitirft argues that all the defendants knew or spould neve

anoen of other studies, regulatory actions, ancidances of injury

and/or death, concerns about safety among gsclemtists and other

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Selings among pharmaceutical anguatry vfficears and
employees, fha cCesite of certain defennants to at

regulatory action, and the contents cf many of the defendants’ own

files, plans, and reports regarding the adverse health ris«s of

PPA

In order to remand this matter, tae Court peed only find trat
Case 2:02-cv-02527-BJR Document36 Filed Qos Page 348 of 472

of action, not that Plaesntsift may prevail against Walgreens on all

of ner claims See 3 Tne

, 683 F 24 545,

550 {Sth Car 1382} The Court does not ‘deride wnhethner tne

actually or evan propaply prevail on the merits, bat

look only for a possibility that [s}he may do so ” Dodson v

he

Stiliade Maritime Corp , 951 F 2d 40, 42 (5th Cir 1992) leitaing

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izss Corp

o7 F 2d 201 (Stn Cir 1383)}

Under Lousiana law, to

sLatem a cayse of action, the Court asks ‘wnether the law extends

a remedy to anyore under the factual allegations of the petition "

Lowisiana Paddlewhesls vo DLoursians Riverboat Gaming Camm'n,

94-2915, p 4 (La 11/30/94), 646 So 2d 885, 688, nm 3G

Aecordingly, tre question to bea answered is, whetner in the lignat

most favorable to plaantaifi, the petition states any valid cause of

action Zor relief City of New Orleans v Board of Commissioners

of Orleans levee District, 93-069 {La 7/5/94), €40 So 2d 247, 253
Redhipition 18 tne avoidance of a sale om account of some vice

oz defect in tre tring sold, whicn renders it either absolutely

useless, ar its use sa 1Liconvenient and imperfect, that 1h must oe

supposed tnat Che buyer would nok nave purchased 16, mad ne known

of tne vice La Civ Cede art 2520 Redhibition clairs are
__ ase eg Document 36 Filed Qos Page 349 of 472

tne defects in tae procuct sold A

sold out farled to declare it Se2 Associates Financial Services

eo Ine vi Ryan, 382 So 2d 2145, 226

iba App 3d Car 2380)
In -fa instant action, Plaintifi alleges that Walgreens was

sucn a Sad faita seller Plaintiff asserts tnat Walgreens not only

was aware of the adverse health visks posed by 2FA-containing

products priar (oO toe Yale study taat was released in 2000, but

also conspired with the other defendants to conceal taat such

products ware .nsafe for human consumprion Furtaernora, Plaintiff

specifically alleges that ali of che a

aware, or snouvld nave been aware, Ehat PPA was

unsafe, tnrough studies performed prior to the ¥

2le study, concerns

among the industry of tne dangerous side effects of FPA, and case

reports involving PPA

Plaintiff an tne instant case has specifically alleged that

Walgreens nad knowledge of the dargersus side effects of PPA and

has scaled facts, which if accepted as true for the purposes of

this motion, give rise to a vianle cause of action in redhipitior |

i This does not mean tnat the Court concludes that Plaintiff
Has not also stated other causes of action under Lousiana jaw

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a
Case 2:02-cv-02527-BJR Document36- Filed

Qo: Page 350 of 472

Recordangly,

IT IS ORDERED tnat Plaintiff Jacqueline Coleman's Motien to

Doe 16} should se and is hergoy GRANTED and ‘the
action 18 nerepy REMANDED to tne 24tn Judicral Dastract =

or bas

sn of Jefferson, Lovisiana

IT IS FURTHER ORDERED t £'s request for costs and
expenses is DENIED

Bach side is to bear its own costs related to
this matter

e+ * *£ * €

Rather, as discussed above, for purposes of this remand, tae

cause of action

Ceurt need only find that Plaintaftf could possibly recover on one

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Case 202 cv-025gR Document 36 Filed 01 Page 351 of 472

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UREA ATA

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DATE: 09/09/02

CLERK: tbl

*** There will be no noticing for this document.***

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-CV-2436
VERSUS
JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC ; and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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MAGISTRATE JUDGE SHUSHAN

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CROSS-NOTICE OF VIDEOTAPED DEPOSITION OF BILL VANDERHAAR

PLEASE TAKE NOTICE that Plaintiffs will take the deposition upon oral examination
of Mr Bull VanderHaar, now or formerly an employee of Bayer Corporation, on October 14,
2002, at the law office of McElroy, Deutsch & Mulvaney, 1300 Mt Kemble Avenue,

Morristown, NJ (973-993-8100, www mdmlaw com), beginning at 900 am and continuing

until completed

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Case e02 cv-025c gr Document 36 Filed “@ Page 353 of 472

The deposition will be conducted pursuant to the provisions of Case Management Order

No 1,' will be stenographically recorded by the court reporting firm of Tate & Tate, 180

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Tuckerton Road, Suite 5, Medford, NJ 08055 and will be videotaped by Lawyers’ Video
Service, Inc , 33 Rock Hill Road, Bala Cynwyd, PA 19004 The examination will also be
videotaped by Ventext, 25B Vreeland Road, Florham Park, NJ 07932, which will have a video
camera trained on the questioner during the examimation Michelle Parfitt and/or Steven Rotman

will represent plaintiffs

You are at fl. and examine the witness
/
DATED this day of September, 2002
Respectfully submitted,

(LY.

Mary L Meyer, Esq‘ (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE a SERVICE

I hereby certify that I have on this ve, day of September, 2002, served a copy of the
foregomg pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or

by depositing the same im the United States mail, properly addressed, and first-class postage

~ Li

' A copy of the Case Management Order No 1 1s attached to a prior Cross-Notice of Deposition filed 1n this case

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-CV-2436
VERSUS
JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
ALIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO, INC, SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

kee EE EK Ee RK RK RR KR KR Oe RK Rk eR RR OK OF

MAGISTRATE JUDGE SHUSHAN

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CROSS-NOTICE OF
VIDEOTAPED DEPOSITION OF CRAIG HAMMES

PLEASE TAKE NOTICE that Plaintiffs will take the deposition upon oral examination
of Mr. Craig Hammes, now or formerly an employee of Bayer Corporatton, on October 7, 2002,
at the law office of Eckert, Seamans, Chern & Mellott, 1515 Market Street, Philadelphia, PA

(215-851-8400, www escm com), begmning at 9 00 am and continuing until completed

wee CHRD

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Case e02-0v-0257 @r Document 36 Filed ouve® Page 355 of 472

The deposition will be conducted pursuant to the provisions of Case Management Order
No 1,’ will be stenographically recorded by the court reporting firm of Tate & Tate, 180
Tuckerton Road, Suite 5, Medford, NJ 08055 and will be videotaped by Lawyers’ Video
Service, Inc, 33 Rock Hill Road, Bala Cynwyd, PA 19004 The examination will also be
videotaped by Veritext, 25B Vreeland Road, Florham Park, NJ 07932, which will have a video
camera trained on the questioner durmg the examination Ted Carey and/or David Suggs will
represent plaintiffs

You are at liberty tg,appear and examine the witness

Respectfully (4b

Mary L Meyer, Esq ( 9966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

DATED this “e day of September, 2002

CERTIFICATE OF SERVICE

I hereby certify that I have on this ¢ day of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or

by depositing the same im the United States mail, properly addressed, and first-class postage

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' A copy of the Case Management Order No 1 1s attached to a prior Cross-Notice of Deposition filed m this case

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-CV-2436
VERSUS
JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC, SMOOTHIE KING SYSTEMS,
INC, and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS’”)

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MAGISTRATE JUDGE SHUSHAN

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CROSS-NOTICE OF VIDEOTAPED DEPOSITION OF TERRY GLASS

PLEASE TAKE NOTICE that Plaintiffs will take the deposition upon oral examination
of Terry Glass, now or formerly an employee of Bayer Corporation, on September 23, 2002, at
the law offices of McElroy, Deutsch & Mulvaney, 1300 Mt Kemble Avenue, Morristown, New

Jersey, (973-993-8100, www mdmiaw com), beginning at 900 am and continuing until

completed

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The deposition will be conducted pursuant to the provisions of Case Management Order
No 1,' will be stenographically recorded by the court reporting firm of Tate & Tate, 180
Tuckerton Road, Suite 5, Medford, NJ 08055 and will be videotaped by Lawyers’ Video
Service, Inc , 33 Rock Hill Road, Bala Cynwyd, PA 19004 The examination will also be
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camera trained on the questioner durmg the examination Ted Carey and/or David Suggs will
represent plaintiffs

You are at liberty to appear and examine the witness

DATED this fe day of September, 2002

Respectfully submitted,

CL,

Mary L Meyer, Esq (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that I have on this UL day of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or

by depositing the same in the United States marl, properly addressed, and first-class postage

prepaid (2 4

"A copy of the Case Management Order No 1 1s attached as Exhibit A

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Westera District of Washington 05.0 C.
EXHIBIT

Case Management Orders i A

dubject: Dace of Order:
Case Management Order No. 1 01/29/2002

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

IN RE: PHENYLPROPANOLAMINE (PPA) PRODUCTS LIABILITY
LITIGATION This decument relates to all actions MDL Docket
No. 1407 CASE MANAGEMENT ORDER NO. 1

I. INTRODUCTION

On November 16, 2001, an initial conference was held in order
to address issues dealing with the structure and purposes of
the leadership of plaintiffs and defendants in this multi-
district litigation. During the course of that conference,
various issues relating to discovery, experts, use of
technology, class actions, and federal-state coordination
were also discussed.

At the conclusion of the conference, the Court directed the
parties to submit an agreed upon Case Management Order No. 1,
to the extent possible, addressing a fact discovery schedule,
deposition and document production procedures, expert
disclosure and discovery, and any other matters felt
necessary to promote the efficient and timely progress of
this litigation.

By order dated November 21, 2001, this Court appointed Lead
and Liaison Counsel for plaintiffs and defendants. The Court
had previously indicated that Lead Counsel for each side,
because of their knowledge of the skills, experience and
compatibility of counsel involved in this litigation, should
propose for Court approval the names of counsel to serve on
various Committees. Those proposals have been made and the
Court has acted thereon. The Court also requested the
submission no later than December 14, 2001, of a Joint
Proposed Case Management Order No. 1, to address the issues
discussed during the initial conference, and any other
topics.

The parties have now submitted a proposed Case Management
Order No. 1, together with opposing submittals regarding
various aspects of CMO No. 1 about which the parties
disagree. After review and consideration of the parties'
submissions, the Court hereby orders as follows:

Ii. STAY OF PROCEEDINGS IN CASES TRANSFERRED TO MDL 1407

All proceedings in any case transferred to MDL 1407, now or
in the future, are stayed except as to the specific
proceedings outlined in this Order, any pending motions to
Case ee Omiectwment 36 ~=Filed ne Page 359 of 472 Page 2 of t9

remand presently before this Court, or in any subsequent
order of the Court. All prior written discovery to which
responses have not yet been served 1s deemed withdrawn. All
dates on which responsive pleadings are due are hereby stayed
until further notice, and all scheduling orders are hereby
vacated. Nothing herein shall extend or modify the time
permitted for removal of any case to federal court, nor shall
any portion of this Order be deemed to apply to any case or
matter now or hereafter pending in any state court unless
that state court so orders.

IIIT. STATUS CONFERENCES, MOTIONS, PLEADINGS AND SERVICE

A. Status Conferences. Status Conferences shall be regularly
scheduled by the Court to permit substantial advance notice
to all parties. Except as otherwise provided herein, and to
accommodate the schedules of the Court and parties, oral
argument or hearings on any motion will be scheduled to
coincide with calendared Status Conferences. Counsel may
attend and participate in Status Conferences, oral arguments
and hearings by telephone at the Court's discretion by prior
arrangement with the Court's chambers. Any hearing or oral
argument deemed necessary by the Court on motions that
require a ruling on an expedited basis will be scheduled to
permit notice of at least two (2) business days. If
circumstances warrant, the Court may shorten the notice
period.

B. Motions. Motion practice shall be governed by applicable
Federal and Local Rules except as otherwise provided herein
or in any subsequent Case Management Order. Absent an Order
of the Court, briefs in response to all motions shall be
filed twenty-one (21) days after the date of service. Reply
memoranda shall be filed within seven {7} days after service
of the response. Oral argument or hearing on a motion will be
scheduled to coincide with the first regularly scheduled |
Status Conference occurring after seven (7) days from the
scheduled date, as extended by the Court, for the filing of
Reply memoranda.

C. Notice to Parties by the Court. Notice by the Court to
Plaintiffs' Liaison Counsel and Defendants' Liaison Counsel
of any matter, ruling, order, schedule or court hearing
relating to all actions, shall be considered by the Court to
be Notice to all parties in MDL 1407. Notice by the Court of
any matter, ruling, order, schedule of court hearing relating
only to individual actions shall be given to counsel of
record for that action, Plaintiffs' Liaison Counsel and
Defendants’ Liaison Counsel.

D. Service of Pleadings, Motions and Other Documents. Lead |
Counsel and any party filing with the Court a pleading,
motion, or other document relating to all actions shall
provide one (1) copy to Plaintiffs’ Liaison Counsel, one (1)
copy to Defendants’ Liaison Counsel, and one (1) copy to
opposing Lead Counsel by overnight mail or hand delivery. In
addition, an electronic version of any document filed shall
be provided at the time of service to the respective Liaison
Counsel by electronic mail, on a floppy disk, or on CD-ROM in
either WordPerfect or Microsoft Word format. If any document
filed 15 comprised of or contains a paper copy of an
electronic image of said document, the electronic image of
said document(s) shall be similarly served. Service on

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Plaintiffs’ and Defendants" Liaison Counsel constitutes
service on all plaintiffs' counsel and all defendants’
counsel, respectively. Service and distribution by Liaison
Counsel to other attorneys of record may be made via U.S.
Mail and either e-mail, overnight courier service or
facsimile transmission, reserving to any counsel of record
the right to waive, in writing, all or any aspect of said
service.

&. Communication with the Court. All communications with the
Court should be through Lead or Liaison Counsel.
Correspondence from individual plaintiff or defense counsel
directly to the Court is strongly discouraged except when
requested or the circumstances require direct contact. In any
event, a copy of any such correspondence must be
simultaneously served on Liaison Counsel.

IV. STATEMENT OF ISSUES

No later than 5 days prior to the next status conference,
Lead Counsel for Plaintiffs and Defendants shall submit
separate reports to the Court identifying and describing the
legal and factual issues they believe will need to be
addressed in these MDL proceedings. The reports by Lead
Counsel shall not exceed 24 pages in length.

V. FACT DISCOVERY OF DEFENDANTS

Discovery as to defendants shall be governed by applicable
Federal Rules of Civil Procedure and Local Rules except as
otherwise provided herein or in any subsequent Case
Management Order. Fact discovery has begun against certain,
but not all defendants, in various state court proceedings.
This Court has taken into consideration the present status
and progress of discovery against various groups of
defendants in fashioning a discovery schedule that will aid
in fostering state and federal court coordination of PPA
cases, and completing the tasks undertaken in this MDL 1407
with reasonable dispatch in keeping with the needs and
expectations of litigants.

A. Completion of Fact Discovery. Fact discovery of all
defendants, as divided into three distinct groups, shall be
completed as follows:

{1) Group I Defendants. Group I Defendants are American Home
Products Corporation, Novartis Consumer Health Inc., Bayer
Corporation, SmithKline Beecham, Perrigo, and Chattem, and
any related entities. Fact discovery as to Group I Defendants
shall be completed on or before December 31, 2002.

(2) Group II Defendants. Group II Defendants are those
defendants presently named in any case now docketed in this
MBL 1407 not designated as Group I Defendants, such as
Schering-Plough and Thompson/Delaco. Fact discovery as to
Group II Defendants shall be completed on or before February
28, 2003.

(3) Group III Defendants. Group III Defendants are those
defendants who are named in any action transferred to this
MDL 1407 after the date of this Order. Fact discovery as to
each such defendant shall be completed on or before 15 months
following the first day of the month following the docketing
of the first action naming said defendant in this MDL 1407.
B. Discovery Disputes. All disputes regarding the scope or
conduct of fact discovery shall be resolved pursuant to the
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Standards and procedures set forth in the Federal Rules of
Civil Procedure as augmented by the Local Rules of this
District, except as otherwise provided herein.

Cc. Confidentiality of Produced Materials or Deposition
Testimony. The Court has entered Case Management Order No. 2
(Confidentiality of Material Produced and Testimony Relating
Thereto}) pursuant to the joint submittal of same by the
parties.

BD. Praservation of Documents

The Court will enter Case Management Order No. 3
(Preservation of Documents) following the submittal cf the
positions of the parties regarding the content thereof.

E. Production of Documents

(1) Master Request For Production of Documents. Document
production by most Group I Defendants is and has been ongoing
in several state and federal court cases, ail in response to
virtually identical requests for production propounded by
many of the plaintiffs' counsel named as members of the
Plaintiffs' Steering Committee or Discovery Committee.
Attached at Tab A is the Master Requests For Production of
Documents Addressed To All Defendants ("Master Requests For
Production"} which incorporates the requests previously made
and responded te by Group I Defendants and is hereby deemed
served on all defendants named in any action transferred to
this MDL 1407. In the absence of an agreement or further
order of the Court, no further document requests may be
propounded to the Defendants without leave of Court.

{2) Prior Production and Responses to Requests to Produce. To
the extent that any Group I Defendant has produced documents
in response to requests for production also contained in the
Master Requests for Production, that preduction is hereby
deemed to be production to the same requests contained in the
Master Requests for Production. Similarly, to the extent that
any Group I Defendant has responded to requests to produce
also contained in the Master Requests for Production, those
responses are hereby deemed to have been made to the same
requests contained in the Master Requests for Production. All
objections to production requests raised in a response made
by any Group I Defendant are preserved to the extent existing
as of the date hereof, and all rights held by plaintiffi(s) to
contest any objections made are similarly preserved and
intact.

(3) Document Production Deadlines.

(a) Group I Defendants. Each Group I Defendant shall produce
all documents maintained in hard copy responsive to the
Master Requests for Production on or before February 28,
2002, except for those documents withheld pursuant to an
assertion of privilege, work product or objection. Group I
Defendants shall produce all documents maintained in
electronic format responsive to the Master Requests for
Production on or before March 30, 2002, except for those
documents withheld pursuant to an assertion of privilege,
work product or objection. The parties shall meet and confer
as soon aS practicable to resolve disputes concerning
withheld documents. Motions to compel should only be filed on
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those issues that cannot in good faith be resolved. The Court
expects that document production will be completed by the
deadlines above, and that ne further extensions will be
necessary.

(b} Group II Defendants. Each Group II Defendant shall
respond to the Master Request for Documents no later than
February 28, 2002 and produce all documents maintained in
hard copy responsive to the Master Requests for Production no
later than March 30, 2002, except for those documents
withheld pursuant to an assertion of privilege, work product
or objection . Group II Defendants shall produce all
documents maintained in electronic format responsive to the
Master Requests for Production on or before March 30, 2002,
except for those documents withheld pursuant to an assertion
of privilege, work product or objection. The parties shall
meet and confer as soon as practicable to resolve disputes
concerning withheld documents. Motions to compel should only
be filed on those issues that cannot in good faith be |
resolved. The Court expects that document production will be
completed by the deadlines above, and that no further
extensions will be necessary.

{c) Group III Defendants. Each Group III Defendant shall
respond to the Master Request for Documents within sixty (60)
days of the transfer to this MDL 1407 of the first action in
which it is named and produce all documents responsive to the
Master Requests For Production on a rolling basis within one
hundred twenty (120) days thereafter, except for these
documents withheld under an assertion of privilege or
protection, or where an objection has been asserted. The
parties shall meet and confer as soon as practicable to
resolve disputes concerning withheld documents. Motions to
compel should only be filed on those issues that cannot in
good faith be resolved.

{4) Manner of Production. With respect to all responsive
documents or materials kept or maintained in either tangible
form or in any electronic form, all defendants shall produce |
those documents or materials in “hard" copy, with appropriate |
identifying Bates numbering or labeling which shall include
an alpha prefix identifying the defendant producing same.
However, this provision shall not prohibit or otherwise
impact any subsequent motion by plaintiffs to seek the
production from any defendant of all responsive documents or
materials kept or maintained in electronic form in the same
format as they are kept or maintained. All defendants shall,
to the extent reasonably possible, produce on a "rolling"
basis, such that documents or materials should be made
available for production and produced at regular intervals
rather than accumulated with all other documents for
production at the end of the document production period
permitted herein. Each copy of a document shall convey the
exact information and appearance of the original document
unless redacted pursuant to a stated objection or privilege,
in which event the fact that a redaction has been made shali
be made apparent on the face of the document produced. If
color is material to appreciating or comprehending the
content of a document, parties shall honor reasonable
requests for either the production of an original document
for inspection and copying or production of a color image of
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the document. Similarly, the parties shall comply with all
reasonable requests for inspection and copying of an original
document for all copies deemed unreadable or illegible, in
whole or in part. The reasonable reproduction costs incurred
by defendants of providing “hard" copies shall be borne by
plaintiffs pursuant to applicable Federal and Local Rules.

(5) Document Images and Objective Databases. If a defendant
chooses or has chosen to create electronic images of
documents or materials produced in “hard" copy, duplicates of
said images shall be produced to plaintiffs on CD-ROM disks
on or before that defendant's document production deadline.
The electronic images produced shall be in the same
electronic format as utilized by defendant in creating and
maintaining the electronic images. Provided, however, that
should a defendant choose to create electronic images of only
a select group of documents, such that the selection reflects
the work product of its attorneys in conjunction with this
litigation, then production shall not be required. The
reasonable reproduction costs incurred by defendants of
Providing copies of CD-ROM disks containing images of
documents produced shall be borne by plaintiffs pursuant to
applicable Federal and Local Rules.

Any defendant that has created an objective database of
documents produced in response to production requests of
Plaintiffs shall produce that datahase to plaintiffs.
Provided, however, that should a defendant choose to create
an objective database of only a select group of documents
produced, such that the selection reflects the work product
of its attorneys in conjunction with this litigation, then
production of that database shall not be required. Defendants
are permitted to redact database fields that contain
subjective work product material. If a defendant seeks to
withhold the database because it cannot redact the subjective
materials, the defendant must first show good cause to the
Court why it cannot segregate objective and subjective data.
The same procedure will apply to plaintiffs* databases if
sought by defendants during discovery. Plaintiffs will not be
assessed costs for producing databases that defendants have
prepared. However, if a defendant must incur additional costs
to remove subjective material from the database, plaintiffs
will bear the responsibility for those additional costs.

(6) Document Depositories. Lead Counsel for each side may
establish a document depository for purposes it deems
appropriate and necessary to accomplish their obligations to
their respective constituencies in this MDL 1407. Each side
shall administer and bear the costs of its own depository.

(7) Authentication of Documents. Pursuant to the stipulation
of the parties, it is hereby ordered that the copies of all
documents maintained in “hard” form produced by any defendant
are deemed to be a4 true and accurate copy of documents in the
possession and control of that defendant, except as otherwise
indicated on the face of the copy produced. It is further
ordered that the "hard" copies of all documents maintained in
electronic form produced by any defendant are deemed to be a
true and accurate representations of the data or other
information maintained in electronic format by that
defendant, except as otherwise indicated on the face of the
“hard" copy produced.
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(8) Assertion of Privilege in Response to Production
Requests. Any party that withholds the production of
requested documents or materials, regardless of the manner in
which they aré kept or maintained, on the ground of any
privilege or application of the work-product doctrine must
specify in writing, as to each document or thing not
produced, the specific privilege(s) or doctrine(s} it 1s
relying upon to withhold each document ("Privilege Log").
Each Privilege Log shall describe each document or thing to
which a privilege or work product doctrine is asserted in
sufficient detail to reasonably permit the party seeking
discovery to assess whether or not to dispute any such
assertion of privilege or application of the work product
doctrine. Each party so withholding shall provide the Court
and opposing Liaison Counsel a copy of the party's Privilege
Log on or before thirty (30) days after the deadline for the
production of “hard" copies of responsive documents or
materials kept or maintained in tangible form and, with
respect to responsive documents kept or maintained in
electronic format, within thirty (30) days after the
production deadline for “hard" copies of those documents or
materials.

F. Interrogatories. A First Set of Interrogatories has been
propounded to and answered by many Group I Defendants in
several state and federal court cases. The interrogatories
served have been virtually identical, and counsel serving
Same are included among the plaintiffs‘ counsel hereby named
as members of the Plaintiffs' Steering Committee or Discovery
Committee. Attached at Tab B is the Master First Set of
Interrogatories Addressed To All Defendants ("Master Farst
Set of Interrogatories"} which incorporates the
interrogatories previously propounded and answered by many
Group I Defendants, and is hereby deemed served on all
defendants named in any action transferred to this MDL 1407.
(1) Prior Answers to Interrogatories. To the extent that any
Group I Defendant has answered interrogatories also contained
in the Master First Set of Interrogatories, those answers are
hereby deemed to be responses to the same interrogatories
contained in the Master First Set of Interrogatories. All
objections to such interrogatories raised in a response made
by any Group I Defendant are preserved to the extent existing
as of the date hereof, and all rights held by plaintiff{s) to
contest any objections made are similarly preserved and
intact.

{2) Interrogatory Answer Deadlines for
Defendants.

(a) Group I Defendants. Each Group I Defendant shall respond
to all interrogatories contained in the Master First Set of
Interrogatories no later than January 15, 2002. The parties
shall meet and confer as soon as practicable to resolve
disputes concerning objections thereto. Motions to compel
should only be filed on those issues that cannot in good
faith be resolved.

(b) Group II Defendants. Each Group II Defendant shall
respond to all interrogatories contained in the Master First
Set of Interrogatories no later than February 28, 2002. The

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Parties shall meet and confer as soon as practicable to

resolve disputes concerning objections thereto. Motions to

compel should only be filed on those issues that cannot in

good faith be resolved.

(c) Group III Defendants. Each Group III Defendant shall

respond to all interrogatories contained in the Master First

Set of Interrogatories within sixty (60) days of the transfer

to this MDL 1407 of the first action in which it is named.

The parties shall meet and confer as soon as practicable to

resolve disputes concerning withheld documents. Motions to

compel should only be filed on those issues that cannot in

good faith be resolved.

G. Fact Depositions. All fact depositions shall be conducted
pursuant to applicable Federal Rules of Civil Procedure and

Local Rules, and as further specified below.

(1) Deposition Notices. In addition to the information

required by applicable Rule, each deposition notice shall

include the name, 1f known, of the primary examiner (s)

designated by the party noticing the deposition, and the

date, time and place of the deposition. In order for counsel

to make arrangements for adequate deposition space, whenever
feasible, counsel who intend to attend a deposition noticed

in MDL 1407 should provide notice to the individual counsel

signing the Notice of Deposition. Deposition notices shall

State whether the deposition is to be videotaped and, if so,

the name, firm and address of the videotape recorders.

(2) Cross-Notices Between State Court Cases and These

Proceedings. In order to avoid duplicative discovery and to

prevent the unnecessary expenditure of judicial resources and

the resources of the parties, steps should be taken to

encourage counsel in related state court proceedings to

coordinate their depositions with MDL 1407 depositions.

Plaintiffs' Liaison Counsel shall copy all known plaintiffs’

State liaison counsel (by mail, courier, facsimile or

electronic mail) on all deposition notices filed by

Plaintiffs in MDL 1407 and invite state court counsel to
cross-notice the deposition. Defendants’ Liaisen Counsel

shall provide Plaintiffs’ Liaison Counsel and plaintiffs’

known state liaison counsel with at least thirty (30) days

notice of any cross-notice in these proceedings by defendants

of a deposition originally noticed in a state court. Any

motion to quash or stay any such cross-notice must be filed

more than ten (10) days prior to the scheduled date of the
cross-noticed deposition. The filing of any such motion will

not delay the cross-noticed deposition, unless otherwise

ordered by the Court. Absent grant of any such motion to

quash or stay, no party shall re-notice the deposition of any |
witness already deposed under the terms of this Order unless
permitted by the Court for good cause shown. If a deposition
was originally noticed in this proceeding, whether or not
later cross-noticed 1n state court proceedings, MDL counsel
shall conduct the initial phase of the deposition. If a
deposition was originally noticed in a state court proceeding
and is later cross-noticed in this MDL proceedings, the state
court counsel shall conduct the initial phase of the
deposition. In either instance, questioning by state court
counsel will not be counted against the time permitted for
questioning pursuant to this MDL proceeding as described

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below. Regardless of which counsel conducts the initial
examination of the deponent, subsequent questioning shall not
be redundant or repetitive, although clarification of prior
testimony may be sought if reasonably calculated to elicit
testimony that adds to the substance of prior testimony.
Nothing in this provision shall be construed as an injunctive
or equitable order affecting state court proceedings. Rather,
this provision is intended to reflect thzs Court's desire for
voluntary state-federal coordination.

(3) Number of Depositions, Former Employees. The defendants
shall make available all present employees requested by
Plaintiffs for deposition, subject to the defendants’ right
to object to the taking of any particular employee's
deposition for good cause shown. Plaintiffs shall in good
faith take only those depositions deemed reasonably necessary
under the circumstances of this case. Each defendant shall
take reasonable steps to make available requested former
employees, to the extent possible. If a defendant is unable,
despite its best good faith efforts, to produce former
employees, then the defendant shall provide upon request the
former employee's last known address and shall cooperate in
any effort to obtain this Court's, or another court's
assistance to compel the former employee's attendance at the
deposition. Plaintiffs shall not contact former employees
without permission of the former employer defendant. As to
each named defendant, plaintiffs shall be limited to a total
of twenty (20) depositions of identified individuals,
including former employees. In addition, plaintiffs may
notice up to five (5) depositions pursuant to Fed, R. Civ. P,
30(b) (6) as to each defendant regardless of the number of
deponents produced by said defendant in response to each such
deposition noticed, provided that the particular matters
identified in a notice on which examination is requested do
not duplicate any matters identified in connection with a
prior Rule 30(b) (6) deposition of that defendant, notice of
which was properly served on plaintiffs pursuant to the terms
of this Order. Absent agreement by the defendant, plaintiffs
may apply to the Court to conduct further depositions only
upon a showing of good cause and the Specific identification
of the individual{s) sought to be deposed.

(4) Scheduling. Plaintiffs may begin depositions of fact
witnesses on January 20, 2002. If a deposition occurs before
document production is completed, and documents received
after the deposition raise additional questions for the
witness, plaintiffs may renew the deposition upon a showing
of good cause. To the extent practicable, counsel shall
consult with opposing counsel and, if ethically permitted,
potential deponents in an effort to schedule depositions at
mutually convenient times and locations. Counsel for
deponents who are employees of defendants are expected to
cooperate, to the extent reasonably possible, in the
scheduling of depositions requested by plaintiffs. The Court
will resolve any deposition scheduling issues that Lead
Counsel or their designees are unable to resolve.

(5) Length of Direct Examination in Fact Depositions. The
examination by the party noticing the deposition of a present
or former employee of a defendant shall be no more than seven
{7) hours of actual examination time absent agreement or
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further order of this Court upon a showing of good cause. The
Court expects that if a deposition requires additional time
the parties will make a good faith effort to agree on an
extension before coming to the Court for resolution. Direct
examinations that are reasonably believed to require more
than seven hours to complete shall be scheduled, to the
extent possible consistent with the witness's schedule, for
sufficient consecutive days for completion.

(6) Postponements. Once a deposition has been scheduled, it
shall not be taken off calendar, postponed, rescheduled, or
relocated less than five (5) calendar days in advance of the
date it is scheduled to occur, except upon agreement of
counsel or by leave of Court for good cause shown. Given the
large number of attorneys involved in this litigation, the
unavailability of counsel shall not be grounds for postponing
a deposition if another attorney from the same firm who 1s
familiar with the case or one who represents a party with
Similar interests is available to attend. If a motion is made
to permit the rescheduling of a deposition on the grounds of
unavailability of counsel, the moving party shall certify to
the Court that neither an attorney from the same firm who is
familiar with the case nor one who represents a party with
similar interests is able to attend the scheduled deposition.
(7) Attendance. Unless otherwise agreed to by the parties,
depositions may be attended only by one representative of
each party (other than counsel for the party), the deponent,
the deponent’s attorney (if not counsel for a defendant),
attorneys of record in MDL 1407 or state PPA related cases,
court reporters, videographers, and any person who is
assisting in the litigation and whose presence is reasonably
required by counsel conducting or defending the deposition.
Upon application, and for good cause shown, the court may
permit attendance by a person who does not fall within any of
the categories set forth in the previous sentence. Attendees
at any deposition shall execute an acknowledgment that they
are bound by the provisions of Case Management Order No. 2.
If during the course of any deposition, the examination
involves information or documents which any defendant claims
to be confidential pursuant to Case Management Order No. 2
entered in this litigation, attendees at the deposition are
limited to those permitted access to information designated
confidential pursuant to that Order. Those portions of
depositions deemed confidential pursuant to said Order will
be treated and handled pursuant to the requirements of that
Order. Unnecessary attendance by counsel at depositions is
discouraged and may not be compensated in any fee application
to the Court.

{8) Production of Documents. Witnesses subpoenaed or noticed
to testify and to produce documents shall be noticed and
served with the subpoena or deposition notice and document
request at least thirty (30) days before the scheduled
deposition. Depending upon the quantity of documents to be
produced, some time may be needed for inspection of the
documents before the interrogation commences. Responsive
documents that are identical to those already produced to the
Plaintiffs’ do not have to be produced by the deponent, but
the deponent bears the burden of demonstrating, if necessary,
prior production.
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(9) Potential Deposition Exhibits. Parties will disclose to
the deponent's counsel at least ten (10) days before a
depositizon the documents they expect to use during
examination. As with issues regarding the length of
depositions, the Court expects that if a party fails to
disclose documents, the parties will make a good faith effort
to agree how to proceed with the deposition before coming to

the Court for resolution.

(10) Location of Depositions. Unless otherwise agreed to, any
deposition of:

(a) plaintiff shall take place within the federal district in
which that plaintiff resides;

(b} current and former employees and officers will take place
in the federal district of such employees’ or officers' place
of business. Defense counsel will make reasonable efforts to
obtain the agreement of former employees of defendants to
appear at the same location as current employees of the same
defendant. Absent such agreement, that deposition will take
place either within the federal district in which the former
employee resides or at a location mutually agreeable to the
former employee and the parties.

H. Conduct of Depositions.

(1) Cooperation. Counsel are expected to cooperate with, and
be courteous to, each other and deponents during the course
of any deposition. Counsel shall refrain from engaging in
colloquy during depositions. There shall be no smoking or use
of other tobacco products or eating in any room in which a
deposition is being conducted, including before, during or
after a deposition, or in the deposition room during
deposition recesses. Beverages will be permitted. Counsel
shall recess from time to time during the deposition for
meals and to permit periods of rest or refreshment reasonably
required by the deponent, stenographer(s} and/or counsel
conducting or defending the deposition.

(2) Deposition Day. Absent agreement of the parties to the
deposition, a deposition day shall be no longer than seven
(7) hours of actual examination time.

{3} Continuance of Deposition. If a deposition is not
completed by 1:00 p.m. on a Friday, the deposition will
recommence on the next business day, subject to the
availability of the witness. If the witness is not availabie
for deposition on the next business day, the deposition will
continue on a date to be agreed upon by counsel or, if
agreement cannot be reached, a date specified in a notice of
continued deposition. Where a notice of continued deposition
is required, service of notice ten (10) or more days prior to
the date specified for the continued deposition shall be
deemed adequate notice.

(4) Examination. The party noticing a fact deposition shall
designate no more than two attorneys to conduct the
examination of the deponent. If two attorneys are designated,
the examinations conducted shall not be redundant or
repetitive, although clarification of prior testimony may be
sought if reasonably calculated to elicit testimony that adds
to the substance of prior testimony. No further examination
by counsel for MDL 1407 plaintiffs shall be permitted except
by agreement or good cause shown. Examination by other
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parties shall be permitted, but in no event shall it exceed
the limitations regarding redundancy or repetition applicable
to attorneys conducting the direct examination of the
deponent, all as set forth above. Only one attorney may
represent the deponent at any given time.

(5) Objections and Directions Not to Answer. Unless otherwise
agreed by the parties, and noted on the record, the following
stipulations shall apply to all depositions in this action:
(a) Unless otherwise specified by any defendant, an objection
by a single defendant shall be deemed an objection by all
defendants. However, unless otherwise specified, an
instruction not to answer by one defendant should not be
deemed an instruction not to answer by all defendants.

{b) All objections are reserved until trial or other use of
the deposition, except those objections regarding the form of
the question or the existence of a privilege. Objecting
counsel shall say simply the word “objection”, and no more,
to preserve ali objections as to form. Only 1f one of the
examining counsel request clarification shall the basis of
the objection be stated, and then only the short title of the
rule (e.g., “lack of foundation" or “calls for speculation")
shall be stated by objecting counsel. If the examining
attorney requests further clarification, at that attorney's
request the deponent shali leave the room while the detailed
nature of the objection is clarified and/or discussed.

(c}) Counsel shall not direct or request that a witness refuse
to answer a question, unless that counsel has objected to the
question on the ground that the question seeks privileged
information, information that the Court has ordered may not
be discovered, or a deponent seeks to present a motion to the
Court for termination of the deposition on the grounds that
it is being conducted in bad faith or in such a manner as
unreasonably to annoy, embarrass, or harass the party or the
deponent. When a privilege is claimed, the witness shall
nevertheless answer questions relevant to the existence,
extent or waiver of the privilege, such as the date of a
communication, who made the statement, to whom and in whose
presence the statement was made, other persons to whom the
contents of the statement was made, any other person to whom
the contents of the statement has been disclosed, and the
general subject matter of the communication.

(6) Objections to Documents. All objections to the
admissibility of any documents used during the course of a
deposition are deemed reserved until the time of trial or use
in any dispositive motion. No objections to the use of any
document are necessary or shall be noted on the record.

(7) Private Consultations. Private consultations between
deponents and their attorneys during the course of
examination are improper except for the purpose of
determining whether a privilege should be asserted. Unless
prohibited by the Court for good cause shown, such
conferences may be held during normal recesses and
adjournments,

(8) Disputes During Depositions. Disputes arising during
depositions that cannot be resolved by agreement and that, if
not immediately resolved, will significantly disrupt the
discovery schedule or require rescheduling of the deposition,
or might result in the need to conduct a supplemental
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deposition, shall be presented to the Court by telephone by
Calling the Court's Chambers. In the event the Judge is not
available, the deposition shall continue as to matters not in
dispute with full reservation of rights to continue the
examination objected to pending a ruling at the earliest
possible time.

If the nature of the dispute would not require the
continuance of the deposition pending resolution thereof, the
parties may elect to either present the matter to the Court
by telephone at a time when the parties and the Court are
available, or to present the dispute to the Court in writing.
Tf the parties elect to present the dispute to the Court in
writing, each side must submit on one (1) page a summary of
its position and any authority relevant to the dispute. The
Court will issue a prompt ruling, as its schedule permits.
Nothing contained herein shall prohibit examining counsel
from continuing with the deposition, filing an appropriate
motion with the Court at the conclusion of thereof, and
appearing personally before the Court if argument is
permitted by the Court and counsel deems it necessary.
Disputes between the parties should be addressed to this
Court rather than to the District Court in which the
Geposition is being conducted.

(9) Copies of Exhibits. A copy of any document about which
examining counsel expect to question the deponent should
ordinarily be provided to primary counsel for the parties and
the deponent at the time presented to the deponent and
his/her counsel.

{10} Marking of Deposition Exhibits. Any documents previously
produced by defendants or third parties used as exhibits ina
deposition shall be referred to by any Bates stamp number(s)
appearing on the face of the documents, and a copy thereof
shall be included with the original deposition transcript.
Documents that do not have Bates stamped number(s) shall be
separately marked with sequential exhibit numbers. For
example, if the deponent'’s name is “John Smith", the first
exhibit to his deposition that has no identifiable Bates
stamp number on its face shall be marked “Smith No. 1." The
Same document presented as an exhibit at subsequent
depositions shall continue to be referred to as originally
marked, and counsel should avoid marking that document with a
different exhibit number at any subsequent deposition.

(11) Depositions Pursuant to Rule 30(b) (6). In those
instances when the Plaintiffs serve a deposition notice
pursuant to Fed. R. Civ. P. 30(b) (6),, the following shall
apply (in addition to the foregoing general procedures
governing depositions}:

{a) Depositions taken pursuant to F.R.C.P. 30(b) (6) will be
taken pursuant to the Federal Rules of Civil Procedure and
applicable case law.

(b) The party wishing to take the deposition will in good
faith describe with reasonable particularity the categories
on which the party is requesting examination. Within a
reasonable period of time after receiving the notice, the
party to be deposed will in good faith attempt to inform the
discovering party if it believes that multiple witnesses will
be necessary to respond to the requested categories of
information and to which category each witness will be
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produced to respond.
(12) Stenographic Recording. A certified Court reporter shall

stenographically record all deposition proceedings and
testimony. The Court reporter shall administer the oath or
affirmation to the deponent. A written transcript by the
Court reporter, together with copies of all exhibits marked
or referred to during the deposition, shall constitute the
official record of the deposition for purposes of Fed. R.
Civ. P. 30{e) (submission to the witness) and 30(f) (filing,
exhibits). The transcript shall also contain the name of any
attorney and any other person attending the deposition
together with the name of his or her firm or organization,
business address and, if applicable, the name of the person
or organization he or she represents. The court reporter
shall be requested to furnish the transcript in electronic
form (floppy disks) in text-readable form and hard copy in
Min-U-Script format to the representative of plaintiffs
conducting the deposition and a designated representative of
defendant attending or defending the deposition.

{13) Videotaped Depositions. Any deposition may be videotaped
at the request of any party pursuant to notice under the
following terms and conditions:

(a) All videotaped depositions shall be simultaneously
stenographically recorded in accordance with this Order.

(ob) The party requesting videotaping ef the deposition shall
bear the expense of both the videotaping and the stenographic
recording. Requests for the taxation of these costs and
expenses may be made at the conclusion of the litigation in
accordance with applicable law.

(c}) The operator(s} of the videotape recording equipment
shall be subject to the provisions of Fed. R. Civ. p. 2Bic).
At the commencement of the deposition the operator(s) shall
swear or affirm to record the proceedings fairly and
accurately.

(d) At the commencement of the deposition, each witness,
attorney and any other person attending the deposition shall
identify themselves on camera.

(e} No attorney or party shall direct instructions to the
video operator as to the method of operating the equipment.
The video camera operation will be suspended during the
deposition only upon stipulation by counsel and "off the
record” discussions. The video operator shall record on
camera the time of suspension and any subsequent reconvening
of the deposition.

{£) The deposition will be conducted in a manner to
replicate, to the extent feasible, the presentation of
evidence at trial. Unless physically incapacitated, the
deponent shall be seated at a table except when reviewing or
presenting demonstrative materials for which a change in
position is needed. To the extent practicable, the deposition
will be conducted in a neutral setting, against a solid
background, with only such lighting as is required for
accurate video recording. Lighting, camera angle, lens
setting, and field of view will be changed only as necessary
to record accurately the natural body movements of the
deponent or to portray exhibits and materials used during the
deposition. Sound levels will be altered only as necessary to
record satisfactorily the voices of counsel and the deponent.
Case 2:02-cvG gama Opsdtrent 36 Filed O11 Page 372 of 47ase 13 of 19

(g) If the party noticing the deposition does not intend to
convert the videotape to digital form, the videotape operator
shall use a counter on the recording equipment and after
completion of the deposition shall prepare a log, cross-
referenced to counter numbers, that identifies the
depositions on the tape at which examination by different
counsel begins and ends, at which objections are made and
examination resumes, at which exhibits are identified, and at
which any interruption of continuous tape-recording occurs,
whether for recesses, “off-the~record” discussions,
mechanical failure, or otherwise.

(h) After the deposition is completed, the video operator
shall certify on camera the correctness, completeness, and
accuracy of the videotape recording in the same manner as a
stenographic Court reporter, and file a true copy of the
video tape, the transcript, and certificate with Liaison
Counsel for whomever noticed the deposition.

{i) Technical data, such as recording speeds and other
information needed to replay or copy the tape, shall be
included on copies of the videotaped deposition.

During the videotaping of a deposition, the questioner may
use a two-video camera system with monitors available for use
by counsel.

(14) Telephonic Depositions. By indicating in its notice of
deposition that it wishes to conduct the deposition by
telephone, a party shall be deemed to have moved for such an
order under Fed.R.Civ.P. 30(b)(7}. Unless an objection is
filed and served within ten calendar days after such notice
is received, the court shall be deemed to have granted the
motion. Other parties may examine the deponent telephonically
or in person. However, all persons present with the deponent
shall be identified in the deposition and shall not by word,
sign, or otherwise coach or suggest answers to the deponent.
(15) Supplemental Depositions. Each party whe did not have
reasonable netice of a fact deposition and who was not
present or represented at the deposition (including parties
later added and parties in cases subsequently filed in,
removed to, or transferred to this Court) may, within thirty
(30} days after filing of the deposition (or, if later,
within sixty (60) days after becoming a party in any action
which is transferred to this Court), file a motion to conduct
a supplemental deposition of the deponent. Each party who
wishes to take a supplemental deposition must certify that
their attorney has read the prior deposition, and state
specifically the areas of inquiry not previously addressed
and sought to be pursued in the deposition sought. Within
fifteen (15) days of the filing of any such motion, any party
may file an opposition to the motion and seek a protective
order prohibiting the supplemental deposition on the grounds
that the MDL 1407 deposition fully covered the area or areas
sought to be explored in the supplemental deposition, that
the testimony is not relevant, or any other reason thought
valid.

{a) No further deposition by any party having received notice
of the original deposition will be permitted, except upon
order of this Court on good cause shown. A showing by the
moving party that a supplemental deposition is reasonably
calculated to lead to the discovery of admissible evidence
Case 2:02-0v Se OMBAMent 36 Filed 01/ ge Page 373 of 47 Fase !6 of 19

necessary to protect the interests of the moving party shall
constitute good cause.

{b) If a supplemental deposition is permitted by the Court or
unopposed, it shall be treated as the resumption of the
deposition originally noticed. During the resumed deposition,
— the prohibitions regarding redundant or repetitive
examination contained herein are fully applicable. The
resumed deposition shall be taken at the same location as the
initial deposition unless otherwise agreed to by the parties
and the deponent.

{16) Copies of Transcripts and Videotapes. Subject to any
restrictions contained within the Stipulated Confidentiality
Order, any party may at its own expense obtain a copy of the
videotape and the stenographic transcript by contacting
counsel noticing the deposition or the court reporter.

(17) Correction and Signing Depositions. Unless waived by the
deponent, the transcript of a deposition, or any portion
thereof, shall be submitted to the deponent for correction
and signature within thirty (30) days after the completion of
the deposition or any portion thereof, uniess the Court
allows a supplemental deposition pursuant to this Order. If a
supplemental depesition is allowed, the transcript thereof
shall be submitted to the deponent as soon as it is available
for distribution. A deposition transcript, or a transcript of
a portion thereof, may be signed by the deponent before any
notary within thirty (30) days after the transcript, or any
portion thereof, is submitted to the deponent. If no
corrections are made during this time, the transcript will be
presumed accurate.

(18) Use of Depositions. Under the conditions prescribed in
Fed. R. Civ. P. 32{a) (1) ~ (4) or as otherwise permitted by
the Federal Rules of Evidence, depositions may be used
against any party (including parties later added and parties
in cases subsequently filed in, removed to, or transferred to
this Court as part of this litigation) who:

{a) was present or represented at the deposition; or

(b) had reasonable notice thereof, or

(¢) within ninety (90) days after the deposition is taken or
Within one hundred and twenty (120) days after becoming a
party to MDL 1407 fails to show just cause why such
deposition should not be used against such party.

(19) Document Subpoenas to Non-Parties. Commencing upon entry
of this Order, any party may serve subpoenas on non-parties
for the production of documents without testimony pursuant to
Fed. R. Civ. P. 45,

VI. FACT DISCOVERY OF PLAINTIFFS.

Plaintiffs and Defendants, through their appointed Lead
Counsel, are to confer regarding the nature and extent of
discovery of plaintiffs in MDL 1407, as well as deadlines and
proposed procedures for the conduct of same, and to report
back to the Court at the earliest practical time as agreed by
Lead Counsel, but no later than thirty (30) days from the
date of this Order or the next regularly scheduled Status
Conference, whichever first occurs. Plaintiffs, however,
shall produce copies of any medical records in their
possession referring or related to the injuries alleged in
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their actions within 30 days of the entry of an Order
concerning discovery of plaintiffs or sixty (60) days from
the date of this Order, whichever first occurs.

VII. EXPERT DISCOVERY

To date, the parties have not agreed whether science and/or
expert witness issues involved in this litigation should be
resolved in this MDL and, if so, the nature, extent and
procedures of discovery regarding those issues and/or
experts. However, the parties have agreed to continue to
attempt to reach an agreement on these issues within the
proposed Joint Science Committee, all as proposed in the
Joint Submission of the parties dated November 30, 2001. The
Joint Science Committee shall meet and shall report to the
Court on or before January 11, 2002. At that time, the
committee shall provide the Court with a recommended expert
discovery schedule, including an expert cutoff date. If the
committee cannot reach an agreement, it shall report the
disagreement to the Court on January 11, 2002, and shall
submit separate proposals by January 18, 2002.

VITI. FAILURE TO COMPLY WITH DISCOVERY REQUESTS.

A party's failure to either produce a relevant document or
identify same as withheld pursuant to a privilege may be
viewed by the Court as an infraction of its orders,
justifying appropriate sanctions. Upon learning of any
relevant document(s) which have not been produced or
identified, a party is under an obligation to promptly make
known the existence of the documents, including the reason
for failing to produce same, and submit the document to
opposing Lead Counsel, or if withheld under a claim of
privilege or protection, identify the documents and the
corresponding privilege in the manner described above.

IX. PRODUCTION OF DOCUMENTS FROM PRIOR LITIGATION.

The parties shall meet and confer to resolve disputes over
the extent of discovery of documents from prior litigation
and shall provide the Court with an agreement by January 11,
2002. If the parties are unable to agree on the extent of
discovery, they shali submit separate proposals by January
18, 2002.

X. CLASS ACTIONS.

A. Economic Injury Class Actions. As of the date of this
Order, the Court lifts the stay imposed on potential class
certification proceedings. Plaintiffs in Sims v. The Delaco
Company et al. (C01-1705R) have agreed to voluntarily dismiss
their complaint.

(1) Class Certification Discovery and Briefing Schedule. The
defendants and plaintiffs shall meet and confer regarding
potential stipulations, a discovery plan, and a briefing
schedule for the economic injury class certification issue.
Counsel shall contact the Court on or before January 7, 2002,
to inform the Court of the agreed schedule or, if agreement
cannot be reached, to present separate proposals.

(2) Merits Discovery and Other Deadlines. Non-expert merits
discovery shall end on December 31, 2002. Merits discovery in
the class actions shall be coordinated with merits discovery
in the personal injury actions, so that no duplicative
discovery shall be taken and so that discovery taken in non-
MDL cases shall be applicable in the class actions to the
same extent that it is applicable in the MDL personal injury
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actions. To the extent that relevant merits discovery
commences in the personal injury actions before the Court
rules on the class certification issue in the economic injury
class actions, the parties in the economic injury class
actions can and shall participate so as to avoid duplicative
discovery.

A schedule for expert discovery, Daubert motions, summary
judgment motions and remaining dates applicable in the class
action cases shall be set at a later date.

B. Personal Injury Class Actions. Defendants shall file a
motion to strike class allegations on or before January 25,
2002. If plaintiffs contend discovery is necessary before
they can respond to defendants’ motion, plaintiffs shall file
their motion for discovery by February 1, 2002. The motion
should include the specific areas of discovery required and
the reason discovery is needed, as well as proposed dates for
discovery. Defendants may file a response to the discovery
motion by February §, 2002. No reply will be filed.

If the Court denies the motion for discovery, plaintiffs
shall file their opposition to defendants* motion to strike
class allegations within seven {7) days of receiving the
Court's decision. The defendants‘ reply shall be filed within
fourteen (14) days of receiving the opposition, and any sur-
reply by the plaintiffs shall be due fourteen (14) days after
receiving the reply. If the Court grants the motion for
discovery, the parties shall follow the briefing schedule
provided by the Court in that order.

If the plaintiffs do not bring a motion for discovery,
Plaintiffs shall file their opposition to the motion to
strike class allegations on February 28, 2002. Defendants
shall file their reply on March 15, 2002, and plaintiff shall
file any sur-reply by March 29, 2002,

XI. OTHER PROVISIONS

A. Individual Appointment of Plaintiff Counsel. The Court has
appointed specific plaintiffs counsel to various positions on
the expectation of their personal contribution to the work of
the Plaintiffs' Lead Counsel, Steering Committee ("PSC") and
other Committees and to the furtherance of the completion of
the MDL portion of PPA litigation. For this reason, the Court
will look to the Lead Counsel and the individual members of
the Plaintiffs' various committees to satisfy the goals that
the Court expects the PSC and the various Committees to
achieve. The Court will likewise consider the contribution of
each member of the PSC and its Committee members when the
Court is called upon to determine appropriate compensation
for service on the PSC and its Committees. While the Court
recognizes that each of the above members will require the
assistance of partners, colleagues, paralegals, support staff
and others in the fulfillment of thezrr committee assignments,
the Court will expect the individual members to be
responsible for the ultimate outcome of the activities
performed by the PSC and its Committees.

B. Time and Expense Keeping. Counsel who anticipate seeking
an award of attorney's fees and reimbursement of expenditures
shall comply with the directives contained in the Manual for
Complex Litigation, Third, §41.32 regarding the maintenance
of contemporaneous records reflecting the services performed
and the expenses incurred. The Court will address, ina
Case 2:02-cv GRRE ug sctens Ofsetierlent 36 Filed on iy Page 376 of 47 2Page 19 of 19

future CMO, the extent to which an assessment will be ordered
in this matter.

C. Privileges Preserved. No communication by and between the
respective parties’ Lead Counsel, their Liaison Counsel
and/or members of their respective Committees shall
constitute a waiver of any privilege or protection to which
it would otherwise be entitled.

RII. MEXT STATUS CONFERENCE.

The next status conference is scheduled for
At the next and all future status conferences, the parties
are to provide to the Court within five (5) business days
before each status conference an agreed upon agenda for the
conference, and shall provide a brief (1-2 paragraph) summary
of the party positions as to any disputed issues.

XIII. PERSONS BOUND BY THIS ORDER.

This Order shall be binding on all persons with

cases docketed in MDL 1407.

fsf
BARBARA JACOBS ROTHSTEIN

UNITED STATES DISTRICT JUDGE

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
ALIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC, SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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CIVIL ACTION
NO 02-CV-2436
JUDGE ENGELHARDT

MAGISTRATE JUDGE SHUSHAN

CROSS-NOTICE OF VIDEOTAPED DEPOSITION OF BILL CARSON

PLEASE TAKE NOTICE that Plaintiffs will take the deposition upon oral examination

of Mr Bill Carson, now or formerly an employee of Bayer Corporation, on September 26, 2002,

at the law office of Fulbnght & Jaworsk:, 666 Fifth Avenue, New York, NY (212-318-3000,

www fulbright com), beginning at 9 00 am and continumg until completed

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Case 2:02-cv 025 2@@ BIR Document 36 Filed ov Page 378 of 472

The deposition will be conducted pursuant to the provisions of Case Management Order
No 1,’ will be stenographtcally recorded by the court reporting firm of Tate & Tate, 180
Tuckerton Road, Suite 5, Medford, NJ 08055 and will be videotaped by Lawyers’ Video
Service, Inc, 33 Rock Hill Road, Bala Cynwyd, PA 19004 The examnnation will also be
videotaped by Veritext, 25B Vreeland Road, Florham Park, NJ 07932, which will have a video
camera trained on the questioner during the examination Steven Rotman and/or Michelle Parfitt
or James Green will represent plaintiffs

You are at liberty to appear and examine the witness

DATED this Ye day of September, 2002

Respectfully submitted,

CALS

Mary L Meyer, Esq (19966)

John F Olinde (1515)

Charles P Blanchard (18798)

CHAFFE, MCCALL, PHILLIPS,
TOLER & SARPY, L.L.P.

2300 Energy Centre, 1100 Poydras Street

New Orleans, LA 70163-2300

Telephone (504) 585-7000

Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that I have on this “/ ~~ day of September, 2002, served a copy of the
foregoing pleading on counsel for all parties to this proceeding, by hand delivery, facsimile, or

by depositing the same in the United States mail, properly addressed, and first-class postage

prepaid 4 i

" A copy of the Case Management Order No 1 1s attached to a prior Cross-Notice of Deposition filed in this case

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Case 202 ev 0c gr Document 36 Filed “"~ Page 379 of 472

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UNITED STATES DISTRICT COURT CLERK

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY
AND JEROME DONNELLY, HUSBAND

VERSUS

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BAYER CORPORATION, NOVARTIS *
PHARMACEUTICALS CORP , NOVARTIS *
CONSUMER HEALTH, INC , 4LIFE RESEARCH, *
LC SUCCESSOR BY MERGER TO SHAPERITE *
SMOOTHIE KING CO , SMOOTHIE KING *
SYSTEMS, INC , WALGREEN LOUISIANA *
COMPANY, INC (D/B/A “WALGREENS”) *

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CIVIL ACTION NO
02-2436

SECTION "N"

MAGISTRATE "1"

MOTION TO DISMISS PURSUANT TO F. R.C. P. 12(b)(6)

NOW INTO COURT, through undersigned counsel, comes defendant, Walgreen Louisiana

Company, Inc (hereafter “Walgreens”), and respectfully moves this Honorable Court to dismiss the

Petition for Damages of plaintiffs The claims of plaintiffs have failed to state a cause of action

against the defendant upon which relief can be granted Therefore, defendant 1s entitled to a

dismissal with preyudice

Respectfully submitted,

Telephone (985) 792-1062
Facsimile (985) 792-1065
Email maill@trurttlaw com

Counsel for Walgreen Louisiana Company, Inc
Case a0 2c 02S gm Document 36 Filed oe Page 380 of 472

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing has been duly served on all counsel
of record by depositing same into the US Mail, postage pre-paid, this August 27, 2002, or by any
other means authorized by law

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Case 2:02-cv-0252 aR Document 36 Filed Oe Page 381 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY CIVIL ACTION NO
AND JEROME DONNELLY, HUSBAND 02-2436
VERSUS SECTION "N"

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BAYER CORPORATION, NOVARTIS * MAGISTRATE "1"
PHARMACEUTICALS CORP , NOVARTIS *
CONSUMER HEALTH, INC , 4LIFE RESEARCH, *
LC SUCCESSOR BY MERGER TO SHAPERITE *
SMOOTHIE KING CO , SMOOTHIE KING *
SYSTEMS, INC , WALGREEN LOUISIANA *

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COMPANY, INC (D/B/A “WALGREENS”)

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MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

MAY IT PLEASE THE COURT
This Memorandum 1s submitted on behalf of defendant, Walgreens

Facts

Plaintiffs, Daphine B Donnelly and Jerome Donnelly, claim that on January 12, 1991, Ms
Donnelly, had a prescription filled ata Walgreen’s Drugstore, location not specified 1n the Petition
for Damages She claims that an employee of Walgreen’s incorrectly filled her prescription
Plaintiffs claim that they have suffered damages as a result of the negligent acts of the Walgreen’s
pharmacist Plaintiffs did not file suit in this Honorable Court until July 2, 2002 Defendant,
Walgreen Louisiana Company, Inc , contends that the claims of plaintiffs are clearly prescribed on
the face of the Petition for Damages Therefore, this Honorable Court must grant the Motion to

Dismiss
Case e02-ev-0252 @™ Document 36 Filed woe Page 382 of 472

Argument

Pursuant to Article 3492 of the Louisiana Crvil Code, a delictual action must be filed within
one year “from the day injury or damage 1s sustained ” F R C P Rule 12 (b)(6) provides that a court
should dismiss a plaintiff's complammt for failure to state a clam upon which relief can be granted.

In this case, plaintiffcontends that the Walgreen’s pharmacist negligently filied a prescription
on January 12,1991 However, the lawsuit was not filed 1n this Honorable Court until July 2, 2002
Therefore, plaintiffs’ lawsuit 1s untimely and must be dismissed based upon the Motion to Dismuss

Conclusion

Plaintiffs’ lawsuit 1s clearly prescribed as 1t was not filed within one year from the date that
an alleged injury was sustained as a result of the alleged wrongful acts of the defendant Therefore,
this Honorable Court must grant the Motion to Dismiss

Respectfully submitted,

THE TRUITT LAW FIRM

A Limited ompaii:

CK E TRUITT, BARNO 18476, TA
251 Highway 21
onville, Louisiana 70447

Telephone (985) 792-1062
Facsimile (985) 792-1065

Email: mail@truittlaw com

Counsel for Walgreen Louisiana Company, Inc

Case 2:02 cv-025 gm Document 36 Filed "~~ Page 383 of 472

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing has been duly served on all counsel
of record by depositing same into the US Mail, postage pre-paid, this August 27, 2002, or by

any other means authorized by law

Case 2:02-cv Oeog@R Document 36 Filed “""@ Page 384 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY CIVIL ACTION NO
AND JEROME DONNELLY, HUSBAND 02-2436
VERSUS SECTION "N"

BAYER CORPORATION, NOVARTIS

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* MAGISTRATE "1"
PHARMACEUTICALS CORP , NOVARTIS *

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CONSUMER HEALTH, INC , 4LIFE RESEARCH,
LC SUCCESSOR BY MERGER TO SHAPERITE
SMOOTHIE KING CO , SMOOTHIE KING

SYSTEMS, INC , WALGREEN LOUISIANA
COMPANY, INC (D/B/A “WALGREENS”)

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NOTICE OF MOTION
PLEASE TAKE NOTICE that defendant, Walgreen Lousiana Company, through
undersigned counsel, will bring on for hearmg 1ts Motion to Dismiss before the Honorable Kurt
Engelhardt, Judge, on the 18" day of September, 2002, at 9 30am

Respectfully submitted,

JACK E/ TRUITT, BAR NO 18476, TA
51 Highway 21
Sonville, Louisiana 70447

Telephone: (985) 792-1062
Facsimile. (985) 792-1065

Counsel for Walgreen Louisiana Company, Inc
Case 2:02 ev 0252S SR Document 36 Filed “"@ Page 385 of 472

CERTIFICATE OF SERVICE

I hereby certify that a copy of the above and foregoing has been duly served on all counsel
of record by depositing same into the U S Mail, postage pre-paid, this August 27, 2002, or by

any other means authorized by law,_.

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*** There will be no noticing for this document. ***

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JS. DISTRICT COURT
TASTERH DISTRICT GF LA

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CLERK

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, ET VIR CIVIL ACTION NO 02-CV-2436
VERSUS SECTION N - JUDGE ENGELHARDT
BAYER CORPORATION, ET AL MAGISTRATE JUDGE SHUSHAN

ANSWER OF DEFENDANT, 4LIFE RESEARCH, LC

Defendant, 4Life Research, LC, through Its undersigned counsel, answers
plaintiffs’ removed petition thus
1
It denies J[1 for lack of knowledge and information sufficient to justify a belief in
the truth thereof
2
It denies §D and Is not required to admit or deny the remainder of Fj2
3

It is not required to admit or deny Ff

Case e02-ev Oech Document 36 Filed ov@® Page 388 of 472

4
It denies ¥J4

5
It denies 95 as written

6
It denies 96 as written

7
It denies J[7

8

It denies J[8 for lack of knowledge and information sufficient to justify a belief in

the truth thereof

It denies 79 as written
10
It denies 710 for lack of knowledge and information sufficient to justify a belief in
the truth thereof.
11
It denies 711
12
It denies [12 for lack of knowledge and information sufficient to justify a belief in

the truth thereof

Case ee Document 36 Filed ove Page 389 of 472

13
It denies 713 for iack of knowledge and information sufficient to justify a belief in
the truth thereof
14

It denies 414 for lack of knowledge and information sufficient to justify a belief in

the truth thereof
15
It denies 15
16
It denies 716
17
It denies 417
15[sic]
it denies ¥15[sic]
16[sic]
It denies 716{sic]
17[sic}

It denies J17[sic] for lack of knowledge and information sufficient to justify a
belief in the truth thereof

AND NOW, FURTHER ANSWERING, defendant avers that

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21
Plaintiffs’ complaint fails to state a claim upon which relief can be granted against
this defendant
22
Plaintiffs’ cause of action, if any, has prescribed by operation of law
23
There ts no causal connection between defendant's product and plaintiffs’
alleged Injuries and damages because Mrs Donnelly’s January 12, 1991 stroke
occurred before defendant's product was on the market
24
Plaintiffs’ alleged imjuries and damages were caused, in whole or tn part, by the
acts or omissions of others over whom this defendant had no contro! and for whom this
defendant bears no liability or responsibility
25
Plaintiffs’ alleged injuries were caused by intervening and/or superceding causes
that were the proximate and/or sole causes of the plaintiffs’ alleged injuries
26
Plaintiffs’ alleged damages were caused by their own fault, neglect, and/or want

of care, which ts specifically pled herein as a bar or in diminution of recovery

Case eee Oeoc gga Document 36 Filed v@ Page 391 of 472

WHEREFORE, defendant, 4Life Research, LC, prays that plaintiffs’ action be
dismissed with prejudice at their costs and for any and all other general and equitable
relief

Respectfully Submitted,

LEMLE & KELLEHER, L.L.P

By

abd BRAD Me (#3371)

N KELL . (#25124)
Poydras te 2100

New Orleans, LA 70130-6097

Telephone (504) 584-9170

Fax (504) 584-9142

Attorneys for defendant,

4Life Research, LC

CERTIFICATE OF SERVICE

| hereby certify that a copy of the above pleading has been served on all
known counsel for all parties to this litigation by United States Mail, properly addressed

and postage prepaid, or hand-delivery, on this_ 72 day of August, 2002

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J fps KELLY U

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *
* NO 02-CV-2436
VERSUS *
* JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS *
PHARMACEUTICALS CORPORATION, * MAGISTRATE JUDGE SHUSHAN
NOVARTIS CONSUMER HEALTH, INC, *
4LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *
CO ,INC , SMOOTHIE KING SYSTEMS, *
INC , and WALGREEN LOUISIANA CO, *
INC (D/B/A “WALGREENS”)

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BAYER CORPORATION’S MOTION FOR DISMISSAL
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

NOW INTO COURT, through undersigned counsel, comes defendant Bayer Corporation
(“Bayer”), who respectfully moves the Court for dismissal, pursuant to Federal Rule of Crvil

Procedure 12(b)(6), of plaintiffs’ claims in negligence, gross negligence and strict lability on the

grounds that they fail to state clams upon which relief can be granted The Louisiana Products

Liability Act (“LPLA”), La RS 9 2800 51 et seq, establishes the exclusive theones of recovery

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against a manufacturer, and it does not provide for the recovery of the aforementioned claims

The grounds for this motion are more fully set forth mm the attached memorandum

Resp UZ, sub Se
Mary L { (La Bar No 19966)
John F Olinde (La Bar No 1515)
Charles P Blanchard (La Bar No 18798)
CHAFFE, McCALL, PHILLIPS,

TOLER & SARPY, L.L.P.
2300 Energy Centre, 1100 Poydras Street
New Orleans, LA 70163-2300
Telephone No (504) 585-7000
Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I do hereby certify that I have on this Wt day of tke v3€ _, 2002, served a

copy of the foregomg pleading on counsel for all parties to this proceeding, by mauling the

same by United States mail, properly addressed, and first class postage prepaid

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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA
DAPHINE B DONNELLY, and CIVIL ACTION
JEROME DONNELLY, Husband
NO 02-CV-2436
VERSUS
JUDGE ENGLEHARDT
BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC,
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO,INC , SMOOTHIE KING SYSTEMS,
INC, and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS’”)

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MAGISTRATE JUDGE SHUSHAN

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MEMORANDUM IN SUPPORT OF
BAYER CORPORATION’S MOTION FOR DISMISSAL
PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(b)(6)

1. Factual Background

The plamtiffs make numerous claims in their Petition agaist Bayer Corporation
(“Bayer”), all of which are based on the premise that Bayer sold and advertised Alka Seltzer Plus
medicime, which contained phenylpropanolamine (PPA) See Petition, [J 2, 9

The plaintiffs allege that Daphine Donnelly’s ingestion of Bayer’s products contamng
PPA caused her to suffer a stroke on January 12,1991 See Petition, 10 Plaintiffs have made a

claim against Bayer as a manufacturer under the provisions of the Louisiana Products Liability

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Act (“LPLA”), La RS 9280051 et seg See Petition, 15 They have also asserted claims
against Bayer in negligence, gross negligence and strict ability See Petition, | 16 Plaintiffs’
causes of action agaist Bayer are limited to those expressly available under the LPLA The
LPLA does not allow recovery under theories of negligence, gross negligence and strict lability
Accordingly, the Court should dismiss all of these claims for failure to state a claim upon which
rehef can be granted

2. Standards applicable to a Motion to Dismiss for Failure to State a Claim under
Federal Rule of Civil Procedure 12(b)(6).

The Court should dismiss a plaintiffs complaint for failure to state a claum under Rule
12(b)(6) when the plamtff fails to plead specific facts entitlng her to relief Conclusory
allegations or legal conclusions do not suffice See, eg, Campbell v City of San Antonio, 43
F 3d 973, 975 (5th Cir 1995), Blackburn v Cuy of Marshall, 42 F 3d 925, 931 (Sth Cir 1995)

The plaintiff's complaint must contain direct allegations on every material point necessary
to sustain recovery or contain allegations from which an mference fairly can be drawn that
evidence on these material points will be introduced at tral Campbell v City of San Antonio, 43
F 3d at 975 Dismissal 1s proper if the complaint lacks allegations regarding a required element
necessary to obtain relief The Court 1s not required to "conjure up unpled allegations or construe
elaborately archaic scripts" to save a complaint Campbell, 43 F 3d at 975, quoting Gooley v
Mobil Oil Corp , 851 F 2d 513,514 (1st Cir 1988)

In deciding a motion to dismiss for failure to state a claim, courts generally limit their
inquiry to the facts stated in the complaint and the documents attached to or incorporated in the

complaint See, eg, Lovelace v Software Spectrum, Inc , 78 F 3d 1015, 1017 (Sth Cir 1996)

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But the Court may also consider documents that the plaintiff references in her complaint that are
central to her claims, even if not attached See, eg, Greenberg v Life Ins Co of Virginia, 177
F3d 507, 514 (6" Cir 1999} (insurance policies attached to motion to dismiss could be
considered in deciding a motion to dismiss because the plaintiff referred to the policies in the
complaint and the policies were central to the plaintiff's claims)

Applymg these standards, plaintiffs’ factual pleadings fail to state numerous causes of
action and those causes of action should be dismissed

3. The Louisiana Products Liability Act Is The Controllmg Substantive Law

The LPLA' became effective on September 1, 1988 and controls plaintiffs’ claims against
Bayer in this diversity action Stevens v Witco Corp , 198 F 3d 539 (5 Cir 1999) (“because the
basis for federal jurisdiction in this case 1s diversity of citizenship, Louisiana substantive law
apples”) Under the LPLA, plaintiff has the burden of proving that an allegedly defective
product was unreasonably dangerous in one of four ways 1) construction or composition, 2)
design, 3} because of an inadequate warning, or 4) because of nonconformity to an express
warranty 7 Ashley v General Motors Corp , 22, 851 (La App 4" Cur 5/ 16/95), 666 So 2d 1320,
1322

4, All of Plaintiffs’ Non-LPLA Causes of Action Against Bayer Must be
Dismissed

A claimant may not recover from a manufacturer for damage caused by a product on the
basis of any theory of hability that 1s not set forth mn the LPLA The LPLA expressly provides
“A claimant may not recover from a manufacturer for damage caused by a product on the basis of

any theory of lability of set forth mn the LPLA” La RS 92800 52 (emphasis added) Based

La RS 9280051 et seq
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on this unequivocal statutory language, courts routinely dismiss claims against manufacturers
that do not arise under the LPLA See, eg, Jefferson v Lead Industries, 106 F 3d 1245, 1251
(s" Cr 1997) (affirming dismissal of plamtffs claims of negligence, fraud by
musrepresentation, market share lability, breach of 1mphed warranty of fitness, and civil
conspiracy due to exclusivity of the LPLA), Brown v RJ Reynolds Tobacco Co , 852 F Supp 8,
9(ED La 1994), aff'd, 52 F 3d 524 (s™ Cir 1995) (dismissing plaintiff's claims for fraudulent
musrepresentation, concealment, and conspiracy due to LPLA’s exclusivity), Grenier, 99
F Supp 2d 759, 765-63 (WD La 2000), affd, 243 F3d 200 (s” Cir 2001) (holding that
plaintiffs clams for strict habihty, negligence, breach of warranty of fitness for particular
purpose, breach of imphed warranty, misrepresentation, fraud by concealment, false advertising,
negligent infliction of emotional distress, common plan to prevent public awareness of breast
unplant hazards, and future product failure were not cognizable under the LPLA) The plaintiff's
claims in this case for negligence, gross negligence and strict hability are “well outside the scope
of the LPLA and must be dismmssed ” Grenier, 99 F Supp 2d at 763

CONCLUSION

For the foregoing reasons, plaintiffs’ causes of actions for negligence, gross negligence
and strict liability fail to state clams upon which relief can be granted against Bayer Corporation

and should be dismissed

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Respectfully submitte
# A,

Mary L Meyer, (La. Bar No 19966)
John F Olinde, (La Bar No 1515)
Charles P Blanchard, (La Bar No 18798)
Chaffe, McCall, Phillips,

Toler & Sarpy, L.L.P.
2300 Energy Centre
1100 Poydras Street
New Orleans, Louisiana 70163-2300
Telephone (504) 585-7000
Attorneys for Bayer Corporation

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon

counsel for all parties to this proceeding by mailing a copy of same to each by First
25h,

Class United States mail, properly addressed and postage prepaid, on this day of

ld

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UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *

* NO 02-CV-2436
VERSUS *

* JUDGE ENGELHARDT
BAYER CORPORATION, NOVARTIS *
PHARMACEUTICALS CORPORATION, * MAGISTRATE JUDGE SHUSHAN
NOVARTIS CONSUMER HEALTH, INC, *
4LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *
CO ,INC , SMOOTHIE KING SYSTEMS, *
INC , and WALGREEN LOUISIANA CO, *
INC (D/B/A “WALGREENS’”)

NOTICE OF HEARING

PLEASE TAKE NOTICE that Bayer Corporation, will bring on for hearing on September
18, 2002, at 9 30 o'clock am , before the Honorable Kurt D Engelhardt at the United States District
Courthouse for the Eastern Distnct of Lousiana, 500 Camp Street, New Orleans, Louisiana, the

accompanying Motion for Dismissal

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Case 2:02-cv 020 4gMIR Document 36 Filed 0/10 Page 401 of 472

Respectfully submitted,

(ME

Mary L Meyer, Esq (19966)

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Telephone (504) 585-7000

ATTORNEYS FOR
BAYER CORPORATION

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading has been served upon all counsel of
record by depositmg same in the Umted States Mail, postage prepaid, this .¥ et day of August,

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. * CIVIL ACTION
* NO.: 02-cv-2436
*
v. * JUDGE ENGELHARDT
*
BAYER CORPORATION, ET AL. * MAGISTRATE SHUSHAN
* * * * * % .

ANSWER OF DEFENDANT NOVARTIS PHARMACEUTICALS CORPORATION
TO PLAINTIFF’S PETITION FOR DAMAGES

Defendant Novartis Pharmaceuticals Corporation (“NPC”) responds to Plaintiff's Petition
for Damages (the “Petition”) as follows

FIRST DEFENSE

The Petition fails to state a cause of action or claim for which relief can be granted.

SECOND DEFENSE

Any claims against NPC as set forth in the Petition that allege a right to recovery on a
theory of liability other than one of the exclusive theories of lability set forth in the Louisiana

Products Liability Act, fail to state a cause of action or claim for which relief can be granted

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THIRD DEFENSE

The claims are barred by prescription, applicable statute of limitations, statute of

repose, or the passage of time

FOURTH DEFENSE

Any claims for fraudulent misrepresentation, suppression, fraud, concealment, and deceit
are not pleaded with particularity as required by law, and thus fail to state a cause of action or

claim for which relief can be granted

FIFTH DEFENSE

The claims are barred because NPC 1s not subject to the personal jurisdiction of this
District Court

SIXTH DEFENSE

The claims are barred because plaintiff, by electing to ingest Tavist-D® assumed the risks
apparent or disclosed on the Tavist-D® label, and plaintiff waived and/or is estopped from
asserting any claim related to such risks

SEVENTH DEFENSE

The claims are barred because Tavist-D® 1s designed, manufactured, marketed and labeled

with proper warnings, information, cautions and instructions, m accordance with the state of the

art and the state of scientific and technological knowledge.

Case a0 2-v Oeo ge Document 36 Filed ~e Page 405 of 472

EIGHTH DEFENSE

Any losses are subject to an offset or credit in the amount of any rermbursement received
by plamtiffs as a result of any surance or other health benefits plan, or any amounts paid for by

any insurance or other health benefits plan

NINTH DEFENSE

The claims are barred because the mmjuries, damages and losses alleged in the Petition,
none being admitted, were proximately caused, in whole or in part, by the fault or negligence of
the plaintiff or others. Accordingly, the claims are barred or must be reduced under the doctrine
of contributory or comparative fault.

TENTH DEFENSE

The claims are barred because the injuries, if any, were the result of conduct of plaintiff,
independent third parties, or events that were extraordimary under the circumstances, not
foreseeable in the normal course of events, and/or independent, intervening and superseding
causes, including but not hmited to pre-existing medical conditions.

ELEVENTH DEFENSE
Discovery may show that the claims are barred by the "learned intermediary" or "informed

intermediary" doctrine
Case a:02-cv 02 gr Document 36 Filed ug Page 406 of 472

TWELFTH DEFENSE

The Petition fails to state a cause of action because the medical drugs at issue were
properly prepared and accompanied by proper directions and warnings, and thus not defective or
unreasonably dangerous.

THIRTEENTH DEFENSE

Any alleged negligent or culpable conduct of NPC, none being admitted, was too
msubstantial to be a legal, proximate or substantial contributing cause of the alleged injuries

FOURTEENTH DEFENSE

The claims against NPC are barred because the alleged injuries, if caused by PPA, are
the result of plaintiff's own idiosyncratic or allergic reactions

FIFTEENTH DEFENSE

Discovery may show that the damages, if any, are lumited by the fa:lure to mitigate

SIXTEENTH DEFENSE

The claims are barred because the defendant complied with ail federal and state statutes as

well as all admimustrative regulations

Case e02-cv ogre Document 36 Filed “eG Page 407 of 472

SEVENTEENTH DEFENSE

The claims are barred because Tavist-D® 1s comprehensively regulated by the United States
Food and Drug Administration pursuant to the Federal Food, Drug & Cosmetic Act, 21 U.S C
§§ 301 et seq , and regulations and orders promulgated thereunder Accordingly, the claims are
preempted by the Supremacy Clause of the Umited States Constitution, Article VI, clause 2, and
the laws of the United States

EIGHTEENTH DEFENSE

NPC has no legal relationship or privity with plaintiff and owes no duty to plaintiff by

which lability could be attributed to it

NINETEENTH DEFENSE

The claims are barred because the use of Tavist-D® was generally recognized as safe and
effective pursuant to conditions established by the Food and Drug Administration and applicable
regulations, including packaging and labeling regulations

TWENTIETH DEFENSE
Discovery may show that the claims are barred by the misuse or abnormal use of Tavist-

D® or the failure to follow product instructions.

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TWENTY-FIRST DEFENSE

| Plaintiffs’ clams are barred because at no relevant time did NPC manufacture, promote,

market, advertise, distribute or sell the product at issue

TWENTY-SECOND DEFENSE

Plaintiffs’ clarms are barred because NPC 1s not a proper party and 1t has no hability
concerning the product at issue ~ any and all assets and liabilities concerning the product at

issue are possessed by a separate legal entity

TWENTY-THIRD DEFENSE

NPC hereby gives notice that it intends to rely upon such other defenses as may
become available or apparent during the course of discovery and thus reserves its right to amend

this list to assert such defenses
Case 2:02-cv 029 BR Document 36 Filed ug Page 409 of 472

NPC DENIES THE ALLEGATIONS IN THE INITIAL PARAGRAPH OF THE PETITION AND
SPECIFICALLY RESPONDS TO THE NUMBERED ALLEGATIONS OF THE PETITION FOR
DAMAGES, AS FOLLOWS

1 Demes knowledge or information sufficient to form a belief as to the
allegations 1n paragraph 1 of the Pef:tion for Damages

2. Denies knowledge or information sufficient to form a belief as to the
allegations m paragraph 2 of the Petition for Damages, except admits that Novartis Pharmaceuticals
Corporation 1s a Delaware Corporation with its principal place of business in New Jersey NPC
further states that after January 1, 1997, NPC, f/k/a Sandoz Pharmaceutical Corporation, did not
supply, manufacture, label, distribute, promote or sell Tavist-D®. Further, on January 1, 1997, all
assets and liabilities of NPC’s over-the-counter business, including Tavist-D® products, were
transferred to Novartis Consumer Heaith, Inc.

3 Denies knowledge or information sufficient to form a belief as to the
allegations in paragraph 3 of the Petition for Damages

4. The allegations in paragraph 4 of the Petition for Damages are legal
conclusions to which no responsive pleading is required. To the extent a responsive pleading 1s
required, NPC dentes the ailegations in paragraph 4.

5 Denies knowledge or information sufficient to form a belief as to the
Case 2:02-cv- O25 BJR Document 36 __ Filed 01 ie Page 410 of 472

allegations 1n paragraph 5 of the Petition for Damages, except states upon information and belief,
that PPA has been used in the United States in over-the-counter decongestant cough and cold
products and appetite suppressants NPC further states upon information and belief that Tavist-D®
contained PPA until or about November 2000

6 Denies the allegations in paragraph 6 of the Petition for Damages, except
admuts that a report entitled “PPA & Risk of Hemorrhagic Stroke Final Report of the Hemorrhagic
Stroke Project” was published on or about May 10, 2000. NPC respectfully refers the Court to the
said report for the contents therein NPC further states that there have been anecdotal reports of
strokes 1n patients who have used a product containing PPA, but that no causal link has been
established between the use of PPA and stroke, and respectfully refers the Court to the studies and/or

published reports referenced by plaintiff for the contents thereof

7 Demes the allegations in paragraph 7 of the Petition for Damages.
8, Demes the allegations in paragraph 8 of the Petition for Damages.
9 Denies knowledge or information sufficient to form a belief as to the

allegations in paragraph 9 of the Petition for Damages
10 Denies the allegations in paragraph 10 of the Petition for Damages, except
denies knowledge or information sufficient to form a belief as to plaintiff's medical history

il Demes the allegations in paragraph 11 of the Petitton for Damages, and
Case e02-ev 0207 gr Document 36 Filed 11 Page 411 of 472

further states that there have been anecdotal reports of strokes in patients who have used a product
containing PPA, but that no causal link has been established between the use of PPA and stroke

12. Demtes the allegations in paragraph 12 of the Petition for Damages, except
demes knowledge or information sufficient to form a belief as to plaintiff’s medical history

13 Denies the allegations in paragraph 13 of the Petition for Damages.

14. Dentes the allegations in paragraph 14 of the Petition for Damages.

15 Denies the allegations m paragraph 15 of the Petition for Damages, including
subparts therein.

16. Demtes the allegations in paragraph 16 of the Petition for Damages.

17 Denes the allegations in paragraph 17 of the Petztzon for Damages, mcluding
subparts therein.

18 Denies the allegations in paragraph 18 (that is incorrectly numbered as
paragraph 15 on page 6) of the Petition for Damages

19. Demies the allegations in paragraph 19 (that 1s incorrectly numbered as
paragraph 16 on page 6) of the Petition for Damages

20 The allegations 1n paragraph 20 (that 1s incorrectly numbered as paragraph 17
on page 6) of the Petitzon for Damages are legal conclusions to which no responsive pleading 1s

required To the extent a responsive pleading is required, NPC demes the allegations in paragraph 20
Case e020 Document 36 Filed “@ Page 412 of 472

of the Petition for Damages
21 NPC denies any allegation in the Petition not expressly admitted herein.

22 NPC requests trial by jury

BY: Era Pom

Sessions, Fishman & Nathan, L L P.
JOY GOLDBERG BRAUN (#3416) T.A.
ERIC R. NOWAK (#27025)
SHIRIN E. HARRELL (#27495)
201 St Charles Avenue, Surte 3500
New Orleans, LA 70170-3300
and

Randolph 8 Sherman
Lori B Leskin
Damelle E Finck
KAYE SCHOLER LLP
425 Park Avenue
New York, New York 10022
Attorneys for Defendant
NOVARTIS PHARMACEUTICALS CORPORATION

CERTIFICATE OF SERVICE

I do hereby certify that [ have on this } 4“ day of Avast, 2002, served
a copy of the foregoing pleading by facsimile and U S Mail to plaintiff's counsel, and by U.S
mail, to all other counsel for the parties to this, properly addressed, and first class postage

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ERIC R NOWAK

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LOREVTA G. WHYTE
CLERK

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, ET AL. * CIVIL ACTION

* NO.: 02-ev-2436
vy. * JUDGE ENGELHARDT
BAYER CORPORATION, ET AL. * MAGISTRATE SHUSHAN

ANSWER OF DEFENDANT NOVARTIS CONSUMER HEALTH, INC.
TO PLAINTIFE’S PETITION FOR DAMAGES

Defendant Novartis Consumer Health, Inc (“NCH”) responds to Plaintiff’s Petition for
Damages (the “Petition”) as follows

FIRST DEFENSE

The Petition fails to state a cause of action or claim for which relief can be granted

SECOND DEFENSE

Any claims against NCH as set forth m the Petition that allege a mght to recovery on a
theory of liability other than one of the exclusive theories of liability set forth in the Louisiana

Products Liability Act, fail to state a cause of action or claim for which relief can be granted

Case 202-0v 025 Document 36 Filed oe Page 415 of 472

THIRD DEFENSE
The claims are barred by prescription, applicable statute of limitations, statute of

repose, or the passage of time

FOURTE DEFENSE

Any clams for fraudulent misrepresentation, suppression, fraud, concealment, and deceit
are not pleaded with particularity as required by law, and thus fail to state a cause of action or

claim for which relief can be granted

FIFTH DEFENSE

Discovery may show that the claims are barred by the misuse or abnormal use of Tavist-
D® or the failure to follow product instructions.

SIXTH DEFENSE

The claims are barred because plamtiffs, by electing to ingest Tavist-D® assumed the risks
apparent or disclosed on the Tavist-D® label, and plaintiffs waived and/or 1s estopped from
asserting any claim related to such risks

SEVENTH DEFENSE

The claims are barred because Tavist-D® was designed, manufactured, marketed and
labeled with proper warnings, information, cautions and instructions, in accordance with the state

of the art and the state of scientific and technological knowledge
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EIGHTH DEFENSE

Any losses are subject to an offset or credit in the amount of any rembursement recerved
by plaintiff as a result of any insurance or other health benefits plan, or any amounts paid for by

any insurance or other health benefits plan

NINTH DEFENSE

The claims are barred because the injuries, damages and losses alleged in the Petition,
none being admitted, were caused in whole, i part or proximately by the fault or negligence of
the plaintiffs or others Accordingly, the claims are barred or must be reduced under the doctrine
of contributory or comparative fault

TENTH DEFENSE

The claims are barred because the injuries, 1f any, were the result of conduct of plaintiffs,
independent third parties, or events that were extraordinary under the circumstances, not
foreseeable in the normal course of events, and/or independent, intervening and superseding
causes of the alleged imyuries, including but not limited to pre-existing medical conditions.

ELEVENTH DEFENSE

Discovery may show that the claims are barred by the "learned intermediary" or "informed

intermediary" doctrine
Case 2:02-cv-025 4g IR Document 36 Filed “~~ Page 417 of 472

TWELFTH DEFENSE

The Petition fails to state a cause of action because the medical drugs at issue were
properly prepared and accompanied by proper directions and warnings, and thus not defective or

unreasonably dangerous

THIRTEENTH DEFENSE

Any alleged negligent or culpable conduct of NCH, none being admitted, was so
msubstantial as to be insufficient to be a proximate or substantial contributing cause of the alleged
myuries.

FOURTEENTH DEFENSE

The claims against NCH are barred because the alleged inyuries, 1f caused by PPA, are

the result of plaintiffs’ own idiosyncratic or allergic reactions.

FIFTEENTH DEFENSE

Discovery may show that the damages, if any, are limited by the failure to mutigate

damages

SIXTEENTH DEFENSE

The claims are barred because the defendant complied with all federal and state statutes as

well as all administrative regulations

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SEVENTEENTH DEFENSE
The claims are barred because Tavist-D® 1s comprehensively regulated by the United States
Food and Drug Admimistration pursuant to the Federal Food, Drug & Cosmetic Act, 21 U.S.C
§§ 301 et seq., and regulations and orders promulgated thereunder Accordingly, the claims are
preempted by the Supremacy Clause of the United States Constitution, Article VI, clause 2, and
the laws of the United States

EIGHTEENTH DEFENSE

NCH has no legal relationship or privity with plaintiff and owes no duty to plaintiffs by
which lability could be attributed to it

NINETEENTH DEFENSE

The claims, including without limitation the clarms for punitive damages, are barred
because the use of Tavist-D® was generally recognized as safe and effective pursuant to conditions
established by the Food and Drug Administration and applicable regulations, mcluding packaging

and labeling regulations
Case 202-cv 025 aR Document 36 Filed “ie Page 419 of 472

TWENTIETH DEFENSE

NCH hereby gives notice that it intends to rely upon such other defense as may become
available or apparent during the course of discovery and thus reserves its right to amend this
list to assert such defenses.

NCH DENIES THE ALLEGATIONS IN THE INITIAL PARAGRAPH OF THE PETITION
AND SPECIFICALLY RESPONDS TO THE NUMBERED ALLEGATIONS OF THE
PETITION, AS FOLLOWS:

1 Denies knowledge or information sufficient to form a belief as to the
allegations in paragraph 1| of the Petition for Damages

2. Demes knowledge or information sufficient to form a beltef as to the
allegations in paragraph 2 of the Petition for Damages, except admits that Novartis Consumer
Health, Inc 1s a Delaware Corporation with its principal place of business in New Jersey and that
from January 1, 1997 until in or about November 2000, NCH manufactured, marketed and
distributed, promoted and sold Tavist-D® which contained phenylpropanolamine

3 Denies knowledge or information sufficient to form a belief as to the
allegations in paragraph 3 of the Petition for Damages

4. The allegations in paragraph 4 of the Petition for Damages are legal
conclusions to which no responsive pleading 1s required. To the extent a responsive pleading 1s
required, NCH denies the allegations in paragraph 4

5 Denies knowledge or information sufficient to form a belief as to the
Case 2:02 cv-0259g@vR Document 36 Filed 0 Page 420 of 472

allegations in paragraph 5 of the Petition for Damages, except states upon information and behef,
that PPA has been used in the United States in over-the-counter decongestant cough and cold
products and appetite suppressants NCH further states upon information and belief that Tavist-D®
contained PPA until or about November 2000

6 Dentes the allegations in paragraph 6 of the Petition for Damages, except
admits that a report entitled “PPA & Risk of Hemorrhagic Stroke Final Report of the Hemorrhagic
Stroke Project” was published on or about May 10, 2000. NCH respectfully refers the Court to the
said report for the contents therein NCH further states that there have been anecdotal reports of
strokes in patients who have used a product contaming PPA, but that no causal link has been
established between the use of PPA and stroke, and respectfully refers the Court to the studies and/or
published reports referenced by plaintiff for the contents thereof

7 Denies the allegations in paragraph 7 of the Petition for Damages.

8. Denies the allegations in paragraph 8 of the Petition for Damages

9 Denies knowledge or information sufficient to form a belief as to the
allegations in paragraph 9 of the Petition for Damages.

10. Denies the allegations in paragraph 10 of the Petition for Damages, except
denies knowledge or information sufficient to form a belief as to plaintiff's medical history

1] Denies the allegations in paragraph 11 of the Petition for Damages, and
further states that there have been anecdotal reports of strokes in patients who have used a product

containing PPA, but that no causal link has been established between the use of PPA and stroke.
Case 202 cv Ooo @gpr Document 36 Filed “ese Page 421 of 472

12 Demies the allegations in paragraph 12 of the Petition for Damages, except
denies knowledge or information sufficient to form a belief as to plaintiff's medical story

13 Denies the allegations in paragraph 13 of the Petition for Damages

14 Denies the allegations in paragraph 14 of the Petition for Damages.

15 Denies the allegations 1n paragraph 15 of the Petition for Damages, including
subparts therein

16. Denies the allegations in paragraph 16 of the Petition for Damages

17 Denies the allegations in paragraph 17 of the Petition for Damages, mcluding
subparts therein

18 Denies the allegations in paragraph 18 (that 1s mcorrectly numbered as
paragraph 15 on page 6) of the Petition for Damages.

19 Denies the allegations in paragraph 19 (that 1s incorrectly numbered as
paragraph 16 on page 6) of the Petition for Damages

20 The allegations in paragraph 20 (that 1s incorrectly numbered as paragraph 17
on page 6) and of the Petition for Damages are legal conclusions to which no responsive pleading 1s
required To the extent a responsive pleading is required, NCH denies the allegations in paragraph
20 of the Petition for Damages

21 NCH denies any allegation in the Petition not expressly admitted herein.

Case 2:02-cv-025 BIR Document 36 Filed 01g Page 422 of 472

22. NCH requests tral by jury

BY: oat (BE Prwar
Sessions, Fishman & Nathan, L L.P
JOY GOLDBERG BRAUN (#3416) T.A.
ERIC R. NOWAK (#27025)
SHIRIN E. HARRELL (#27495)
201 St Charles Avenue, Suite 3500
New Orleans, LA 70170-3500
and

Randolph S Sherman
Lorn B Leskin
Danielle E Finck
KAYE SCHOLER LLP
425 Park Avenue
New York, New York 10022
Attorneys for Defendant
NOVARTIS PHARMACEUTICALS CORPORATION

CERTIFICATE OF SERVICE

Ly
I do hereby certify that I have on this yt day of Aran s© , 2002, served

a copy of the foregoing pleading by facsimile and U.S. Mail to plaintiff's counsel, and by U S
mail, to all other counsel for the parties to this, properly addressed, and first class postage

prepaid

oN C. p yee
ERIC R NOWAK

Case mee Document 36 Filed "oe Page 423 of 472

UNUM AO AAR AA
KUTA UE

CASE: 2:02-cv-02436/P
DOCUMENT: 3

DATE: 08/15/02

CLERK: tbl

*x** There will be no noticing for this document.***

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4

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
CIVIL ACTION

no Ja- D434

SECTION nv

DAPHINE B DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION; NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC ;
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO ,INC , SMOOTHIE KING SYSTEMS,
INC ; and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS’”)

keke Ke ee Re Re Re ee A Ee OK Re ee Re Oe Re a

MAGISTRATE

+ $F FF ew HS F FS HF SF HF

CERTIFICATE OF FILING OF NOTICE OF REMOVAL
The undersigned attorney for defendants, Bayer Corporation, Novartis

Pharmaceuticals Corporation and Novartis Consumer Health, Inc, hereby certify that

) 7 Aibuor
on the day of 6 , 2002, defendants caused to be filed with the Clerk of
Court for the Thirty-Fourth Judiciai District Court for the Parish of St Bernard in the

State of Louisiana, a State Court Proceeding Notice of Removal, a copy of which is

attached
x Pe 6 er
Bayer_Donnelly Notice of Removal DOC Oka.
Co Nv p

Case e02-cv 0257 @gme Document 36 Filed ON Page 425 of 472

CS) submutted,

Mary L Meyer, (La Bar No 19966)
John F Olinde, (La Bar No 1515)
Charles P. Blanchard, (La Bar No 18798)
Chaffe, McCall, Phillips,

Toler & Sarpy, L.L.P.
2300 Energy Centre
1100 Poydras Street
! New Orleans, Louisiana 70163-2300
Telephone. (504) 585-7000
Attorneys for Bayer Corporation

fru RN
Joy G Braun (#3416)
Eric R Nowak (#27025)
Shirin E Harrell (#27495)
SESSIONS, FISHMAN & NATHAN, L.L.P.
201 St. Charles Avenue, Suite 3500
New Orleans, LA 70170
Telephone (504) 582-1500
Attorneys for Novartis Pharmaceuticals
Corporation and Novartis Consumer Health,
Inc.

CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing pleading has been served upon
counsel for all parties to this proceeding by mailing a copy of same to each by First

tt.
Class United States mail, properly addressed and postage prepaid, on this / day of

fubust 2002
C7, (PB.

Bayer_Donnelly Notice of Removal DOC 2
Case ee es@® Document 36 Filed Oe Page 426 of 472

34" JUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD
NO. 96-487 DIVISION “C”

DAPHINE B DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION: NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC.;
4LIFE RESEARCH, LC, Successor by merger to SHAPERITE;

SMOOTHIE KING CO., INC., SMOOTHIE KING SYSTEMS, INC.; and

WALGREEN LOUISIANA CO,, INC. (D/B/A “WALGREENS”)

FILED:

DEPUTY CLERK

STATE COURT PROCEEDINGS NOTICE OF REMOVAL

Notice is hereby given under 28 USC 1441, et seq, that defendants, Bayer
Corporation, Novartis Pharmaceuticals Corporation and Novartis Consumer Health,
Inc., have filed a “Notice of Removal” of this action in and to the United States District
Court for the Eastern District of Louisiana on the 7th day of August, 2002, a copy of
which 1s attached A copy of that Notice of Removal has been served on all counsel of
record In accordance with the terms of 28 USC 91446, the State Court shall proceed

no further with the action bearing No 96,487

"Oe

Mary L. Méyer (La Bar No 19966)

John F Olinde (La Bar No 1515)

Charles P Blanchard (La Bar No 18798)

CHAFFE, McCALL, PHILLIPS,
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Telephone No (504) 585-7000

Attorneys for Bayer Corporation

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Case a0 VOCS aR Document 36 Filed “eS Page 427 of 472

Fr fe Nowat~

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Shirin E Harrell (#27495)

SESSIONS, FISHMAN & NATHAN, L.L.P.
201 St Charles Avenue, Suite 3500

New Orleans, LA 70170

Telephone (504) 582-1500

Attorneys for Novartis Pharmaceuticals
Corporation and Novartis Consumer Health,
Inc.

CERTIFICATE OF SERVICE

1 do hereby certify that I have on this FF say of Avs, 2002, served a

copy of the foregoing pleading on counsel for all partes to this proceeding, by mailing the

same by Unuted States maul, properly addressed, and first Dat

CZ

Bayer_Donnelly State Court Notice of Removal DOC

Case Oe Document 36 Filed ug Page 428 of 472

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B. DONNELLY, and * CIVIL ACTION
JEROME DONNELLY, Husband *

* NO.
VERSUS *

* SECTION
BAYER CORPORATION; NOVARTIS *
PHARMACEUTICALS CORPORATION; * MAGISTRATE
NOVARTIS CONSUMER HEALTH, INC.; *
4LIFE RESEARCH, LC, Successor by *
merger to SHAPERITE, SMOOTHIE KING *
CO., INC ; SMOOTHIE KING SYSTEMS, *
INC.; and WALGREEN LOUISIANA CO., *
INC. (D/B/A “WALGREENS”)
kee KR KE KEKE KEKE E RHR EEE HE KK ee KE

NOTICE OF REMOVAL

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA:

NOW INTO COURT, through undersigned counsel, come Bayer Corporation,
Novartis Pharmaceuticals Corporation and Novartis Consumer Health, Inc, who
respectfully aver:

L Bayer Corporation, Novartis Pharmaceuticals Corporation and Novartis
Consumer Health, Inc. are named defendants in a civil suit filed in the Thirty-Fourth

Judicial District Court for the Parish of St. Bernard, State of Louisiana, entitled “Daphine B.

Bayer_Donnelly Notice of Removal DOC
Case 20 NO Document 36 Filed “oe Page 429 of 472

Donnelly, and Jerome Donnelly, Husband vs Bayer Corporation; Novartis Pharmaceuticals
Corporation; Novartis Consumer Health, Inc; 4Life Research, LC, Successor by merger to
Shaperite; Smoothie King Co., Inc; Smoothie King Systems, Inc.; and Walgreen Louisiana Co,,
Inc. (dfofa “Walgreens”) and bearing No. 96-487-C on the docket of that court. Plaintiffs
filed their original Petition on July 2, 2002. Copies of the State Court proceedings are
attached to this Notice of Removal and constitute all process, pleadings and orders served
on the petitioners to date in this suit.

2. This suit is an action in which the Court has original jurisdiction under 28
USC. §1332, as there is complete diversity of citizenship between plaintiffs and the
defendants and the matter in controversy exceeds $75,000 00, exclusive of interest and
costs. Thus, this action may be removed to this Court pursuant to the provisions of 28
USC §1441.

3. The forum state is Louisiana. The plaintiffs were, at the time they filed this
action, and still are citizens of the State of Louisiana.

4, Bayer Corporation was, at the time the action was filed, and still is a
corporation incorporated in the State of Indiana, with its principal place of business in the
State of Pennsylvania. Bayer Corporation was not, at the time this action was filed and
still is not a citizen of the State of Louisiana.

5. Novartis Pharmaceuticals Corporation was, at the time the action was filed,
and still is a corporation incorporated in the State of Delaware, with its principal place of
business in the State of New Jersey. Novartis Pharmaceuticals Corporation was not, at the

time this action was filed and still is not a citizen of the State of Louisiana.

Bayer_Donnelly Notice of Removal.DOC 2
Case eg” Document 36 Filed 01/1 Page 430 of 472

6 Novartis Consumer Health, Inc. was, at the time the action was filed, and
still is a corporation incorporated in the State of Delaware, with its principal place of
business in the State of New Jersey. Novartis Consumer Health, Inc. was not, at the time
this action was filed and still is not a citizen of the State of Louisiana.

7. Plaintiff has named 4Life Research, LC as a defendant. On information
and belief, 4Life Research, LC is a limited liability company organized in the State of
Utah, with its principal place of business in Utah. The members of 4Life Research, LC
are David Lisonbee and Bianca Lisonbee, both of whom are citizens of the state of Utah

David Lisonbee and Bianca Lisonbee were not at the time this action was filed and still
are not citizens of the state of Louisiana.

8. Complete diversity of citizenship exists in this case because the non-diverse
defendants, ie, Smoothie King Co., Inc, Smoothie King Systems, Inc and Walgreen
Louisiana Co., Inc. have been fraudulently joined. See, e.g., Borden v. General Dynanncs
Corp., 60 F.3d 213, 217 (5" Cir. 1995) When the citizenship of the fraudulently joined
party is disregarded, there 1s complete diversity of citizenship between the plaintiff and
the remaining defendants.

9. Plaintiffs fraudulently joined Walgreen Louisiana Co., Inc. They assert
claims based on strict liability, negligence, redhibition, fraud, negligent and reckless
misrepresentation, and conspiracy to defraud against this defendant. (See Original
Petition, {| 17-18). However, they cannot prevail on their claims against Walgreen
Louisiana Co., Inc. under Louisiana law. See, e.g., Perksin v. Bayer Corp., et al, No.

C01-2033R (W.D. Wash. Feb. 26, 2002).

Bayer_Donnelly Notice of Removal DOC 3
Case eee“ Document 36 Filed “—~@ Page 431 of 472

10. _—‘ Plaintiffs fraudulently joined Smoothie King Co., Inc. and Smoothie King
Systems, Inc. Cf. Perksin v. Bayer Corp., et al, No. CO1-2033R (W.D. Wash. Feb. 26, 2002)
Additionally, plaintiff Daphine Donnelly alleges that she suffered a stroke on or about
January 12, 1991 allegedly as a result of ingestion of products containing
phenylpropanolamine (PPA) and/or ephedrine that she allegedly purchased at a
Smoothie King store in Chalmette, Louisiana, Smoothie King did not operate any store
in Chalmette on or before January 12, 1991 (see Affidavit of Steve Kuhnau attached as
Exhibit A).

11, _—‘It is apparent from the face of plaintiff's Petition that the amount in
controversy between the plaintiff and defendants exceeds $75,000.00, exclusive of interest
and costs. See, e.g., Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880 (5% Cir. 2000). Plaintiff
Daphne B. Donnelly alleges that she suffered a stroke resulting in paralysis to the right
side of her body. (See Petition at { 10). Cf. Philippe v. Lloyd's Aero Bolwiano, 97-0258 (La.
App. 1% Cir. 2/20/98), 710 So.2d 807 (trial court awarded total damages of $1,168,320 09
for stroke injuries to plaintiff and for loss of consortium to his wife; the Appeals Court
later reversed finding no liability); Snuth v. Cameron Crews, Inc., 348 So.2d 179 (La. App. 3d
Cir. 1977) (affirming award of $150,000.00 to plaintiff who suffered stroke as a result of
defendant's negligence).

12. This Court has supplemental jurisdiction under 28 U.S.C. § 1367 over
Jerome Donnelly’s loss of consortium claim. See Booty v. Shoney's, Inc., 872 F.Supp 1524

(E.D. La. 1995).

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Case meg Document 36 Filed wg Page 432 of 472

13. 4Life Research consents to this Notice of Removal. See letter attached as
Exhibit B.

14. _‘ Petitioners file this Notice of Removal within 30 days of July 9, 2002, the
earliest date of service on any defendant Petitioners file this Notice of Removal without
waiving any objections, exceptions or defenses to plaintiffs’ Petition.

15. _ Petitioners file and present herewith the sum of $150.00 as required by Title

Respectfull bpp ———
_L

Mary L. Meyer (La Bar No. 19966)
John F. Olinde (La. Bar No. 1515)
Charles P. Blanchard (La. Bar No. 18798)
CHAFFE, McCALL, PHILLIPS,
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Attorneys for Bayer Corporation

28, United States Code, § 1446.

Z, * ve x ‘ Ne uw dK
Joy G. Braun (#3416)
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Corporation and Novartis Consumer Health,
Inc.

Bayer_Donnelly Notice of Remaval DOC 5
Case Na Document 36 Filed “oe Page 433 of 472

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I do hereby certify that I have on this day of fic wit 2002, served a
copy of the foregoing pleading on counsel for ali parties to this proceeding, by mailing the

same by United States mail, properly addressed, and Grete

Bayer_Donnelly Notice of Removal DOC 6

Case oe Document 36 Filed 01 Gp: Page 434 of 472

THIRTY FOURTH JUDIC./ . DISTRICT COURT
PARISH OF ST. ‘ERNARD
STATE OF Lo JISLANA

CITAT ON
NO: 96-487

DAPHINE B. DONNELLY, AND . EROME DONNELLY, HUSBAND
VE ASUS

i
BAYER CORPORATION; KC:VARTIS PHARMACEUTICALS
CORPORATION; NOVART!S CONSUMER HEALTH, INC.,;
4LIFE RESEARCH, LC, SUCC;SOR BY MERGER TO SHAPERITE,
SMOOTHIE KING CO.; § 4 OOTHIE KING SYSTEMS, INC.;
WALGREEN LOUISIANA ¢ 0., INC. (D/B/A WALGREENS’)

TO; BAYER CORPORATION
BY AND THRU ITS REGISTERS D AGENT FOR SERVICE OF PROCESS
CT CORPORATION SYSTEM
8550 UNITED PLAZA BLYD.
BATON ROUGE, LOUISIANA ,

YOU HAVE BEEN SUED, Attac ted to this Crtation is « certified copy of Petition for
Damages. The Petition tells you what you: are being sued for.

‘You mast either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15)
DAYS after you have received these doc uments, you arust file an answer or ather legal pleadings
in the office of the Clerk of Court at the 51. Bernard Parish Courthouse, 1100 W. St. Bernard
Hwy, Chalmette, LA 70043.

If you do not do what the Petition asks, or if you do not file an answer or legal pleading
within FIFTEEN (15) DAYS,  judgra-nt may be entered against you without firther notice.

This Citation was issued by te. Clerk of Court for St. Bernard Parish, Louisiana on the

and day of July, 2002.
sa =P
LENA R. TORRES
CLERK OF COURT
BY _fdlestheal Dasdtnaep
Deputy (SiS A. RANDAZZO
DOMICILIARY
Received Parish of St. Bernard on the day of » 2002 and on the day of
, 2002, I served z copy of the within by leaving
the same af danicile this Parish in the hands of

aperson apparently over the age of 14 years living and residing in s214 domicic,
whose name and other facts, connected with this service I learned by interrogating the same

the said being absent from danicile

at the time of said service.

Returned Parish of St. Bernard _» 2002

Sheriff
PERSONAL
Received Parish of St. Bernard on the day of , 2002 and on the day of
, 2002, I served a copy of the within oa

oc at this
Parith his usual pisce of domicile, i the Parish of St. Bernard, by handimg and delivering the same to in

Returned Parish of St. Bernard _, 2002

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Case sme“

DAPHINE B. DONNELLY, and
JEROME DONNELLY, Husband

Document 36 Filed 01/1 Page 435 of 472

34™ SUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD

STATE OF LOUISIANA
No. 96 487

Plaintiff
vs.

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS SECTION
CORPORATION; NOVARTIS CONSUMER HEALTH, INC;

4LIFE RESEARCH, LC, Successor by merger to SHAPERITE;

SMOOTHIE KING CO., INC: Fl L E D
SMOOTHIE KING SYSTEMS, INC.; and

WALGREEN LOUSIANA CO., ENC. (D/B/A “WALGREENS") JUL 02 2002

Defendants (OnArn
PETITION FOR DAMAGES ticteen Lf

NOW INTO COURT comes Petitioner, DAPHINE B. DONNELLY, a person of the full age of

majority, and respectfully represents the following:

I.

Petitioner, Daphine B. Donnelly, is a person of full age and majority and is a resident and
domiciliary of St. Bernard Parish, State of Louisiana,

Made pharmaceutical manufacturer defendants herein are:

A. Bayer Corporation is an Indiana Corporation with its principal place of business in
Pennsylvania, regularly selling and advertising its product in the City of Chalmette, State of
Louisiana.

B. = Nowartis Pharmaceuticals Corporation is a Delaware corporation with its principal
place of business in New Jersey, regularly selling and advertising it product in the City of
Chalmette, State of Louisiana.

Cc Novartis Consumer Health, Inc a Delaware corporation with its principal place of
business in New Jersey, regularly selling and advertising its product in the City of Chalmette,
State of Louisiana.

D. = ALife Research, LC, successor in merger to Shaperite, a limited liability company
established in Utah 4Life Research, on information and beef, manufactured and distributed
Case eee Document 36 Filed 01/4? Page 436 of 472

Shapefast®, thus bringing this action against 4Life Research, LC as a manufactunng
defendant and es a seller/retailer defendant, regularly selling and advertising in the City of
Chalmette, State of Louisiana.

Made retailer/seller defendants herein are

A. Smoothie King Co., {nc , a Louisiana corporation with its principal place of
business in Kenner, Louisiana, on information and belief, regutarly selling and advertising
its product in the St. Bernard Parish, State of Louisiana, through a franchise operator.

B. Smoothie King Systems, Inc., a Louisiana corporation with its principal place of
business in Kenner, Louisiana, on information and belief, regularly selling and advertising
its product in the St, Bernard Parish, State of Louisiana, through a franchise operator

cC. Walgreen Louisiana Co., Inc. (D/B/A “Walgreens”), a corporation organized in the
State of Louisiana and licensed to and doing business in this state, with its principal place of
business in Metairie, Louisiana, regularly selling and advertising its product in the City of
Chalmette, State of Louisiana.

Defendants are liable jointly and in solido unto Petitioner for an amount as is reasonable
under the circumstances, for all costs and expert fees of these proceedings, for judicial
interest from the date of demand, and for all and equitable relief for the following:
Phenylpropanolamine (hereinafter “PPA™)/ephedrine was an ingredient used in many over-
the-counter and prescription cold medications, it was also used in many over-the-counter
weight loss product.

Life threatening adverse effects related to PPA/ephedrine leading to hospitalization and/or
death have been weil documented and known to pharmaceutical companies far decades
These life threatening events have been documented through the Food and Drug
Administration (hereinafter referred to as FDA) waming/sentinel events systems, showing a
large number of such events related to PPA/ephedrine. Several life threatening
PPA/ephedrine injuries have been reported in Clin-Aleri and other medical reports, A recent
study published by Yale University which concluded that PPA causes hemorrhagic strokes
and also found an ingredient “Norephedrine”, an active ingredient in PPA, is also found in
ephedrine dietary supplements. In addition, PPA/ephedrine is known to cause other serious
adverse effects including heart damage end myocardial infarction

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Case eee” Document 36 Filed 01/ Page 437 of 472

10.

12.

Defendant manufacturers have concealed material facts, including the senous msks
associated with ingesting PPA/ephedrine, from Petitioner in product packaging, labeling,
advertising, promotional campaigns and materials, among other ways, regarding the safety
and use of products containing PPA/ephednne.

The causal relationship of Petutroner's injury 10 the products containing PPA/ephedrine were
inherently undiscoverable by the Petitioner until she was wamed of the dangers by the
defendants and/or others Petitioner did not discover, nor through the exercise of reasonable
care and diligence could she have discovered that her injury and illness was in anyway
related to products containing PPA/ephedrine until at the earliest when Petitioner was made
aware that many PPA containing drugs were withdrawn from the market, and further, that
ephedrine contains meny of the same ingredients and has been finked to many injuries and
deaths relating to its ingestion, just as with PPA-containing products .

Petitioner purchased and/or ingested PPA/ephedrine containing product within all times
relevant times, including, but not limited to, Shapefast®, Alka Seltzer Plus®, and Tavist-
D®. Petitioner purchased Shapefast® at Smoothie King a nutritional/retail store located in
the City of Chalmette, State of Louisiana. Petitioner purchased Alka Seltzer Plus® and
Tavist-D® at Walgreens, a pharmaceutical/rctail store located in the City of Chalmette, State
of Louisiana.

Petitioner herein has suffered and still suffers serious and grievous injuries as a result of
ingesting PPA/ephedrine containing products. On or about January 12, 1991, suffered from a
stroke in Chalmette, Louisiana and was taken to Pendleton Methodist Memonal! Hospital in
New Orleans, Louisiana. Petitioner suffered from, including, but not limited to, paralysis to
the nght side of her body.

Petitioner avers that the sole and proximate cause of Petitioner's injury was her consumption
of the above-referenced PPA/ephednne-containing products, including, but not limited to,
Shapefast®, Alka Seltzer Plus®, and Tavist-D®, and thal she did not become sware of the
causal link between the consumption of PPA/ephedrine-containing products and these health
risks and injuries until recently,

As a direct and consequential result of the foregoing, Petitioner has sustained physical and
mental pain and suffering, loss of income, loss of consortium, loss of enjoyment of life, and

3
Case meno Document 36 Filed 01/ Page 438 of 472
other damages to be shown at trial. All of theTregoing damages are past, present and future

2.

14,

15.

Petitioner, Jerame Donnelly, husband of Daphine Donnelly, has suffered, sustained, and

incurred injuries as a result of his spouse’s debilitating and impaired condition Petitioner

has suffered loss of consortium in the past and will sustain, in reasonable medical

probability, a loss of consortium claim in the future,

The incident and any resultant damages occurred through no fault or negligence on the part

of the Petitioner.

The incident and any and all resultant injuries and damages to Petitioner oceurred through the

fault of the pharmaceutical manufacturer defendants, as manufacturers of the product which

contained PPA/ephedrine, in the following non-exclusive particulars.

1) Pharmaceutical manufacturer defendants are liable under the Louisiana Products

Lisbitity Act, Louisiana Revised Statutes Annotated 9:2800.51 ef, seq.

2)

b)

dj

e)

Pharmaceuticel manufacturer defendants manufactured products which were
unreasonably dangerous in design at the time the product left the
manufacturers’ control and such defects in design were the proximate cause
of damages suffered by Petitioner. The products were ingested and taken as
intended.

Pharmaceutical manufacturer defendants failed to employ alternative designs
which would have reduced, if not prevented Petitioner’s damages, and their
failure to employ alternative designs was a proximate cause of the damages
suffered by Petitioner.

Pharmaceutical manufacturer defendants failed to adopt alternative designs
for their products and they knew of the likelthood that its products’ design
would cause Petitioner's injuries; and defendants knew the gravity of the
potential injuries outweighed the utility of their products,

Petitioner specifically alleges that an alternative design of pharmaceutical
manufacturer defendants’ products would have nullified, or substantially
reduced the injuries Petitioner suffered.

Pharmaceutical manufacturer defendants failed to post suitable and adequate
warning(s) or instruction(s) concerning the risks of their products, including,

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17.

Document 36 Filed 01/1 Page 439 of 472

f)

but not limited to, adequately warning potential users of the medication's
known adverse side-effects, including heart problems and strokes, and any
and all other side-effects suffered by Petitioner

Pharmaceutical manufacturer defendants failed to alert users, potential users,
and retail dealers who would be expected to sell and/or recommend its
products, of the hazards associated with said products’ usage, and further
actively promoted and advertised their products in a manner that suggested

the design of their products was safe.

The incident and any and all resultant injuries and damages to Petitioner occurred through the

fault, negligence, want of care, gross negligence, and/or strict liability of pharmaceutical

manufacturer defendants by their failure to exercise reasonable care in the manufacture of its

products when they knew of should have known that Petitioner was a foreseeable and

intended user of their products, and the risk of harm suffered by Petitioner was encompassed

within the duty owed to protect intended users of their products.

The incident and sny and all resultant injuries and damages to Petitioner occurred through the

fault of defendants, as sellers and/or retailers of the product which contained PP A/ephedrine,

rendering retailer/seller defendants liable for any and all damages suffered by Petitioner,

including attomey fees, in the following non-exclusive particulars:

1)

2.)

Retailer/seller defendants are liable for breach of the warranty against redhibitory

defects, or vices, in the subject over-the-counter medications, existing at the time of

the sale to Petitioner, pursuant to La. Civ. Code Article 2520 ev. seq.

a)

Retailer/seller defendants failed to give Petitioner notice of the dangerous
side-effects of the subject over-the-counter medications they sold to
Petitioner which contained PPA/ephedrine; and retaifer/seller defendants had
actual knowledge of the existence of satd redhibitory defects at the time of

the sale.

Retailer/seller defendants are liable under La. Civ. Coda Article 2524 for failure to

sell « product fit for sts ordinary usage.

a)

Retailer/seller defendants knew Petitioner’s intended usage of the subject

over-the-counter medications and knew of Petitioner's reliance on the skill and

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Case 2:02-cv-0252g@.BJR Document 36 Filed 01/1 Page 440 of 472

15.

16.

17.

judgment of retaler/seller defen in the sale of ther over-the-counter
medications, Retailer/seller defendants failed to exercise the a propnate skill of
judgment in the sale of their products to Petitioner.
3) —_— Retatler’seller defendants ere lisble under La Civ. Cade Arucle 2529 for delivering
products not of the kind or quality specified by the seller.
2.) Retsiler/seller defendants sold over-the-counter med .ations to Petitioner
which were misrepresented by retailer/seller defendants as tag safe for human
consumy tion. Retailer/seller defendant failed to adequately it form Petitioner of the
dangers inherent in the over-the-counter medications they so d to Petitioner.
The incident ard any and all resultant injuries and damages fo Petinor er oceutred through the
fault, negligence, want of care, gross negligence, and/or stiel liability retailer/selier
defendants by their failure to exercise reasonable care in the sale en Hor retail of its products
when it knew, or should have known, that Petitioner was a buyer : da foreseeable intended
user of their products, and the risk of harm suffered by Petitioner was encompassed within
the duty owed by retaifer/seller defendants 10 protect intended buy ers and users of the subject
products.
Pharmaceutical manufacturer defendants and retailer/sefler defia dants ate liable in solide for
intentional and willful conspiracy pursuant to La. Civ. code! Anite 2324, Defendants,
among themselves, conspired with one another to conceal snateral facts including the
hazardous nature of the subject product they manufactured an:. sold to the public in general
and Petitioner. Defendants knew that the injuries suffered b: Petitioner were substantially
certain to occur through the consumption and ingestion of we over-the-counter medication
they manufactured and sold.
Venue for this action arises under Louisiana Code of Civ, Pro. Articles 42 ef seq., as the
wrongful conduct of defendants complained oferein oes -red inthe Parish of St. Bemard.
Petitioner purchased and suffered her injuries in St. Be-a_ rd Parish, State of Louisiana
WHEREFORE, Petitioner prays that after ad: proceedings be had there be a
judgment rendered herein in favor of Pettioner and ace st defendants jointly, severally, and
in solido, for such damages as are reasonable in the pr mises, together with the maximum
legal interest from the date of judicial demand, until p: .d, for all costs of these proceedings,
6 |

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Case meee Document 36 Filed 01/1 Page 441 of 472

and for all other general and equitable relief to which Petitioner may be awarded Petitioner

respectfully requests a TRIAL BY JURY.

Respectfully submitted,

BAR NO. 19955
2223 Quail Run Drive, Ste. G
Baton Rouge, LA 70808
(225) 767-2222 (Telephone)
(225) 767-9003 (Facsimile)

KIRK LAW FIRM
Dana Kirk

MS STATE BAR NO. 100188
TX STATE BAR NO. 11057500
4265 San Felipe Street, Ste. 1400

Houston, TX 77027
(713) 651-0050

CLARK, DEPEW & TRACEY,LTD., L.L.P.

Clayton Clark

TX STATE BAR NO, 04275756
440 Louisiana Street, Ste. 1600

Houston, TX 77002
(713) 757-1400

J. ROBERT DAVIS LAW FIRM

J Robert Davis

TX STATE BANO 00788859
440 Louisiana Street, Ste. 1600

Houston, TX 77002

(713) 425-5255
PLEASE SERVE:
BAYER CORPORATION
By and Through its Registered Agent for Service of Process:
CT Corporation System
8550 United Plaza Blvd,

Baton Rouge, LA 70809

NOVARTIS PHARMACEUTICAL CORPORATION

By and Through its Registered Agent for Service of Process:
320 Somerulos Street

Baton Rouge, LA 70802

NOVARTIS CONSUMER HEALTH, INC.

By and Through its Registered Agent for Service of Process:
Corporation Service Company

2701 Centerville Road, Ste. 400

Wilmington, DE 19808

ATRUE COPY
Lena R Torres
CLERK OF COURT

PARUSH OF ST BERNARD
STATE OF LOUISIANA

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Br UTY

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= a

Case meer Document 36 Filed “eS Page 442 of 472

4LIFE RESEARCH, LC

By and Through its Registered Agent for Service of Process.
David Lisonbee

9850 S. 300 W

Sandy, UT 840703262

SMOOTHIE KING CO, INC.

By and Through its Registered Agent for Service of Process"
Stephen Kuhnau, Sr

2400 Veterans Blvd , Ste {10

Kenner, LA 70062

SMOOTHIE KING SYSTEMS, INC.

By and Through its Registered Agent for Service of Process:
Stephen Kuhnav, Sr.

2400 Veterans Bivd., Ste. 110

Kenner, LA 70062

WALGREEN LOUISIANA CO., INC,

By and Through its Registered Agent for Service of Process:
The Prentice-Hall Corporation System, Inc.

701 South Peters Street, Second Floor

New Orleans, LA 70130
Case eee Coos Document 36 Filed 01/10 Page 443 of 472

AFFIDAVIT OF STEVE KUHNAU
STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned Notary Public, duly commissioned and qualified in and for
the parish and state set forth above, personally came and appeared:
STEVE KUHNAU
who, after being duly sworn, deposed and stated the following:
l.
I have personal knowledge of the facts set forth in this Affidavit and, if called as a witness,
could and would competently testify to the following.
2
The Smoothie King store located at 3366 Paris Road, Chalmette, Louisiana is the only store
operated in Chalmette, Louisiana and there has been no other store operating in that geographic
location in the history of the Smoothie King franchising business.
3,
The Franchise Agreement #20 which authorizes this Chalmette, Lousiana location was
executed by franchisees on October 9, 1991.
4,
This Smoothie King store opened on February 17, 1992 at the location of 3366 Paris Road,

Chaimette, Louisiana

EXHIBIT

1 A

Case 202 cv-02sc gir Document 36 Filed 01/10 Page 444 of 472

Chairman, Board of Directors

WORN TO AND SUBSCRIBED before me, this Z G day of July, 2002, in New Orleans,

Louisiana.

Notary Public 7

HADOCS'S\SMOOT\O0001 ‘PPA case\Donovan Affidavit-wpd

JUL 32 Sti 1S ay PROR GMAT Rage NHS has dee 178°@® 9fACS Fase 72 pas

CLAITOR & LOUPE, L.L.C.

ATTORNEYS SND COUNSELORS AT LAW
2223 Quail Run Dave, Suite G, Baton Rouge, Louisana 70808

Tel. (225) 767-2222 Fax: (225) 767-9003

July 24, 2002

CERTIETED MAIL
RETURN RECEIPT REQUESTED |
NO.: 7002 0460 0001 9147 0243

Novartis Consumer Health, Inc.

By and Through its Registered Agent for Service of Process:
Corporation Service Company

2711 Centerville Road, Suite 400

Wilmington, DE 19808

RE: Dapkine B. Donnelly, and Jerome Donnelly, Husband vs. Bayer Corporation, et al
34" JDC, St. Bernard Parish, Docket No.96,487, Division “C”

Sir/Madam:

We represent Daphine B. Donnelly, and Jerome Donnelly, husband, in claims arising out of
incidents, wherein our clients ingested a product containing PPA.

We have filed the above numbered and captioned suit on behalf of Daphine B. Donnelly, and
Jerome Donnelly, husband, for damages resulting from this incident. Since you are a non-resident
of Louisiana, we are obtaining service of process on you pursuant to LSA R.S. 13:3201 et seq. In
order to comply with the requirements of law, we give you herewith notice of such service, together
with a certified copy of the Petition and Citation which 1s being sent by the plaintiffs, via certified
mail.

Please forward this matter to your attomey for immediate handling.
Sincerely,

CLAITOR, LOUPE & BATEMAN, L.L.C.

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Attachments
Case 2:02-cv-0252 R Document 36 _ Filed 01/10, Page 446 of 472
JUL 38 2062 15:34 FR N TIS CONS HEALTHGS 52? 1781 912128366554 P.@4

THIRTY FOURTH JUDICIAL DISTRICT COURT
PARISH OF ST, BERNARD
STATE OF LOUISIANA

CITATION
NO: 96-487

DAPHINE B, DONNELLY, AND JEROME DONNELLY, HUSBAND
VERSUS

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC.,;
4LIFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE;
SMOOTHIE KING CO.; SMOOTHIE KING SYSTEMS, INC.;
WALGREEN LOUISIANA CO., INC. (D/B/A "WALGREENS")

TO. NOVARTIS CONSUMER HEALTH, INC,
BY AND THRU ITS REGISTERED AGENT FOR SERVICE OF PROCESS
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD, SUITE 400
WILMINGTON, DE 15808

YOU HAVE BEEN SUED. Attached to this Citation is « certified copy of Petition for
Damages. The Petition tells you what you are being sued for. gat ft

You must either DO WHAT THE PETITION ASKS, OR WITHIN THIRTY (30) DAYS
after you bave received these documents, you must file an answer or other lega! pleadings in the
office of the Clerk of Court at the St, Bernard Parish Courthouse, 1100 W. St. Bernard Hwy,

Chalmette, LA 70043.

If you do not do what the Petition asks, or if you do not file an answer or legal pleading
within THIRTY (30) DAYS, a judgment may be entered against you without fiuther notice.

This Citation was issued by the Cletk of Court for St. Bernard Parwh, Lovisiaza on the

amd day of July, 2002.
tars FI
LENA R. TORRES
CLERK OF COURT
wae en tete
Deputy ClerkiS! S RANODAZZO
DOMICILIARY
Reostved Parish of St. Bervard on the day of, , 2002 and on the day of
2002, I served a copy of the within by leaving
the same at danicile this Parish in the hands of
Se ears ti nae of 14 years ving and residing in suid docucile,
whote bane and other facts, consected with this service { learned by interrogating the same
the nab being abeent feed Gaile
at the time of said service.
Remrned Parish of St. Barnard 2002
Sheriff
PERSONAL
Received Purfsh of St. Bernard on the day of +2002 and cn the ___ day of

1 202, Lacrved a copy ofthe within
this

Perch bis uxunl plas of Gomldiie in the Pach of Si Barvard by beading and dalvesiiy Ne ws ws
Returned Parish of Si. Bernard » 2002

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Case a Document 36__ Filed 01/10 Page 447 of 472
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THIRTY FOUR IH JUDICIAL DISTRICT COURT

PARISH OF ST BERNARD
STATE OF LOUISIANA

CITATION
NO 95-487

DAPHINE B. DONNELLY, AND JEROME DONNELLY, HUSSAND
VERSUS

BAYER CORPORATION, NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC..:
éLIFE RESEARCH, LC, SUCCESSOR BY MERGER TG SHAPERITE;

SMOOTHIE KING CO.; SMOOTHIE KING SYSTEMS, ING;
WALGREEN LOUISTANA CO., INC. (D/B/A *WALGREENS*)

TO NOVARTIS PHARMACELTICAI. CORPORATION

BY AND THRU ITS REGISTERED AGENT FOR SERVICE Of PROCESS
320 SOMERULOS STREET
BATON ROUGE, LOUISIANA

YOU HAVE BEEN SUED, Arached to thi Cimuion ls a certified copy of Petition for
Damages, The Petition tet you wat you are being sued for

You must ether DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15)
DAYS after you have received these documents, you must file an answer or other legal

m the offic: of the Clerk of Court at the St. Bernard Parish Courthouse, 1100 W. St. Bernard
Hwy, Chalmette, LA 79043.

TE you do not do what the Petition asks, or dye do not Bile an answer ur begud pleading
within PLFTEEN (15) DAYS, « judgaseot may be cotered against you without Gurthee aotie.

This Citation was issued by the Clerk of Court fbr St. Berard Pansh, Louisiana on the

dad day of July, 2002.
sac SPL
LENA R. TORRES
CLERK OF COURT
Deputy SOSAN A. RANOAZZO
DOMICILIARY

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Case eoeev-0es7 @® Document 36 Filed 00 Page 448 of 472

CSICONESIrS

9850 Sourh 300 West * Sandy, UT 84070 © (801) 562-3600 © (801) 562-3611 Fan

July 31, 2002

VIA FACSIMILE ONLY
(504) 585-7075

Charles Blanchard

CHAFFE, MCCALL, PHILLIPS, TOLER & SARPY
2300 Energy Centre, 1100 Poydras St

New Orleans, LA 70163

Re. Donnelly, et. al. v. Bayer Corporation, et al
34th JDC, St Bemard Pansh
Docket No. 96,487, Division "C"
Consent to Notice of Removal

Dear Charles:

I am corporate counsel for 4Life Research, LC, one of the named defendants in the above
action, I am responsible for managing all litigation for 4Life worldwide.

4Life is incorporated in Utah, and has its primerpal place of business in Sandy, Utah

You have indicated that Bayer and other defendants plan to file a Notice of Removal in
the US. District Court for the Eastern Distnct of Louisiana, and that all defendants who have
been properly served in the action must agree to such removal 4life was served with the
complaint in the above action on July 29, 2002, and hereby consents to the notice of removal,
but reserves al] defenses objections and claims

Very truly yours,
a ef ooo;
CIS Ay
Jack Brannelly LK,
Vice President of Legal A ffairs
4Life Research, LC
JJB/

ce. Steve Tew, CFO, COO
File
EXHIBIT

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Alate Rescarch™ LC

Case m0R 02S Document 36 Filed o@ Page 449 of 472

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CASE 2:02-cv-02436/P
DOCUMENT: 2

DATE: 08/09/02

CLERK: tbl

*** There will be no noticing for this document.***

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LORETTA G. WHYTE
CLER

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

DAPHINE B DONNELLY, and
JEROME DONNELLY, Husband

VERSUS

BAYER CORPORATION, NOVARTIS
PHARMACEUTICALS CORPORATION,
NOVARTIS CONSUMER HEALTH, INC ;
4LIFE RESEARCH, LC, Successor by
merger to SHAPERITE, SMOOTHIE KING
CO,INC, SMOOTHIE KING SYSTEMS,
INC , and WALGREEN LOUISIANA CO,
INC (D/B/A “WALGREENS”)

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CIVIL ACTION

NO U2-249 6

SECTION

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NOTICE OF REMOVAT.

TO THE JUDGES OF THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF LOUISIANA:

NOW INTO COURT, through undersigned counsel, come Bayer Corporation,

Novartis Pharmaceuticals Corporation and Novartis Consumer Health, Inc, who

respectfully aver

1 Bayer Corporation, Novartis Pharmaceuticals Corporation and Novartis

Consumer Health, Inc are named defendants in a civil suit filed in the Thirty-Fourth

Judicial District Court for the Parish of St Bernard, State of Louisiana, entitled “Daphine B

Bayer_Donnelly Notice of Removal DOC

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Case eee Oeoc ge Document 36 Filed “-@ Page 451 of 472

Donnelly, and Jerome Donnelly, Husband vs Bayer Corporation, Novartis Pharmaceuttcals
Corporation, Novartis Consumer Health, Inc, 4Life Research, LC, Successor by merger to
Shaperite, Smootlue King Co, Inc; Smoothne King Systems, Inc; and Walgreen Loutstana Co,,
Inc (d/ofa “Walgreens”) and bearmg No 96-487-C on the docket of that court. Plaimtiffs
filed ther onginal Petition on July 2, 2002 Copies of the State Court proceedings are
attached to this Notice of Removal and constitute all process, pleadings and orders served
on the petitioners to date in this suit.

2 This suit 1s an action in which the Court has original jurisdiction under 28
USC §1332, as there 1s complete diversity of citizenship between plaintiffs and the
defendants and the matter m controversy exceeds $75,000 00, exclusive of interest and
costs Thus, this action may be removed to this Court pursuant to the provisions of 28
USC. §1441

3 The forum state 1s Louisiana The plaintiffs were, at the time they filed this
action, and still are citizens of the State of Louisiana

4 Bayer Corporation was, at the time the action was filed, and still is a
corporation incorporated in the State of Indiana, with 1ts principal place of business in the
State of Pennsylvania Bayer Corporation was not, at the time this action was filed and
still 1s not a citizen of the State of Louisiana.

5 Novartis Pharmaceuticals Corporation was, at the time the action was filed,
and still 1s a corporation incorporated in the State of Delaware, with its principal place of
business 1m the State of New Jersey Novartis Pharmaceuticals Corporation was not, at the

time this action was filed and still 1s not a citizen of the State of Louisiana

Bayer_Donnelly Notice of Removal DOC ?
Case e02-v-0292 a Document 36 Filed oNnv® Page 452 of 472

6 Novartis Consumer Health, Inc was, at the ttme the action was filed, and
still 1s a corporation mcorporated in the State of Delaware, with its principal place of
business in the State of New Jersey Novartis Consumer Health, Inc was not, at the time
this action was filed and stl 1s not a citizen of the State of Louisrana

7 Plaintiff has named 4Life Research, LC as a defendant. On information
and belief, 4Life Research, LC 1s a limited hability company organized in the State of
Utah, with 1ts principal place of business in Utah The members of 4Life Research, LC
are David Lisonbee and Bianca Lisonbee, both of whom are citizens of the state of Utah

David Lisonbee and Bianca Lisonbee were not at the time this action was filed and still
are not citizens of the state of Louisiana

8 Complete diversity of citizenship exists in this case because the non-diverse
defendants, 1e, Smoothie King Co, Inc, Smoothwe King Systems, Inc. and Walgreen
Louisiana Co, Inc have been fraudulently yomned See, e.g, Borden v General Dynamics
Corp, 60 F 3d 213, 217 (6" Cir 1995) When the citizenship of the fraudulently joined
party is disregarded, there is complete diversity of citizenship between the plamtff and
the remaining defendants

9 Plaintiffs fraudulently jommed Walgreen Louisiana Co, Inc They assert
clams based on strict lability, negligence, redhibiton, fraud, negligent and reckless
musrepresentation, and conspiracy to defraud against this defendant. (See Original
Petition, {J 17-18) However, they cannot prevail on their claims against Walgreen
Louisiana Co, Inc. under Louisiana law See, e.g,, Perksin v. Bayer Corp., et al, No

C01-2033R (WD Wash Feb 26, 2002).

Bayer_Donnelly Notice of Removal DOC 3
Case e02-ev-025° @” Document 36 Filed Ne Page 453 of 472

10 Plaintiffs fraudulently jomed Smoothie King Co, Inc and Smoothie King
Systems, Inc Cf Perksin v Bayer Corp, et al, No CO1-2033R (WD Wash Feb 26, 2002)
Additionally, plaintiff Daphine Donnelly alleges that she suffered a stroke on or about
January 12, 1991 allegedly as a result of ingestion of products contamnmg
phenylpropanolamine (PPA) and/or ephedrine that she allegedly purchased at a
Smoothie King store in Chalmette, Louisiana Smoothie King did not operate any store
in Chalmette on or before January 12, 1991 (see Affidavit of Steve Kuhnau attached as
Exhibit A)

11 It 1s apparent from the face of plaintiff’s Petition that the amount in
controversy between the plaintiff and defendants exceeds $75,000 00, exclusive of mterest
and costs See, e.g, Gebbia v Wal-Mart Stores, Inc , 233 F3d 880 (5" Cir 2000) Plaintiff
Daphne B Donnelly alleges that she suffered a stroke resulting in paralysis to the nght
side of her body (See Petition at § 10) Cf Philippe v Lloyd's Aero Boliwano, 97-0258 (La
App 1 Cir 2/20/98), 710 So 2d 807 (trial court awarded total damages of $1,168,320 09
for stroke iyuries to plaintiff and for loss of consortrum to his wife, the Appeals Court
later reversed finding no lability), Swath v Cameron Crews, Inc , 348 So 2d 179 (La App 3d
Cir 1977) (affirrung award of $150,000 00 to plamtiff who suffered stroke as a result of
defendant's negligence)

12. ~=This Court has supplemental jurisdiction under 28 USC § 1367 over
Jerome Donnelly’s loss of consortrum claim See Booty v, Shoney's, Ine , 872 FSupp 1524

(ED La 1995)

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Case OR NOES Document 36 Filed oN Page 454 of 472

13. 4Life Research consents to this Notice of Removal. 5See letter attached as
Exhibit B

14 ‘Petitioners file this Notice of Removal within 30 days of July 9, 2002, the
earliest date of service on any defendant Petitioners file this Notice of Removal without
waiving any objections, exceptions or defenses to plaintiffs’ Petition

15 __— Petitioners file and present herewith the sum of $150 00 as required by Title

“TA

Mary I Meyer (La. Bar No. 19966)
John F Olinde (La Bar No 1515)
Charles P. Blanchard (La Bar No 18798)
CHAFFE, McCALL, PHILLIPS,
TOLER & SARPY, L.L.P.
2300 Energy Centre, 1100 Poydras Street
New Orleans, LA 70163-2300
Telephone No (504) 585-7000
Attorneys for Bayer Corporation

f; me Rr. Nyt,
Joy G Braun (#3416)
Eric R Nowak (#27025)
Shirin E Harrell (#27495)
SESSIONS, FISHMAN & NATHAN, L.L.P.
201 St Charles Avenue, Suite 3500
New Orleans, LA 70170
Telephone (504) 582-1500
Attorneys for Novartis Pharmaceuticals
Corporation and Novartis Consumer Health,
Inc.

28, United States Code, § 1446

Bayer_Donnelly Notice of Removal DOC 5

Case eee” Document 36 Filed uwv@® Page 455 of 472

¢ a
I do hereby certify that I have on this / day of fib w\i 2002, served a

copy of the foregoing pleading on counsel for all parties to this proceeding, by mailing the

same by United States mail, properly addressed, and eee

Bayer_Donnelly Notice of Removal DOC 6

Case 202-0 02 Gge BOR Document 36 Filed 01 gps Page 456 of 472:

NO> 96-487

TO:

THIRTY FOURTH JUDIC # . DISTRICT COURT
PARISH OF ST :ERNARD
STATE OF L? UISIANA

CITAT ON

DAPHINE B DONNELLY, AND . EROME DONNELLY, HUSBAND
Vi. 3SUS

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS
CORPORATION, NOVAR7? S$ CONSUMER HEALTH, INC ,;
4LIFE RESEARCH, LC, SUCCE:'SOR BY MERGER TO SHAPERITE;
SMOOTHIE KING CO., 5" OOTHIE KING SYSTEMS, INC ;
WALGREEN LOUISIANA (0., INC. (D/B/A 'WALGREENS")

BAYER CORPORATION
BY AND THRU ITS REGISTER£ D AGENT FOR SERVICE OF PROCESS
CT CORPORATION SYSTEM

8550 UNITED PLAZA BLVD.

BATON ROUGE, LOUISIANA |

YOU HAVE BEEN SUED. Attaced to this Citation is a certified copy of Petition for

Damages. The Petition tells you what yor: are being sued for

You must either DO WHAT THE PETITION ASKS, OR WITHIN FIFTEEN (15)

DAYS after you have received these dociments, you must file an answer or other legal pleadings
in the office of the Clerk of Court at the St. Bernard Parish Courthouse, 1100 W. St Bernard

Hwy, Chalmette, LA 70043.

Ifyou do not do what the Petron asks, or if you do not file an answer or legal pleading

within FIFTEEN (15) DAYS, a judgra:ot may be entered against you without flurther notice.

This Citation was issued by thy. Clerk of Court for St. Bernard Parish, Louisiana on the

gad day of July, 2002.
sar = wP
LENA R. TORRES
CLERK OF COURT
bY Diether pea cldcep
Deputy Cletk gy SUSAN A. RANDAZZO
DOMICILIARY
Recewed Parish of St. Bernard on the day of __, 2002 and on the day of
, 2002, [ served & copy of the within by leaving
the same at domicile this Parish in the hands of

A person apparently over the age of 14 years living and residing in seid domicile,
whose nanie and other facts, connected with this service I learned by mterrogating the same

the said being absent from domicile
at the time of said service.
Returned Pansh of St, Bernard , 2002
Shenff
PERSONAL
Received Parish of St. Bernard on the day of _, 2002 and on the day of
,» 2002, I served a copy of the within on
on at this
Parish his usual place of domicile, mn the Patish of St. Bernard, by handling and delivernng the same to in
Returned Pansh of St Bernard , 2002

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Case meg Document 36 Filed ges Page 457 of 472

34™ JUDICLAL DISTRICT COURT
— PARISH OF ST. BERNARD

STATE OF LOUISIANA
No | 98 487

DAPHINE B. DONNELLY, and
JEROME DONNELLY, Husband
Plaintiff

¥5.

BAYER CORPORATION; NOVARTIS PHARMACEUTICALS SECTION
CORPORATION; NOVARTIS CONSUMER HEALTH, INC,;

4LIFE RESEARCH, LC, Successor by merger to SHAPERITE;

SMOOTHIE KING CO., INC; FILED
SMOOTHIE KING SYSTEMS, INC.; and

WALGREEN LOUSIANA CO., ENC, (D/B/A “WALGREENS") JUL 0 2 20?
OAT NR

Defendants 40
PETITION FOR DAMAGES deat LAtnce/
NOW INTO COURT comes Petitioner, DAPHINE B. DONNELLY, 2 person of the full age of
majonty, and respectfully represents the following:
1 Petitioner, Daphine B Donnelly, is a person of full age and majority and is 4 resident and
domiciliary of St Beard Parish, State of Louisiana.
2. Made pharmaceutical manufacturer defendants herein are
A Bayer Corporation is an Indiana Corporation with its principal place of business in
Pennsylvania, regularly selling and advertising its product in the City of Chalmette, State of
Louis:ana.
B Novartis Pharmaceuticals Corporation is a Delaware corporation with its principal
place of business in New Jersey, regularly selling and advertising it product in the City of
Chalmette, State of Louisiana
C.  ——- Novartis Consumer Health, Inc a Delaware corporation with its principal place of
business in New Jersey, regularly selling and advertising tts product in the City of Chalmette,
State of Loutsiana.
D. = 4Life Research, LC, successor in merger to Shaperite, a limuted hability company

established in Utah 4Life Research, on information and belief, manufactured and distributed
Case 2:02-cv-025 JR Document 36 Filed “so Page 458 of 472
Shapefast®, thus bnnging this action against 4Life Research, LC as a manufactunng

defendant and as a seller/retailer defendant, regularly selling and advertising in the Ctty of
Chalmette, State of Louisiana

3 Made retailer/seller defendants herein ate
A Smoothie King Co, Inc , a Louisiana corporation with tts principal place of
business in Kenner, Louisiana, on information and belief, regularly selling and advertising
its product in the St. Bernard Parish, State of Louisiana, through a franchise operator.

B. Smoothie King Systems, Inc., a Louisiana corporation with its principal place of
business in Kenner, Loutsiana, on information and beef, regularly selling and advertising
its product in the St. Bernard Parish, State of Lousiana, through a franchise operator.

C. Walgreen Louisiana Co, Inc (D/B/A “Walgreens”), a corporation organized in the
State of Louisiana and licensed to and doing business in this state, with its principal place of
business in Metairie, Louisiana, regularly selling and advertising its product in the City of
Chalmette, State of Louisiana.

4. Defendants are hable jointly and in solido unto Petitioner for an amount as is reasonable
under the circumstances, for all costs and expert fees of these proceedings, for judicial
interest from the date of demand, and for all and equitable relief for the following’

5 Pheny{propanolamine (hereinafter “PPA"Vephednine was an ingredient used in many over-
the-counter and prescription cold medications; it was also used in many over-the-counter
weight loss product.

6 Life threatening adverse effects related to PPA/ephedrine leading to hospitalization and/or
death have been well documented and known to pharmaceutical companies for decades
These life threatening events have been documented through the Food and Drug
Administration (hereinafter referred to as FDA) warning/sentinel events systems, showing a
large number of such events related to PPA/ephedrne. Several life threatening
PPA/ephedrine injuries have been reported in Clin-Alert and ather medical reports A recent
study published by Yale University which concluded that PPA causes hemorthagic strokes
end aiso found an ingredient “Norephedrine”, an active ingredient in PPA, is also found in
ephedrine dietary supplements In addition, PPA/ephedrine is known to cause other serious
adverse effects including heart damage and myocardial infarction

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12.

Defendant manufacturers have concealed Maternal facts, meluding the serious risks
associated with ingesting PPA/ephedrine, from Petitioner in product packaging, labeling,
advertising, promotional campaigns and matertals, among other ways, regarding the safety
and use of products containing PPA/ephednne

The causal relationship of Petitioner's injury to the products contaming PPA/ephednne were
inherently undiscoverable by the Petitioner until she was warned of the dangers by the
defendants and/or others Petitioner did not discover, nor through the exercise of reasonable
care and diligence could she have discovered that her injury and illness was in anyway
related to products containing PPA/ephedrine until at the earhest when Petitioner was made
aware that many PPA containing drugs were withdrawn from the market, and further, that
ephedrine contains many of the same ingredients and has been linked to many injuries and
deaths relating to its ingestion, just as with PPA-containing products,

Petitioner purchased and/or ingested PPA/ephedrine containing product within all times
televant times, including, but not limited to, Shapefast®, Alka Seltzer Plus®, and Tavist-
D®. Petitioner purchased Shapefast® at Smoothie King a nutritional/retail store located in
the City of Chalmette, State of Louisiana. Petitioner purchased Alka Seltzer Plus® and
Tavist-D® at Walgreens, a pharmaceutical/retail store located in the Crty of Chalmette, State
of Louistana

Petitioner herein has suffered and still suffers serious and gnevous injuries as a result of
ingesting PP A/ephedrine containing products, On or about January 12, 1991, suffered from a
stroke in Chalmette, Louisiana and was taken to Pendleton Methodist Memorial Hospital in
New Orleans, Louisiana. Petitioner suffered from, including, but not limited to, paralysis to
the right side of her body

Petitioner avers that the sole and proximate cause of Petitioner's injury was her consumption
of the above-referenced PPA/ephedrine-contaming products, including, but not limited to,
Shapefast®, Alka Seltzer Plus®, and Tavist-D®, and that she did not become aware of the
causal link between the consumption of PPA/ephednine-containing products and these health
risks and tnjurtes until recently

As a direct and consequential result of the foregoing, Petitioner has sustained physical and
mental pain and suffering, loss of income, loss of consortium, loss of enjoyment of Irfe, and

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14.

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other damages to be shown at trial Al! of the S¥going damages are past, present and future
Petitioner, Jerome Donnelly, husband of Daphine Donnelly, has suffered, sustained, and
incurred injuries as a result of his spouse’s debilitating and impaired condition Petitioner
has suffered loss of consortium in the past and will sustain, in reasonable medical
probability, a toss of consortium claim in the future

The incident and any resultant damages occurred through no fault or negligence on the part
of the Petitioner

The incident and any and all resultant injuries and damages to Petrtoner occurred through the
fault of the pharmaceutical manufacturer defendants, as manufacturers of the product which
contained PP A/ephedrine, in the following non-exclusive particulars,

1) Pharmaceutical manufacturer defendants are able under the Louisiana Products

Liability Act, Louisiana Revised Statutes Annotated 9,2800,51 ef seq.

a.) Pharmaceutical manufacturer defendants manufactured products which were
unreasonably dangerous in design at the time the product left the
manufacturers’ control and such defects in design were the proximate cause
of damages suffered by Petitioner The products were ingested and taken as
intended.

b.) Pharmaceutical manufacturer defendants failed to employ alternative designs
which would have reduced, if not prevented Petitioner's damages, and their
faiture to employ alternative designs was a proximate cause of the damages
suffered by Petitioner

¢.) Pharmaceutical manufacturer defendants failed to adopt alternative designs
for their products and they knew of the kelihood that its products’ design
would cause Petitioner's injuries; and defendants knew the gravity of the
potential injuries outweighed the utility of their products

d) Petitioner specifically alleges that an alternative design of pharmaceutical
manufacturer defendants’ products would have nullified, or substantially
reduced the injuries Petutioner suffered

¢) Pharmaceutical manufacturer defendants failed to post suitable and adequate
wamning(s) or instruction(s) concerning the risks of their products, including,

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but not limited to, adequate ing potential users of the medication's
known adverse side-effects, including heart problems and strokes, and any
and all other side-effects suffered by Petitioner

Pharmaceutical manufacturer defendants failed to alert users, potential users,
and retail dealers who would be expected to sel] and/or recommend its
products, of the hazards associated with said products” usage, and further

actively promoted and advertised their products in a manner that suggested

the design of their products wes safe

The incident and any and all resultant inyuries and damages to Petitioner occurred through the

fault, negligence, want of care, gross negligence, and/or strict liability of pharmaceutical

manufacturer defendants by their failure to exercise reasonable care in the manufacture of its

products when they knew of should have known that Petitioner was # foreseeable and

intended user of their products, and the risk of harm suffered by Petitioner was encompassed

within the duty owed to protect intended users of their products.

The incident and any and all resultant injuries and damages to Petitioner occurred through the

fault of defendants, as sellers and/or retarlers of the product which contained PPA/ephednine,

rendering retailer/seller defendants liable for any and all damages suffered by Petitioner,

including attorney fees, in the following non-exclusive particulars

1)

2)

Retailer/seller defendants are liable for breach of the warranty against redhibitory

defects, or vices, in the subject over-the-counter medications, existing at the time of

the sale to Petitioner, pursuant to La Ctv, Code Article 2520 ef seg.

a)

Retatler/seller defendants failed to give Petitioner notice of the dangerous
side-effects of the subject over-the-counter medications they sold to
Petitioner which contained PPA/ephednne: and retailer/seller defendants had
actual knowledge of the existence of said redlubttory defects at the trme of

the sale,

Retailer/seller defendants are liable under La. Civ Coda Article 2524 for failure to

sell a product fit for tts ordinary usage

a.)

Retailer/seller defendants knew Petitioner's intended usage of the subject

over-the-counter medications and knew of Petitioner’s rehance on the skill and

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Case 2:02-cv-025 JR Document 36 Filed 01/1 Page 462 of 472
judgment of retaler/seller defend in the sale of the:r over-the-counter

medications Retazler/seller defendants farled to exercise the a propriate skill of
judgment in the sale of their products to Petitioner
3) Retatler/seller deferidants are lable under La Civ Code Article 2529 for delivering

products not of the kind or quality spectfied by the seller

a.) Retailer/seller defendants sold over-the-counter medi -ations to Petitioner
t

which were misrepresented by retailer/seller defendants as t zmg safe for human
I
consumption Retailer/seller defendant failed to adequately ir form Petitioner of the

dangers inherent in the over-the-counter medications they so d to Petitioner.
15 The sncident and any and all resultant injuries and damages to Petitio er occurred through the
i
i
fault, negligence, want of care, gross negligence, and/or stricf lability retailer/seller

!

defendants by their failure to exercise reasonable care in the sale Yor retail of its products

when it knew, or should have known, that Petitioner was a buyer a id a foreseeable intended
user of their products, and the risk of harm suffered by Petitioner was encompassed within
the duty owed by retailer/seller defendants to protect intended buy ers and users of the subyect

products
i
16 = Pharmaceutical manufacturer defendants and retailer/seller defeg dants are hable sn salido for

intentional and willful conspiracy pursuant to La Civ Code’ Article 2324 Defendants,
among themselves, conspired with one another to conceal pene facts including the
hazardous nature of the subject product they manufactured ary. sold to the public in general

and Petitioner. Defendants knew that the injunes suffered b: Petitioner were substantially
|
certain to occur through the consumption and ingestion of \h= over-the-counter medication

they manufactured and soid.
17, Venue for this action arises under Louisiana Code of Civ, Pro. Articles 42 ef seq., as the
wrongful conduct of defendants complained of herein occy ted in the Parish of St. Bernard.

Petitioner purchased and suffered her injures in St. Bern -rd Parish, State of Lousiana
!

WHEREFORE, Petitioner prays that after du. proceedings be had there be a
judgment rendered herein in favor of Peutioner and ages st defendants jomntly, severally, and

in solida, for such damages aS are reasonable in the pr muses, together with the maximum

legal interest from the date of judicial demand, unu! pr d, for all costs of these proceedings,
Case 2:02-cv-0252 JR Document 36

and for all other general and equitable relief t

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respectfully requests a TRIAL BY JURY

PLEASE SERVE:

BAYER CORPORATION

Respectfully submitted,

J Chandler Loupe

§ BAR NO, 19955
2223 Quar! Run Dnve, Ste
Baton Rouge, LA 70808

3 of 472

tch Petitioner may be awarded Petitioner

OR & LOUPR, LLC

G

(225) 767-2222 (Telephone)

(225) 767-9003 (Facsimile)

KIRK LAW FIRM
Dana Kirk

MS STATE BAR NO. 100188
TX STATE BAR NO 11057500
4265 San Felipe Street, Ste. 1400

Houston, TX 77027
(713) 651-0050

CLARK, DEPEW & TRACEY,LTD., L.L.P.

Clayton Clark

TX STATE BAR NO, 04275750

440 Louisiana Street, Ste, |
Houston, TX 77002
(713) 757-1400

600

J. ROBERT DAVIS LAW FIRM

J Robert Davis

TX STATE BA NO. 00788
440 Louisiana Street, Ste 1
Houston, TX 77002

(713) 425-5255

By and Through its Registered Agent for Service of Process:

CT Corporation System
8550 United Plaza Bivd.
Baton Rouge, LA 70809

NOVARTIS PHARMACEUTICAL CORPORATION
By and Through its Registered Agent for Service of Process.

320 Somerulos Street
Baton Rouge, LA 70802

NOVARTIS CONSUMER HEALTH, INC

By and Through tts Registered Agent for Service of Process,
Corporation Service Company

2711 Centerville Road, Ste 400

Wilmington, DE 19808

859
600

ATRUE COPY
LenaR Torres
CLERK OF COURT

PARISH OF ST BERNARD
STATE OF LOUISIANA

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Case mere Document 36 Filed lg Page 464 of 472

4LIFE RESEARCH, LC

By and Through its Registered Agent for Service of Process
David Lisonbee

98508 300 W

Sandy, UT 840703262

SMOOTHIE KING CO, INC

By and Through us Registered Agent for Service of Process
Stephen Kuhnau, Sr

2400 Veterans Blvd , Ste 110

Kenner, LA 70062

SMOOTHIE KING SYSTEMS, INC

By and Through its Registered Agent for Service of Process:
Stephen Kuhnau, Sr.

2400 Veterans Bivd , Ste. 110

Kenner, LA 70062

WALGREEN LOUISIANA CO , INC

By and Through its Registered Agent for Service of Process.
The Prentice-Hall Corporation System, Inc.

70) South Peters Street, Second Floor

New Orleans, LA 70130
JUL 3@ 2@age BOB«\eR2SO gS OGUMeAL 8ha8 Site 0?6.0/Gaus RPagedé66s9¥472 Pp aa

CLAITOR & LOUPE, L.L.C.

ATTORNEYS AND COUNSELORS AT LAW
2223 Quail Run Drive, Sue G, Baron Rouge, Louisiana 70808

Tel (225) 767-2222 * Fax: (225) 767-9003

July 24, 2002

CERTIFIED MAIL

RETURN RECEIPT REQUESTED |
NO.: 7002 0460 0001 9147 0243

Novartis Consumer Health, Inc.

By and Through its Registered Agent for Service of Process’
Corporation Service Company

2711 Centerville Road, Suite 400

Wilmington, DE 19808

RE: Daphine B. Donnelly, and Jerome Donnelly, Husband vs, Bayer Corporation, et al
34" JDC, St. Bernard Parish, Docket No.96,487, Division “C”

Sir/Madam:

We represent Daphine B. Donnelly, and Jerome Donnelly, husband, in claims arising out of
incidents, wherein our clients ingested a product containing PPA.

We have filed the above numbered and captioned sunt on behalf of Daphine B. Donnelly, and
Jerome Donnelly, husband, for damages resulting from this incident. Smce you are a non-resident
of Lousiana, we are obtaining service of process on you pursuant to LSA R.S. 13.3201 et seq. In
order to comply with the requirements of law, we give you herewith notice of such service, together
with a certified copy of the Petition and Citation which 1s bemg sent by the plaintiffs, via certified

mail,
Please forward this matter to your attomey for immediate handling,
Sincerely,
CLAITOR, LOUPE & BATEMAN, L.L.C
the fe
je Loupe
JCL, seb

Attachments
JUL 3B OREO OBER SAGES CONSUMER Biaa Bieed OREO ageessees 72 P.a4

THIRTY FOURTH JUDICIAL DISTRICT COURT
PARISH OF ST. BERNARD
STATE OF LOUISIANA

CITATION

NO* 96-487

DAPHINE B. DONNELLY, AND JEROME DONNELLY, HUSAAND
VERSUS

BAYER, CORPORATION; NOVARTIS PHARMACEUTICALS
CORPORATION; NOVARTIS CONSUMER HEALTH, INC..,,
4LIFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE;
SMOOTHIE KING CO , SMOOTHIE KING SYSTEMS, INC ;
WALGREEN LOUISIANA CO , INC (D/B/A "WALGREENS")

TO NOVARTIS CONSUMER HEALTH, INC.
BY AND THRU ITS REGISTERED AGENT FOR SERVICE OF PROCESS
CORPORATION SERVICE COMPANY
2711 CENTERVILLE ROAD, SUITE 406
WILMINGTON, DE 19808

YOU HAVE BEEN SUED. Atiached to this Crtation 1s a certified copy of Petition for

Damages The Petition tells you what you are bemg sued for, ea

You must ether DO WHAT THE PETITION ASKS, OR WITHIN THIRTY (30) DAYS
after you have received these documents, you must file an answer or other legal pleadings mn the
office of the Cleck of Court at the St, Bernard Parish Courthouse, 1100 W. St. Bernard Hwy,
Chahmette, LA 70043.

EH you do not do what the Petition asks, or of you do not file an answer or legal pleachimg
within THIRTY (30) DAYS, a judement may be entered agamst you without further note.

Thus Citation. was issued by the Clerk of Court for St. Bemard Pansh, Louisiana on the
2nd day of July, 2002

sar Pl
LENA R. TORRES
CLERK OF COURT

BY Cee be Bondy stp
Deputy Clerk/S! 5 RANDAZZO
DOMICILIARY

Réeeaived Porsh of St. Bernard on the day of , 2002 and on the day of
2002, I served 2 copy of the within by leaveng
tha Same Bt domicle thus Parish tn the hands of

# person apparently over the age of 14 years living and residing in said domucile,
whose name and other thers, comneeted with this scrvice [ icarned by interrogeting the same

the ead being absent fram dame
at the time of said service
Returned Pansh of St. Bernard , 2002
Sheelff
PERSONAL.
Received Punsh of 8t Beard on the day of , 2002 and an the day of
, 2002, 1 served 8 copy of the within on

om at this
Partth his uxua] place of domicile, in the Pansh of St. Bernard, by handimg and delivering the same to 1m
Remmneq Parish of $1 Bernard » 2002

Sherif

Tu 25-2628: CV- OCS albeit iPeaument 36 Filed 01/9 Page 467 of 472P 9218

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° EnIcneD
THIRTY FOUR CH JUDICIAL DISTRICT COURT (a
PARISH OF ST BERNARD
STATE OF LOUISIANA
CIFATION

NO 96-487

DAPHINE B DONNELLY, AND JEROME DONNELLY, HUSBAND
VERSUS

BAYER CORPORATION, NOVARTIS PHARMACEUTICALS
CORPORATION: NOVARTIS CONSUMER HEALTH, INC ..
4.IFE RESEARCH, LC, SUCCESSOR BY MERGER TO SHAPERITE,
SMOOTHIE KING CO., SMOOTHIE KING SYSTEMS, INC:
WALGREEN LOUISIANA CO [NC (D/B/A WALGREENS")

TO NOVARTIS PHARMACEUTICAI CORPORATION
BY AND THRO (TS REGISTERED AGENT FOR SERVICE OF FROCESS
320 SOMERULOS STREET
BATON ROUGE, LOUISIANA

YOU HAVE BEEN SUED. Attached to this Cration is a certified copy of Petition for
Damages, The Peton tells you what you are being sued fpr

You coust either DO WELAT THE PETITION ASKS, OR WITHIN FIFTEEN (13)
DAYS after you have recewed these documents, you must file an answer or other legal pleadings
an the office of the Clerk of Court at the St, Bernard Parish Courthouse, 1100 W. St Berard
Hwy, Chalmette LA 70043

If you do net do what the Petinon azks, or u'you do not file an answer ut legal pleading
within PIFTEEN (15) DAYS, a judgasrtt may be entered agaurst you without firther once

This Citation wes waved by the Clerk of Count for $: Bernard Pangh, Louisiana on the
3nd day of Juty, 2002,

sar Pi
LENA KR. TORRES
CLERK OF COURT
Br_uteal PuaslorD
Deputy CleckiS} SUSAN A. RANDAZZO
BOMICILIARY

Recorved Purtsh of St, Becnard on the day of » 2007 and on the day of
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Returned Pansh ofS, Bernard > HOO

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AFFIDAVIT OF STEVE KUHNAU

STATE OF LOUISIANA
PARISH OF ORLEANS
BEFORE ME, the undersigned Notary Public, duly commissioned and qualified im and for
the parish and state set forth above, personally came and appeared
STEVE KUHNAU
who, after bemg duly sworn, deposed and stated the following.
1
I have personal knowledge of the facts set forth n this Affidavit and, 1f called as a witness,
could and would competently testify to the following.
2
The Smoothie King store located at 3366 Pans Road, Chalmette, Louisiana ts the only store
operated in Chalmette, Louisiana and there has been no other store operating in that geographic
location in the history of the Smoothie King franchising business.
3
The Franchise Agreement #20 which authorizes this Chalmette, Louisiana location was
executed by franchisees on October 9, 1991
4
This Smoothie King store opened on February 17, 1992 at the location of 3366 Paris Road,

Chalmette, Louisiana

EXHIBIT

Case ee 025 7 Document 36 Filed one Page 469 of 472

WITNESSES.

Chairman, Board of Directors

iy

WORN TO AND SUBSCRIBED before me, this 2 G day of July, 2002, in New Orleans,

Lowisiana

Notary Public 7

FH DOCSS\SMOOT ODOOIPPA case\Donovan Affidavit wpd
Case eevee Document 36 Filed Ne Page 470 of 472

RESEARCH

9850 South 300 West * Sandy LT 84070 « (601) 562.3600 * (RU) 362-3611 Pax
July 31, 2002

VIA FACSIMILE ONLY
(504) 585-7075

Charles Blanchard

CHAFFEE, MCCALL, PHILLIPS, TOLER & SARPY
2300 Energy Centre, 1100 Poydras St

New Orleans, LA 70163

Re — Donnelly, et al v Bayer Corporation, et al
34th JDC, St Bernard Parish
Docket No 96,487, Division "C”
Consent to Notice of Removal

Dear Charles

I am corporate counsel for 4Life Research, LC, one of the named defendants in the above
action Iam responsible for managing all litigation for 4Life worldwide

4Life 1s incorporated in Utah, and has its principal place of business 1n Sandy, Utah

You have indicated that Bayer and other defendants plan to file a Notice of Removal in
the US Dustrict Court for the Eastern District of Louisiana, and that all defendants who have
been properly served m the action must agree to such removal 4hife was served with the
complaint in the above action on July 29, 2002, and hereby consents to the notice of removal,
but reserves all defenses objections and claims.

Very truly yours,

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nen Pte nee,

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x ve 3 x -

Jack Brannelly ;
Vice President of Legal-A ffairs
Alife Research, LC

JTB/

ce Steve Tew, CFO, COO
File

EXHIBIT

4lite Research LC

Case a02-cv Os @r Document 36 Filed ouv"~® Page 471 of 472

United States District Court

Fastern District of Louisiana

Donnelly

Vv. CIVIL ACTION NO. 2:02-cv-02436 "N"

Bayer Corporation

The record reflects that a Notice of Removal has been filed in
the captioned case; accordingly,

Pursuant to 28 U.S.C. 1447(b), the removing party 1s directed
to file within 10 days:

(1) A list of all parties still remaining in this action;

(2) Copies of all pleadings, including answers, filed by
those parties in state court; and

(3} Copies of the return on service of process on those
parties filed in state court.
New Orleans, Louisiana, August 8, 2002.

By Direction of the Court

LORETTA G. WHYTE, CLERK

Case ee esc @® Document 36 Filed oN'@ Page 472 of 472

LOCO AAA
UIUC

CASE: 2:02-cv-02436
DOCUMENT: 1

DATE 08/08/02
CLERK tbl

Notices sent to:

Mary Meyer by fax to 504-544-6077
Joy Braun by fax to 504-582-1555

gh (PO

Document scanned by:

